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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA, EX            Civil Action No: 11-cv-0258-A
    REL. [UNDER SEAL]

                              Plaintiff,    FIRST AMENDED COMPLAINT

                v.

    [UNDER SEAL]

                            Defendants.

                        FILED IN CAMERA AND UNDER SEAL

                            DO NOT ENTER IN PACER




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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA, EX                        Civil Action No: 11-cv-0258-A
    REL. BENJAMIN POEHLING,

                                       Plaintiff,       FIRST AMENDED COMPLAINT
                                                        FOR VIOLATION OF FALSE
                   v.                                   CLAIMS ACT, 31 U.S.C. § 3729 ET
                                                        SEQ.
    UNITEDHEALTH GROUP, INC.,
    WELLMED MEDICAL MANAGEMENT,                         FILED IN CAMERA AND UNDER
    INC., HEALTH NET, INC., ARCADIAN                    SEAL PURSUANT TO 31 U.S.C.
    MANAGEMENT SERVICES, INC.,                          § 3730(b)(2)
    TUFTS ASSOCIATED HEALTH PLANS,
    INC., AETNA INC., BLUE CROSS AND                    DO NOT ENTER IN PACER
    BLUE SHIELD OF FLORIDA, INC.,
    BLUE CROSS BLUE SHIELD OF
    MICHIGAN, BRAVO HEALTH, INC.,
    EMBLEMHEALTH, INC., MANAGED
    HEALTH, INC., d/b/a HEALTHFIRST
    NEW YORK, HUMANA, INC., MEDICA
    HOLDING COMPANY, WELLCARE
    HEALTH PLANS, INC., and
    MEDASSURANT, INC.,

                                    Defendants.



           For its complaint, the United States of America ex rel. Benjamin Poehling

    (“United States”) alleges as follows:

    I.     INTRODUCTION

           1.      This is an action to recover damages and civil penalties on behalf of the

    United States under the Federal False Claims Act, 31 U.S.C. §§ 3729–33 (the “FCA”),

    against UnitedHealth Group, Inc., WellMed Medical Management, Inc., Health Net, Inc.,

    Arcadian Management Services, Inc., Tufts Associated Health Plans, Inc., Aetna Inc.,

    Blue Cross and Blue Shield of Florida, Inc., Blue Cross Blue Shield of Michigan, Bravo


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    Health, Inc., EmblemHealth, Inc., Managed Health, Inc., d/b/a Healthfirst New York,

    Humana, Inc., Medica Holding Company, WellCare Health Plans, Inc. (collectively the

    “Health Plan Defendants”) and MedAssurant, Inc. (“MedAssurant”) (collectively

    hereafter collectively “Defendants”).

           2.      Defendants are now and have been, in some cases since at least 2006,

    engaged in a widespread scheme to knowingly submit, or cause to be submitted, false

    claims for payment to the United States by submitting false “risk adjustment” information

    to the Centers for Medicare & Medicaid Services (“CMS”) in order to improperly

    increase the amounts CMS pays them or their clients.         Likewise, Defendants have

    knowingly retained overpayments received from CMS as a result of their false risk

    adjustment submissions.

           3.      The Medicare Advantage (“MA”) program is designed to apply to

    Medicare a form of the “managed care” model commonly used by private health

    insurance companies. Under the managed care model, an employer or other organization

    seeking health care for its members—here the United States through the Medicare

    Program—pays a managed care organization a fixed fee to provide health services to its

    members.    The payment is typically a per-member-per-month (“PMPM”) rate, also

    known as a capitation rate.      The managed care organization receiving capitation

    payments (often a hospital, physician group, or other health insurance company) is

    responsible for paying hospitals, physicians and all other medical providers for health

    care services provided to the members of the plan. This differs from traditional fee-for-

    service (“FFS”) models, where the organization pays individual physicians, hospitals and

    other providers for each service they provide to the organization’s members.




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            4.       Through the MA program, Medicare allows private health insurers to set

    up managed care plans to cover Medicare beneficiaries.        Medicare pays a monthly

    capitation rate for each beneficiary enrolled as a member of a MA plan. MA plans must

    then use that money to pay hospitals, physicians and other health care providers for the

    services the plan members receive and cover the plans’ administrative expenses. Certain

    MA plans are also given money to pay for the plan members’ prescription drugs. Under

    both types of plans, CMS adjusts the capitation rate for each beneficiary to reflect that

    beneficiary’s individual demographics (e.g., age and gender), geographic location, and

    health status.

            5.       The adjustment for each member’s health status is one of the most

    significant components of the capitation rate. Individuals with multiple and/or serious

    health conditions account for more healthcare costs than healthy members. Accordingly,

    CMS pays a substantially higher capitation rate for members who have been recently

    treated for one or more serious, expensive diseases or conditions. These increased

    payments are known as “risk adjustment” payments. On average, CMS pays a MA plan

    close to $3,000 per year for each condition that a member has that requires a risk

    adjustment payment.

            6.       To receive these risk adjustment payments, MA plans submit claims to

    CMS each year for each member for each qualifying disease or condition. When the plan

    submits these claims, it must assert that the member received treatment in the twelve-

    month period before the payment year for the diagnosed condition from a qualified

    healthcare provider. MA organizations may only submit a diagnosis for risk adjustment




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    that: (1) stems from a face-to-face visit; (2) with a qualified healthcare provider; (3)

    during the appropriate service period; and (4) is documented in a medical record.

           7.       The Health Plan Defendants are engaged in systematic fraud in which they

    routinely:

           (a)      “Upcode” risk adjustment claims by submitting claims for diagnoses that

           the member does not have or for which the member was not treated in the relevant

           year, or by claiming that a member was treated for a more serious condition than

           the member actually has; and

           (b)      refuse to correct (and refuse to reimburse Medicare for) previously

           submitted risk adjustment claims when defendants discover, or in the exercise of

           reasonable care should discover, that those previously submitted claims were

           false.

           8.       MedAssurant and United (through its subsidiary Ingenix) are engaged in

    systematic fraud by assisting and causing MA organizations, including many of the

    Health Plan Defendants, to submit fraudulent risk adjustment claims, and failing to

    correct (and reimburse Medicare) for previously submitted false claims.

           9.       Through this fraudulent scheme, defendants have defrauded the United

    States of hundreds of millions—and likely billions—of dollars.

           10.      Defendants’ conduct alleged herein violates the federal False Claims Act.

    The federal False Claims Act (the “FCA”) was originally enacted during the Civil War.

    Congress substantially amended the Act in 1986—and, again, in 2009 and 2010—to

    enhance the ability of the United States Government to recover losses sustained as a

    result of fraud against it. The Act was amended after Congress found that fraud in




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    federal programs was pervasive and that the Act, which Congress characterized as the

    primary tool for combating government fraud, was in need of modernization. Congress

    intended that the amendments would create incentives for individuals with knowledge of

    fraud against the Government to disclose the information without fear of reprisals or

    Government inaction, and to encourage the private bar to commit legal resources to

    prosecuting fraud on the Government's behalf.

            11.     The FCA prohibits, inter alia: (a) knowingly presenting (or causing to be

    presented) to the federal government a false or fraudulent claim for payment or approval;

    (b) knowingly making or using, or causing to be made or used, a false or fraudulent

    record or statement material to a false or fraudulent claim; (c) knowingly making, using,

    or causing to be made or used, a false record or statement material to an obligation to pay

    or transmit money or property to the Government, or knowingly concealing or knowingly

    and improperly avoiding or decreasing an obligation to pay or transmit money or

    property to the Government; and (d) conspiring to violate any of these three sections of

    the FCA. 31 U.S.C. §§3729(a)(1)(A)-(C), and (G). Any person who violates the FCA is

    liable for a civil penalty of up to $11,000 for each violation, plus three times the amount

    of the damages sustained by the United States. 31 U.S.C. §3729(a)(1).

            12.     For purposes of the FCA, a person “knows” a claim is false if that person:

    “(i) has actual knowledge of [the falsity of] the information; (ii) acts in deliberate

    ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the

    truth or falsity of the information.” 31 U.S.C. §3729(b)(1). The FCA does not require

    proof that the defendants specifically intended to commit fraud. Id. Unless otherwise




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    indicated, whenever the words “know,” “learn,” discover” or similar words indicating

    knowledge are used in this Complaint, they mean knowledge as defined in the FCA.

           13.     Each claim for risk adjustment payments that defendants have submitted

    or caused to be submitted to CMS, where the patient was not treated, by a qualified

    provider, for that condition in the year in question, and/or the treatment and condition are

    not properly documented in the medical record is a false and/or fraudulent claim within

    the meaning of the FCA, so long as defendant knew that the claim was false when it was

    submitted, or the defendant later discovered its falsity and refused to correct the claim.

           14.     The FCA allows any person having information about an FCA violation to

    bring an action on behalf of the United States, and to share in any recovery. The FCA

    requires that the Complaint be filed under seal for a minimum of 60 days (without service

    on the defendant during that time) to allow the government time to conduct its own

    investigation and to determine whether to join the suit.

           15.     Based on the foregoing laws, qui tam plaintiff Benjamin Poehling seeks,

    through this action, to recover damages and civil penalties arising from the false or

    fraudulent records, statements and/or claims that the Defendants made or caused to be

    made in connection with false and/or fraudulent claims for Medicare Advantage and

    Medicare Part D risk adjustment payments.

    II.    PARTIES

           A.      Plaintiffs

           16.     Relator Benjamin Poehling is Director of Finance for UnitedHealthcare

    Medicare & Retirement (“UHMR”), a subsidiary of UnitedHealth Group (“UHG”). (This

    Complaint refers to UHG and its subsidiaries and affiliates collectively as “UHG” or

    “United.”)   Prior to the fall of 2010, UHMR was known as Ovations, Inc. (unless


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    otherwise specified, this Complaint refers to Ovations, Inc. as UHMR when it is

    discussed as distinct from United).

           17.     Relator joined United in 2002 from Arthur Andersen, where he had

    participated in consulting engagements for UHG. In mid-2002, Relator joined United

    subsidiary Ingenix, Inc. (“Ingenix”) in New Jersey. Relator transferred to UHMR in

    2004, relocating to Minnesota. At UHMR, Relator has held a variety of positions within

    the Finance Department. When United’s risk adjustment services were moved to Ingenix

    in mid-2007, Relator was assigned to be UHMR’s day-to-day liaison with the risk

    adjustment segment at Ingenix.        In this new position, Relator is responsible for

    coordinating with Ingenix to provide UHMR with risk adjustment services, described in

    depth below.    The scope and workload of the assignment grew from a part-time

    responsibility (shared with his other duties) until Relator was working full-time with

    Ingenix on risk adjustment.       During this period, risk adjustment was becoming

    increasingly important to UHG’s revenue, and attracted increasing attention from UHG’s

    and UHMR’s senior management.

           18.     The United States, on whose behalf Relator brings this suit, is the real

    party in interest. The United States has ongoing contracts with defendants through CMS,

    in accordance with defendants’ participation in the Medicare and Medicaid programs.

           B.      Defendants

           19.     Defendant UnitedHealth Group Inc. (“UHG”) is a Minnesota corporation

    headquartered in Minnetonka, Minnesota. For purposes of this Complaint, defendant

    UHG includes all subsidiaries and affiliates that do business with the United States,

    including without limitation UHMR (formerly Ovations), UnitedHealthcare Community

    & State (“UHCS” and formerly AmeriChoice), Ingenix (rebranded as OptimumInsight in


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           20.    UHG is the parent corporation for a large number of businesses within two

    basic market areas—health benefits and health services.       United’s health benefits

    business, UnitedHealthcare, covers health insurance benefits in both public and private

    markets. United’s managed care company for the private sector is UnitedHealthcare

    Employer & Individual (“UHEI”). United’s managed care companies for the public

    sector—Medicare and Medicaid—are UHMR and UHCS. Together, UHMR and UHCS

    form United’s Public & Senior Markets Group (“PSMG”). The health services business,

    meanwhile, offers various services to consumers and the health care industry, including

    United’s health benefits companies. The principal companies within health services, now

    known as Optum, are Ingenix, recently renamed OptumInsight (discussed below), which

    provides data services and consulting, OptumHealth, which provides a variety of

    specialty and ancillary services (such as dental and chiropractic benefits as well as

    acquiring provider groups), and Prescription Solutions, now named OptumRx, a

    pharmacy benefits manager.         UHG reports revenue in four segments: (a)

    UnitedHealthcare (UHEI, UHMR, and UHCS); (b) OptumHealth; (c) OptumInsight

    (formerly Ingenix); and (d) OptumRx (formerly Prescription Solutions).

           21.    United—through its UHMR and UHCS subsidiaries—is the largest

    provider of health insurance coverage for Medicare beneficiaries pursuant to MA

    contracts with CMS. United operates MA plans in all fifty states and the District of

    Columbia.    These MA plans covered approximately 2.2 million enrolled MA




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     beneficiaries. United is also the largest provider of Medicare Part D plans with an

     enrollment of over 4.7 million Medicare beneficiaries as of June 30, 2011. United

     additionally offers Medicare supplemental and hospital indemnity insurance plans, as

     well as various care services. United’s revenue from UHMR (including the bulk of its

     Medicare Advantage business) was $32.1 billion in 2009 and $35.9 billion in 2010. This

     business segment accounted for 37% of UHG’s total revenue in 2009 and 2010.

            22.     United’s Ingenix subsidiary offers data and consulting services to United

     companies as well as other insurance companies, hospitals, physicians, and others.

     Ingenix’s revenues were $1.8 billion in 2009 and $2.3 billion in 2010. (Ingenix was

     renamed as OptumInsight in 2011, but is referred to herein as Ingenix unless otherwise

     noted.) Historically, risk adjustment services were provided to UHMR through a team

     located within the UHMR business unit. In 2007, United moved its risk adjustment

     services group, or Clinical Assessment Solutions (“CAS”), to Ingenix.        (CAS has

     changed titles several times.    It has also operated as Advanced Clinical Solutions

     (“ACS”), Clinical Performance Solutions (“CPS”), and, currently, Clinical Performance

     & Compliance (“CPC”).)

            23.     Between August 2006 and June 2011, Medicare Part C beneficiaries

     enrolled in UHG plans resided in the Western District of New York for approximately

     308,078 “person-months.”      Each person-month equates to one month of a Part C

     beneficiary’s enrollment in a United health plan.

            24.     Defendant WellMed Medical Management, Inc. (“WellMed”) is a Texas

     corporation headquartered in San Antonio, Texas. WellMed provides healthcare benefits

     for United’s Medicare members in certain regions pursuant to a capitation agreement




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            25.     Defendant Health Net, Inc. (“Health Net”) is a Delaware corporation

     headquartered in Woodland Hills, California. Health Net operates MA plans pursuant to

     contracts with CMS. Currently, Health Net has approximately 203,000 members enrolled

     in its MA plans. United holds a contract with Health Net whereby United submits Health

     Net’s risk adjustment data to CMS and performs additional risk adjustment services,

     including chart reviews, as described below. Between August 2006 and June 2011,

     Health Net plan members resided in the Western District of New York for approximately

     24,960 Part C “person-months.” For purposes of this Complaint, defendant Health Net

     includes all subsidiaries and affiliates that do business with the United States.

            26.     Defendant Arcadian Management Services, Inc. (“Arcadian”) is a

     Delaware corporation headquartered in Oakland, California.          Arcadian operates MA

     plans pursuant to contracts with CMS, covering approximately 64,000 MA beneficiaries.

     Until approximately August 2011, United held a contract with Arcadian whereby United

     submitted Arcadian’s risk adjustment data to CMS and performed additional risk

     adjustment services, including chart reviews, as described below.          In August 2011,

     Arcadian was acquired by defendant Humana, Inc., and terminated its contract with

     United for risk adjustment services around that time. Between August 2006 and June

     2011, Arcadian plan members resided in the Western District of New York for




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     approximately 3,690 Part C “person-months.” For purposes of this Complaint, defendant

     Arcadian includes all subsidiaries and affiliates that do business with the United States.

            27.     Defendant Tufts Associated Health Plans, Inc. (“Tufts”) is a Delaware

     corporation headquartered in Waltham, Massachusetts.            Tufts operates MA plans

     pursuant to contracts with CMS, covering approximately 88,000 MA beneficiaries.

     United holds a contract with Tufts whereby United submits Tufts’ risk adjustment data to

     CMS and performs additional risk adjustment services, including chart reviews, as

     described below. Between August 2006 and June 2011, Tufts plan members resided in

     the Western District of New York for approximately 423 Part C “person-months.” For

     purposes of this Complaint, defendant Tufts includes all subsidiaries and affiliates that do

     business with the United States.

            28.     Defendant Aetna Inc. (“Aetna”) is a Pennsylvania corporation

     headquartered in Hartford, Connecticut. Aetna offers a broad range of health insurance

     products including MA and Medicaid managed care plans. Aetna’s MA plans cover over

     400,000 individuals.      Between August 2006 and June 2011, Medicare Part C

     beneficiaries enrolled in Aetna plans resided in the Western District of New York for

     approximately 28,380 “person-months.”         For purposes of this Complaint, defendant

     Aetna includes all subsidiaries and affiliates that do business with the United States.

            29.     Defendant Blue Cross and Blue Shield of Florida, Inc. (“BCBS Florida”)

     is a health insurance provider headquartered in Jacksonville, Florida. BCBS Florida’s

     plans have a total enrollment of over 3 million members, including over 55,000 members

     enrolled in MA plans.      Between August 2006 and June 2011, BCBS Florida plan

     members resided in the Western District of New York for approximately 1,229 Part C




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     “person-months.” For purposes of this Complaint, defendant BCBS Florida includes all

     subsidiaries and affiliates that do business with the United States.

            30.       Defendant Blue Cross Blue Shield of Michigan (“BCBS Michigan”) is a

     Michigan non-profit health care corporation headquartered in Detroit, Michigan. BCBS

     Michigan’s plans cover approximately 4.3 million members, including over 260,000 MA

     beneficiaries.    Between August 2006 and June 2011, BCBS Michigan’s MA plan

     beneficiaries resided in the Western District of New York for approximately 1,448 Part C

     “person-months.” For purposes of this Complaint, defendant BCBS Michigan includes

     all subsidiaries and affiliates that do business with the United States.

            31.       Defendant Bravo Health, Inc. (“Bravo”), headquartered in Baltimore,

     Maryland, is an organization offering MA plans. Bravo’s MA plans cover approximately

     100,000 Part C members. Between August 2006 and June 2011 Bravo health plans’

     beneficiaries resided in the Western District of New York for approximately 312 Part C

     “person-months.” On November 30, 2010, Bravo was acquired by HealthSpring, Inc., a

     Delaware corporation headquartered in Franklin, Tennessee. HealthSpring, Inc., like

     Bravo, operates managed care plans with a focus on Medicare. For purposes of this

     Complaint, defendant Bravo includes all subsidiaries and affiliates that do business with

     the United States.

            32.       Defendant EmblemHealth, Inc. (“Emblem”) is a health maintenance

     organization and health insurance company headquartered in New York, New York. It

     was formed in 2006 by the merger of Group Health Incorporated and HIP Health Plan of

     New York, at which time it became a for-profit company. As of 2011, EmblemHealth

     and its subsidiaries (including HIP Health Plan of New York and ConnectiCare) served




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     more than 3.7 million members, including over 170,000 MA beneficiaries. Between

     August 2006 and June 2011, members covered by Emblem’s Medicare Advantage plans

     resided in the Western District of New York for approximately 3,594 “person-months.”

     For purposes of this Complaint, defendant Emblem includes all subsidiaries and affiliates

     that do business with the United States.

            33.      Defendant Managed Health, Inc., d/b/a Healthfirst New York

     (“Healthfirst”), is a New York non-profit corporation headquartered in New York, New

     York. Healthfirst operates a variety of health plans including plans that cover nearly

     95,000 MA beneficiaries. Between August 2006 and June 2011 Healthfirst’s Part C

     beneficiaries resided in the Western District of New York for approximately 589 “person-

     months.” For purposes of this Complaint, defendant Healthfirst includes all subsidiaries

     and affiliates that do business with the United States.

            34.     Defendant Humana Inc. (“Humana”) is a Delaware corporation

     headquartered in Louisville, Kentucky. Humana offers a wide range of health insurance

     products, including MA and Medicaid managed care plans. Humana’s total enrollment in

     its medical insurance plans totals over 10.2 million members with over 1.6 million

     enrolled in MA plans. Between August 2006 and June 2011, Humana’s Part C covered

     beneficiaries resided in the Western District of New York for approximately 71,549

     “person-months.”     For purposes of this Complaint, defendant Humana includes all

     subsidiaries and affiliates that do business with the United States.

            35.     Defendant Medica Holding Company (“Medica”) is a Minnesota non-

     profit holding company headquartered in Minnetonka, Minnesota.            Its family of

     businesses include Medica Health Plans, Medica Health Plans of Wisconsin, Medica




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     Insurance Company, Medica Self-Insured, and Medica Health Management, LLC.

     Through its companies, Medica provides coverage to 1.6 million members, including

     over 126,000 members enrolled in MA plans. Between August 2006 and June 2011,

     Medica’s Part C plan beneficiaries resided in the Western District of New York for

     approximately 1,813 “person-months.”         For purposes of this Complaint, defendant

     Medica includes all subsidiaries and affiliates that do business with the United States.

            36.       Defendant WellCare Health Plans, Inc. (“WellCare”) is a Delaware

     corporation headquartered in Tampa, Florida. WellCare provides managed care health

     plans targeted to government-sponsored health care programs, including MA and

     Medicaid plans. As of June 30, 2011, the company served approximately 2.4 million

     members nationwide, including approximately 130,000 MA members. WellCare has

     regional offices in seven states, including New York. Between August 2006 and June

     2011, WellCare represented members in the Western District of New York for

     approximately 171,040 Part C “person-months.”             For purposes of this Complaint,

     defendant WellCare includes all subsidiaries and affiliates that do business with the

     United States.

            37.       Defendant MedAssurant, Inc. (“MedAssurant”) is a privately held

     company headquartered in Bowie, Maryland. MedAssurant provides risk adjustment

     services, including chart review and data submission, to numerous health plans that offer

     MA coverage.       MedAssurant has numerous clients in, and routinely does business,

     including business involving Medicare risk adjustment, in the Western District of New

     York. For purposes of this Complaint, defendant MedAssurant includes all subsidiaries

     and affiliates that do business with the United States.




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     III.    JURISDICTION & VENUE

             38.    This Court has jurisdiction over the subject matter of this action pursuant

     to 28 U.S.C. § 1331 and 31 U.S.C. § 3732(a), which specifically confers jurisdiction on

     this Court for actions brought under 31 U.S.C. § 3730.

             39.    This Court has personal jurisdiction over the Defendants, pursuant to 31

     U.S.C. § 3732(a), as one or more Defendants can be found in, reside in, transact business

     in, and have committed acts related to the allegations in this Complaint in the Western

     District of New York. For example, United’s SecureHorizons Medicare Advantage plan

     operates in the Western District of New York. Additionally, each of the Defendant health

     plan issuers knowingly represented beneficiaries located in the Western District of New

     York.

             40.    Venue is proper, pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C.

     § 1391(b)–(c), as the Defendants can be found in, reside in, and/or transact business in

     the Western District of New York, and because many of the violations of 31 U.S.C.

     § 3729 discussed herein occurred within this judicial district.

     IV.     LEGAL BACKGROUND

             41.    Medicare is a federally-funded health care program primarily serving

     people age 65 or older. Initially created in Title XVIII of the Social Security Act of

     1965, Medicare now has four Parts, A through D. The two original components of

     Medicare are Part A, which covers inpatient hospital costs and related services, and Part

     B, which covers outpatient health care costs, such as physicians’ fees.

             42.    Traditionally, Medicare operates on a fee-for-service basis, meaning that

     Medicare directly pays hospitals, physicians and other health care providers for each

     service they provide to a Medicare beneficiary. Medicare beneficiaries are generally


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     required to pay some portion of many of these services in the form of copayments,

     deductibles, coinsurance, or other set fees (collectively known as the members’ “out of

     pocket” expenses).

            43.     In 1997, Congress created Medicare Part C, which provides similar

     benefits to Medicare members, but does so based on a managed care model, rather than

     the traditional fee-for-service model. Under Part C, rather than pay providers directly,

     Medicare pays private managed care plans (later named “Medicare Advantage” or “MA”

     plans) a capitation rate (per member per month) and those plans are responsible for

     paying providers for the services they provide to members of that specific MA plan.

            44.     MA plans must provide Medicare beneficiaries benefits at least equivalent

     to those they would have received under the traditional Medicare Parts A and B.

     Depending on the structure of the plan, MA plans may also provide additional benefits

     beyond what traditional Medicare would have covered, such as dental care, or cover

     some or all of their members’ out of pocket expenses associated with basic Medicare

     Parts A and B services.

            45.     In 2003, Congress passed the Medicare Prescription Drug, Improvement,

     and Modernization Act, creating Medicare Part D which provides prescription drug

     coverage. Although a limited number of Medicare Part D plans are operated under a

     cost-reimbursement contract, the plans are generally financed under a managed care

     model. These managed care model plans are provided under both Part D prescription

     drug plans, which offer only prescription drug coverage, and Part C plans, which

     integrate the prescription drug coverage with the traditional Part C health care coverage.




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            46.    This Complaint refers, collectively, to Medicare Advantage plans with and

     without Part D coverage, and stand-alone managed care Medicare Part D Plans as

     “Medicare Advantage Plans” or “MA Plans.”

            A.     Calculation of MA Plan Capitation Rates

            47.    The capitation rates Medicare pays to MA plans are determined based on a

     process involving consideration of past and expected future medical expenses, the

     location of the plan’s actual and expected members, the health status and demographics

     of those members and whether the plan will include any additional benefits. That process

     is summarized in Medicare regulations as follows:

            In short, under the bidding methodology each plan’s bid for coverage of Part A

            and Part B benefits (i.e., its revenue requirements for offering original Medicare

            benefits) is compared to the plan benchmark (i.e., the upper limit of CMS’

            payment, developed from the county capitation rates in the local plan’s service

            area or from the MA regional benchmarks for regional plans). The purpose of the

            bid-benchmark comparison is to determine whether the plan must offer

            supplemental benefits or must charge a basic beneficiary premium for A/B

            benefits.

     Medicare Managed Care Manual (“MMCM”), ch. 8, § 60.

            48.    In other words, it is a three-step process involving: (a) development of the

     MA plan’s bid rate; (b) review of the CMS benchmark rate; and (c) comparison of those

     two rates to develop the base capitation rate and determine whether any adjustments in

     the plan benefits or member premiums are required.

            49.    First, the MA plan develops a bid rate. This rate is the amount that the

     MA plan expects it will be required to pay to provide Medicare Parts A and B benefits to


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     a hypothetical average member of the plan. This estimate must be based on either the

     MA plan’s prior experience covering Medicare members, or an actuarially validated data

     analysis of expected costs. To represent an “average” plan member, the bid rate must

     make adjustments to standardize the effect of expected geographic diversity (because

     some areas are more expensive than others) and the relative health status (i.e., the number

     and nature of chronic conditions) of the members whose claims experience provided the

     basis for the bid. The bid rate also includes an amount that the MA plan expects to spend

     on administrative costs, and a profit margin.

            50.     The mechanism for standardizing the bid for individuals’ demographic

     factors and health status is known as the “risk score.” It is an artificial score that CMS

     assigns to every beneficiary. CMS starts with a score of zero, and then adds points for

     the beneficiary’s demographic condition (such as age and gender) and individual disease

     states (such as diabetes or congestive heart failure). The average risk score is one, with

     most Medicare beneficiaries having scores under three. The risk score model is designed

     so that a population with an average risk score of two would be expected to use twice as

     much health care (in dollars) as a population with a score of one. The bid rate the MA

     plans develop must reflect the amount they will require to provide services to a

     hypothetical population with a risk score of one.

            51.     Second, the MA plan must review the Medicare benchmark rate provided

     by CMS. This rate is the amount that the Medicare program would spend to provide

     Parts A and B benefits to an average member in the geographic area covered by the MA

     plan’s bid. The benchmark rate also includes several other adjustments, including until




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     recently a bonus payment to incentivize health insurance companies to enter the MA

     market.

               52.   Third, the bid rate and the benchmark rate are compared to determine

     whether the MA plan must charge its members a premium, or, instead, if it must offer

     them enhanced benefits. If the bid rate is greater than the benchmark rate, Medicare will

     only pay the MA plan the benchmark rate per member per month. That benchmark rate

     becomes the base capitation rate that CMS pays the MA plan for a member with a 1.0

     risk score (described below). The MA plan must then charge the beneficiaries who join

     its plan a monthly premium in order to make up the shortfall between the bid rate and the

     base capitation rate. See MMCM, ch. 8, § 60.1.

               53.   If, on the other hand, the bid rate is less than the benchmark rate, then the

     bid rate becomes the base capitation rate. The difference between the benchmark rate

     and the bid rate is then split between the MA plan and the Medicare program. The first

     25% of the difference is retained by the Medicare program as plan savings.               The

     remaining 75% is returned to the MA plan, which must use the rebate to either provide

     enhanced benefits to its plan members or to cover the members’ out of pocket expenses.

     In the end, then, in such situations, the base capitation rate equals the bid rate, plus the

     MA plan receives 75% of the difference between the bid rate and the benchmark rate.

               54.   Medicare does not, however, pay the plans the base capitation rate.

     Instead, when payments are actually made, the base capitation rate is adjusted, for each

     member, to reflect his or her actual age, gender, location, and, most important, health

     status.

               55.   MA plans must rebid their rates every year.




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            B.      Calculation of Part D Plan Capitation Rates

            56.     The process of calculating the capitation rates for the Part D portion of

     MA plans is very similar to the process used for the base portion of the MA rate.

     Annually, the plan develops and submits a bid rate based on the plan’s estimate of the

     monthly revenue requirements it will require to provide qualified prescription drug

     coverage for an average, eligible individual. 42 C.F.R. § 423.265(c). As for the base

     MA rate, a Medicare prescription drug coverage plan’s average monthly bid rate is

     adjusted to take into account the geographic differences in pricing and the relative health

     status of the members on whom the bid calculation was based.

            57.     The risk score calculations for the Medicare Part D portion of the plans

     mirror the calculation for the basic MA rate, determined by each beneficiary’s

     demographic information and health status. Each plan’s bid must reflect the revenue the

     plan will require to provide services to a population of “average” members, i.e., those

     with a risk score equal to one.

            C.      Risk Adjustment Depends on Accurate, Substantiated Health
                    Condition Codes

            58.     As described above, CMS pays MA plans at a capitation rate that reflects,

     among other things, each member’s health status. The process of adjusting the capitation

     rate to reflect a member’s disease states is known as risk adjustment. Risk adjustment is

     intended to improve the accuracy of the payments CMS makes to these plans. To this

     end, CMS pays a higher future premium for enrollees whom the MA plan represents have

     been treated for certain diseases and conditions in the current year, based on the

     expectation that those enrollees will require treatment and/or management for the

     conditions in the following year. See 2008 Risk Adjustment Training for Medicare



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     Advantage Organizations Participant Guide (“Participant Guide”), at 6.4.1 (for purposes

     of this Complaint, “treatment” is defined as treatment and management within the

     meaning of the Participant Guide).

            59.     Conversely, CMS pays a lower premium for enrollees who, although they

     may have certain typically expensive conditions, did not require care, treatment or

     management for those conditions in the current year.          For these patients, the risk

     adjustment methodology assumes that because their condition did not require treatment in

     the current year, it has improved or otherwise changed so that it is not expected to require

     treatment in the following year.

            60.     As a practical matter, the CMS risk adjustment model evaluates enrollee

     health (and establishes risk adjustment payment rates) using diagnosis classifications set

     forth in the International Classification of Diseases, 9th Edition, Clinical Modification

     (“ICD-9-CM”) system. The ICD-9 system assigns each diagnosis a specific code. Under

     the MA model, these individual diagnosis codes are then organized into groups, called

     Hierarchical Condition Categories (“HCCs”). MMCM, ch. 8, § 50. Every HCC consists

     of several ICD-9-CM diagnosis codes that are clinically related and are expected to

     require a similar level of resources to treat. Id. For example, there are five HCCs for

     patients with diabetes: HCC 15 (diabetes with renal or vascular manifestation); HCC 16

     (Diabetes with Neurologic or Other Specified Manifestation); HCC 17 (Diabetes with

     Acute Complications); HCC 18 (Diabetes with Ophthalmologic or Unspecified

     Manifestation); and HCC 19 (Diabetes without Complication).           Generally speaking,

     patients grouped in HCC 15 have the most serious manifestations associated to their

     diabetes, and are expected to cost the most to treat. Patients in HCC 19 have the least




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     cost-intensive type of diabetes, and therefore the CMS risk adjustment system provides a

     smaller enhanced payment for these patients.

            61.    CMS has used the same model for the Part D portion of risk adjustment.

     However, because certain diagnoses will be expected to increase liability for prescription

     drugs covered under Part D, but not hospital costs and physician fees covered under Part

     C, and vice versa, a distinct list of Hierarchical Condition Categories (“RxHCCs”) with

     corresponding diagnosis codes was created for Medicare’s Part D risk adjustment. See

     Participant Guide at 8.2.5.2. For example, RxHCC 75 represents Attention Deficit

     Disorder, a condition predicted to increase drug spending. However, because Attention

     Deficit Disorder is unlikely to result in hospitalization, RxHCC 75 has no corresponding

     HCC. On the other hand, HCC 77, Respirator Dependence/ Trachostomy Status, a

     condition category predictive of Medicare Part C medical costs, but not necessarily

     predictive of Part D drug expenses, has no RxHCC equivalent.

            62.    Although the HCC and RxHCC systems are not identical, they do have

     significant overlap. Certain HCCs have equivalent RxHCCs, meaning that the condition

     categories consist of identical ICD-9-CM diagnosis codes.         For example, HCC 5

     (Opportunistic Infections) is equivalent to RxHCC 2 (Opportunistic Infections), and HCC

     37 (Bone/Joint/Muscle Infections/Necrosis) is the equivalent of RxHCC 39

     (Bone/Joint/Muscle Infections/Necrosis). Even where they are not identical, most HCCs

     overlap with one or more RxHCCs. For example, of the thirty-seven diagnosis codes that

     fall within HCC 45 (Disorders of Immunity), twenty-seven fall within RxHCC 52

     (Disorders of Immunity), seven fall within RxHCC 51 (Severe Hematological Disorders),




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     and three do not fall within any RxHCCs. Thus, the majority of ICD-9-CM diagnosis

     codes that capture an HCC will also capture an RxHCC.

            63.     An individual ICD-9-CM code included in the HCC system for a

     particular member corresponds on average to nearly $3,000 in extra revenue for the plan

     over the course of the following year for that member. So, for example, if a MA plan like

     United with 2.1 million members submitted just one incremental HCC-based diagnosis

     code per member to CMS, it would result in approximately $6.3 billion in additional

     capitation payments from CMS.

            64.     Because submitting incorrect diagnosis codes increases risk adjustment

     payments, CMS requires MA plans to follow strict guidelines when submitting codes.

     See, e.g., 2008 Risk Adjustment Training for Medicare Advantage Organizations

     Participant Guide.

            65.     CMS requires that the patient must have been treated for the relevant

     diagnoses during a face-to-face encounter with an eligible provider, such as a physician,

     physician extender, or hospital, during the year in question.

            66.     Only services provided by an eligible provider type may be included.

     CMS expressly prohibits MA plans from submitting “risk adjustment diagnoses based on

     any diagnostic radiology services” or laboratory services. Participant Guide, at 3.2.2, 4-

     3. The reason CMS prohibits MA plans from submitting codes based on radiology

     charts, for example, is that “[d]iagnostic radiologists typically do not document confirmed

     diagnoses. Confirmed diagnoses come from referring physician or physician extenders.”

     Id., at 4-3 (emphasis added). Because radiologists generally list on their charts the

     diagnoses a doctor wants them to look for, not which diagnoses the patient actually has,




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     CMS excludes radiology services as a valid provider type (i.e., source of risk adjustment

     data).

              67.      The treating provider must document the facts supporting the coded

     diagnosis in the patient’s medical record and sign and date the record. At a minimum, the

     plan must record five elements for submission to CMS:

              (a) the member’s Health Insurance Claim (“HIC”) number; (b) the ICD-9-CM

              diagnosis code;

              (c) the “service from” date;

              (d) the “service through” date; and

              (e) the provider type.

              68.    MA plans are responsible for the content of risk adjustment data

     submissions to CMS, regardless of whether they submit the data themselves or through

     an intermediary. Participant Guide, at 3-13. Before submitting data to CMS, MA plans

     are required to filter the data “to ensure that they submit data from only appropriate data

     sources.” Participant Guide, at 4-11. For example, filters should include checking that

     physician data comes from face-to-face encounters with patients and ensuring that data

     does not come from non-covered providers, such as diagnostic radiology services.

              69.    MA plans that filter risk adjustment claims by CPT codes must also filter

     the data to ensure that only diagnoses treated through approved procedure types are

     included. Id. at 4-11. MA organizations typically classify professional (e.g., physician)

     procedures using Current Procedural Terminology (“CPT”) codes and institutional

     procedures using revenue codes. These codes show whether the type of service in




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     question was a face-to-face procedure such as a physical examination, or a non-

     qualifying remote procedure, such as a laboratory test or radiology exam.

            70.     MA plans are required to correct the risk adjustment data they submit to

     CMS. When the MA plan learns that information in a risk adjustment claim (i.e., HIC

     number, diagnosis code, service dates, and provider type) contains an error, it must

     submit a “delete record” to CMS for that claim.

            71.     CMS also requires that diagnosis codes used as the basis for a risk

     adjustment claim be substantiated through documentation in a medical record. Upon

     request by CMS, MA plans must provide documentation to support each diagnosis and

     substantiate that the provider followed proper coding guidelines. Id. at 6-5; 5-52.

            72.     In general, CMS sets risk scores based on risk adjustment data submitted

     for services provided during the year preceding the payment year.               42 C.F.R.

     §§ 422.310(g), 423.329(b)(3). The annual deadline for submitting risk adjustment data to

     CMS is in early September.        Id.   The data submitted by the September deadline

     determines members’ preliminary risk scores for the following year.

            73.     Despite the September deadline, CMS accepts submissions of risk

     adjustment data for a period after the end of service year and, through a reconciliation

     process, adjusts its payments to the MA plan retroactively to account for codes submitted

     after the September deadline. MA plans are allowed to submit risk adjustment data until

     after the end of the payment year. After the payment year ends, CMS recalculates the

     risk score for any members for whom the MA plan made a retroactive submission.

            74.     Thus, for example, the capitation rates for 2010 are based on the MA

     plans’ members’ health status (diagnosis codes) from 2009.         The initial submission




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     deadline for the 2009 diagnosis codes was September 4, 2009 and the final submission

     deadline was January 31, 2011. Thus, CMS calculated members’ initial risk factors for

     2010 based on the September 4, 2009 data, but MA plans were allowed to continue to

     submit 2009 diagnoses until January 31, 2011. After that date, for every member with a

     newly-submitted diagnosis, CMS recalculated the risk score and reconciled the member’s

     payments in 2010 with the amount it would have paid at the new score.

             75.   To test the validity of MA plan risk adjustment data, CMS conducts Risk

     Adjustment Data Validation (“RADV”) audits after the MA plan’s final deadline for

     submitting risk adjustment data for the payment year.       During such audits, CMS

     “validates” some of the MA plan’s HCC scores by reviewing the medical records that the

     plan contends support the claimed diagnosis codes. Id. at 7-1. To facilitate the RADV

     audits, MA plans are required to submit to CMS medical records and coversheets for

     each sampled enrollee, including the “one best medical record” supporting each HCC.

     Id. at 7-9.

             76.   Historically, CMS has not extrapolated RADV audit results to the plan as

     a whole. (CMS has recently proposed moving toward extrapolation of RADV results.)

     Instead, CMS has merely sought repayment for those risk adjustment claims found to be

     false during the RADV audit. Because RADV audits generally used relatively small

     samples—a few hundred risk adjustment claims—the potential risk to MA plans, should

     they be found to have submitted false risk adjustment claims, has been relatively small.

     Without meaningful financial penalties, MA organizations have generally seen little

     incentive to conform to CMS’s risk adjustment rules. The fraudulent practices described




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     in this Complaint are a product of the belief, common among MA organizations, that the

     law could be violated without meaningful consequence.

            D.      CMS Requires MA Plans To Certify the Validity of Their Bid Rates
                    and Risk Adjustment Data To Prevent Fraud

            77.     In recognition of the fact that the integrity of the capitation rates depends

     on the integrity of the actuarial information used by the MA plans in developing their bid

     rates, and to otherwise guard against fraud, CMS requires MA organizations to submit

     three separate attestations, each signed by the CEO or CFO (or their authorized, direct

     subordinate). These attestations are a condition that the MA plans must meet to be

     eligible to receive any capitation payments from CMS.

            78.     The first attestation, which the MA organization submits on a monthly

     basis, requires the MA organization to “attest based on best knowledge, information, and

     belief that each enrollee for whom the MA Organization is requesting payment is validly

     enrolled, or was validly enrolled during the period for which payment is requested, in an

     MA plan offered by the MA Organization.”

            79.     The second attestation, which is submitted annually, requires the MA

     organization to attest that the risk adjustment data it submits annually to CMS is

     “accurate, complete, and truthful.” The attestation acknowledges that risk adjustment

     information “directly affects the calculation of CMS payments . . . and that

     misrepresentations to CMS about the accuracy of such information may result in Federal

     civil action and/or criminal prosecution.” The regulations also provide that if the claims

     data are generated by a “related entity, contractor, or subcontractor of an MA

     organization,” that entity must similarly certify the “accuracy, completeness, and

     truthfulness of the data.” 42 C.F.R. §422.504(l)(2).



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            80.     The third attestation is the MA organization’s certification “that the

     information and documentation comprising the bid submission proposal is accurate,

     complete, and truthful and fully conforms to the Bid Form and Plan Benefit Package

     requirements; and that the benefits described in the CMS-approved proposal bid

     submission agree with the benefit package the MA Organization will offer during the

     period covered by the proposal bid submission.”

            81.     MA organizations must also submit bid submission attestations, certifying

     “that the information in its bid submission and assumptions related to projected

     reinsurance and low income cost sharing subsidies is accurate, complete, and truthful and

     fully conforms to the [bid submission regulations].”

            E.      The False Claims Act Contains a Duty to Correct Known Errors

            82.     The False Claims Act contains an independent requirement to correct

     errors that will cause, or have caused, a government overpayment. The Act attaches

     liability to anyone who knowingly makes, uses, or causes to be made or used, a false

     statement or record material to an obligation to pay or transmit money to the government,

     or who knowingly conceals or knowingly and improperly avoids or decreases an

     obligation to pay or transmit money to the government. 31 U.S.C. § 3729(a)(1)(G).

            83.     Accordingly, MA plans not only have a duty not to submit incorrect data

     to CMS, but also, for data they have already submitted, must delete the records from

     CMS’s database using a “delete code.”

     V.     BACKGROUND

            A.      UnitedHealth Group

            84.     United is the largest provider of MA plans nationwide, covering benefits

     under Medicare Parts C and D in all fifty states and in most U.S. territories. United had


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     6.8 million individuals enrolled in its MA plans (Part C and Part D) at the end of 2010.

     The MA plans are operated by UHMR and UHCS and offered to Medicare beneficiaries

     under such brand names as, for example, SecureHorizons, AmeriChoice, Evercare,

     AARP MedicareRx and UnitedHealth Rx.

            85.     United has expanded rapidly since its founding in 1977. The company’s

     growth in recent years has been driven by acquisitions, nowhere more so than in its

     Medicare business. These acquisitions included the 2004 purchase of Oxford Health

     Plans, the 2005 acquisition of PacifiCare Health Systems, and the 2007 acquisition of

     Sierra Health Services, Inc.

            86.     Recently, United has also been expanding vertically by acquiring provider

     groups who care for many of the patients in United’s MA plans. Foremost among these

     purchases was the 2011 purchase of WellMed, a large physician-owned practice

     management company located primarily in Texas.

            87.     United has organized its businesses into two primary segments: health

     plans and health services, as described above. See ¶¶20–22. Within the health services

     segment, Ingenix provides risk adjustment services (and other services) to United’s MA

     plans and also sells those same services commercially to other MA plans.

            88.     Ingenix submits or previously submitted diagnosis codes for risk

     adjustment to CMS on behalf of UHMR and UHCS as well as on behalf of commercial

     clients including, for example, Health Net, Arcadian, Tufts, and Medica.         United

     relocated its risk adjustment team from UHMR to Ingenix to enable these commercial

     deals, as well as to allow UHMR and UHCS to charge their risk adjustment costs with

     markups to CMS on their annual bids.




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            89.     At every level, United is driven by a corporate culture that demands and

     rewards financial success from its employees. The risk adjustment practices described in

     this Complaint are attributable in large part to these demands and rewards.         As to

     demands, United evaluated many of its employees, including Relator, until recently on

     their success at “maximizing revenue” by increasing risk scores. United gave Relator as

     well as clinical staff specific goals for increasing risk scores. Relator’s March 30, 2008

     review, for example, evaluated him against United’s “business goal” of increasing risk

     scores by 3%. There were no similar performance goals for the overall accuracy of risk

     adjustment submissions. Nor was there any accountability assigned for reducing the

     number of false claims submitted to CMS.

            90.     For rewards, United tied its performance incentives directly to risk score

     increases. These incentives have been at the center of United’s risk adjustment practices.

     Relator, for example, received a $15,000 bonus in 2010 for his work to meet UHMR’s

     target of $100 million in additional internal operating income (“IOI”) from risk

     adjustment payments. His bonus, however, paled in comparison to the incentives offered

     to those higher up in the company. Optum CEO (and former CEO of UHMR) Larry

     Renfro received a compensation package in 2010 that included a potential bonus, called a

     “cash incentive award,” which tied his earnings to revenue, IOI, and provider satisfaction.

     Increasing risk scores met all three objectives. Mr. Renfro’s 2010 cash incentive award

     was $900,000—150% of his bonus target. In 2011, Mr. Renfro received a $1.4 million

     cash incentive award, which was made in consideration of his “successful execution of a

     major multi-track Medicare remediation initiative,” of which increasing United’s risk

     score was a substantial component.




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            91.     During Mr. Renfro’s term as UHMR’s CEO, UHMR set revenue and IOI

     targets based on risk adjustment and entered into agreements with providers that offered

     financial rewards for increasing risk scores. As discussed below, many of the policies

     and practices United used to achieve these goals were fraudulent. Despite misgivings

     expressed by various United personnel, however, United took no action to stop its

     misconduct. Lack of independence contributed to the problem. For example, PSMG’s

     Chief Compliance Officer, David Orbuch, reported not to the Board of Directors, but to

     Mr. Renfro.

            92.     United aligned the incentives of its entities, staff, and vendors to increase

     risk scores. Ingenix had an incentive to increase the number of risk adjustment claims

     (based on incremental/newly-found diagnosis codes) it submitted to CMS for payment

     under the terms of its Service Level Agreement with UHMR. The Agreement provided

     for base payments plus a significant “incentive fee” tied to risk score increases. Exhibit

     2, incorporated herein.

            93.     In 2009, United changed to a more fixed-fee arrangement with Ingenix.

     Ingenix, however, continues to receive incentive fees based on risk score increases from

     at least one of its commercial clients, Health Net.

            94.     In addition, the managers responsible for Ingenix’s risk adjustment

     program (now called CPC), including Jeff Dumcum, Paul Bihm, and Stephanie Will, had

     employment agreements with United that included financial incentives based on

     increased risk scores. Furthermore, United gave incentives to its healthcare providers and

     vendors. As described below, for example, United (PacifiCare at the time) entered into

     an agreement with WellMed, such that WellMed’s data subsidiary, DataRap, would




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            95.      United’s senior management push relentlessly to increase United’s

     revenue from risk adjustment. Tellingly, UHMR has assigned risk adjustment to its

     Finance Department, not one of its clinical departments. (Relator was assigned to his job

     despite having no clinical background.) In 2010 and 2011, UHMR has implemented

     projects referred to as “remediation plans”, “focus area projects,” or “affordability

     agendas” to increase IOI.

            96.      The remediation plan for 2010 called for $800 million in additional IOI,

     $100 million of which was to come from increased risk adjustment revenue. In 2011, the

     additional IOI target from risk adjustment rose to approximately $125 million.

            97.      While speaking at the Citi 2011 Global Healthcare Investor conference on

     March 2, 2011, UHMR’s CEO, Tom Paul, commented that United’s 2010 affordability

     agenda allowed United to not raise premiums or cut benefits, while still achieving

     business objectives. He went on to say the affordability agenda will continue in 2011 and

     beyond.      These remediation plans are merely United’s latest effort to exploit risk

     adjustment’s large revenue potential. As described below, United has engaged in a

     course of conduct since at least 2006 to maximize its risk adjustment payments from

     CMS. For much of the past decade, United’s attitude may be summarized by an email

     from former UHMR CFO Jerry Knutson to Ingenix’s Jeff Dumcum:

            Wanted to get together with you and discuss what we can do in the short term and

            long term to really go after the potential risk scoring you have consistently




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             indicated is out there. . . . You mentioned vasculatory disease opportunities,

             screening opportunities, etc with huge $ opportunities. Lets turn on the gas!

     Exhibit 3, incorporated herein.

             B.     MedAssurant, Inc.

             98.    MedAssurant is a large data analytics company that offers a variety of

     product solutions to clients in the health care industry, including local and national health

     plans, care delivery networks, employers, pharmaceutical companies and government

     organizations. MedAssurant’s earliest component was formed in Michigan in 1998, but

     its significant growth and expansion began in 2005 after the company launched its

     portfolio of data aggregation, abstraction, validation, and analysis toolsets in response to

     demand from the changing market. Today, MedAssurant operates in all 50 states, Puerto

     Rico, and the District of Columbia, in over 99.5% of counties across the U.S., and

     partners with nearly 200 managed care organizations touching millions of members.

             99.    At the heart of many of MedAssurant’s solutions is the company’s

     healthcare data warehouse which stores client data dating back to at least January 2006.

     As of 2008, the database held data pertaining to more than 450 million member-months

     of member clinical, laboratory, pharmacy, medical product utilization, and encounter

     data.

             100.   MedAssurant organizes its product solutions into four categories: (1)

     Clinical and Quality Outcomes; (2) Claims & Payment Integrity; (3) Care Coordination

     & Enhancement; and (4) Healthcare Data Insights. This Complaint addresses fraudulent

     practices within MedAssurant’s risk adjustment and claims submission services, which

     fall under the “Claims & Payment Integrity” category (formerly known as “Claims

     Analytics and Risk Adjustment”).


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               101.   Although MedAssurant promises MA risk score improvement through a

     variety of its products, only its Capitation Risk Adjustment (“CARA”) solutions are

     marketed as complete “end-to-end” risk adjustment solutions. MedAssurant provides its

     CARA solution clients services that are designed to “identify, analyze, pursue, and

     document valid diagnoses not otherwise properly or fully captured by a plan’s primary

     claims systems.”

               102.   Broadly speaking, the CARA solution utilizes proprietary algorithms to

     analyze the member data and identify patients who might be ripe for the submission of

     additional or more intense risk adjustment claims. Among the data MedAssurant uses to

     identify these HCC coding “opportunities” are data for services such as radiology and

     laboratory services and prescription drug use that are prohibited as evidence to support

     HCC claims. MedAssurant calls these “opportunities” to increase the Plan’s HCC-driven

     reimbursement Clinical Encounter Data Incongruences (“CEDIs”).

               103.   MedAssurant has a nationwide employee network of chart reviewers who

     perform chart reviews on-location in providers’ offices and, where the on-location

     reviews are not feasible, in other centralized locations. MedAssurant coordinates the

     chart reviews with its proprietary ChartWise solution, a logic system designed to select

     and prioritize the medical facilities and providers holding medical records in need of

     review.

               104.   After identification of the target CEDIs, MedAssurant conducts reviews of

     members’ medical records to find a basis to submit a claim for each target diagnosis.

               105.   During these chart reviews, MedAssurant’s employees are instructed to

     look only for diagnosis codes that would support new HCCs. They are not instructed to




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     assess the accuracy of any diagnosis codes that have already been submitted for risk

     adjustment reimbursement. Nor are they provided a way, if they find that a previously

     submitted diagnosis was incorrect, to report that information to Medicare.

            106.    When, after a medical record review, MedAssurant decides to submit an

     HCC claim, it converts the necessary data about the new diagnosis into the CMS-required

     file format and either provides the files to the CARA client or submits the files directly to

     CMS.

            107.    MedAssurant promises significant return-on-investment (“ROI”) from its

     CARA solution.      The company claims in its promotional material that many plans

     achieve reimbursement gains in excess of $3,200 per confirmed CEDI. MedAssurant is

     so confident in the profitability of its services that it allows client health plans to set “ROI

     thresholds” requiring the achievement of specified financial gains. Overall, MedAssurant

     reports that ROI typically ranges from 7:1 to 12:1, but can be in excess of 27:1.

            108.    MedAssurant also offers a Claims Aggregation, Analysis and Submission

     (“CAAS”) solution, which it calls a “staple to CARA clients.” For CARA clients, the

     addition of the CAAS solution provides that MedAssurant will convert not only the new

     diagnoses, but all of the health plan’s raw data into the required format for submission to

     CMS.

     VI.    DEFENDANTS’ FRAUD AGAINST THE UNITED STATES

            109.    As outlined below, since at least 2006, Defendants have engaged in a

     deliberate scheme to defraud the United States by submitting tens or hundreds of

     thousands of false claims for risk adjustment payments. Defendants submitted these false

     claims even though they knew that the patients upon whom the claims were based did not




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     have the claimed diagnoses, had not been treated for those diagnoses in that year, or were

     otherwise ineligible for risk adjustment payments under CMS rules.

               110.   Defendants routinely “upcoded” the risk adjustment claims they submitted

     to Medicare, claiming that a patient had been treated, in the relevant time period for: (a) a

     diagnosis that the patient did not have; (b) a more severe diagnosis than the one the

     patient had; and/or (c) a diagnosis that the patient may have previously been treated for,

     but which was not treated in the relevant year.

               111.   Defendants engaged in the upcoding both directly, by creating documents

     to use to submit the risk adjustment claims themselves, or indirectly by paying,

     encouraging or otherwise convincing physicians, hospitals or others to submit upcoded

     data to Defendants, which upcoded data Defendants then used to submit risk adjustment

     claims.

               112.   Defendants also refused to correct previously submitted risk adjustment

     claims even thought the Defendants knew, or should have known, that those claims were

     false. Defendants were on notice that certain individual risk adjustment claims or certain

     classes of claims were potentially or likely false, but nonetheless submitted them without

     attempting to ensure their accuracy.

               113.   In this manner, Defendants have fraudulently caused CMS to pay tens or

     hundreds of thousands of false claims for risk adjustment payments worth at least

     hundreds of millions of dollars.




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            A.      United Knowingly Submits, and Causes To Be Submitted, False Risk
                    Adjustment Claims and Fails to Correct Previously-Submitted False
                    Risk Adjustment Claims

                    1.      United Upcodes Risk Adjustment Claims

            114.    UHG engages in an aggressive and extensive effort to find a justification

     or pretext to submit risk adjustment claims for additional diagnoses—regardless of

     whether the patient had or was actually treated for the diagnosis in the relevant period by

     a qualifying provider. United’s program has some components that are broad-based, and

     others that target specific high value HCCs. As an overall goal, UHG attempts to reach

     each of its members at least once every two years through one of its programs designed to

     find additional risk adjustment claims.

            115.    United runs multiple programs designed to identify additional HCCs for

     submission to CMS to increase its risk scores, including: (a) reviewing medical charts,

     (b) paying physicians bonuses for submitting paperwork to support claims for additional

     diagnosis codes, (c) sending physicians forms identifying conditions that United suspects

     the patient has, and (d) initiatives designed to get patients to visit their doctors each year

     for the purpose of being “treated” for high value diagnoses.

            116.    These programs are designed with one primary goal – to increase UHG’s

     Medicare risk adjustment reimbursement. Accuracy of the claims is, at best, a secondary

     concern.

            117.    United has used its programs to promote increased coding of numerous

     HCCs that United knows are regularly submitted by providers when those providers

     should have submitted a less severe HCC code or no code at all. Notwithstanding this

     knowledge, United not only refuses, beyond a limited audit sample, to confirm the

     accuracy of these codes when submitted, but actually pushes chart reviewers, physicians,


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     and others to code for these problematic HCCs more often.             United calls them

     “undercoded” HCCs.

            118.    Some examples of such HCCs that United knows are over-coded, but still

     encourages reviewers and providers to increase coding for include, but are not limited to,

     HCC 7 (Metastatic Cancer and Acute Leukemia), HCC 8 (Lung, Upper Digestive Tract,

     and Other Severe Cancers), HCC 9 (Lymphatic, Head and Neck, Brain, and Other Major

     Cancers), HCC 10 (Breast, Prostate, Colorectal and Other Cancers and Tumors), HCC 15

     (Diabetes with Renal or Peripheral Circulatory Manifestation), HCC 16 (Diabetes with

     Neurological or Other Specified Manifestation), HCC 18 (Diabetes with Ophthalmologic

     or Unspecified Manifestation), HCC 19 (Diabetes without Complication), HCC 21

     (Protein-Calorie   Malnutrition),   HCC    51   (Drug/Alcohol    Psychosis),   HCC     52

     (Drug/Alcohol Dependence), HCC 55 (Major Depressive, Bipolar, and Paranoid

     Disorders), HCC 69 (Spinal Cord Disorders/Injuries), HCC 71 (Polyneuropathy), HCC

     80 (Congestive Heart Failure), HCC 82 (Unstable Angina and Other Acute Ischemic

     Heart Disease), HCC 92 (Specified Heart Arrhythmias), HCC 96 (Ischemic or

     Unspecified Stroke), HCC 105 (Vascular Disease), HCC 108 (Chronic Obstructive

     Pulmonary Disease), HCC 108 (Chronic Obstructive Pulmonary Disease), HCC 112

     (Pneumococcal Pneumonia, Empyema, Lung Abcess), HCC 131 (Renal Failure), HCC

     132 (Nephritis), and HCC 155 (Vertebral Fractures w/o Spinal Cord Injury).

            119.    United trains and otherwise encourages its chart reviewers to identify

     diagnoses that do not qualify for risk adjustment claims. Chart reviewers are encouraged

     to look beyond members’ provider-reported diagnoses and identify diagnoses from




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     supplementary data in the medical records. United submits these additional diagnoses

     without seeking any confirmation from the appropriate providers.

            120.    For example, in January 2009, a representative of the University

     Physician’s Network (“UPN”) emailed United’s executives to inform them that, because

     of Ingenix’s illegal practices, UPN was terminating its plan to assist United with the

     collection of diagnosis information. The email explained that Ingenix’s chart review

     methods result in the submission of diagnoses that were not certified by, and may not be

     supported by the treating physician. The UPN representative reported that Ingenix’s staff

     attempted to assure him that the practice was legal, but that research and consultation

     with others confirmed that Medicare regulations do not permit a “non-treating

     [provider]…submitting data for the purpose of increasing the compensation to United

     from Medicare.”

                           a)      Chart Review

            121.    As described above, the vast majority of the information United uses as

     the basis for its risk adjustment claims comes initially from physicians, hospital or other

     providers in the form of claims data or other submissions. These sources are secondary

     to the primary records those providers hold—namely the patients’ medical records, also

     known as charts.

            122.    As is common with secondary sources, the claims data and other

     information United receives from providers is known to have some (and at times many)

     errors—even when providers make good faith efforts to submit only accurate

     information. (As discussed in greater detail below, some providers deliberately upcode

     their claims information to manipulate the risk adjustment system; often because United

     pays them kickbacks to do so.)


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            123.    For example, in some cases, the claims data does not include all of the

     diagnosis codes that it should. Providers often fail to document all diagnoses that were

     treated, because, historically, complete reporting of all treated diagnosis codes was

     generally not essential for reimbursement.

            124.    In other cases, the claims data erroneously indicates a patient was treated

     for a certain diagnosis. Sometimes this happens because of mere clerical error, but often

     it is the result of limitations in claims processing computer systems or a

     misunderstanding by coding personnel of the proper coding rules. For example, coders

     sometimes indicate that a patient was treated for a certain diagnosis, where, in fact, the

     patient only had a history of past treatment for the diagnosis, or the patient was tested to

     see if they had that diagnosis.

            125.    Moreover, there are routinely situations where the coding personnel

     correctly identify the patient as having been treated for a certain diagnosis, but make a

     mistake as to how severe the patient’s illness is. Thus, the coders may either overstate or

     understate the severity of the diagnosis.

            126.    United’s chart review program is designed to directly review the original

     documents—the patient medical records held by the providers—to correct these known

     problems.

            127.    Because United has a duty to submit accurate data, and it knows that the

     claims data contains substantial errors, it has a dual responsibility when conducting these

     reviews: it should verify that already-submitted codes are accurate and documented while

     it looks for codes that should have been, but were not, submitted to CMS. However, as




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     detailed below, United fails to meet his obligation to identify and correct previously

     submitted, but erroneous risk adjustment claims.

            128.    Ingenix conducts chart reviews on behalf of UHMR, UHCS, and

     commercial clients. In the retrospective chart review process, Ingenix identifies provider

     charts to review and arranges for the charts to be collected. It uses both internal coders

     and also contracts with external vendors to review and code the charts.

            129.    These vendors review charts using a blind review. In a blind review, the

     reviewer codes every condition he or she identifies from the chart without knowing what

     codes the provider identified from the chart previously. Thus, the reviewer works from

     the raw chart material and reaches independent conclusions.

            130.    Ingenix conducts chart reviews provider-by-provider. For each provider,

     members are selected for review, with a priority placed on members who have not been

     reviewed in the past year and members whom United believes may have a risk adjusting

     condition that has not been reported to CMS. Following every provider review, the

     reviewer submits the diagnosis codes it found to Ingenix.

            131.    Ingenix defrauds CMS by acting on chart review data in two very different

     ways: it acts on the missed codes by submitting risk adjustment claims to CMS, but takes

     no action on the incorrect codes.

            132.    When it receives the data from the reviewer, listing the diagnosis codes

     found during the review, Ingenix inputs the list into IRADS, its risk adjustment database

     (discussed in greater detail below). IRADS’ design adds the reviewer’s codes to the

     codes already in the system (i.e., the provider’s codes) like pouring additional water into

     a bucket.




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            133.     For codes the reviewer coded but the provider did not code, IRADS will

     add a new entry. If this is a newly discovered diagnosis code for that patient—meaning

     no other provider had also reported treating the patient for that diagnosis during that time

     period—Ingenix will then submit a new risk adjustment claim to CMS.

            134.     Ingenix could easily perform a comparable comparison to look for over-

     coded diagnosis codes. Using either the data available from the chart reviewers or

     readily available additional information, Ingenix could determine whether a diagnosis

     code contained in IRADS was absent from the patient’s medical record for that given

     provider. Ingenix, however, refuses to take any steps (other than an extremely limited

     program described below) to determine whether the chart review data has identified over-

     coded claims.

            135.     For situations where an existing code (e.g., one a provider had submitted

     with its claims data) was not validated by the reviewed provider’s medical records by the

     reviewers, IRADS does nothing. No effort is made to find other support for the diagnosis

     code or to delete from the IRADS system any claims that suggested the reviewed

     provider had treated the patient for the non-validated diagnosis.

            136.     United has also found high error rates in diagnoses identified by a former

     external chart review vendor, Outcomes, Inc., but, beyond a limited audit sample, United

     has not reviewed the vendor’s work in order to determine the extent of CMS’s

     overpayment for the vendor’s erroneous diagnoses.

            137.     Chart reviews have been lucrative for United. For 2006 dates of service,

     the first year of fully phased-in risk adjustment, United’s return on investment (“ROI”)

     from chart reviews was 15 to 1.         Exhibit 4, incorporated herein.     United spends




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     approximately $30 for each chart it reviews but receives an average of $450 per chart in

     additional CMS payments for the new codes it submitted. Id.

            138.    Relator believes that even if United properly conducted chart review—

     “looking both ways” for both helpful and harmful errors—United would still earn

     substantially more in newly found codes than it lost by correcting erroneous codes.

     However, United has steadfastly refused to take anything more than token steps to “look

     both ways.”

            139.    Unsurprisingly, UHMR and Ingenix have emphasized performing as many

     chart reviews as possible. UHMR reviewed approximately 600,000 charts in 2006 and

     approximately 600,000 in 2007. See Exhibit 4. On information and belief, Ingenix

     reviewed between 600,000 and 800,000 charts in 2008. In 2009, Ingenix reviewed

     approximately 800,000 charts. Exhibit 5, incorporated herein. United’s only limitation

     in the number of charts it can review is its providers’ dislike of the disruptions the

     reviews cause to their practices.

            140.    In 2010, United’s senior executives set a target for United’s risk

     adjustment programs to generate an additional $100 million in internal operating income

     (“IOI”) above and beyond what was originally targeted. For 2011, United’s incremental

     IOI target for risk adjustment is $125 million. Chart reviews are an important part of

     United’s strategy for realizing this additional IOI. United’s senior executives are fully

     aware that the company “looks one way” during chart reviews. See ¶¶191–197.

                            b)      Patient Assessment Forms

            141.    In addition to the chart review program, which involves broad review of

     the provider medical records, United has several initiatives which are targeted to a

     specific subset of patients or providers. As with the chart review program, these other


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     initiatives are designed to “look” just one way—seeking only to add incremental codes

     and ignoring evidence that previously submitted risk adjustment claims may be false.

             142.     United’s Patient Assessment Forms (“PAF”) program targets suspected

     undercoded conditions, such as certain chronic conditions that a provider or group has

     coded less frequently than their prevalence rates would indicate. For these conditions,

     such as diabetes and chronic kidney disease (“CKD”), Ingenix mines patient data for

     episodes in which a patient with a chronic condition has not been treated for a diagnosis

     during the payment year.

             143.    The PAF program also identifies target patients by looking for situations

     where a patient filled a prescription for a drug that suggests the patient has a given

     diagnosis, or engages in a behavior (e.g., smoking) that suggests a risk adjustment

     eligible diagnosis may be present.

             144.    Ingenix prepares a form for these target patients and sends the form to

     their doctor, so he or she can “treat” the patient for that condition. For example, if a

     provider diagnosed a member with diabetes in 2008 and 2009 but not 2010, Ingenix

     would send the provider a PAF and ask the provider to check the member for diabetes.

             145.    Ingenix pays providers a fee to encourage them to consult PAFs when

     treating their patients.

             146.    The program may have certain clinical benefit if and to the extent it helps

     ensure that members with chronic diseases receive treatment for their conditions.

     However, that clinical concerns are not driving this program is demonstrated by which

     patients are targeted. For example, PAFs are only distributed to providers for members

     for whom United, or one of its risk adjustment clients such as Health Net, receives risk




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     adjustment payments from CMS. If United were using the PAFs to improve clinical

     outcomes, they would include all their members, including their non-Medicare members,

     in the PAF program. Furthermore, as with the chart review program, the PAF program

     focuses solely on conditions that tend to be under-coded—and thus for which improved

     coding accuracy stands to increase revenue. Ingenix chooses the conditions it targets

     through PAFs based on revenue impact, not clinical impact, and ignores conditions that

     are frequently overcoded.

            147.   For example, United knows that cancer and stroke are often improperly

     coded years after the patient stopped receiving treatment. United could use the PAF

     program to highlight these potentially overcoded conditions to providers. For example, if

     a member has been coded with an acute episodic stroke for three continuous years,

     United can easily notify the provider that two of the three codes are probably incorrect.

     The member most likely had a stroke in the first year (i.e., not each year) and the

     condition should now be coded as “history of stroke.” United could alert the provider as

     to its suspicion, ask the provider to assess their coding and documentation for accuracy,

     and submit a medical chart supporting the diagnosis. United does not include this

     information in its PAF reviews, however, because the provider’s poor coding habits

     actually increase United’s reimbursement from CMS. Therefore, though patients and

     providers might benefit from knowing this information, United chooses not to use it

     because it would decrease United’s revenue from CMS.

            148.   Initially, Ingenix received completed PAFs from providers and submitted

     the diagnoses listed on the PAF without reviewing the medical record. More recently,

     Ingenix has required that the medical record accompany the completed PAF—




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     purportedly so that diagnoses claimed on the PAF could be “validated.” Instead, United

     actually reviews these medical records for incremental diagnoses that the provider may

     have missed. In this way, the PAF program has become a one-way chart review designed

     to only find incremental codes to submit to CMS for reimbursement.

            149.    United not only skews the PAF program to focus solely on undercoded

     diagnoses, it prevents providers from taking the initiative on their own to focus on

     overcoded conditions. Ingenix maintains an online provider portal, called Insite, that

     “percent of premium” capitated providers (see ¶¶201–202) use to manage risk adjustment

     activities for their members.

            150.    Insite contains numerous reports geared towards helping providers assess,

     diagnose and code incremental conditions. One such report, for example, is the Central

     Suspect Report (“CSI”). Similar to PAFs, this report lists conditions that United suspects

     the member may have, but are not coded currently. Another report is the Declining RAF

     report. This report ranks members with risk scores that have declined period over period,

     a fact that highlights to providers that they may have missed one or more conditions in

     their coding. Some Insite reports go so far as to calculate the estimated financial impact

     of coding a particular condition. This allows the provider to estimate the incremental

     reimbursement the provider would receive from United by coding the specific condition.

     Similar to United’s other risk adjustment programs, Insite is designed to identify

     incremental diagnosis codes that United may submit to CMS for payment.

            151.    To Relator’s knowledge, however, Insite contains no function for

     providers to notify United of overcoded conditions.




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              152.   Relator brought the discrepancy between overcoded and undercoded

     conditions to the attention of senior UHMR and Ingenix management. Management

     dismissed his concerns, however, arguing there were “better ways” to address overcoded

     conditions, such as chart validation, discussed below. Both UHMR and Ingenix knew,

     however, that the chart validation program was incredibly limited, and that the company

     had no plans to provide resources to address the problem of overcoded conditions

     through that program.

              153.   Instead, the PAF program is deliberately limited to seeking under-coded

     diagnosis codes so that United can avoid discovering over-coded diagnoses that it knows

     exist.

                             c)    Clinical Operations Initiatives

              154.   Clinical Operations Initiatives (“COI”) is a program designed in part to

     “improve” the coding of conditions that United believes are frequently “undercoded.”

     One such COI focuses on diabetes coding. As described above, the HCC model assigns

     multiple HCCs to conditions, such as diabetes, that have variations in severity and cost.

     For instance, a patient with well-controlled diabetes is likely to incur lower medical

     expenses than a patient with uncontrolled diabetes and complications. CMS therefore

     assigns a lower-paying HCC to well-controlled diabetes and a higher-paying HCC to

     uncontrolled diabetes. The goal of the COI program is to increase the severity of the

     diagnosis codes assigned to patients with one of these target HCCs.

              155.   Originally, the COI program sought to improve diabetes coding by

     monitoring providers with high percentages of HCC 19 codes. HCC 19 is a code for

     diabetes without complications. The risk score associated with HCC 19 is much lower

     than the risk score for HCC 15, which is the code for diabetes with renal complications.


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     United suspected that some providers were coding HCC 19 when one of the more severe

     diabetes codes (HCC 15–18) would be more appropriate.

            156.    Under the COI program, United pays providers approximately $100 for

     each diabetes patient they assess for diabetes complications, submit a supporting

     diagnosis via a claim, and submit a medical record with matching documentation. In

     addition, it pays $200 for each doctor that receives training on the COI program and

     diagnosis coding. Recently, the COI program has expanded to other conditions that

     United suspects are frequently undercoded, such as chronic kidney disease (“CKD”), and

     chronic pulmonary disease (“COPD”).

            157.    Like the PAF program, however, United does not pay doctors to improve

     coding for conditions that are frequently overcoded. Again, United knows that cancer

     and stroke are generally overcoded.     But because improving their accuracy would

     decrease revenue, United does not include these conditions in COI. Instead, COI is

     limited to conditions United believes are the most frequently undercoded, such as

     diabetes, CKD, and COPD, and represent large opportunities for increased

     reimbursement from CMS.

            158.    In addition, United looks one way with the medical records it receives

     from doctors under the COI program. Thus, when United receives a chart, it does not

     check whether the other diagnoses listed in the chart (such as those submitted through

     claims) are correct.

            159.    Even worse, Relator has information and believes that United does not

     delete its previous diagnosis when the provider submits a medical record that diagnoses

     the member with a less severe condition (such as diabetes) than before. For example,




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     United may send the doctor a list of diabetic members to assess. One or more members

     may be coded with HCC 15 (diabetes with complications). If the doctor submits a claim

     and medical records for that member diagnosing the member with HCC 19 (diabetes

     without complications), United does not submit a delete code to CMS for HCC 15.

     United simply assumes, without justification, that another doctor was responsible for the

     HCC 15 code.      Similar to its chart reviews, therefore, United affirmatively solicits

     diagnoses from its providers but ignores them when they cast doubt on the validity of a

     higher-paying diagnosis.

                            d)     Other Initiatives to Increase Risk Adjustment Payments

            160.    Ingenix runs several additional programs to increase risk adjustment

     payments, including:

            161.    Provider Attestations: Medical charts must be signed, credentialed and

     dated to be used to validate a diagnosis. When Ingenix performs chart reviews, it

     identifies charts that are missing one of these elements, preventing United from

     submitting the incremental diagnoses found in those charts to CMS for payment. To get

     around this obstacle, when Ingenix identifies a chart that is (1) missing an administrative

     element and (2) contains an incremental diagnosis that would increase United’s

     reimbursement from CMS, Ingenix sends an attestation form to the provider to confirm

     the administrative elements. If it receives the attestation from the provider, Ingenix

     submits the incremental codes in the charts to CMS for risk adjustment payment. If it

     does not receive the attestation, however, Ingenix does not delete any codes that the

     provider previously submitted for that member, even though Ingenix knows the

     member’s chart is invalid. Moreover, when Ingenix identifies a chart that is missing an

     administrative element but does not contain an incremental diagnosis, Ingenix does not


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     send an attestation form to the provider, though it knows United may have submitted

     diagnoses to CMS based on the invalid chart.

            162.    Members without Visits: To encourage members to visit their doctors at

     least once each year, Ingenix works with providers to schedule annual checkups. In some

     cases, this program can have clinical benefits, if the physician actually treats the patient,

     substantively, for the condition in question. However, in other situations, the visit is

     medically unnecessary if the patient is merely brought in so that the physician can “code

     the diagnosis” United has flagged for risk adjustment purposes.

            163.    Hospital Data Capture: Under this program, Ingenix elicits “data dumps”

     from hospitals to ensure it has received all of their diagnosis codes. Hospitals often enter

     more diagnoses for a patient than are transmitted to United. The Hospital Data Capture

     program is designed to retrieve the incremental codes that United did not receive so that

     United can submit those codes to CMS for payment.

            164.    Provider Coding Training: United trains providers on how to code

     “properly.” United often directs training to providers with low risk scores or with a

     financial incentive to increase risk scores, such as percent of premium capitated

     providers. Historically, however, it did not proactively offer training to providers who

     performed poorly in validation audits, because they routinely over-coded diagnoses.

     Only recently has United begun offering any such training. The reason, again, is that

     United’s priority is increasing code submissions.

            165.    United employs each of the above programs to increase its risk adjustment

     payments from CMS. In 2010 and 2011, United’s management directed UHMR to

     increase its internal operating income from risk adjustment by $100 million and $125




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     million, respectively, above and beyond what was already planned. UHMR worked to

     achieve the targets by increasing its risk adjustment scores by capturing past conditions

     (PAF), decreasing the percentage of members without visits, increasing the number of

     providers that use Insite, and performing more chart reviews.

            166.    The company monitored the progress of each program closely.              The

     pressure to earn $100 million in additional risk adjustment income, however, gave

     UHMR no incentive to identify, block, and delete incorrect codes. In fact, the company

     viewed the possibility that it would have to start reviewing charts for incorrect codes as a

     negative.   In a January 2010 “Coding Accuracy Progress Report,” UHMR warned,

     “Potential changes to general coding accuracy strategy, including chart audits, could

     impact 2010 results.” Exhibit 6, incorporated herein. In other words, looking both ways

     in chart reviews to identify both incremental and incorrect codes would jeopardize its

     ability to achieve the $100 million target.

                    2.      United Fails To Correct (and Reimburse Medicare for) False
                            Risk Adjustment Claims

            167.    United knows that much of the claims data and other information that it

     receives from physicians and other providers is unreliable. For this reason, United

     engages in extensive and expensive initiatives to review and correct that claims data,

     outlined in the prior section. Unfortunately—for the United States—United deliberately

     chooses to look only one way in its remedial efforts.

            168.    United designs its chart review and other corrective initiatives to seek out

     only errors that, if corrected, will lead to increased risk adjustment payments. With the

     exception of certain small programs—designed to provide the appearance of fairness—

     United deliberately designs these programs to avoid discovering that United’s previously



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     submitted risk adjustment claims are false (and thus that United should submit a “delete”

     code).

              169.   Although many of these programs could easily be used to look for both

     incremental and delete codes, United has deliberately structured them to look only for

     incremental codes. To provide cover for its scheme, United has a few limited initiatives

     designed to look for delete codes. However, these initiatives designed to find false

     claims are far smaller than their counterparts, and are subject to far stricter data validation

     rules.

              170.   Notwithstanding its efforts to avoid learning that previously-submitted

     claims are false, United nonetheless often generates information that gives it reason to

     question the accuracy of diagnosis codes it has already submitted to CMS. United,

     however, intentionally (and myopically) does not compare the information to the

     diagnoses it has already submitted to CMS.            Instead, United simply submits the

     incremental diagnoses it finds to CMS, purposely ignoring all evidence or suggestions of

     invalid diagnoses that it submitted improperly in the past.

              171.   Perhaps the best evidence of both United’s knowledge that the underlying

     claims data requires verification, and United’s fraudulent refusal to correct false claims,

     is the disparity between its efforts to find “incremental” (new) codes and “delete”

     (previously submitted, but false) codes. United attempts to review a medical record for

     every member once every two years to try to find incremental codes, but only has a

     nascent, limited project to identify delete codes. For 2009 dates of service, United

     reviewed approximately 1.4 million charts to try to find incremental codes, but only




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     reviewed approximately 3,000 to 5,000 charts to try to find delete codes (and even then,

     only a limited portion of each chart was reviewed).

            172.    United has half-heartedly created a small chart validation program that is

     little more than a fig leaf designed to obscure its misconduct, and has been dragging its

     feet for years in completing a very limited pilot program designed to develop a system to

     look both ways.

            173.    Under the chart validation program, Ingenix selects providers who have

     coded certain HCCs at levels significantly above the condition’s national prevalence rate.

     Ingenix audits the providers’ charts for those codes to determine if the codes were

     properly documented and substantiated.

            174.    United, however, imposes four restrictions to limit the number of

     validation audits it performs. First, the provider who submitted the code must be a Level

     I provider, defined as a provider with a financial incentive contract with United, such as a

     capitation or gainshare agreement. This limitation excludes both large provider groups

     without coding incentives (Level II) and small provider groups (Level III). Second, the

     provider must have at least 500 United Medicare members. Third, for an HCC to qualify

     as “suspect,” the provider must have coded it at over 300% of Ingenix’s national

     prevalence rate. Fourth, United reviews a small number of members (initially only 30)

     per provider and HCC, often a tiny sample size relative to the number of codes the

     provider submitted.

            175.    Ingenix’s approach to chart validation is therefore highly focused and

     excludes a vast majority of United’s providers and risk adjustment data. None of the

     limits on chart validation exist for chart reviews. For example, whereas chart validation




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     contains safeguards to ensure diagnoses are not improperly deleted, United submits

     diagnoses from outside vendors’ chart reviews without validating them in any way. The

     reason for the limits on chart validation is that chart validation is an expense that has no

     revenue potential.

            176.    Ingenix’s chart validation program reviewed 4,000 charts in 2010 for the

     2008 and 2009 service years. By comparison, Ingenix’s chart review program reviewed

     approximately 1.4 million charts for the 2008 and 2009 service years. See Exhibit 5

     (2009 chart reviews).

            177.    Despite their limited scope, Ingenix monitors the results of its validation

     audits closely. It compiles data on the validation percentages of each HCC, as well as the

     validation percentages for each provider group. Often, Ingenix identifies specific HCCs

     and specific provider groups with low validation (i.e., high error) percentages. In May

     2009, for instance, Ingenix’s Dr. Maninder Khalsa identified five problem HCCs (with 15

     to 30% error rates): HCC 10 (breast, prostate, colorectal cancers); HCC 96 (stroke); HCC

     15 (diabetes with renal/circulatory complications); HCC 105 (vascular disease); and HCC

     92 (arrhythmias).

            178.    Similarly, an Ingenix validation audit of 2008 codes from Hemet

     Community Medical Group reviewed 30 HCC 67 (quadriplegia) codes and validated only

     two. Though this was an extreme result, Ingenix identified dozens of other provider

     groups with low validation totals in specific HCCs.

            179.    Previously, United did little to nothing with the data it found during chart

     validation. Though it submitted delete codes for diagnoses that it could not substantiate,

     until recently Ingenix did not expand its search when it identified a problem area.




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     Recently it has enacted a policy calling for an expanded review of any HCC that validates

     80% or less of the time.

            180.    Nor has Ingenix targeted known over-coded conditions, such as cancer or

     strokes, for additional scrutiny. (By contrast, in 2009 Ingenix planned a “High Value

     Suspects” initiative to target potentially under-coded, high-revenue members and

     providers.)

            181.    In 2010, United developed a pilot program that would look for both

     incremental and unsupported diagnoses during chart reviews. Though aspects of the pilot

     program have recently been adopted, United continues to stack the deck in favor of

     submitting incremental codes.       The pilot, as well as United’s subsequent program,

     contain several limitations that do not exist in ordinary chart reviews.

            182.    First, the pilot was limited to members with only one provider so that

     United does not delete a diagnosis that some other provider’s chart might validate. This

     restriction does not apply to chart reviews—during chart reviews, whenever United

     identifies a chart that calls another provider’s diagnosis into question, it ignores the chart.

     United’s limited program to look both ways subsequent to the pilot continues to only

     review charts from members with just one provider.

            183.    Second, United limited the number of charts the pilot program reviewed so

     that it had time to validate all of them before CMS’s January 31, 2011 deadline for

     submitting diagnoses from 2009 dates of service. In contrast, United does not limit its

     efforts to find incremental codes before the January 31 deadline to build in time to ensure

     the codes are valid. On the contrary—United runs special programs up to the deadline to

     find as many incremental diagnoses as possible. United does not pause to check whether




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     it will have enough time to validate these incremental diagnoses, because it simply does

     not validate the diagnoses it submits.

            184.    United’s refusal to correct errors in its risk adjustment claims is so

     extreme that it submits risk adjustment claims to CMS for diagnoses taken from claims

     that it itself refuses to pay as being fraudulent and/or abusive.

            185.    Through its fraud and abuse department, regular claims processing efforts,

     and some of the other initiatives discussed in greater detail above, United routinely learns

     that the claims data that was used as the basis for certain risk adjustment claims is

     erroneous. Nonetheless, United routinely submits risk adjustment claims—or fails to

     correct previously submitted claims—in purported reliance on that false data.

            186.    Like most insurance companies, United contains a Fraud and Abuse

     Prevention Unit (“F&A”) in Ingenix that is responsible for identifying and resolving

     fraudulent claims. F&A mines claims data for anomalies that suggest a fraudulent claim.

     For example, F&A looks for claims for drugs that were not truly administered to patients,

     such as patients who supposedly received cancer drugs despite not having a cancer

     diagnosis. If and when F&A identifies a claim that it considers sufficiently false to be

     fraudulent, it takes action against the provider who submitted the claim, either by denying

     the claim or demanding reimbursement.

            187.    Ingenix, however, refuses to use this information to correct its risk

     adjustment database or claims submissions. Ingenix’s F&A unit does not report the

     fraudulent claim to Ingenix’s Clinical Assessment Solutions (“CAS”) group; thus the

     CAS group cannot block submission of the claim’s diagnosis codes to CMS or delete

     HCCs it already submitted due to the claim.




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            188.    Ingenix knows that CAS is submitting fraudulent codes to CMS because it

     cannot interact with F&A, but has chosen not to fix the problem. Beginning as late as

     2009, Ingenix explored improving the coordination between CAS and F&A as a way to

     increase coding accuracy. Dr. Maninder Khalsa of CAS stated in May 2009 that “[w]e

     have reached out to the INGENIX Fraud and Abuse Prevention Unit in an effort to

     coordinate our areas of expertise and collaborate where possible.” During that time and

     subsequently, Relator recommended to Ingenix that it must coordinate CAS and F&A to

     prevent the submission of fraudulent codes. He voiced these same concerns to his

     superior at UHMR, Scott Theisen. Ingenix, however, has refused to fix the problem.

            189.    United’s submission of fraudulent codes reflects its broader failure to

     coordinate its claims processing system with IRADS (the system it uses to process and

     submit risk adjustment claims), as discussed below. Specifically, when a claim is denied,

     United deliberately refuses to check whether the denial affects the validity of risk

     adjustment claims, i.e., whether it compels United to delete any diagnosis codes.

            190.    There are similar problems with other programs and initiatives at United.

     As described above, in other situations, United learns through chart review initiatives or

     other programs that certain claims data or other sources of diagnosis codes used in risk

     adjustment claims are false. United deliberately refuses to delete those false diagnosis

     codes from its risk adjustment claims systems, and refuses to correct previously

     submitted risk adjustment claims that were based on those false diagnosis codes.

                    3.     United Continues To Develop New Programs To Seek New
                           Claims To Submit, While Slow-Walking Its Limited Efforts to
                           Correct Overcoded Claims

            191.    Relator has spoken with senior United executives about, and has other

     personal knowledge that those executives are aware of, the fraudulent risk adjustment


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     practices discussed in this Complaint, including United’s chart review practices and other

     risk adjustment initiatives. On this basis, Relator knows that at least the following United

     executives know about some or all of the problems discussed herein, and have

     participated in the scheme to continue submitting fraudulent claims and to refuse to

     correct previously submitted false claims: Stephen Hemsley, UHG Chief Executive

     Officer; Gail Boudreaux, UHG Executive Vice President and CEO of United Healthcare;

     Larry Renfro, Optum CEO; Tom Paul, UHMR Chief Executive Officer; Cindy Polich,

     UHMR President; Lee Valenta, Ingenix’s former Chief Operating Officer (and current

     President of Ingenix’s Life Sciences Division); Jack Larsen, former CFO of PSMG (and

     current CEO of UHCS); Scott Theisen, UHMR Senior Vice President of Finance; Jeff

     Dumcum, Senior Vice President of Ingenix; and David Orbuch, PSMG Chief

     Compliance Officer.

                192.   Although numerous United officials have acknowledged to Relator that

     the company should be “looking both ways” when it tests the validity of its risk

     adjustment data sources, United continues to focus almost exclusively on adding

     incremental codes. Although United has created a very limited “pilot project” to test the

     possibility of “looking both ways” during chart reviews, that program gets limited

     resources and serves primarily as a fig leaf to mask the one-sided nature of United’s

     efforts.

                193.   Though the pilot is only experimental, United invokes it as justification for

     continuing its fraudulent chart reviews. In an email on September 9, 2010, UHMR

     President Cindy Polich emailed Relator that she and UHMR Chief Executive Officer

     Tom Paul had discussed whether to increase chart reviews despite knowing the reviews




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     disregarded incorrect codes, and “had resolved the issue of concern by agreeing to

     develop and implement a pilot.” Exhibit 7, incorporated herein. Polich told Relator that

     she and Paul “both agreed that this issue should not stand in the way of moving forward

     with additional chart audits.” Id. In May 2011, UHMR CFO Scott Theisen decided that

     UHMR should limit the number of chart reviews and PAFs it performed in 2012 to the

     number it performed in 2011, due to his “compliance concerns.” At or around the same

     time, Theisen told Relator and senior executives at Ingenix that he had discussed the

     chart review problem, as well as the IRADS problems discussed below, with UHG CEO

     Stephen Hemsley and UHG Executive Vice President Gail Boudreaux.

            194.    Moreover, United continues to invest significant resources toward finding

     incremental diagnoses while at the same time devoting significantly fewer resources to

     the pilot or to fixing IRADS. For example, United developed “playbooks” containing

     ideas for increasing its risk scores. These playbooks are garnering top-level attention at

     the company while the myriad problems with United’s risk adjustment programs and

     processes go unresolved.

            195.    United conceals the one-way nature of its risk adjustment programs from

     CMS and even its investors. For example, United’s remediation plan for 2010 that

     sought to increase IOI by $800 million allocated $100 million to “Project 7.” Project 7

     was United’s codeword for initiatives to increase risk adjustment payments.           The

     company used a codeword (as opposed to “growth,” “enrollment,” or “claims”) because it

     did not want CMS or other investigatory government agencies to know it had a campaign

     to claim an additional $100 million through risk score increases.




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            196.    Similarly, during its fourth-quarter earnings call on January 21, 2011, Tom

     Paul, CEO of UHMR, told investors that UHMR “on a year-over-year basis” was seeing

     “improvements” in its risk adjustment “accuracy rates.” This statement was misleading,

     for while UHMR had found and submitted a substantial number of incremental codes, it

     has no evidence that its submissions were more accurate (i.e., the error rate of the data it

     submits has decreased). This fact is well known at United.

            197.    At Relator’s urging, United has changed the text of the letters it sends to

     providers about chart reviews to remove the word “accuracy.” The letters now say that

     United reviews charts to ensure it submits “complete diagnosis information” to CMS, not

     complete and accurate information.

                    4.      United Encourages Providers To Upcode, and Submits False
                            Risk Adjustment Claims Based on That Upcoding

            198.    United encourages and provides incentives to its provider groups and risk

     adjustment vendors to upcode their claims data, and then uses that upcoded data to

     submit false and/or fraudulent risk adjustment claims to Medicare. Moreover, even when

     it is faced with evidence that a provider or provider group is routinely upcoding its

     diagnosis information, United does little or nothing to either correct the provider’s coding

     practices, or give that provider’s claims information special scrutiny before using it as the

     basis for the submission of a risk adjustment claim to Medicare.

            199.    United routinely provides physicians, hospitals and other providers

     information on diagnoses that United wants them to code more frequently. Often this

     information is presented as educational material designed to increase coding accuracy.

     Significantly, though, this information routinely focuses only on diagnoses that, if coded,

     would lead to increased reimbursement for United. In fact, United often pairs this coding



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     “advice” with information on how much money United (and, often, the providers

     themselves) stands to make if the diagnoses is coded more often.

            200.    United routinely couples such promotion of the coding of lucrative

     diagnosis codes with direct financial benefits (hereafter “kickbacks”) to providers to

     encourage them to increase the number and severity of diagnoses they submit to United.

     Since at least 2005, UHMR has offered providers additional payments if and when the

     providers’ patients’ risk scores increased.

            201.    United customizes its kickbacks depending on the nature of its overall

     reimbursement arrangement with the provider group. The providers United chooses to

     pay additional amounts for increased risk scores are those that do not already have an

     incentive to upcode diagnoses.      United uses three basic payment structures for its

     providers: (1) percent of premium capitated providers, which receive a percent of

     United’s CMS premiums for its patients; (2) “fixed” capitated providers, which receive

     PMPM payments from United that are not tied to United’s CMS premiums; and (3) fee-

     for-service providers, which are paid based on the claims they submit to United.

            202.    “Percent of premium” capitated providers already share an incentive with

     United to upcode diagnosis codes, because they stand to earn a percentage of the

     additional revenue from CMS.

            203.    Flat capitated providers and FFS providers, however, have no financial

     incentive to upcode diagnoses. United makes up for this by paying a “bonus” (kickback)

     if and when such providers increase their risk scores.

            204.    Generally speaking, United pays fixed capitated providers a PMPM

     amount for its members, with the provider carrying the risk of covering the members’




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     healthcare costs. To encourage fixed capitated providers to maximize risk adjustment

     submissions, however, UHMR pays them an extra percentage of the capitation rate (or

     other bonus) when their patients’ risk scores increase.

            205.     For example, a January 1, 2009 Health Services Agreement between

     PacifiCare and Banner Physicians Hospital (“Banner”) promised to pay the hospital “an

     additional increase in Capitation Payment PMPM retroactive to January 1, 2009 if the

     increase in RAF [risk adjustment] score between July 2008 and July 2009 is in excess of

     3%.” Exhibit 10, incorporated herein. The amount of the increase equaled the amount of

     the percentage increase over 3%, such that a 4% increase in risk score would increase

     Banner’s capitation payments by 1%. Id.

            206.     UHMR’s contract with Banner reflects its policy and practice of offering

     providers (both capitated and fee-for-service) financial incentives to increase their risk

     adjustment submissions.     These agreements exist across UHMR’s plans, and were

     entered into between 2005 (or earlier) and 2010. The agreements are kickbacks that give

     United’s providers a financial incentive to upcode the diagnoses codes they submit on

     their claims.

            207.     Similarly, WellMed’s 2005 contract with PacifiCare (later United) for

     DataRap services included annual payments according to a payment schedule tied to

     increased risk scores. Exhibit 12, incorporated herein. (If risk scores fell below a 2005

     benchmark, no payment was due to WellMed.)

            208.     Moreover, PacifiCare agreed “to pay a[n additional] contingency for

     maintaining an increased HCCRAF [i.e., risk] score.” Id. at 12 (Emphasis added.) Thus,

     if WellMed maintained United’s high risk scores year over year, PacifiCare would pay




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     WellMed an extra amount annually on top of the payment schedule. These fees totaled

     $450,000 in 2006, between $3.1 and $3.5 million in 2007, $5.2 million in 2008, and $6.4

     million in 2009.    For the reasons described above, WellMed’s contract contains a

     kickback and motivated WellMed to report inflated risk scores.

            209.    United also enters into contracts known as gainshare agreements with

     certain FFS provider groups. Under these agreements, United and the provider group

     agree on a target benefit-cost ratio (“BCR”). If the provider group achieves a BCR lower

     than the target, United and the provider share the savings.

            210.    United also provides kickbacks to provider groups by renegotiating the

     terms of gainshare agreements to ensure the groups realize savings. For example, on

     January 24, 2011, UHMR Vice President of Finance Tim Noel told Relator that United

     and MedicalEdge, a provider group in Texas, entered into a gainshare agreement for a

     particular year in which the target BCR was 79% and any savings would be split 60/40

     between MedicalEdge and United.         In May of that year, United renegotiated the

     agreement. The new agreement raised the BCR from 79% to 82%, making it easier to

     attain, but changed the split from 60/40 to 50/50. Though MedicalEdge took a lower

     percentage, the renegotiation more or less guaranteed that it would receive a savings

     payment. Furthermore, the renegotiated target was applied retroactively back to January

     of the contract year.    Because of the mid-year contract renegotiation, MedicalEdge

     received millions of dollars more than it otherwise would have under the terms of the

     original gainshare agreement.




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            211.    UHMR enters into gainshare agreements with provider groups across its

     various plans and networks. On information and belief, UHMR’s gainshare practices

     began at least as far back as 2007 (and most likely earlier) and continue to the present.

            212.    UHMR contracts with many capitated provider groups nationwide. As

     described above, percent of premium capitated providers are paid a portion of whatever

     premiums United receives from CMS. Consequently, such capitated providers share

     UHMR’s incentive to submit as many diagnosis codes as possible to CMS.

            213.    From the inception of CMS’s risk adjustment system, UHMR and Ingenix

     have known that many of their capitated providers are fraudulently submitting false and

     incorrect risk adjustment diagnoses. United’s policy and practice, however, has been to

     continue accepting diagnoses from its capitated providers even when it knows the data

     from those providers is unreliable. Only in rare instances does United audit its providers,

     and in those instances it merely deletes whatever bad diagnoses it finds without

     conducting a top-to-bottom review, correcting the capitated provider’s methods or

     terminating its relationship with the provider. Thus, UHMR and Ingenix knowingly

     submit, or cause the submission of, false risk adjustment claims to CMS.

            214.    On information and belief, UHMR’s capitated providers are knowingly

     submitting incorrect and/or unsubstantiated codes to Ingenix, for transmission to CMS.

     For example, Princeton IPA of San Antonio, a capitated provider within defendant

     WellMed, had a risk score of 1.383 in January 2010 among its 34,163 members (by

     January 2011, Princeton’s risk score was 1.504 among 34,902 members). Exhibit 11,

     incorporated herein.    Such a risk score suggested that WellMed’s members were

     substantially sicker than average (CMS sets the risk score for an average Medicare




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     beneficiary at 1). UHMR knows that WellMed’s unusually high risk score is in large part

     attributable to fraud. For example, Relator learned in the fall of 2010, following an audit

     conducted by Ingenix, that WellMed (Princeton IPA of San Antonio) routinely submits

     improper diagnoses.

                    5.       United Knows that its Risk Adjustment Claims Submission
                             System Is Flawed, and Routinely Submits False Claims, But
                             Has Failed to Fix that System or To Find and Fix Past False
                             Claims

            215.    United knows of several significant problems with the way that its Ingenix

     Risk Adjustment Data System (“IRADS”) processes claims data and submits risk

     adjustment claims to CMS. These errors always, or almost always, cause the submission

     of false and/or upcoded claims. Almost never do these errors cause United to fail to

     submit a valid claim.

            216.    Notwithstanding this knowledge, United has failed to fix the IRADS

     system, or to fix the previously submitted false claims caused by these flaws in the

     programming and logic of the IRADS system.

                             a)    Background

            217.    The risk adjustment information United submits to CMS originates

     primarily from provider encounter and claims data. Providers submit encounters and

     claims information to United through one of several automated systems, such as the

     Professional Encounter System (“PES”), COSMOS, NICE, Pulse, Facets, and others.

            218.    United collects data from these systems and sends the data to Ingenix for

     incorporation into IRADS. IRADS applies multiple logic filters to the data to identify

     which diagnosis codes are eligible for submission to CMS, and which are not.




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            219.    For example, when UHMR receives a claim from a provider containing an

     ICD-9-CM diagnosis code for diabetes, IRADS should screen that claim to ensure that all

     the required data elements are present, pursuant to CMS rules. If IRADS finds the

     Provider ID on the claim corresponds to a primary care physician, and a CPT code for a

     physical examination, it should then submit the code for risk adjustment. This is because

     the information on the claim corresponds to a face-to-face encounter between a physician

     and the patient.      However, if the claim’s Provider ID corresponds to a laboratory

     technician and the CPT code is for blood work, IRADS should filter out that claim

     because it is clear the diagnosis code is based on a lab test, not a face-to-face encounter

     with an appropriate provider type.

            220.    From these eligible codes, IRADS creates the data file that Ingenix

     submits to CMS’s risk adjustment processing system (“RAPS”). Claims and encounter

     data processed through IRADS account for approximately 95% of the diagnoses United

     submits to CMS.

                             b)     United Knows that the Filtering Logic Built Into
                                    IRADS is Deeply Flawed and Consistently Errs in
                                    Favor of Overcoding Risk Adjustment Claims

            221.    The serious problems that United has identified with IRADs include, but

     are not limited to:

            (1)     use of “exclusion logic” to bias IRADS filters so that when in doubt they

            err on the side of including a diagnosis code and submitting a claim;

            (2)     use of flawed logic concerning identification of provider specialties,

            leading to the inclusion of services provided by ineligible provider types;




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             (3)      failing to correct the IRADS data, and failing to correct previously

             submitted claims, when a provider informs United that a previously submitted

             claim was invalid or incorrect;

             (4)      failing to properly separate information on individual service lines where

             one claim includes more than one separate procedure;

             (5)      resubmitting previously deleted diagnoses to CMS;

             (6)      submitting diagnoses from an institutional claim where the patient did not

             receive a face-to-face service; and

             (7)      failing to update IRADS’ filtering logic to include the most current CPT

             codes.

             222.     These problems are interrelated and often work in conjunction to cause

     erroneous submissions.

             223.     Relator has discussed the problems with IRADS with many of United’s

     senior executives. In this way, Relator knows the company is aware of the problems.

     Although United knows about the issues with IRADS, it has allowed Ingenix to continue

     submitting risk adjustment data to CMS, and has not disclosed the problems to CMS.

     United continues to submit diagnosis codes it knows are ineligible for risk adjustment.

     Likewise, United has not deleted codes that IRADS improperly submitted and has limited

     its investigation into the extent of the errors.

             224.     Relator has information to believe that the problems with IRADS may also

     be found in its legacy risk adjustment processing systems, and thus date from the very

     beginning of the risk adjustment system in 2004. United has intentionally not reviewed

     whether its legacy systems contained an error it has identified in IRADS (“Issue 1,”




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     discussed infra) and thus whether it needs to delete any improperly-submitted codes, for

     example. United also has not reviewed whether its legacy systems contained any of the

     other errors it has identified in IRADS.

                                    (1)     Improper Use of Exclusion Logic

            225.    The most pervasive problem with IRADS is that it was built to use

     “exclusion logic” to filter diagnosis codes. As a result, the system essentially takes the

     position of “when in doubt, submit a claim.”

            226.    Generally speaking, exclusion logic compares objects in a database against

     a defined “exclusion list” and marks the matches (if any) for exclusion. For example,

     exclusion logic in an airport security system might compare travelers’ names against a

     list of the FBI’s Ten Most Wanted and flag any matches for security officials.

            227.    In IRADS, the exclusion logic filters out claims data if one or more of the

     data elements exactly matches a list of codes to exclude. For physician claims, the

     exclusion lists include, without limitation: (a) CPT codes; and (b) the provider’s specialty

     type. For institutional claims, the lists include, without limitation: (a) the bill type; (b)

     the revenue code; and (c) discharge status.

            228.    Thus, for example, IRADS’ exclusion list for CPT codes includes the

     codes for ineligible procedures such as laboratory work and diagnostic radiology. If a

     CPT code for the diagnosis matches a CPT code on the exclusion list, IRADS excludes

     the diagnosis from the data United submits to CMS for risk adjustment.

            229.    IRADS’ exclusion logic, however, contains a basic and devastating

     error—it only catches information that matches information on its exclusion lists exactly.

     Information that is invalid but not on the exclusion list passes through the filter.




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             230.   Incredibly, this means that even if a key data element is left blank, or filled

     with a completely erroneous value, IRADS assumes that is a valid value because the

     blank or erroneous value does not appear on the list of codes to exclude. Thus IRADS

     will use that claim data when submitting risk adjustment claims.

             231.   This error causes Ingenix to claim payment for HCCs taken from claims

     data that are obviously ineligible for risk adjustment. For example, IRADS may catch

     and filter a diagnosis with CPT code 74150 (a radiology code). However, it will not

     catch a diagnosis with a CPT code field that is blank, erroneous (e.g., 74x50), or even

     reads “this diagnosis is not eligible for risk adjustment.” So long as the field does not

     match the CPT codes on the exclusion list, the IRADS filter will not catch the bogus

     entry and the invalid diagnosis code will pass through to CMS.

             232.   The exclusion logic error is emblematic of United’s design for IRADS and

     its approach to risk adjustment in general—if United has any doubt about whether a

     diagnosis is eligible for risk adjustment, it submits it for payment.

                                    (2)     Flawed Provider Specialty Logic

             233.   United designed its claims systems and IRADS in such a way that it

     improperly submits claims to CMS for diagnoses made by ineligible provider types.

             234.   First, because of an error in the way IRADS processes provider billing

     identification numbers (“billing IDs”), IRADS fails to screen many diagnoses by provider

     type. As described above, CMS forbids MA plans from submitting diagnoses based on

     documents from ineligible providers such as registered nurses (“RN”) or radiologists.

     Thus, CMS requires MA plans to screen the diagnosis codes they submit by provider

     type.




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            235.    The claims and encounter forms that United enters into IRADS each

     contain a billing provider identification number (“billing ID”). UHMR typically assigns

     billing IDs on a billing/contract basis, such that large, multi-specialty provider groups

     contracted with UHMR often have a single billing ID.

            236.    IRADS takes a shortcut in how it screens for provider types—it assumes

     that if a billing ID ever submits a claim or encounter with an eligible provider type, then

     the billing ID’s future claims and encounter forms will also have eligible provider types.

     When IRADS receives a claim with an eligible provider type, it adds the billing ID from

     that claim to its list of billing IDs associated with eligible provider types. Once the

     billing ID has been added to that list, IRADS treats all claims submitted by that billing ID

     as valid, regardless of the actual provider specialty of the provider who provided the

     service in question.

            237.    For example, if a newly-credentialed medical center submits five claims to

     United for a radiologist, IRADS will identify the provider specialty as “radiologist,” an

     ineligible provider type, and block the diagnoses from going to CMS.

            238.    However, the first time the medical center submits a code from an eligible

     provider (e.g., internist), IRADS treats the billing ID as conclusive evidence that the

     medical center’s future diagnoses will likewise be made by eligible providers. From that

     point forward, IRADS stops filtering the medical center’s claims by provider type

     altogether, allowing all subsequent diagnoses from the medical center’s radiologists to be

     submitted to CMS for risk adjustment (assuming they pass the other filters).

            239.    Second, United designed its claims systems to default all unknown

     provider types to CMS physician specialty code 99, “unknown physician specialty.”




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     Generally speaking, health care providers use a different taxonomy for provider

     specialties than CMS. CMS requires providers to submit a valid provider type with each

     claim, so providers must map their taxonomy to CMS’s. CMS recognizes approximately

     66 physician specialty codes. Thus, a provider submitting a claim for a diagnosis made

     by an acute care nurse practitioner must map its code for the nurse practitioner, code

     363LA2100X, to the appropriate CMS physician specialty code, code 50. United’s

     claims systems are designed so that many provider specialty codes default to physician

     code 99. For some of United’s claims systems, codes default when they fail to map to an

     eligible CMS physician specialty type.     In another system, the Provider Encounter

     System, all provider specialties map to code 99. Thus, IRADS cannot filter many claims

     for ineligible provider specialties. United’s use of code 99 as a default is improper,

     because to use it United has to know the provider is a physician. It cannot use the code

     whenever it knows nothing about the provider who submitted the claim.

                                  (3)    Failure to Remove Diagnosis Codes Associated
                                         With Claims “Voided” by the Provider

            240.   When one of United’s institutional providers voids a claim that was the

     source of a risk adjustment claim submitted to CMS, United processes the void

     instruction (i.e., reverses the claim and recoups any claim payment) but does not delete

     the diagnosis code from its IRADS database or submit a delete code to CMS to reverse

     the risk adjustment claim.    CMS therefore pays United an additional amount for

     diagnoses taken from cancelled claims.

            241.   United’s general process for submitting diagnoses for risk adjustment

     starts with the claims and encounter data it receives from providers. Providers submit




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            242.    The “void and replace” occurs because IRADS only collects a limited

     portion of the data in the claims system. For example, United receives most claims from

     hospitals and other institutional providers on Form UB-04. Exhibit 8, incorporated

     herein. Form UB-04 includes a field for the type of bill the claim represents (Item 4).

     The bill type is a three-digit code. The last digit of the code indicates whether the

     institution submitted the bill to void or replace a prior Form UB-04.

            243.    IRADS, however, is unable to process the bill type’s void/replace

     instruction. Thus when United receives instructions from a provider to void out a prior

     claim, and then replace it with a new claim, IRADS essentially treats this as three valid

     claims: (a) the original claim; (b) the “void” instruction, which looks like the original

     claim but for the data element that identifies it as a voiding claim; and (c) the new claim.

     Thus, if no filter applies, IRADS submits to CMS both the diagnosis from the original

     claim and the diagnosis from the replacement claim.

            244.    IRADS submits false data because of this error. For example, a fee-for-

     service provider who submits a claim (“claim #2”) on Form UB-04 (diagnosis: vascular

     disease) to replace a claim (“claim #1”) on Form UB-04 (diagnosis: congestive heart

     failure (“CHF”)) will receive payment from United based on claim #2 only. United,

     however, submits both the vascular disease diagnosis (HCC 105) and the CHF diagnosis

     (HCC 80) to CMS for risk adjustment. By doing so, United represents that its member

     was treated for both conditions in the present year, when in fact the member was only

     treated for one. United claims payment from CMS for both conditions.




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                                   (4)     Failure to Separately Filter Procedure Codes
                                           When Multiple Services Are Included on a
                                           Single Claim

            245.    IRADS also fails to distinguish which diagnosis codes are associated with

     which procedures in situations where one claim form contains separate line items for two

     or more different procedures. Instead, IRADS assumes that all diagnosis codes on a

     claim are associated with each of the procedure codes. Thus, if either of the procedure

     codes is valid for risk adjustment purposes, IRADS uses all of the diagnosis codes for

     risk adjustment.

            246.    Both professional (i.e., physician) and institutional (i.e., hospital) claims

     forms have multiple lines in which the provider can list the multiple procedures that may

     have been performed for a member. At least some of United’s claims systems, such as

     NICE (legacy PacifiCare) are capable of processing individual service lines. IRADS,

     however, is not programmed to treat each line separately.

            247.    For example, a claim may contain two service lines: (1) an office visit

     with a doctor who diagnosed cancer; and (2) a laboratory procedure performed by a

     technician to determine if the member has diabetes. The claim contains two diagnoses

     (cancer and diabetes) drawn separately from the two service lines. IRADS, however,

     conflates the service lines into a single data point. When checking for CPT codes,

     therefore, IRADS identifies the eligible CPT code (the office visit) and attributes it to

     both the cancer and diabetes diagnoses, even though the doctor had only diagnosed

     cancer. The CPT code for the laboratory procedure is effectively ignored. Consequently,

     IRADS submits both diagnoses to CMS, falsely representing that the doctor had

     diagnosed and treated the patient for two conditions, when it fact the doctor had only

     diagnosed one.


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            248.    The service lines that IRADS is incapable of processing appear in

     United’s claims forms.     For example, Health Insurance Claims Form 1500 (“Form

     1500”), the industry’s standard claims form for professional health services, contains a

     field (Item 33) for the provider ID as well as a field (Item 21) for diagnosis codes.

     Exhibit 9, incorporated herein. Form 1500 also includes six “service lines” (each line

     consists of Items 24A–J) indicating, inter alia, the dates of service, the procedures

     performed (i.e., CPT codes), the “diagnosis pointer,” and the rendering provider

     identification number. The diagnosis pointer (Item 24E) relates one of the diagnoses in

     Item 21 to each of the service lines in Item 24 in order to document which health

     condition each service treated.

            249.    IRADS is unable to process critical information in Form 1500’s service

     lines (Item 24) that determines the claim’s risk adjustment eligibility. In addition to its

     inability to process CPT codes correctly, IRADS uses the field for billing provider

     number (Item 33) to determine whether an eligible provider type submitted the claim. In

     doing so, IRADS ignores Item 24J, which lists the rendering provider identification

     number for each service line. (The provider accumulator error is associated with this

     false correlation. See ¶¶233–239.) For example, in the prior example of a claim with two

     diagnoses (cancer and diabetes) from two service lines, Form 1500 lists the cancer and

     diabetes diagnoses in Item 21 and the doctor and the laboratory technician as rendering

     providers in Item 24J(1)–(2). Because IRADS relies on the billing provider (Item 33)

     and ignores the rendering provider (Item 24J), it does not filter the diabetes diagnosis,

     even though it is supported only by a lab request.




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            250.    When United stands to have to delete HCCs because of an invalid CPT

     code, however, it finds itself quite capable of processing service lines individually. For

     example, in August 2009 Ingenix learned that it had submitted 257,515 diagnoses to

     CMS that were associated with a CPT code that was inconsistent with a face-to-face

     encounter with a qualifying provider. Because the CPT code was invalid, United knew it

     likely had to delete the diagnosis codes. In discussing the potential loss of 257,515

     diagnoses, however, Ingenix’s Angelo Fiorucci wrote Ingenix’s Paul Bihm and Randall

     Myers that “I believe that we will be able to reduce the 257,515 because we have to

     validate that every claim line was coded as an ‘Invalid CPT Code.’” Two things are clear

     from this response. First, United knows that just because IRADS submitted a diagnosis

     code to CMS does not mean that the diagnosis code is linked to a valid CPT code on the

     claims form. Thus, United has reason to know that IRADS submits false claims to CMS.

     Second, United is willing and able to process claims forms by individual service lines—

     in other words, to correct the mistake caused by the logic error in IRADS—only when it

     would otherwise have to delete a diagnosis.

            251.    In April 2011, Ingenix Director of Encounter Operations, Rebecca Martin,

     confirmed to Relator that Ingenix had in fact reviewed individual service lines when it

     deleted diagnoses in 2009. Martin said she suspected Ingenix had done the same when it

     had deleted diagnoses in 2006 as well. Relator gave Martin the hypothetical of a claim

     containing diagnoses of diabetes from a laboratory CPT (ineligible), cancer from a

     radiology CPT (ineligible), and CHF from an office visit CPT (eligible). As discussed

     previously, IRADS improperly submits all three diagnoses to CMS. In acknowledging




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     that Ingenix acts differently when it has to delete diagnoses, Martin told Relator: “In your

     example, we would have put diabetes and cancer on the delete list and saved CHF.”

                                    (5)     Resubmission of Previously Deleted Diagnoses

            252.    IRADS submits improper diagnoses to CMS because it is unable to

     associate a diagnosis Ingenix has deleted with a duplicate diagnosis in a resubmitted

     claim. When Ingenix decides to delete a diagnosis code listed in a claim, and the claim is

     later resubmitted by the provider, IRADS does not associate the newly-resubmitted claim

     with the deleted diagnosis. Therefore, Ingenix may determine that a diagnosis was

     improperly submitted to CMS, and yet resubmit the same code (if no filter applies)

     because IRADS is unable to associate the resubmitted claim with the deleted diagnosis.

                                    (6)     Submitting Institutional Claims for Non-Face-
                                            To-Face Services

            253.    Perhaps most egregiously, United identified and disclosed to CMS a

     problem in IRADS that was causing it to submit false diagnoses, but has knowingly fixed

     the problem in only one out of two contexts.

            254.    The problem, which United refers to as “Issue 1,” affects diagnosis codes

     that corresponded to multiple procedure codes. As discussed above, MA plans must use

     procedure codes to filter diagnoses codes to ensure the diagnoses were made during a

     face-to-face encounter with an eligible provider.           The procedure codes used in

     professional (e.g., physician) claims are known as CPT codes; the procedure codes used

     in institutional (e.g., hospital) claims are called revenue codes.

            255.    For Issue 1, IRADS was inexplicably programmed to skip CPT code

     filtering—and essentially assume that a diagnosis was made during a face-to-face

     encounter with an eligible provider—as long as the diagnosis code was associated with



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            256.     In 2008 and 2009, United investigated Issue 1 and confirmed it had

     caused United to submit invalid diagnoses to CMS. United notified CMS, fixed the CPT

     code filter, and submitted delete codes for the false diagnoses.

            257.    United, however, knowingly did not fix Issue 1 as it pertains to

     institutional claims. For institutional claims, IRADS continues to use the same erroneous

     logic such that an institutional claim with multiple non face-to-face revenue codes (the

     institutional equivalent to CPT codes) will pass IRADS’ revenue code filter

     automatically. The result is that two wrongs often equal a right. A diagnosis with one

     bad revenue code is filtered out; a diagnosis with two bad revenue codes is submitted to

     CMS for payment.

                                   (7)     United Knowingly Fails to Filter Diagnoses With
                                           Current Procedure Codes

            258.    To ensure that it screens diagnoses based on their procedure codes

     properly, United is required to review the procedure codes on its exclusion list annually.

     Procedure codes—CPT codes and revenue codes—are regularly modified or changed

     year-over-year, and MA plans often determine that they need to update their risk

     adjustment filters to reflect the changes.     United, however, fails to perform annual

     procedure code reviews. The exclusion logic in IRADS is therefore out of date and

     results in United improperly submitting to CMS diagnoses with procedure codes that are

     no longer associated with a face-to-face encounter with an eligible provider.



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            B.      Ingenix and Its Commercial Customers Knowingly Submit, and
                    Cause To Be Submitted, False Risk Adjustment Claims and Fail to
                    Correct Previously-Submitted False Risk Adjustment Claims

            259.    UHG’s Ingenix subsidiary performs risk adjustment services for health

     plans other than United’s.     The health plans include, without limitation, defendants

     Health Net, Arcadian, and Tufts. The services Ingenix provides these plans include both

     processing and submitting risk adjustment claims to CMS using the flawed IRADS

     system and performing chart reviews for incremental codes. Ingenix performs these

     services in the same manner as it does for United, as discussed infra. As such, Ingenix

     knowingly submits, causes to be submitted, and conspires with its commercial clients to

     submit false claims on behalf of its commercial clients. So too, those commercial clients

     submit, cause to be submitted, and conspire with Ingenix to submit false claims. Ingenix

     and its commercial clients also fail to correct (and reimburse Medicare for) previously

     submitted claims that they later learn, or should learn, are false.

            260.    Ingenix’s commercial clients named as defendants in this Complaint know

     or have reason to believe that Ingenix’s chart review practices are fraudulent. Their

     knowledge is in some instances direct.

            261.    For example, Ingenix told at least some clients that it was developing a

     system to start “looking both ways”—e.g., to look for both incremental and inaccurate

     diagnoses during chart reviews (a limited system was adopted in July 2011). Relator has

     information and believes that some of Ingenix’s commercial clients, having opt-out

     clauses in their contracts, have told Ingenix that they will cease using Ingenix to submit

     their risk adjustment data if Ingenix decides to start “looking both ways.”




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            262.    Health Net, meanwhile, has told Ingenix that it would simply follow

     United’s lead, agreeing to having Ingenix review its charts for incremental and incorrect

     codes only if and when United implemented such reviews.

            263.    In a June 2011 meeting with senior UHMR executives, Jeff Dumcum said

     that Ingenix’s commercial clients had not asked it to look both ways during chart

     reviews, but that they “may change their opinion when CMS releases their RADV

     extrapolation methodology.” He noted that Health Net was the only commercial client

     currently willing to purchase “two way” chart reviews when United eventually

     implemented it. In March 2011, meanwhile, Dumcum told senior UHMR managers that

     he was unaware of any other large plan that looked both ways in its chart reviews.

     Ingenix understands from its interaction with smaller MA plans, meanwhile, that they

     have overwhelmingly chosen not to look both ways because, as self-perceived “small

     fish,” they believe they stand a lesser chance of CMS singling them out for defrauding

     the government.

            264.    In addition, Ingenix’s commercial risk adjustment clients have

     independent reason to know that Ingenix ignores incorrect diagnoses when it performs

     chart reviews: when Ingenix reports chart review results to its clients, it reports thousands

     of additional diagnoses, but no delete codes. The Defendants know the risk adjustment

     data they submitted to CMS was not 100% accurate and substantiated. By not identifying

     a single diagnosis to delete or replace, Ingenix clearly demonstrates to its clients that it

     disregards inaccurate and/or ineligible diagnoses.




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             C.      WellMed Knowingly Submits, and Causes To Be Submitted, False
                     Risk Adjustment Claims and Fails to Correct Previously-Submitted
                     False Risk Adjustment Claims

             265.    WellMed, through its various affiliates and subsidiaries, is both a provider

     group and a managed care plan. In those joint roles, WellMed has both caused MA plans

     to submit false risk adjustment claims by providing those plans with false and fraudulent

     diagnosis information in connection with claims for physician services, and submitted

     false risk adjustment claims on its own in its capacity as a MA health plan. WellMed

     also fails to correct (and reimburse Medicare for) previously submitted claims that it later

     learns, or should learn, are false

             266.    Relator has information and believes that WellMed maintains policies and

     practices designed to maximize its risk adjustment submissions without regard to their

     accuracy or eligibility. WellMed allocates significant resources to increasing its risk

     adjustment payments, submitting data to IRADS through its own processing system,

     DataRap, which is designed to identify HCCs (and which UHMR previously used

     directly for a portion of its Texas membership).

             267.    DataRap is WellMed’s system for identifying, processing, and submitting

     diagnosis codes to CMS for payment.         WellMed developed the system now called

     DataRap around 2005 to allow its nurse practitioners to perform chart reviews. In 2008,

     WellMed expanded the system to include filtering and submitting diagnoses to CMS.

     Like IRADS, however, DataRap contains serious flaws that have caused WellMed and

     United to submit false claims to CMS. WellMed built DataRap using exclusionary logic

     that fails to filter diagnoses that are missing necessary information, such as CPT codes or

     provider specialty information. DataRap’s list of CPT codes is sparse and has not been

     updated since the system’s development in 2008, which causes it to submit diagnoses


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     associated with CPT codes that are no longer eligible for risk adjustment. It also cannot

     accommodate service line item processing and only filters for laboratory and radiology

     CPT codes—not other CPT codes that indicate the absence of a face-to-face encounter.

     Therefore, like IRADS, WellMed designed DataRap to maximize the number of claims it

     could submit with disregard for whether those claims were false.

            268.    In addition, WellMed previously conducted chart reviews on behalf of

     UHMR to identify codes for submission to CMS. Unlike United, WellMed’s chart audits

     are prospective. The reviewer looks at present-year charts to check if the doctor had

     failed to code a diagnosis made in the prior year. The reviewer does not, however, look

     for invalid diagnoses in the chart. Furthermore, in July 2011, WellMed IT employee

     Bryan Bain told Relator that WellMed’s practice is not to delete incorrect diagnoses from

     prior years. Thus, if a chart reviewer in 2011 found an invalid diagnosis code in a 2010

     chart, he or she could not delete that diagnosis because the “delete file” that WellMed

     prepares for submission to CMS is designed to include only present-year diagnoses.

            269.    When WellMed denies a claim on grounds of fraud, waste, and abuse, it

     does not check whether it submitted diagnoses to CMS based on the denied claim. It thus

     claims payment from CMS for diagnoses taken from claims it identified as fraudulent.

            270.    The serious problems with DataRap, chart review, and fraud, waste, and

     abuse have contributed to WellMed’s artificially inflated risk scores.

            271.    WellMed’s risk adjustment practices gave it the highest projected risk

     score among UHMR’s capitated providers with over 2,000 members in January 2010.

            272.    Instead of imposing a corrective action plan on WellMed or terminating its

     contract, UHMR bought most of WellMed’s business in 2011. Thus, UHMR continues




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            273.    Prior to its purchase by United, defendant WellMed owned two health

     plans, Physicians Health Choice (“PHC”) and Citrus Health Care, Inc. (“Citrus”). PHC

     insures or insured approximately 40,000 Part C beneficiaries in Texas, Florida, Arkansas,

     and New Mexico. Citrus insures or insured approximately 10,000 Part C beneficiaries

     and 44,000 Medicaid beneficiaries in Florida. United acquired both PHC and Citrus

     when it bought WellMed.

            274.    WellMed, through its health plans PHC and Citrus, defrauded CMS

     through the plans’ risk adjustment practices.

            275.    Both PHC and Citrus use WellMed’s DataRap system to filter and submit

     diagnoses to CMS. As described above, DataRap was designed to submit diagnoses so

     long as WellMed lacked tangible evidence the diagnosis was false, i.e., it submits

     diagnoses that it failed to confirm, but also could not disprove, to have come from a

     qualifying face-to-face encounter. WellMed’s CFO, Joe Zimmerman, told Relator in

     April 2011 that any problems found in WellMed’s charts would logically exist in PHC’s

     and Citrus’s charts as well. He said “we use the same training, tools and process with our

     own health plans as we do in San Antonio,” i.e., at Princeton IPA, which submits

     WellMed’s risk adjustment data to CMS through DataRap. Therefore, in addition to

     DataRap, PHC and Citrus share WellMed’s fraudulent chart review and fraud, waste, and

     abuse processes.




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            276.    In May 2011, Relator was assigned to review PHC’s and Citrus’s

     submission systems as part of United’s ongoing efforts to absorb WellMed. UHMR CFO

     Scott Theisen warned Relator to be careful because employees at WellMed would be

     paranoid on account of the many compliance issues United was finding at its new

     company.

            D.      MedAssurant Knowingly Submits, and Causes To Be Submitted,
                    False Risk Adjustment Claims and Fails to Correct Previously-
                    Submitted False Risk Adjustment Claims

            277.    Through its CARA and CAAS solutions, MedAssurant both submits risk

     adjustment data directly to CMS and provides data to client health care plans in the

     submission-ready CMS-required RAPS format.                   For CARA solution clients,

     MedAssurant submits to CMS or provides to the plan RAPS files containing the

     incremental codes identified through CARA’s one-sided data analysis and chart reviews.

     For CAAS clients, MedAssurant submits to CMS or provides to the plan RAPS files for

     all of the diagnosis codes contained in the client’s data.

            278.    Whether MedAssurant submits data directly to CMS or provides data to its

     clients with the representation that it is ready for submission to CMS, MedAssurant has a

     duty to provide only data that it reasonably believes to be accurate.       Nevertheless,

     MedAssurant regularly submits data that it knows to be unreliable. The unreliability of

     physician submitted data is the very premise of MedAssurant’s CARA solution, and yet

     MedAssurant looks only for incremental diagnosis codes and makes no effort to correct

     the over-coded and mis-coded diagnoses that it knows to be present. Thus, MedAssurant

     knowingly submits, and causes the submission of, false risk adjustment claims to CMS.




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               279.   MedAssurant submits or causes the submission of false claims for many

     MA plans, including, but not limited to Defendants Aetna, BCBS Florida, BCBS

     Michigan, Bravo, Emblem, Healthfirst, Humana, Medica, and WellCare.

                      1.     MedAssurant Upcodes Risk Adjustment Claims

               280.   MedAssurant’s elaborate system for increasing patient risk scores includes

     submission of risk adjustment claims for diagnoses that it knows to be unsupported by

     patient’s records.    As explained above, ¶¶65–67, CMS guidelines dictate that ICD-9

     codes may only be submitted for diagnoses that were treated in the applicable year during

     a face-to-face visit with an eligible provider, and recorded in the member’s medical

     record.     However, MedAssurant ignores these requirements and instructs its chart

     reviewers to seek out and code for conditions that were not treated in the applicable year

     and were otherwise undocumented and unsubstantiated.

               281.   MedAssurant’s chart reviewers are trained to submit the codes that will

     result in the highest risk adjustment payments. Former reviewers reported to Relator that

     “MedAssurant told us which codes paid the most,” and reviewers were expected to keep

     the reimbursement rates of the different diagnosis codes in mind during the chart reviews.

     As one reviewer explained, “you code for the highest that you can because that’s what

     gets reimbursed. That’s the system.”

               282.   MedAssurant’s reviewers are expected to do more than “code” the

     patient’s medical records, they are supposed to interpret them, which means using the

     data to develop diagnoses that were not identified by the treating provider. MA plans are

     only permitted to submit codes for diagnoses that are explicitly stated in a member’s

     medical records. However, MedAssurant trains its reviewers to go beyond reading charts

     for the explicitly stated diagnoses, and actually interpret patient’s charts. Reviewers are


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     trained to look beyond the documented diagnoses and into the other information,

     including prescription drugs and diagnostic tests, and directed to form their own

     conclusions regarding the applicable diagnoses. Thus, for example, if a diagnostic test

     showed that a patient had 80% blockage of a carotid artery, the reviewer would be

     expected to interpret the results of the test and submit a diagnosis code for restriction of

     the artery. Some MedAssurant reviewers were even trained to submit diagnoses based on

     members’ medications. For example, if a patient were taking drugs typically associated

     with kidney disease, a reviewer would code for it, even though the chart did not contain

     any such diagnosis.

            283.    MedAssurant has certain, specific rules regarding the appropriate way to

     interpret a chart in order to maximize members’ risk scores. For example, if a member’s

     medical record shows renal insufficiency for three months, MedAssurant directs its

     reviewers to code for chronic kidney disease, even where that diagnosis has not been

     documented by the treating physician. Although the prolonged renal insufficiency may

     provide sufficient diagnostic criteria from which a physician could determine that a

     patient had chronic kidney disease, it is a determination that must be made by the

     clinician, not a chart reviewer. CMS is very clear that only diagnoses recorded by an

     appropriate provider may constitute the basis for a risk score adjustment; other

     submissions are false.

            284.    MedAssurant also fraudulently upcodes depression to major depression.

     When a chart reflects that a patient has had depression for six or more months,

     MedAssurant’s chart reviewers are trained to automatically submit a code for a major

     depressive disorder. Major depression is characterized by certain traits, which may not




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     be present in unspecified depression. The Fourth Edition of the Diagnostic and Statistical

     Manual of Mental Disorders (“DSM-IV”), which corresponds with the ICD-9 codes, lists

     several symptoms of depression (e.g., significant weight loss when not dieting or weight

     gain, insomnia or hypersomnia nearly every day, fatigue or loss of energy nearly every

     day) and, for diagnostic purposes, defines major depressive disorder as the presence of

     the majority of the designated symptoms. Thus, in directing its reviewers to code major

     depression for members with no additional clinical symptoms, MedAssurant causes the

     submission of fraudulent codes for conditions that were never documented by an

     appropriate provider, and that the members likely did not have.

            285.    A further tactic used by MedAssurant is the “linking” of two separate

     coexisting conditions, by coding one condition as a complication of the other.

     MedAssurant trains reviewers to watch for instances of multiple coexisting conditions

     that are distinct diagnoses, but, if coded as one condition having caused or led to another,

     would increase a member’s risk score. MedAssurant instructs reviewers to code such

     conditions as linked, even where the member’s medical records do not support a causal

     relationship between them.

            286.    These fraudulent representations of causality are most often seen in the

     context of diabetes. For example, diagnoses of diabetes and chronic kidney disease

     should be represented with ICD-9-CM codes 2500.00-.03 (general diabetes) and 585.10-

     .90 (chronic kidney disease). These codes capture HCCs 19 and 131. HCC 19 adds .162

     to the patient’s risk score and HCC 131 adds .368. MedAssurant coders however, upon

     finding these two distinct diagnoses in a patient’s chart, are directed to code the chronic

     kidney disease as a complication of diabetes, using ICD-9-CM code 250.40-.43 (diabetes




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     with renal manifestations), even where the medical record shows no evidence that the

     diabetes contributed to the member’s chronic kidney disease. By coding chronic kidney

     disease as a complication, MedAssurant replaces HCC 19 (.162) with HCC 15 (.508),

     thus increasing the member’s risk score by .346, which corresponds to approximately

     $3,000 or more in extra annual revenue for a single member. Former MedAssurant

     employees report that the company instructs reviewers to code for HCC 15 any time a

     patient’s medical record contains both diabetes and chronic kidney disease.

            287.    MedAssurant also trains its reviewers to submit codes for every chronic

     condition that a member patient has been diagnosed with throughout his or her medical

     history, including conditions that the member has neither needed nor received treatment

     for in the relevant, preceding year. This practice violates CMS guidelines, which dictate

     that even when a member has been diagnosed with a chronic condition, the condition

     cannot be submitted to CMS or impact a patient’s risk score unless the patient was treated

     for it in the relevant time period. CMS reasons that even though a condition may never

     go away, it will only increase the insurer’s costs to the extent that it requires treatment.

     Had CMS intended to establish permanent HCCs for “chronic” conditions, it would have

     done so. Instead, it deliberately created a system by which a patient must be treated for a

     condition within the given year to justify the higher risk score. Nevertheless,

     MedAssurant trains coders that once a patient has been diagnosed with a chronic disease,

     it should always be captured as a current condition. MedAssurant fraudulently submits

     these unsupported diagnoses directly to CMS and to its client health plans for submission

     to CMS.




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                    2.       MedAssurant Fails To Correct (and Reimburse Medicare for)
                             False Risk Adjustment Claims

            288.    MedAssurant, like United, knows that the claims data it receives from

     providers is often unreliable. MedAssurant capitalizes on this unreliability by offering

     product solutions to health plans through which MedAssurant conducts extensive data

     analysis and chart reviews to “correct” these errors. However, MedAssurant’s CARA

     solution only seeks and implements the corrections that increase members’ risk scores

     and payments, deliberately ignoring any mistakes that were financially beneficial to a

     client health plan.

            289.    MedAssurant’s CARA solution is offered to clients as a way to “leverage

     a patient’s healthcare data” to “identify pertinent ‘gaps’ of applicable ROI potential.” As

     with United’s programs, MedAssurant’s CARA services could easily be used to look for

     both incremental and delete codes, however MedAssurant has deliberately designed the

     processes to look for incremental codes only.

            290.    MedAssurant’s deliberate choice to seek out and correct physician errors

     only where the correction will increase a client plan’s risk adjustment payments is

     particularly evident in two of the key CARA processes.              First, the algorithms

     MedAssurant designed to identify CEDI gaps in member patients’ data are structured to

     identify suspected un-coded and under-coded diagnoses, and ignore indications that a

     diagnosis was improperly submitted. Second, in its chart reviews, MedAssurant looks

     specifically for documentation to support incremental diagnoses and makes no effort to

     validate the codes that have been previously submitted. Through its CARA and CAAS

     solutions, MedAssurant submits health plan data directly to CMS and, thus, has a duty to

     submit accurate data.



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            291.    Upon information and belief, MedAssurant designed the CARA solution’s

     proprietary algorithms to ignore any signals that a diagnosis code was incorrectly

     documented, if the correction of that code would decrease the client plan’s risk

     adjustment payments.      As such, MedAssurant refers to CEDIs as “reimbursement

     improvement opportunities” and repeatedly describes them as data suggesting the

     existence of “chronic, additional, worsening, or more optimally classified disease

     processes,” all terms highlighting CEDIs use to increase members’ risk scores.

     Additionally, in its explanations of the CARA CEDI identifications, MedAssurant

     provides examples of “Under-Coded,” “Worsening,” and “Non-Coded” conditions, but

     no examples of, or even suggestions that CARA identifies, over-coded or mis-coded

     conditions.

            292.    Furthermore, even if the CARA CEDI identifications included a suspected

     mis-coded or over-coded condition, MedAssurant’s CARA solution processes would

     dictate that the signal be ignored, rather than confirmed through review of the patient’s

     chart. MedAssurant evaluates each CEDI based on the financial impact to the plan if the

     suspected diagnosis (or mis-diagnosis) were confirmed, as well as the probability that the

     patient’s chart will contain sufficient documentation of the suspected diagnosis.

     MedAssurant uses these two factors to predict each CEDI’s return-on-investment, and

     pursues only those CEDIs that are in line with the plan’s ROI goals. Thus, under the

     CARA solution, MedAssurant would never investigate or further pursue a CEDI with a

     negative financial impact to a client health plan.

            293.    That the program could also easily help identify false claims previously

     submitted is demonstrated, if nothing else, by the fact that Relator believes, and on that




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     basis alleges, that MedAssurant has already created algorithms that identify data

     incongruences signaling mis-coded or over-coded conditions, which it uses in some of its

     other “solutions” and it would take little to no work to include these accuracy-based

     algorithms in its CARA solution as well.

              294.   Notwithstanding the design of its databases and algorithms, MedAssurant

     has ample opportunity during its chart review process to identify incorrect diagnoses that

     were the basis for previously submitted risk adjustment claims.             Yet MedAssurant

     fastidiously refuses to take any steps to correct such erroneous prior claims.

              295.   That MedAssurant’s reviews look only for new HCCs to submit, and

     ignore any previously submitted false claims, is well understood within the industry. For

     example, a newsletter sent out by a medical society addressed physician concerns about

     impending audits, writing:

              The audit that you don’t have to worry about is the one where MedAssurant is

              auditing on behalf of an insurer which is a Medicare Advantage program. In this

              audit, MedAssurant is only trying to get more money from Medicare, which it can

              do if it can ‘jack up’ the intensity of the diagnosis code it finds in your charts. So,

              in this type of audit, MedAssurant is not looking for money from you.

     See “UHC and MedAssurant Audits.” FSIPP Newsletter, Vol. IV, Issue 2 (December

     2010).

              296.   For CARA solution clients, MedAssurant conducts chart reviews in one of

     two ways: Certain reviewers are given a targeted list of diagnoses for each patient, the

     documentation of which they are directed to seek in patients’ charts, while other, higher-

     level reviewers are not given a targeted list, but instead given a list of the HCC codes that




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     have already been assigned to each patient and trained to identify each and every

     opportunity to upcode, increasing patients’ risk scores.        For the purposes of this

     complaint, we will call the former method a targeted review, and the latter a comparative

     review.

               297.   A reviewer conducting a targeted review is given patient-specific sets of

     diagnoses that MedAssurant, through CEDI identification and ROI analysis, has

     determined are likely supported by documentation in the patient’s chart and could

     substantially increase risk adjustment payments.       Each diagnosis on a patient’s list

     captures an additional or incremental HCC and the accordant increase in risk adjustment

     payments. These reviewers are trained to look only for the selected diagnoses, while

     ignoring any additional information in the chart, including evidence that diagnoses had

     been submitted in error.      Thus, for example, if MedAssurant’s CEDI analysis of a

     member has identified three suspected diagnoses that meet the ROI threshold, the chart

     reviewer will be directed to look for documentation supporting those three diagnoses

     only.

               298.   To facilitate coding of the new and incremental diagnoses in targeted chart

     reviews and to ensure that reviewers focus exclusively on the selected diagnoses,

     MedAssurant provides diagnosis-specific medical chart data templates designed to locate

     and fill in the information necessary to abstract the designated diagnoses. Thus, the only

     information that the reviewer seeks from the chart is that which will substantiate a

     suspected diagnosis. The reviewer is provided no templates to confirm that previously

     submitted diagnoses are accurate.




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            299.    The comparative record review method utilized by MedAssurant is even

     more insidious. MedAssurant provides reviewers using the comparative method with

     lists of the HCC codes that have already been assigned to each of the members for use in

     their chart reviews. However, MedAssurant instructs the comparative reviewers that

     their reviews should be used only to look for ways to code new and incremental

     conditions, not to verify the legitimacy of existing HCCs.

            300.    A comparative review entails, by necessity, examination of the entirety of

     a member patient’s medical record and comparison of the record with a list of HCC codes

     previously assigned to that member. As such, reviewers inevitably identify assigned

     HCC codes that are not supported by the patient’s record, and are thus false. However,

     MedAssurant directs reviewers to ignore, rather than report, any such findings. As one

     former chart reviewer explained, the purpose of the reviews is “to get the insurance

     company more money—they look for opportunities to receive more reimbursement.”

            301.    MedAssurant’s executives and employees confirm that the company does

     not act on mis-coded or over-coded diagnoses in chart reviews. In a phone call with a

     MedAssurant representative, Relator asked whether MedAssurant’s chart reviewers ever

     look for incorrectly-coded diagnoses, the correction of which would reduce a plans’ risk

     adjustment payments, and the MedAssurant representative responded with silence.

     Likewise one of Relator’s colleagues has spoken with MedAssurant regarding its chart

     review processes and MedAssurant conceded that the reviews are structured to look only

     for information to substantiate incremental diagnosis codes.

            302.    MedAssurant could easily use their existing reviews to confirm whether

     physician-submitted diagnosis are substantiated by the medical record. However, the




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     company is focused entirely on obtaining a maximized return-on-investment, and refuses

     to consider any actions that could jeopardize that goal.

            E.      MedAssurant’s Clients Knowingly Submit False Risk Adjustment
                    Claims and Fail to Correct Previously-Submitted False Risk
                    Adjustment Claims

            303.    Defendants Aetna, BCBS Florida, BCBS Michigan, Bravo, Emblem,

     Healthfirst, Humana, Medica, and WellCare all have hired, used and otherwise conspired

     with MedAssurant, through its CARA and CAAS programs, to submit false and

     fraudulent risk adjustment claims.

            304.    Evidence of each of these Defendants’ work with MedAssurant, and other

     efforts to submit fraudulent risk adjustment claims include, but are not limited to, the

     following:

            305.    A former MedAssurant coder reported to Relator that they reviewed charts

     for Aetna as part of the CARA program. Additionally, in approximately September

     2008, the Michigan State Medical Society issued an alert advising providers that

     MedAssurant would be conducting medical chart reviews for risk adjustment purposes on

     behalf of several insurers, including Aetna.

            306.    In November of 2010, MedAssurant issued a press release announcing an

     expansion of the company’s relationship with BCBS Florida. The release described the

     services that MedAssurant had provided BCBS Florida, including “risk adjustment,

     medical record review and claims analytics.” Upon information and belief, this is a

     description of BCBS Florida’s use of MedAssurant’s CARA and CAAS solutions,

     through which false risk adjustment data was knowingly submitted to CMS.

            307.    BCBS Michigan has utilized the CARA and CAAS programs to increase

     the company’s risk adjustment payments since at least 2008. When MedAssurant tried to


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     sell UHG the CARA and CAAS solutions, MedAssurant offered BCBS Michigan as a

     reference for the efficacy of their risk adjustment programs. BCBS Michigan gave

     MedAssurant a strong recommendation, citing the huge amount of money MedAssurant’s

     programs brought the organization. In addition, in approximately September 2008, the

     Michigan State Medical Society issued an alert advising providers that MedAssurant

     would be conducting medical chart reviews for risk adjustment purposes on behalf of

     several insurers, including BCBS Michigan.

            308.   In the Fall of 2008, Bravo sent a newsletter to participating physicians,

     notifying them that MedAssurant would be conducting chart reviews of Medicare

     Advantage beneficiaries “for risk adjustment purposes.”

            309.   Emblem has utilized the CARA and CAAS programs to increase the

     company’s risk adjustment payments since at least 2008. When MedAssurant tried to sell

     UHG the CARA and CAAS solutions, MedAssurant offered Emblem as a reference for

     the efficacy of their risk adjustment programs.      UHG contacted the company, and

     Emblem reported huge revenues from the programs in the form of large increases in the

     risk adjustment payments from CMS.

            310.   In addition, Emblem’s subsidiaries, ConnectiCare and HIP, also use

     MedAssurant’s CARA and CAAS solutions. On or about May of 2009, ConnectiCare

     sent a newsletter reminding providers that MedAssurant would be conducting medical

     record reviews on behalf of the company “to ensure that all applicable diagnosis codes

     indicated in the patient charts are reflected on claims that are submitted to ConnectiCare

     for payment.” Similarly, in Spring 2008, HIP issued a clinician newsletter explaining the

     year-round “risk adjustment reviews” of HIP Medicare Advantage patients’ medical




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     records. The newsletter explained that MedAssurant conducts these reviews, during

     which they are “looking back at varying dates of service periods as well as looking for

     different documentation to support coding standards.”

            311.    In the Spring of 2009, Healthfirst issued a newsletter to providers

     announcing an “exciting new partnership with MedAssurant.” Healthfirst explained that

     MedAssurant would be performing ongoing chart reviews in response to CMS

     requirements that MA plans “document diagnoses in order to clarify specific medical

     conditions and identify chronically ill members”—phrasing that is consistent with

     MedAssurant’s promotional material for the CARA program. Healthfirst also assured the

     providers that these reviews would not function as an audit of any provider’s practice.

            312.    In approximately September 2008, the Michigan State Medical Society

     issued an alert advising providers that MedAssurant would be conducting medical chart

     reviews for risk adjustment purposes on behalf of several insurers, including Humana.

     According to the alert, any providers contacted by MedAssurant were required to

     participate in risk adjustment audits.

            313.    Relator also learned from a former Humana chart reviewer that Humana

     conducts chart reviews using internally-trained coders. Like MedAssurant, Humana’s

     reviews are designed with the goal of increasing members’ risk adjustment payments, and

     are aggressively one-sided.

            314.    The former Humana reviewer reported that Humana provides its chart

     reviewers with a list of chronic conditions and instructs reviewers where to seek

     documentation for those conditions in each patient chart. Some of the conditions the




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     chart reviewers were instructed to seek out include history of heart attack, hypertension,

     and peripheral vascular disease.

            315.    The Humana reviewers were instructed to look at materials beyond the

     physician’s notes, including test results and prescription drug information, when looking

     for additional HCCs.

            316.    Even more, two former Humana chart reviewers (one of whom was also a

     trainer for the company) reported that Humana looks only for incremental diagnoses; they

     do not correct any diagnoses that were incorrectly submitted.

            317.    In September 2009, Medica issued a “diagnosis-verification update” in

     which it explained that it would continue using MedAssurant to conduct chart reviews for

     risk adjustment purposes (i.e., to “validate the diagnos[e]s submitted to CMS as well as

     assist providers with comprehensive diagnosis-coding practices”).       The update also

     provided a chart-review timeline dating back to March 2008 and going forward to

     January 2010, and suggesting that the project may have extended back to 2007.

            318.    WellCare has publicly announced that it has used MedAssurant’s CARA

     services since at least October 2010.

            319.    Additionally, based on Relator’s experience in the industry and knowledge

     of the business practices of various other health plans, he believes, and on that basis

     alleges, that these companies are also performing one-sided chart reviews and upcoding

     risk adjustment claims through vendors other than MedAssurant and using internal

     personnel.

            320.    Among the experience and knowledge Relator relies upon is his belief that

     no health plan would hire MedAssurant to perform risk adjustment-related services




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     unless that plan intended to, and as a general practice did, fraudulently increase its risk

     adjustment claims. After reviewing MedAssurant’s data analysis algorithms and chart

     review practice, Relator believes that MedAssurant’s processes are so obviously designed

     to fraudulently inflate risk scores (and offer no mechanism to correct errors found) that a

     health plan would not hire MedAssurant unless the plan itself was already applying or

     planning to apply that approach to all of its MA business.

             321.    On this basis, Relator alleges that the named health plans have engaged in

     a widespread pattern of fraudulently upcoding the HCCs they have submitted, submitting

     HCCs that they otherwise know to be false, failing to correct previously submitted false

     claims, and conspiring with MedAssurant and others to do all of the same.

                                              COUNT

                      Substantive Violations of the Federal False Claims Act
                            31 U.S.C. §§ 3729(a)(1)(A)–(C), (a)(1)(G)

             322.    Relator realleges and incorporates by reference the allegations made in

     Paragraphs 1 through 321 of this Complaint.

             323.    This is a claim for treble damages and forfeitures under the Federal False

     Claims Act, 31 U.S.C. §§ 3279–33, as amended.

             324.    Through the acts described above, Defendants, their agents, employees,

     and co-conspirators, knowingly presented, or caused to be presented, to the United States

     false and fraudulent claims, and knowingly failed to disclose material facts, in order to

     obtain payment or approval from the United States and its contractors, grantees, and other

     recipients of its funds.

             325.    Through the acts described above, Defendants, their agents, employees,

     and co-conspirators, knowingly made, used, and caused to be made and used false



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     records and statements, which also omitted material facts, in order to induce the United

     States to approve and pay false and fraudulent claims.

            326.    Through the acts described above, Defendants, their agents, employees,

     and co-conspirators, knowingly made, used, and caused to be made and used false

     records and statements material to an obligation to pay and transmit money to the United

     States, and knowingly concealed and improperly avoided and decreased an obligation to

     pay and transmit money to the United States.

            327.    Through the acts described above, Defendants, their agents, employees

     and other co-conspirators knowingly conspired to submit false claims to the United States

     and to deceive the United States for the purpose of getting the United States to pay or

     allow false or fraudulent claims.

            328.    The United States, unaware of the falsity of the records, statements, and

     claims made and submitted by Defendants, its agents, employees, and co-conspirators,

     and as a result thereof, paid money that it otherwise would not have paid.

            329.    By reason of the payment made by the United States, as a result of

     Defendants’ fraud, the United States has suffered hundreds of millions of dollars in

     damages and continues to be damaged.

                                             PRAYER

            WHEREFORE, qui tam plaintiff Benjamin Poehling prays for judgment against

     Defendants as follows:

            1.      That Defendants cease and desist from violating 31 U.S.C. §§ 3279–33;

            2.      That the Court enter judgment against Defendants in an amount equal to

     three times the amount of damages the United States has sustained as a result of



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    Defendants’ actions in violation of the Federal False Claims Act, as well as a civil

    penalty of $11,000 for each violation of 31 U.S.C. § 3729;

           3.      That Relator be awarded the maximum amount allowed pursuant to 31

    U.S.C. § 3730(d) of the Federal False Claims Act;

           4.      That Relator be awarded all costs of this action, including attorneys' fees

    and expenses; and

           5.      That the United States and Relator receive all such other relief as the

    Court deems just and proper.

                                        JURY DEMAND

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby

    demands trial by jury.


    DATED: October 27, 2011                       Respectfully submitted,




                                             By: /s/ Brian M. Melber, Esq.
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                                CERTIFICATE OF SERVICE

           I hereby certify that on the 27th day of October, 2011, I forwarded the foregoing

    document via first-class mail, postage prepaid to the following:

           Robert Trusiak
           Assistant United States Attorney
           United States Attorney’s Office for the
           Western District of New York
           138 Delaware Avenue
           Buffalo, NY 14202

           Richard S. Nicholson
           Trial Attorney
           U.S. Department of Justice
           Civil Division, Civil Fraud Section
           601 D. St., NW, Room 1209
           Washington, D.C. 20004




                                                  /s/ Brian M. Melber, Esq.
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                           EXHIBIT 1




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                                                                                                  -,   --;;
                                                                   United for Medicare
                                                                                   Focus on the Core




March 26, 2010



Ms. Marilyn Hunter
Centers for Medicare & Medicaid Services
7500 Security Boulevard
Mail Stop C4-21-26
Baltimore, MD 21244


Reference: 2009 Risk Adjustment Attestation


Dear Ms. Hunter:

Please find attached the signed 2009 Risk Adjustment Attestation for UnitedHealth Group
Medicare business.

If you have any questions, I may be reached via email at emily e vue@uhc.com or by telephone
at 952"931-4677.

Sincerely,




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    ATTESTATION OF RISK ADJUSTMENT DATA INFORMATION RELATING TO
        eMS PAYMENT TO A MEDICARE ADVANTAGE ORGANIZATION


         Pursuant to the contracts between the Centers for Medicare & Medicaid Services (CMS)
 and the. UnitedHealth Group affiliate listed in Attachment 1, hereafter referred to as the MA
 Organization, governing the operation of the Medicare Advatltage and Medicare Advantage-
 Prescription Drug plans listed in Attachment 1, the MA Organization hereby requests payment
 under the contract and, in doing so, makes the following attestation concerning CMS payments
 to the MA Organization.* TheMA Organization acknowledges thatthe information described
 below directly affects the calculation of CMS payments to the MA Organization or additional.
 benefit obligations ofthe MA Organization and that misrepresentations to CMS about the
 accuracy of such information may result in Federal civil action and/or criminal prosecution.

         The MA Organization has reported to CMS for the period of January 1,2009 to
 December 31, 2009 all risk adjustment data for 2009 dates of service available to the MA
 Organization as of December 31, 2009, with respect to the MA and MA-PD plans listed in
 Attachment 1. Based on best knowledge, information, and belief as of the date indicated below,
 all information submitted to CMS in such report and not subsequently deleted prior to the date
 hereof is accurate, complete, and truthful.




                                                      NAME: J         Larsen
                                                      TITLE: C         Financial Officer,
                                                       Public & Senior Markets Group
                                                      On behalf of the UnitedHealthGroup
                                                      entities listed in Attachment 1


                                                      DATE
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 * This Certification is based on facts reasonably available or made available to the MA Organization as of the date
 of this Certification and is not to be construed as a representation by the entities listed in Attachment I, their
 affiliates, officers, representatives,or agents that the data to which the Certification relate may not require
 subsequent modification should additional infomlation become available. Best knowledge, information, and belief
 means based on normal business practices. lit addition, the scope of this Certification does not include risk
 adjustment data related to "long-term institutiomilized" or "community," which the MA Organization is not required
 to report to or otherwise verify for CMS. Such designations are made by CMSbas.ed on a CMS data source and are
 subject to reconciliation by CMSinaccordance with Section 91.4.2 of Chapter 7 of the Medicare Managed Cart)
 Manual. As previously communicated to eMS, we believe these designations are materiaIIy inaccurate. However,
 we acknowledge CMS' position that such designations are generally accurate.



 Annual Risk Adjustment AttestationlUnitcd Medicare


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 Contract                Contracting Party
 HOI5!                   United HealthCare of Alabama, Inc.
 H025!                   United HealthCare Plan of the River Valley, Inc.
 H0303                   PacifiCare of Arizona, Inc
 H03I6                   United HealthCare of Arizona Inc
 H0321                   Arizona PhysiciansIPA, Inc.
 H0401                   United HealthCare of Arkansas, Inc~
 H0408                   United HealthCare Insurance Company
 H0410                   United HealthCare Insurance Company
 H0543                   PacifiC are of California
 H0609                   PacifiCare of Colorado, Inc.
 H0620                   United HealthCare Insurance Company
 H0624                   United BealthCare Insurance Company
 H07IO                   United HealthCare Insurance Company
 H0752                   Oxford Health Plans (CT), Inc.
 HI080                   United HealthCare of Florida, Inc.
 Hl108                   United HealthCare Insurance Company
 HIl11                   United Healthcare of Georgia, Inc.
 H1286                   United HealthCare Insurance Company
 H1303                   United HealthCare Insurance Company
 H1509                   United HealthCare Insurance Company
 HI717                   United HealthCare Insurance Company
 H1944                   United HealthCare Insurance Company
 H2001                   United HealiliCareInsurance Company
 H2003                   United BealthCare Insurance Company
 H2011                   United HealthCare Insurance Company
 H2182                   United HealthCare Insurance Company
 H2226                   United HealthCare Insurance Company
 H2228                   United HealthCare Insurance Company
 H2406                   United BealthCare Insurance Company
 H2654                   United HealthCare ofthe Midwest, Inc.
 H2802                   United HealthCare of the Midlands, Inc.
 H2803                   United HealthCare Insurance Company
 H2905                  •Sierra Health and Life Insurance Company, Inc.
 H2931                   Health Plan Of Nevada, Inc
 H2961                   Health Plan of Nevada, Inc.
 H3107                   Oxford Health Plans (NJ), Inc.
 H3113                   Oxford Health Plans (NJ), Inc.
 H3164                   AmeriChoice Of New Jersey, Inc.
 H3209                   United HealthCare Insurance Company
 H3307                   Oxford Health Plans (NY) Inc.
 H3379                   United HealthCare of New York, Inc.
 H3387                   United HealthCare of New York, Inc.
 H3456                   United HealthCare of North Carolina, Inc.


Annual Risk Adjustment Attestation/United Medicare


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  Contract       Contracting Party
  H3659          United HealthCare of Ohio, Inc.
  H3749          PacifiCare of Oklahoma, Inc.
  H3805          PacifiCare of Oregon, Inc.
  H3812          United HealthCare Insurance Company
  H3887          United HealthCare Insurance Company
  H3912          United HealthCare Insurance Company
  H3921          United HealthCare Insurance Company
  H4102          United HealthCare of New England, Inc.
  H4106          United HealthCare Insurance Company
  H4406          United HealthCare of Tennessee, Inc.
  H4449        , Siena Health and Life Insurance Company, Inc.
  H4514          Evercare of Texas, LLC
  H4456          United HealthCare Plan of the River Valley, Inc.
  H4522          United HealthCare Insurance Company
  H4590          PacifiCare of Texas, Inc.
  H4604          United HealthCare of Utah
  H4720          United HealthCare Insurance Company of New York
  H4837          United HealthCare of Wisconsin
  H4971          United HealthCare Insurance Company
  H5005          PacifiC are of Washington, Inc.
  H5008          United HealthCare Insurance Company
  H5253          United HealthCare of Wisconsin, Inc
  H5417          United HealthCare Insurance Company
  H5424          United HealthCare Insurance Company
  H5435          PacifiC are Life & Health Insurance Company
  H5440          United HealthCare Insurance Company
  H5507          United HealthCare Insurance Company
  H5516          United HealthCare Insurance Company
  H5532          United HealthCare Insurance Company
  H5678          United HealthCare Insurance Company
  H5697          United HealthCare Insurance Company
  H5749          United HealthCare Insurance Company
  H5754          United HealthCare Insurance Company
  H5918          United HealthCare Insurance Company
  H6228          United HealthCare Insurance Company
  H6793          United HealthCare Insurance Company
  H6952          Great Lakes Health Plan, Inc.
  H7187          United HealthCare Insurance Company
  H7949          PacifiCare Of Nevada, Inc.
  H8748          United HealthCare Insurance Company
  H9011          United HealthCare of Florida Inc.
  H9149          United HealthCare Insurance Company
  R3175          United HealthCare Insurance Company




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Contract      Contracting Party
R5287         United HealthCare Insurance Company
R5342         United HealthCare Insurance Company of New York
R5674         Sierra Health and Life Insurance Company. Inc.
R7444         United HealthCare Insurance Company




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                     Advanced Clinical Solutions Group
                     Service Level Agreement
                     Clinical Quality & Risk Scoring Analytic Services


                     , / I. Services:
                                a.· Ingenix, through its Advanced Clinical Solutions Group ("ACS"), will
                                     provide Clinical Quality and Risk Scoring Analytic Services (the "Clinical
                                     Quality & Analytic Services", or "Services") to Ovations for M..edicare
                                     6.dvggtag.(un.~@~ belonging to SecureHorizons and Evercare
                                     (including Medicaid) as follows:
                                           1. Data mining and tool development
                                          II. Provider Eng~gernentanded&cat1ori arollnddiagnostiGcorlirg.
                                        111. Oversight of encounter collection, submission and reconciliation
                                               pursuant to CMS risk adjustment rules and requirements.
                                        I v. Optimize thelevel''Ot~ accuracy -andcdinpleteness of diagnostic
                                               coding for a respective popUlation by identifying opportunities to
                                               imp-rove documentation ~nd codingliccuracy, facilitating
                                               improvement in aecuracy by working ,directly with pr:oviders,
                                              Nurse Ptaetioners' and Care Managers to .improve documentation
                                              and coding praCtices, and finally executing the timely and accurate
                                              submission of claim coding information to CMS, thereby ensuring
                                              appropriate revenues are being paid by CMS for the underlying
                                              risk inherent within the member popUlation
                                         v. Provide clinical support programs to encourage early assessment
                                              and on-going treatment of ch~ disease.
                                        vi. Conduct internal validation testing of outlier providers and fully
                                              ::;upport the CMSvalidation requirements.
                                       VII. Provide 1!-n~1.Y.!>.iL~J2~~nt$_x~~ei.Y.~_c;I from CMS
                                      VIII. PerfOlm reasonable ad hoc reporting and analysis relating to
                                              Medicare Advantage revenue as required to SUpp01i Ovations
                               b. ACS must comply with all HIP AA requirements and CMS requirements
                                    on patient confidentiality
                               c. ACS to be subject to Ovations compliance and delegated provider
                                   oversight programs
                               d. lngenix must comply with all applicable Fraud and Abuse regulations
                                    including the False Claims Act

                        2. Technology
                              a. To the extent allowed by existing licensing alTangements, contracts and
                                 legal restrictions, Ovations will ~Iicensing rights allowing Ingenix to
                                 make the following systems ~9E).!!l-~q~.!lY.. availabl~
                                      i. iRADS - encounter s'ubmission system
                                     ii. CERTS - Membership & Revenue Reconciliation system
                              b. Jngenix to make systems commercially available to plans external to
                                 UHG with prior consent of Ovations, whose consent will not be
                                 unreasonably withheld.
                              c. Ovations wiJl\~necessary technology and intellectual property to
                                 enable performance of the Services, commercialization of the Services, as




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                              well as to ~~y... lo..g~uixJQ11)llk~Jl!.ture enhancements to the ACS
                              technology.                             .~---.-.- .... - ...... -""-----.--


                          d. Disputes related to above consent will be decided by the UHG CEO and
                             CFO or their designee
                          e. JQgenix to make systems commercially avJ!illible to Providers at their own
                             disc~n as allowed by existing licensing arrangements.


                   3. Steering Committee
                         a. Ingenix will form a "steering committee" to meet at least qualterly- and
                                                                                             ~

                             discuss progress and issues
                         b. Steering Committee to be comprised of:
                                   1.  Secure Horizons President (Sheila McMil1an),
                                  II.  Secure Horizons CFO (Joe Hafennann),
                                111.   Secure Horizons or Ovations Chief Medical Officer,
                                 IV.   Evercare President, CFO, or other executive (Jeff Maloney),
                                  v. Head of Ingenix Clinical Analytics unit (Jeff Dumcum),
                                VI.    Ingenix Business Solutions representative ( Dave Ostler), and
                                Vll. Ingenix Chief Operating Officer ( Lee Valenta ),and
                               Vlli. CSG President (Richard Anderson)
                         c_ Agenda at qumterly steering committee meeting to include:
                                   I. Strategic direction
                                 II. Resourcing Issues
                                Ill. Compliance with Service Level Agreement provisions
                                IV. Clinical Integration
                                  v. Network development integration
                                VI. Preliminary upcoming year financial targets




                  4. Reporting
                  !     a. Head of Ingenix Clinical Quality Unit and Secure Horizons
                            CFO/Evercare CFO to meet monthly and discuss tinancial forecasts.
                        b. Ingenix Clinical Quality UnittoprovJde Qlonthly report specifying: -T.)          '.. ...
                                 I. Summary of any compliance issues

                                II. CUlTent and Forecasted FTE's dedicated to the Clinical Quality
                                    Unit,
                               111. Projected results to Ovations including:
                                        1. Estimation of Elimination of CUlTent year Lag payment
                                       2. Estimation of current year Final Settlement payment
                                       3. Estimation of prior year Final Settlement
                               iv. Other Financial and Operational Reports as reasonably requested.
                        c. Ingcnix will work jointly with Ovations in theperiod leading up to the
                            annual ~(early June) in developing forecasted revenue
                            assumptions for the subsequent year to SUppOlt Ovations bid planning
                            process. Plior to April 15 of each year, Ingenix will provide to Ovations




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                    its best estimates for revenue rate impacts from risk scoring, in a format
                    acceptable to the Secure Horizons and Evercare CFOs.
                d. lngenix will provide Ovations with plior notification ( as soon as practical,
                    but in no case less than 45 days), with its intent to take any of the
                    following actions:
                          I. A reduction of force that is greater than 10% of the then current
                             Clinical Quality Unit workforce. In such case, the parties will
                             meet and agree to any necessary amendments to the Monthly Base
                             Fee described in Section 5(a)i below.
                        JI. Tennination of any ofthe top 5 most highly compensated
                             employees of the Clinical Quality Unit.
          5. Exclusivity
                a. For 2007, Ingenix will perform the Clinical Quality & Analytic Services
                    exclusively for Ovations with the following exceptions:
                         J. Member and Revenue Reconciliation and Encounter submission
                             software
                        II.   State Medicaid Programs with prior consent of Ovations, whose
                             consent will not be unreasonably withheld, and

                       Ill.         UHG Affiliated entities.
                h.   ~08,              Ingenix will pertoml the Clinical Quality & Analytic Services
                      exclusively for Ovations with the following exceptions:
                               I. Member and Revenue Reconciliation and Encounter submission
                                   software
                             II. State Medicaid Programs with prior consent of Evercare, whose
                                   consent will not be unreasonably withheld,
                            Ill.    UHG Affiliated entities
                 r) 1.      IV. @egIo'narf)~3with prior consent of Ovations, whose consent
                                   will not be unreasonably withheld, and
                             v.     Ingenix may sell Clinical Quality & Analytic Services to
                                  .p.roviders &i.~ own di.s..cLetion.
                c. For 2009 and beyond , Ingenix will perfonn the Clinical Quality &
                     Analytic Services exclusively for Ovations with the following exceptions:
                              I. Member and Revenue Reconciliation and Encounter submission
                                  software
                             II. Slate Medicaid Programs with prior consent of Evercare, whose
                                   L:onsenl will not be unreasonably withheld,
                            II!.    UHG Affiliated entities
                            IV.     Regional Payers with prior consent of Ovations, whose consent
                                  wilt[lot be unreasonably withheld,
                     .~J(.', v. ;E~iio~.aLeiYcifJwith the prior consent of Ovations, whose consent
                                   will not be unreasonably withheld.
                            VI.     lngenix may sell Clinical Quality & Analytic Services to
                                   Providers at its own discretion.
                d. Disputes related to the above Exclusivity Consent Waivers will be decided
                      by the UHG CEO and eFO or their designee.




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                 6. Financial Relationship
                           a.Tngcnix will be paid a Monthly Base Fee and an Incentive Fee as
                           described below:
                                1. The Base Fee will be $3.00 PM~M beginning June 1,2007 and
                                    ending December 31,2007. The Base Fee will be $2.25 PM PM
                                    beginning January 1, 2008 and ending December 31, 2008 .
                                    PMPM is defined as the monthly average of Secure Horizons and
                                    Evercare Medicare Advantage member;'- excluding Evercare
                                   .l.D.2itutionalrnernbers, that are c.Qlltin~tus.~~
                                   [()lli.l1gJhre.e~priQr...m.o..Dths. ~Y_~T~e InstitlJ1umal M~mbers
                                    Monthly Base Fee will be $~~
                                        I.     Fees for years subsequent to 2008 will be negotiated in
                                             the nonnal course (prior to June 1,2008 for 2009) and will
                                             take into consideration historical results ofthe Clinical
                                             Quality and analytical Services, Ingenix cost forecasts, and
                                             federal funding levels and medical trend for Medicare
                                             Advantage products.
                              II. The Incentive Fee will be calculated as follows:




                                           2.5% to 3.0%             3.0% to 3.5%                       3.5%10 4.0%              4.0 to 4.5%            >4.5%



           Reimbursemenl Percentage                   5:0%·:·                          5:5%                            6.0%..
                                                .,       ?



           Incentive Fees - 2008 and beyond

           HCC Change                      2.5% to 3.0%             3.0% to 3.5%                       3.5% to 4.0%             4.0 to 4.5%            > 4.5%

                                                                    • ••   .'..      ',J       • ~ _




                                               L -~.-.-
                                               ,/.:-."~




           Reimbursemenl Percentage                   8.0%                          10:0'/0                            10.5%                 11'.0%.       11.5%
                                                     .--- .......                          ~
                                                                           ...-... -." .. ...•. "'.,- •..   '"    ..
                                                                                                                 ',    - ....




                           b. For purposes of calculating the 2007 Incentive Pa~ment, Incremental Plan
                               Revenues will represent the combined total oftheUCulTent Year (CY) ~
                             c gjiminatiQn P?yment to be paid by CMS during calendar 2007, the

                             l:~CuITent Year (CY) Estimate of the 2007 Final Settlement (as determined.
                               and reported by Ovations accounting, and reviewed by Ingenix), and the
                            C~ Prior Year (PY) Final Settlement (for 2006) to be paid by CMS during .
                               calendar 2007.
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                 c.   For purposes of calculating the 2008 (and beyond) Incentive Payments,
                      Incremental Plan Revenues will be calculated in accordance with Exhibit
                     •.{Lattached ~         ?                                                -
                 d. During the November submission oftbe Annual Budget cycle, the Parties
                      will agree on an estimated calendar year "Contingent Fee" to use in each
                      UHG forecasting cycle. Monthly "accruals" will be recorded based on
                      one-twelfth of this agreed estimate. The Parties will adjust the calendar
                      year Contingent Fee estimates at each UHG forecasting cycle date.
                      (presumably April 30, June 30, August 3 J, October 3 J) and adjust the
                      Monthly accrual to obtain the goal of not having an over accrual or under
                                                    Sl
                      accrual at December 31' of such calendar year.          r-------.
                e. Calculation of the Incentive Fee will bQ.Jrued liP"QyLApril IS/of the
                      succeeding year. The Secure Horizons CFO will verify results and
                      payment calculation prior to payment.
                 f. 2007 anangements:
                           i. The Base Fee of $3.00 PMPM will hegin effective June 1st
                             An estimate of the Monthly Incentive Fee will be agreed between
                             the two parties by June 8th and recorded for the remaining 7 months
                             of 2007. Such estimate will be reviewed on August 31 sl and October
                             3 ISl to detennine if a change in the monthly accrual is necessary.
                g.Notwithstanding the preceding paragraphs, in the event that Ingenix
                proposes to offer Clinical Quality Services to an Ovations National
                Competitor and lngenix hjgi offered lUQIC fav9rable J2ti.cing terms to such
                N~ti.O!~~L<::<:Jl?~Re_t~tpI: for the same type, scope and level of effort~orS'Cr:Y-{ces,
                then Ingenix shall Inake such more favorable R~t<::rms available J&...
                Q.yatiOI?l9.I).g.gO_~tQ~9...~ for such services in the affected geographic
                market.




                Agreed & Acknowledged:




                Ovations, Inc                                               Ingenix, Inc




                )cITY Knutson
                                                                         ~-1~Lee D. Valenta




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                                          IngenixlOvations Service Level Agreement
                                          Exhibit A: Incentive Fee HCC RAF Change
                                                                                         BaseYr              Year 1               Year 2               Year 3
                                                                     Assumptions          2007                2008                 2009                 2010
Summary Information
         Total Members                                a                +50klYr            1,300,000           1,350,000            1,400,000             1,450,000
             Continously Enrolled                     b                 82%        n/a                        1,06p;OO() ..        1;107;Q90            l,148;OOCl •
             New Members                              c= a-b                       n/a                          284,000              293,000               302,000
         RAF
             Age/Sex                                  d                 0.005                 0.470                   0.475                0.480                0.485
             Medicaid/Previously Disabled             e                                       0.020                   0.020                0.020                0.020
             HCC - Chronic Conditions                 f                 0.025                 0.490                   0.515                0.540                0.565
             Total                                    g = sum(d:f)                            0.980                   1.010                1.040                1.070

          *For Illustration Benchmark and Measurement period RAF scores are shown to be the same; however, they will be different values based on the
          defined populations.

          Avg Rate (Avg PMPMlTotal RAF)               h                            $              800   $              832    $             865    $             900

HCC RAF Change Only
        Prospective RAF Change                                                                                        0.025                0.025                0.025
            Incremental Revenue                       j = b*h*i*12                                      ~~$_eB)\i~~~l~B~
            Percent Change                            k= i/g                                                          2.5%                 2.4%                 2.3%

          Retrospective RAF Change
              PY Final Payment                                                                          1$~ll.jl1i_$_~BlimW.~~
              PY Total Revenue                        m                                                 $13,151,000,000 $15,126,000,000 $17,101,000,000
              % Change                                n = I/m                                                         Q~                   Q~                   Q~


          NewCo Incentive Calc
             Total Change % for incentive schedule    0= k+n                                                          &1%                  &1%                  &0%
             Total Incremental Revenue                p = j+1                                           ~~(I)!Z.(!»)._i1l-iB_2:.~
             Incentive %                              q                                                          10.000%
             Incentive                                r= q*p                                             $    35,307,360


Incentive Schedule - Continuously Enrolled Intersegment MA Members
                                                               IncentIve "10 I
                                                                    of
                                                               Incremental I
                                                       Range     Revenue I
                                                    <2.5%          0.0%
                                                    2.5% -3.0%     8.0%
                                                    3.0% -3.5%    10.0%
                                                    3.5% -4.0%    10.5%
                                                    4.0% -4.5%    11.0%
                                                    >4.5%         11.5%



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                                                                           Jeff Dumcum
                                                                     Exhibit A Definitions                                                                             @   •




a.                           =
          Total MA Members Total Members enrolled on July 1st of each year (include retro-active enrolrmentldisenrollment)
b.                                             =
          Continuously Enrolled MA Members Members enrolled 7/1 of the baseline year still enrolled 7/1 of the following year.
c.                           =
          New MA Members Members enrolled post 7/1 of the baseline year
          *Membership numbers include all contracted MA Plans.
                      Ovations
                      Includes: All Secure Horizons and Evercare Community MA Plans
                      Excludes: Evercare Institutional Plans, Medicaid Only Plans and Prescription Drug Plans (PDP).
                      Members switching Ovations MA plans will be counted in the plan of record as of 7/1 of measurement year.
d.        Average Age/Sex RAF = Average of member level RAF scores calculated from CMS Age/Sex Tables
e.        Average Medicaid/Previously Disabled = Average of member level RAF scores calculated for Medicaid Add-on and Previously Disabled
f.                           =
          Average HCC RAF Average of member level RAF scores calculated for reported HCC conditions
g.                           =
          Average Total RAF d + e + f
h.        Average Rate = Average Total CMS Payment PMPM divided by Average Total RAF
i.                                         =
          Prospective HCC RAF Change Measurement Year HCC RAF minus Benchmark Year HCC RAF (2) - (1)
          (1) Benchmark Year HCC RAF - Average RAF from HCC factors for Continuously Enrolled MA Members (b.)
                      Use the conditions reported for benchmark year at payment year factors (Remove impact CMS model adjustments to HCC scores)
                      Assume all members in Community plans at Community risk scores and all Institutional Plans at Institutional Risk scores (Remove C to I impact)
          (2) Measurement Year HCC RAF - Average RAF from HCC factors for Continuously Enrolled MA Members (b.)
                      Use the conditions reported for measurement year at payment year factors (Remove impact CMS model adjustments to HCC scores)
                      Assume all members in Community plans at Community risk scores and all Institutional Plans at Institutional Risk scores (Remove C to I impact)
j.         Incremental Revenue = b * h * i *12
k.         Prospective Percent Change = i / g
I.                                  =
           Prior Year Final Payment HCC Portion of Final Payment for Benchmark year received in the Payment Year for all community plans
                       Excludes: Final payment impact from changes of status for enrollment, special status and demographic factors (ie C to I)
m.         Prior Year Total Revenue = Total revenue received from CMS (MMR files) for members effective the prior year.
n.                                         =
           Retrospective Percent Change 1/ m
o.                                                     =
          Total Change Percent for Incentive Schedule k + n
p.                                     =
           Total Incremental Revenue j + I
q.                                 =
           Reimbursement Percent Applicable percent of incremental revenue per the Incentive Schedule.
r.                           =
           Incentive Payment q * p

Benchmark/Baseline Year = Year prior to Incentive plan (For 2008 Incentive Plan the Benchmark/Baseline year is 2007)
                            =
MeasurementiPayment Year Year of the Incentive Plan and the expected year of CMS payment receipt.




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                                                                                                                                                 """
Estimate of Intersegment ACS Revenue
2008 Payment Year
Per Provisions of Exhibit A
Values Based on Estimated Change From 2006 to 2007

                                                          Base Yr              Year 1
Summary Information                                        2007                 2008
   Total Members                       a                                         1,349,344
          Continously Enrolled         b                                         1,122,576
          New Members                  c= a-b                                      226,768
   RAF
          Age/Sex                      d                         0.493               0.460
          Medicaid/Previously Disablec e                         0.020               0.020
          HCC - Chronic Conditions     f                         0.430               0.458
          Total                          =
                                       g sum(d:f)                0.943               0.939




    Avg Rate (Avg PMPMITotal RAF) h                                      $             832


HCC RAF Change Only
   Prospective RAF Change              i                                              0.034
         Incremental Revenue           j = b*h*i*12
         Percent Change                k= i/g

    Retrospective RAF Change
          PY Final Payment
          PY Total Revenue             m                                     13, 00,000,000
          % Change                     n =11m                                         1.26%

    NewCo Incentive Calc
         Total Change % for incentive 0 = k+n                                      4.83%
         Total Incremental Revenue p =j+1                                t;!'$;1~Wff~~
         Incentive %                  q                                          11.500%
         Incentive                    r = q*p                             $   62,220,036




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                           EXHIBIT 3




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     From:     Knutson, Jerry J
     Sent:     Wednesday, November 07, 2007 11 :52 AM
     To:       Dumcum, Jeff S
     Cc:       Valenta, Lee 0; Hafermann, Joseph A; Poehling, Benjamin
     Subject: Step on the Gas

Jeff:

Wanted to get together with you and discuss what we can do in the short term and long-term to really go after the potential risk
scoring you have consistently indicated is out there. As we have discussed, I'd like to see an action plan as to what is
achievable for 2008 reimbursements and long-term.

You mentioned vasculatory disease opportunities, screening opportunities, etc with huge $ opportunities. Lets turn on the gas!
What can we do to make sure we are being reimbursed fairly for the members and risk we take on more than what we are
currently doing.

When we meet next on our steering committee, I'd like to see what it would take to add another $1 OOM to our 2008 revenue from
where we are. What would be doable? What resources would you need? What technology would you need?

Also, I'd like to explore the question of: With us paying Optum something like $125M this year, including newly delivered disease
management and clinical programs, I'd like to understand how you can leverage off of that investment. As our members
are being engaged clinically, what can you leverage? Add questions to the HRA? Get you "suspect lists" from the Optum
clinical engagement, etc?

I believe Ben is supporting you from ourside, so use him to help navigate Ovatinos - but lets go after it.

jk




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                           EXHIBIT 4




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         genda

     L          Risk Score Trends
                     A.      Trends/Budgets
                     B.      September Submission
                     c.      Disease Prevalence

     II.       Chart Validation
     III.      Staffing Plan
     IV. Key Initiatives
    V.          IT
    VI.         Commercialization



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          isk          djustment -- Lump Sum                                                   ayments
  Elimination of Lag




  SH
   West                $   140.7   $   139.2   $   146.9   $   142.0       $                    $   140.7   $   149.1   $ 150.1    $ 144.9
                            26.8   $    10.3   $   102.8   $    79.0       $                    $    26.8   $     9.0   $ 107.8    $  83.4
                       $   167.5   $   149.5   $   249.7   $   221.0   $   $                    $   167.5   $   158.1   $ 257.9    $ 228.3

  EVC
   Community           $     1.4   $     6.0   $    17.1   $    16.8       $   0.5   $   1.1    $     1.4   $     6.5   $   18.2   $      17.8
   Institutional       $     4.6   $     5.4   $    15.8   $     5.5       $   0.4   $   1.3    $     4.6   $     5.0   $   17.1   $       5.9
  EVC Total            $     6.0   $     0.6   $    32.9   $    22.3   $   $   0.9   $   2.4    $     6.0   $     1.5   $   35.3   $      23.7




  Final




  SH
   West
   East
  SH Total                                         150.0   $   126.0

  EVC
   Community
   Institutional
  EVC Total                                                                                                                                11.5




  *2007 Final Range of $142 to $162
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        isk            djustment                                   I   easurement


                                            2007 HCAI                                         2008 HCAI
    Jul 06 RAF                                            0.941           Jul 07 RAF                  0.998
    Jul 07 RAF                                            0.998           Jul 08 RAF                  1.029
 Change                                                   0.057        Change                         0.031
       PMPM Rate                    $                     800.00           PMPM Rate      $          800.00
       MMs                                            16,150,000           MMs                   17,000,000
 HCAI Total                         $             734,000,000          HCAI Total         $     420,000,000
       2006 Final                   $             298,000,000              2007 Final     $      18,000,000
       2007 Final                   $             144,000,000              2008 Final     $     135,000,000
 Total                              $           1,176,000,000          Total              $     573,000,000




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      ubmission and Payment Dates
Jan 08 -------------- Jun 08                                   J uI 08 ------------- Dec 08
      Preliminary Risk Payment                                   Adjusted Risk Payment
                                                       •                                                   •
    Data Collection Period: Jul 06 - Jun 07                      Data Collection Period: Jan 07 - Dec 07
    Data Submitted:                   Sep 07                     Data Submitted:        Mar08
    Cash Received:                   Jan 08 - Jun 08             Cash Received:         Jul 08 - Dec 08


       Retroactive Risk Payment
                                                           •
      Data Collection Period: Jan 07 - Dec 07
      Data Submitted:                  Mar08
      Cash Received:                    0308

      Final Risk Payment
                                                                                                      •
       Data Collection Period: Jan 07 - Dec 07
       Data Submitted:                  Jan 09
       Cash Received:                   TBD 09
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        vations                                                 15k Score Trend
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          1.050




          1.000
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          0.950




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                                      .
        vations                       .sease              revalence -                                     ummary
                                                             2006               2007               2008
  HCC                         Description                 Prevalence       Prevalence              Target    Change    Avg RAF    Impact              Target
 Vascular Disease
 104    Vascular Disease w/complications                       1.46%                 1.64%
 105    Vascular Disease w/o complications                     8.36%                 9.71%
        Subtotal Vascular Disease                              9.82 % ;~~;g:i~1~80;1tl"~B;~?Z&;,   13.00%      1.65%      0.315    0.0052

 Pulmonary Disease
 107   Cystic Fibrosis                                         0.02%                 0.20%"
 108   COPD                                                   11.49%                12.24%
       Subtotal Pulmonary Disease                              11.50%~~~~~                         13.44%      1.00%      0.387    0.0039 B§&~r41£~i§;918j

 Diabetes
 015    Diabetes w/Renal/Peripheral Circ Manifestations        2.90%              4.04%
 016    Diabetes w/Neurologic Manifestations                   3.15%               3.18%
 017    Diabetes w/ Acute Complications                        0.24%               0.13%
 018    Diabetets w/ Ophthalmic Complications                  2.14%              2.38%
        Subtotal Diabetic Complications                        8.44 % ~¥l3~~~i~~~i~~~E:~~;~~       11.23%      1.50%      0.267    O. 0040 ;i'"""'::':;;":;i';;.;~~
 019    Diabetes w/o complication                             15.32%             15.68%            15.68%
        Subtotal Diabetes                                     23.75%             25.41%            26.91 %     1.50%                                           35%

 Renal Conditions
 130    Dialysis Status                                         0.09%             0.29%             0.29%
 131    Renal Failure                                           3. 56% t~W~l1~1jj~~~~~J~~~          7.80%      1.50%      0.378    0.005 7 ";";Z!,,:::,:;;;=;:;;;~,~.:i
 132    Nephritis                                               0.56%             0.62%             0.62%
        Subtotal Renal Conditions                               4.21%             7.21%             8.71%      1.50%

 Mental Health
 055    Major Depressive Disorder/Bipolar                       2.45%                 3.12%
 054    Schizophrenia                                           0.35%                 0.39%
 052    Drug/Alcohol Dependence                                 0.50%                 0.59%
 051    Drug/Alcohol Psychosis                                  0.28%                 0.33%
        Subtotal Mental Health Disorders                        3.58% &Jf:~;~~t~&~:~?Jlr?;§         5.43%      1.00%      0.360    O. 0036 ~z~fli·;i~[~~j

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                                     .
        vations                      Isease                 revalence .. Summary
                                                               2006            2007       2008
 HCC                       Description                      Prevalence      Prevalence   Target    Change    Avg RAF    Impact     Target
Cardiac Conditions
080    CHF                                                        9.18%         10.10%
081    Acute MI                                                   0.88%          0.95%
082    Unstable Angina, Acute Ischemic Heart Disease              2.33%          2.05%
083    Angina/Old MI                                              4.88%          4.74%
092    Specified Heart Arrhythmias                                9.21%         10.15%
       Subtotal Cardiac Conditions                               26.48%         27.99%    29.00%     1.01%      0.340    0.0034          32%

Cancers
007   Metastatic Cancer                                           0.78%          0.82%
008    Lung/Other Severe Cancers                                  0.85%          0.73%
009    Lymphatic/Other Major Cancers                              1.35%          1.24%
010    BreastiProstate/Colorectal Cancer                          7.26%          7.06%
      Subtotal Cancers                                           10.24%          9.85%     9.85%     0.00%      0.400    0.0000          10%

Other
071   Polyneuropathy                                               3.47%         4.65%     5.40%     0.75%      0.315    0.0024            6%

Institutionallterns - Much higher prevalence in Institutional Population
031      Intestinal Obstruction                                     1.21%        1.31%
148      Decubitus Ulcer                                            0.30%        0.65%
021      Protein Calorie Malnutrition                               0.52%        0.70%
         Subtotal - Key Institutional Items                        2.03%         2.66%     2.66%     0.00%

All Other Conditions (42 HCCs)                                   26.87%         29.14%    30.14%     1.00%      0.300    0.0030          33%

Total                                                           121.97%        135.13%   144.54%     9.41%               0.0311




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               vercare Institutional ........                                                                                                 raft -- Very Preliminary

                                                                       Relative                 07 Prev               08 Prev
        HCC        Description                                         Risk Factor              Rate%                 Rate %
        105        Vascular Disease                                       0.158                   39.26%                46.96%
        131        Renal Failure                                          0.395                   18.66%                41.77%
        080        Congestive Heart Failure                               0.222                   25.97%                34.53%
        108        COPD                                                   0.314                   17.45%                22.65%
        055        Major Depression                                       0.296                   13.97%                21.96%
        015        Diabetes with Renal CC                                 0.448                   11.11%                18.16%
        021        Protein-Calorie Malnutrition                           0.380                    6.09%                11.51%


        *Increase appears overstated as by the time we reach the end of 2008 some of these members will leave due to death.




                                   Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan       Plan
                                   Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence Prevalence
                                   Rate(%) Rate (%) Rate (%) Rate(%) Rate(%) Rate(%) Rate (%) Rate(%) Rate (%) Rate (%) Rate(%) Rate(%) Rate (%) Rate (%) Rate(%) Rate(%) Rate(%) Rate (%) Rate(%) Rate(%) Rate(%)
                                       33.24%     14.50%     38.44%     43.58%     39.92%     48.54%     57.82%     36.04%     28.79%     59.05%     24.30%     59.83%     43.58%     24.98%     20.39%     60.00%     31.94%     47.89%     40.28%     44.40%     51.85%
      Renal Failure                    13.26%     22.90%     62.04%     23.92%     56.69%     26.78%     49.34%     20.75%     49.24%     61.59%     16.82%     29.20%     50.42%     54.88%     48.03%     59.78%     47.16%     59.62%     47.72%     45.52%     23.70%
      Congestive Heart Failure         26.07%     27.48%     31.15%     26.63%     44.11%     28.08%     33.72%     33.88%     33.33%     51.75%     34.58%     38.62%     31.49%     32.79%     34.87%     40.77%     32.24%     34.11%     39.02%     33.96%     28.15%
108   COPO                             18.89%     26.72%     26.92%     19.50%     21.76%     20.21%     21.08%     24.31%     37.12%     16.51%     21.50%     24.44%     19.03%     21.62%     21.71%     23.61%     20.00%     20.60%     28.81%     17.54%     28.15%
055   Major Depression                  6.99%     29.77%      9.45%     20.36%     57.82%     20.91%     19.71%     24.40%     31.82%     14.60%     13.08%     14.54%     12.65%      9.91%     29.61%     22.19%     14.63%      9.82%     39.12%     54.48%      6.67%
015   Diabetes with Renal CCC          19.35%     12.98%     16.44%     14.78%     20.63%     18.35%     20.68%     14.36%     12.88%     12.38%      7.48%     16.22%     18.46%     20.61%     17.76%     19.67%     17.61%     21.69%     18.03%     18.28%     15.56%
021   Protein-Calorie Malnutrition      4.09%      0.76%     31.28%     12.15%     32.91%      4.92%      3.36%      7.75%      0.76%      4.76%      3.74%      5.89%      1.31%     13.82%      3.95%     13.11%     13.43%      3.41%     27.41%     14.55%      5.93%




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           eptember                       ubmission                     pdate

                                      JuJ-07           Jan-08       Change        % Change        Budget       Variance
           Legacy SRS                          0.959        0.961        0.003           0.3%          2.0%         -1.7%
           JDR                                 0.905        0.905        0.000           0.0%          2.0%         -2.0%
           OXF                                 0.927        0.947        0.020           2.1%          2.0%          0.1%
           PFFS                                0.913        0.911       (0.002)         -0.2%           0.0%        -0.2%
           West                                0.956        0.988        0.032           3.3%          2.0%          1.3%
           Secure Total                        0.951        0.971        0.020           2.1%           1.9%         0.2%




    Illl    EVCC estimated flat - requires more analysis as most of the members were not
            enrolled for 12 months in the data collection period.


    [II     EVCI - Seeing a marked increase needs additional analysis for member not enrolled
            for 12 months in the data collection period.


    II!     Key risk to PMPM revenue projection is member growth/mix. Important to break out
            existing and new members and track their impact on overall risk score.




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        Isk Adjustment                                 ata Validation

   Status of Reviewed Records to date:

                                                   "Maybe" - most
                               HCCs NOT            likely "No" but    Received No
   Total HCCs to Total HCCs    supported & Sent to depends on         Records for This
   Validate       Confirmed    CMS                 reviewer           Patient
            1160           836                 208                98                18
                          72%)                18%                80/0              20/0
   *2005 Dates of Service

                             2006 CMS Chart Validation Summary
                                                                        Totals   - Percent
                             HCC Found                                       731       59%
                             HCC Not Found                        399                      32%
                             Questionable HCC Submitted            63                       50/0
                             Higher HCC Found w/in Hierarchy       11                       10/0
                             Lower HCC Found w/in Hierarchy        27                       20/0
                             Total                             1,231
                             **DATES OF SERVICE 2004 (PY 2005)

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          ey Initiatives


     m     Chart Audit
             Ii   2006 (600k Audits)
                     -                         =
                         ROI 15 to 1 Recovery $450/Cost $30 per chart
                     -   All EVC Inst.
                     -   All East (Except OXF & Partial NC)
                     -   PFFS
             m    2007 (400k Audits Complete)
                     - NY, NC, CA, CO, TX, NV, OK
             m    2007 04 - (200k Audits to Complete)
                     ~ AZ, NY/NJ/CT, NW

     5i    Facilitated Visits (20k members in non groups)
     Ii    Patient Assessment Forms

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            5 Staffing                          pdate

                                       FTEs             Key Position Status
    Transferred FTEs                    81              National Field Lead                 Identified
    Terms                                -5             Product Lead              Candidate Identified
    Adds                                 12             Medical Director          Candidate Identified
    Current                             88              Field Leads
    Posted                              63              East Field Lead           Candidate Identified
    To be Posted 10/1/07                38              FL                        Hired
    Year End FTEs                       189             NY                        Start Date 10/1
                                                                                  Offer Outstanding
                                                                                  Offer Ol.ltstanding
                                                                                  Candidate Identified




                                                        Manager
                                                        Director of EncounterO        laced - Internal Promotion



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   I


     m     IRADs
     i!    CERTs
     it    eMS Repository
     Ii    Reporting Portal
       ~   IT Road Map
             ~    Problem List tied to eligibility checks
             ~    Scanned Chart Review (Storage and Management)




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         ommercialization


    m     Sierra
    I!    Americhoice
     m     HealthNet (April 2008)
             if   Currently Contract with
                     - Leprechaun
                     - MMC 20/20
                     - Clear Vision
                     - Outcomes Inc
                     - The Coding Source
                     - Social Service Coordinators
             m    Key Markets CA, AZ and CT



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                           EXHIBIT 5




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            naa


~       2008 and 2009 Payment Projections


~       Risk Adjustment Programs Activity


~       Validation, Compliance and Control Initiatives


~       Future Direction




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                                Elimination of Lag

                                                     I                                     Part AlB
                                                     I       2005     I       2006     I    2007 I         2008     I       2009
                                SH
                                 West                    $    140.7       $    139.2       $   146.9   $    180.0       $ 116.9
                                 East                    $     26.8       $     10.3       $   102.8   $     81.3       $ 106.6
                                SH Total                 $    167.5       $    149.5       $   249.7   $    261.3       $ 223.6

                                EVe
                                 Community               $      1.4       $      6.0 $          17.1   $     40.7       $     45.2
                                 Institutional           $      4.6       $     (5.4) $         15.8   $     21.1       $     11.7
                                EVC Total                $      6.0       $      0.6 $          32.9   $     61.8       $     56.9

                                Ovations Total           $    173.5       $    150.2       $   282.6   $ 323.1          $ 280.5



                                Final

                                                                                           Part AlB
                                                             2005             2006          2007           2008             2009
                                SH
                                 West                    $    106.4       $    136.5       $   165.7   $    224.8
                                 East                    $     14.0       $    139.8       $    64.4   $     75.1
                                SH Total                 $    120.5       $    276.3       $   230.1   $    299.9

                                EVe
                                 Community               $      1.8 $           10.2       $    13.7   $     41.4 .
                                 Institutional           $    (11.9) $          11.6       $     4.3   $      5.1
                                EVC Total                $    (10.0) $          21.8       $    18.0   $     46.5

                                Ovations Total           $ 110.4          $ 298.1          $ 248.1     $ 346.4


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    EOl Forecast Variance Summary
    Under-Value of West Market Deletes (Best/Legacy PH S Systems)                            ($42.0)
    Incomplete Data Assumptions (members with < 12 months in DCP)                             ($3.4)
    Total Variance                                                                           ($45.4)


    Under-Value of West Market Deletes (Best/Legacy PHS Systems)

    WeliMed I DataRaps (Texas)                  ($31.7) Provider Group defaulting all submissions to 99090
    California                                   ($3.9)
    AZlWA/COIOR/OKINVIOther TX                   ($6.4)
    Total Under-Value of West Deletes           ($42.0)



~    7/1 Meeting w/ WeliMed (Dr. Rapier)




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               perati nal issues


Eli     Audit of Core Transaction Systems
           -   PacifiCare Professional Encounter System (PES)
                   • Final System Audit in December 2008
                   • Key Findings of Encounters without a From DOS
           - All systems have now been through audit reconciliation process
~       Filter Logic Review
               Non-Face to Face Procedure Code Deletes
                   • Valid providers but with CPT codes that do not indicate face to face visit
               Future logic changes run in test environment to fully understand impacts
~       Revenue Projections
             Pulling from multiple systems to capture all RAPs file
           - Underestimated value of deletes (Overestimate of EOL)
           - Issue Corrected - Single source of truth
~       WeliMed/Data Raps
           - Use of default code 99090



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2008 DOS drive 2009 Revenue
       - Chart Review (08 DOS) through Jan sweep

       - Hospital Data Capture

       - ASM/encounter data processing




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~ Focus on High Risk Suspects
       - 220K members
       - Increase # of suspects with enhanced clinical logic
           • Lab data (CKD, neuropathy) started 5/09


       - Identify whether members had visit or not to date in 09
               • Members with visit
                         - Member focused chart review/multiple providers

               • Members wlout visit
                         - Clinical calls (starting 7/09)
                         - PAFs faxed to physician




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~ Provider focused/broad based chart review
       - -770K CAS led


m   MWOV call campaign
       - Targeting 120K members
       - Currently 12% able to impact with PAFs

~   Insite deployment
       -   CA - Nearly all groups deployed
       -   PHPjlntegris deployed
       -   COjWAQ409
       -   National 2010


~ Embedded Coding Pilot (CA/TX)
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i&l   RAF outlier audits
        Identified capitated/gain share providers that are outside of the mean range of
        prevalence rates at HCC level DOS: CY 2008

       -California
                     20 groups / 45 locations
       -TX
              • Wellmed - 1.4 locations
              • Estimated Audit Start Date: July 2009
              • Estimated Audit Completion Date: October 2009
              • Audit results with HCC error for CMS correction & reporting before
                01./01./201.0




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~   OIG Audits
       - TX (H4590) - audit sample size: 1.00 members/247 HCCs
                  • Audit deadline/completed: 01/15/2009
                  • Received OIG's partial preliminary review results and responded with
                    comments
                  • Final Review Results from OIG not yet received


       - CA (H0543)- audit sample size: 1.00 members/ 302 HCCs
                  • Audit deadline/completed: 03/20/2009
                  • Initial Review Results from OIG, not yet received
                  • In preparation, Market Consult outreached to MG's for addt'l record chase
                    on HCCs assessed as non-validating




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~   eMS Audits
     -       WA (H5005)- audit sample size: 200 members/ 744 HCCs
                    • Audit deadline/completed: 09/15/2008
                    • Initial Review Results from CMS, not yet received.
     -        National Sample Audit (26 HP's for Ovations & 2 HP's for AmeriChoice)
                    • Review Results from CMS not yet received
     -       Pending RADV Audits:
                    • AL (H0151)
                    • CO (H0609)
                    • Notification Date 11/10/2008. Estimated audit sample size: 200
                      members per H contract
                    • No known start date; on indefinite hold




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~ Compliance
      - PHI protection
               • Instituted significant CAS PHI training activity
               • All CAS personnel underwent re-training on HIPAA
               • Issued new data distribution guidelines w/ QA &
                 controls on validating content appropriate to
                 recipient


      - Program Controls
               • Coding accuracy oversight
                       - Vendor auditing
                       - Insourcing of chart review/internal controls




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Ensure controls and accuracy of CAS end to end process of
encounter submissions and revenue projections

• On-going E & Y testing of forecasting model

• Ingenix Consulting engagement on deep dive of controls and processes of CAS
 encounter processing and forecasting
     • Commenced Q12009

      • Focus on 6 key areas: ASM Data Exchange Management, Data Quality Controls, (Primary Channel),
     IRADS Project Controls, Policies and Procedures, Core Client System Extract Logic and Revenue
     Projection


• External audit engagement to test deployment of IC engagement




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~   CAS is actively managing:
      - Chart audit/embedded coder
        Provider engagement
      - Provider and member analysis

m Staff fully transitioned to CAS


~   On Track for IRADS targeted go live date of late July / early
    August for September sweep
      - Initial test run of member and provider files have uncovered no
        issues

~   Evaluating remaining PDM transition
    (suspect tracking and chart review results)
      - PDM has agreed to month-to-month if necessary



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~    Finish National InSite Rollout

~    EM R Integration
      - To enable physician/user prompting related to HCC
        related chronic diseases and accurate coding

r!   RAVAS
      - Risk Adjustment Validation / Audit Services (RAVAS)
        will support internal validation audits as well as:
              • Chart review services
              • Chart validation capabilities
              • Chart Scan with chart note mapping to member HCCs


~    Improved Suspect Identification and Close Rate
      - Alternative sources (lab, HRA, etc)
      - Algorith ms


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~ WeliMed and other EOL action items



~ Regional deep dives July through September




~ 201.0 financial projections




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Additional Compensation Program (ACP)/COI
~ Status

       - 33 Groups with a PCP count of 2,114 and membership of 42K
           '08 Final Measurement Reports Completed & Distributed
           '09 Initial Diabetes Reports
               • Reviewed wjPIP team and reports are being delivered by Market Consultation to
                 groups
               • 5 groups have data issues (network #'s); CAS working with PIP team to resolve
       - '09 Chronic Conditions Reports
               • Reviewed wjPIP team and reports are being delivered to groups
~   Milestones
       - Collaboration with PIP team to clearly define COl processes, reporting, and
         guidelines
       - Incorporate CAS activities into ACP group business plans by 8/1/09

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Stand Alone (SA) COl

!'iJ   Status
            7 current SA COl agreements (4 existing from prior year; 3 new in '09)
            22 groups included on target list (for '09 effective dates)
              •      7 active negotiations (FL, MA, AZ markets)

mil    Milestones
            SA Alone Criteria and Targeting process completed and implemented
             Diabetic COl has been clearly defined and is currently being rolled out to targeted
            groups for '09
            Chronic Conditions reporting is being revised and SA program will be available for
            2010
mil    SA Dependencies and Challenges
        -   Provider setup (TIN, Network ID)



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Member Outreach
laiMWOV
           Initiated in May; runs through November
           Approximately 120K members to be contacted
           Completed - 15K calls to date
           12% with appointmentsjPAFs to send
              • - 800 via 3 way appts
              • - 1,000 mbrs scheduled
laiClinical calls
           Target high value suspects wjo claim
      -    Expected start date July '09

w.lWI PFFS
           11K PFFS & 1.2K PFFS members to be contacted
      -    Expected start date July '09


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Hospital Outreach

!1il   Status
        March 2009 Sweep
          (2008 DOS captured through the March Sweep)
              Admits/DOS                #Dx                     New HCC's
              93,223                    431,291                 14,679

~      Milestones
        - September Sweeps currently underway
        - Targeting 80% of admits




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Chart Review Activity


&'J   796K Chart Reviews Planned in 2009
       - Targeted by market/provider


is    375K charts are currently in the review process thru June 29th
       -   Planned to complete by Sept sweep

!l£   416K charts will be sent to vendor prior to Sept 1st
       -   Planned to complete by Jan sweep (08 DOS)/Mar sweep (09 DOS)

m     Additional activity planned in 09 through High Value Suspects
      initiative
       -   Targeted by member/multiple provider




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~     Diabetic Nephropathy (0.508)

        -    5K High Likely Suspects Identified
        -    $1.9 Million of Opportunity
        -    $ 3.8 Million for 201.0

!l5   Chronic Kidney Disease (0.368)

        - 1.20K High Likely Suspects Identified
        - $ 334 Million of Opportunity
        - $ 67 Million for 201.0


gjj   Additional Key Lab Suspects Currently in Process

        -    Diabetes Mellitus (0.1.57)
        -    Metastatic Cancer (2.21.0)
        -    Chronic Hepatitis B & C (0.394)
        -    End Stage Liver Disease (0.950)
        -    HIV Infection, as allowed by law (0.917)
        -    Heart Failure (0.398)

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                                   Coding Accuracy Progress Report


                                                             1/04/2010


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                                                 Coding Accuracy Update

Program Initiatives                          Overall    Time        Scope        Net 101       Benefit       ~
Complete 750,000 Chart Audits in 2009

Receive 75,000 PAFs in 2009
                                                 ••      ON

                                                         OFF
                                                                     ON

                                                                     OFF
                                                                                  ON

                                                                                  OFF
                                                                                                ON

                                                                                                ON
                                                                                                              ON

                                                                                                              ON          - PAFs are currently tracking behind plan - 29K received

Utilize lab data to close 15,000 suspects

Recapture 81% of past conditions of existing •
                                                 •       OFF

                                                         ON
                                                                     OFF

                                                                     ON
                                                                                  OFF

                                                                                  ON
                                                                                                ON

                                                                                                ON
                                                                                                              ON

                                                                                                              ON
                                                                                                                          - Opportunity was too optimistic - tracking to 9K

                                                                                                                          - On target - at 78%



                                                  ••
members

Drive Members without visits below 10%
                                                         ON          ON            ON           ON            ON          - On target to exceed performance - at 9%
Deploy Insight to providers representing
                                                         ON          ON            ON           ON            ON          - On track for 384K members
300K members




        Ingenix suspended distribution of PAFs for 4 weeks pending compliance review.
       The distribution of PAFs has been activated again, but we will not make up the difference         January MMR with initial data on RAF scores for
                                                                                                         members                                                            1/25/10
•      We are pursuing additional chart audits to make up the difference. The costs associated
       with doing incremental audits would be almost entirely offset by a reduction in PAF costs.        February MMR with initial data on RAF scores for
                                                                                                         members                                                            2/22/10
       Results from September sweep were favorable, providing an indication that we are on
       track from an overall perspective                                                                 Results from January sweep - data submitted for 2009            End of
                                                                                                         Final Payment                                                  February
        Preliminary views of 2010 revenue per member also appear to be on track, providing an
        additional positive indication                                                                   March sweep - data submitted for 2010 EOl                          4/1/10

       Potential changes to general coding accuracy strategy, including chart audits, could
       significantly impact 2010 results
        Current discussions being held around Coding Accuracy infrastructure and process would
        increase operating cost structure. Costs are not included in the 2010 budget.


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From: Polich, Cynthia L
Sent: Thursday, September 09, 2010 8:45 AM
To: Poehling, Benjamin
Subject: RAF Chart Audits

Ben -
Wanted to check back with you on status of the discussions with Ingenix re: increasing the number of chart audits. I did followup
with Tom after our brief conversation on this and he felt that we had resolved the issue of concern by agreeing to develop and
implement a pilot. We both agreed that this issue should not stand in the way of moving forward with additional chart audits. Let
me know if there is more we need to do on this.
Thanks
Cindy



Cindy Polich
President, Ovations
520-615-5204 - AZ office
714-825-5308 - CA office
714-342-0539 - mobile




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                                                                                                                                                                                                                                                                4    TYPE
                                                                                                                                                                                                                                                                    OF BILL

                                                             ID #:971       b. MED.
                                                                            REC. #
                                                                                                                                                                                                          6        STATEMENT COVERS PERIOD                7
                                                                                                                                                                         5 FED. TAX NO.
                                                                                                                                                                                                                    FROM         THROUGH



     8 PATIENT NAME                  a                                                       9 PATIENT ADDRESS                  a

     b                                                                                       b                                                                                                                       c            d                                 e

     10 BIRTHDATE             11 SEX                   ADMISSION                                                                                         CONDITION CODES                                                      29 ACDT 30
                                         12    DATE      13 HR 14 TYPE 15 SRC 16 DHR 17 STAT             18     19             20                 21      22      23     24           25            26        27         28    STATE


     31  OCCURRENCE              32   OCCURRENCE              33    OCCURRENCE               34   OCCURRENCE                     35                    OCCURRENCE SPAN                        36                   OCCURRENCE SPAN                        37
     CODE      DATE              CODE       DATE               CODE       DATE               CODE       DATE                     CODE                   FROM          THROUGH                 CODE                  FROM          THROUGH
a                                                                                                                                                                                                                                                                             a


b                                                                                                                                                                                                                                                                             b

     38                                                                                                                                           39          VALUE CODES                  40            VALUE CODES                    41           VALUE CODES
                                                                                                                                                  CODE           AMOUNT                    CODE             AMOUNT                       CODE           AMOUNT
                                                                                                                                              a
                                                                                                                                              b
                                                                                                                                              c
                                                                                                                                              d
     42 REV. CD.    43 DESCRIPTION                                                          44 HCPCS / RATE / HIPPS CODE                               45 SERV. DATE         46 SERV. UNITS              47 TOTAL CHARGES                 48 NON-COVERED CHARGES        49

1                                                                                                                                                                                                                                                                             1

2                                                                                                                                                                                                                                                                             2

3                                                                                                                                                                                                                                                                             3

4                                                                                                                                                                                                                                                                             4

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21                                                                                                                                                                                                                                                                            21

22                                                                                                                                                                                                                                                                            22

23
                    PAGE                  OF                                                           CREATION DATE                                                         TOTALS                                                                                           23

                                                                                                                     52 REL.         53 ASG.
     50 PAYER NAME                                                   51 HEALTH PLAN ID                                                       54 PRIOR PAYMENTS                   55 EST. AMOUNT DUE                      56 NPI
                                                                                                                      INFO            BEN.

A                                                                                                                                                                                                                        57                                                   A

B                                                                                                                                                                                                                        OTHER                                                B

C                                                                                                                                                                                                                        PRV ID                                               C


     58 INSURED’S NAME                                                            59 P. REL 60 INSURED’S UNIQUE ID                                                     61 GROUP NAME                                     62 INSURANCE GROUP NO.

A                                                                                                                                                                                                                                                                             A

B                                                                                                                                                                                                                                                                             B

C                                                                                                                                                                                                                                                                             C


     63 TREATMENT AUTHORIZATION CODES                                                             64 DOCUMENT CONTROL NUMBER                                                                  65 EMPLOYER NAME

A                                                                                                                                                                                                                                                                             A

B                                                                                                                                                                                                                                                                             B

C                                                                                                                                                                                                                                                                             C

     66
     DX        67                        A                  B                         C                       D                                    E                        F                            G                        H                  68


                I                        J                  K                         L                       M                                    N                        O                             P                       Q
     69 ADMIT

     74
        DX
                                70 PATIENT
                                REASON DX
              PRINCIPAL PROCEDURE          a.
                                                           a
                                                           OTHER PROCEDURE
                                                                                 b           b.
                                                                                                     c         71 PPS
                                                                                                                  CODE
                                                                                                        OTHER PROCEDURE                                75
                                                                                                                                                            72
                                                                                                                                                            ECI            a                             b                        c             73


                                                                                                                                                                         76 ATTENDING         NPI                                       QUAL
            CODE              DATE                      CODE            DATE                         CODE              DATE
                                                                                                                                                                         LAST                                                         FIRST
     c.         OTHER PROCEDURE                   d.       OTHER PROCEDURE                   e.         OTHER PROCEDURE                                                                                                                 QUAL
             CODE            DATE                       CODE            DATE                         CODE            DATE                                                77 OPERATING         NPI

                                                                                                                                                                         LAST                                                         FIRST
                                                                           81CC
     80 REMARKS                                                                                                                                                          78 OTHER             NPI                                       QUAL
                                                                              a
                                                                             b                                                                                           LAST                                                         FIRST

                                                                             c                                                                                           79 OTHER             NPI                                       QUAL

                                                                             d                                                                                           LAST                                                         FIRST                   415
     UB-04 CMS-1450                           APPROVED OMB NO. 0938-0997                                                                                                THE CERTIFICATIONS ON THE REVERSE APPLY TO THIS BILL AND ARE MADE A PART HEREOF.
                                                                                                              NUBC
                                                                                                                      ™    National Uniform
                                                                                                                          Billing Committee
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                        UB-04 NOTICE:       THE SUBMITTER OF THIS FORM UNDERSTANDS THAT MISREPRESENTATION OR FALSIFICATION
                                            OF ESSENTIAL INFORMATION AS REQUESTED BY THIS FORM, MAY SERVE AS THE BASIS FOR
                                            CIVIL MONETARTY PENALTIES AND ASSESSMENTS AND MAY UPON CONVICTION INCLUDE
                                            FINES AND/OR IMPRISONMENT UNDER FEDERAL AND/OR STATE LAW(S).



Submission of this claim constitutes certification that the billing            (b) The patient has represented that by a reported residential address
information as shown on the face hereof is true, accurate and complete.            outside a military medical treatment facility catchment area he or
That the submitter did not knowingly or recklessly disregard or                    she does not live within the catchment area of a U.S. military
misrepresent or conceal material facts. The following certifications or            medical treatment facility, or if the patient resides within a
verifications apply where pertinent to this Bill:                                  catchment area of such a facility, a copy of Non-Availability
                                                                                   Statement (DD Form 1251) is on file, or the physician has certified
1. If third party benefits are indicated, the appropriate assignments by           to a medical emergency in any instance where a copy of a Non-
   the insured /beneficiary and signature of the patient or parent or a            Availability Statement is not on file;
   legal guardian covering authorization to release information are on file.
   Determinations as to the release of medical and financial information       (c) The patient or the patient’s parent or guardian has responded
   should be guided by the patient or the patient’s legal representative.          directly to the provider’s request to identify all health insurance
                                                                                   coverage, and that all such coverage is identified on the face of
2. If patient occupied a private room or required private nursing for              the claim except that coverage which is exclusively supplemental
   medical necessity, any required certifications are on file.                     payments to TRICARE-determined benefits;
3. Physician’s certifications and re-certifications, if required by contract   (d) The amount billed to TRICARE has been billed after all such
   or Federal regulations, are on file.                                            coverage have been billed and paid excluding Medicaid, and the
4. For Religious Non-Medical facilities, verifications and if necessary re-        amount billed to TRICARE is that remaining claimed against
   certifications of the patient’s need for services are on file.                  TRICARE benefits;

5. Signature of patient or his representative on certifications,               (e) The beneficiary’s cost share has not been waived by consent or
   authorization to release information, and payment request, as                   failure to exercise generally accepted billing and collection efforts;
   required by Federal Law and Regulations (42 USC 1935f, 42 CFR                   and,
   424.36, 10 USC 1071 through 1086, 32 CFR 199) and any other                 (f) Any hospital-based physician under contract, the cost of whose
   applicable contract regulations, is on file.                                    services are allocated in the charges included in this bill, is not an
6. The provider of care submitter acknowledges that the bill is in                 employee or member of the Uniformed Services. For purposes of
   conformance with the Civil Rights Act of 1964 as amended. Records               this certification, an employee of the Uniformed Services is an
   adequately describing services will be maintained and necessary                 employee, appointed in civil service (refer to 5 USC 2105),
   information will be furnished to such governmental agencies as                  including part-time or intermittent employees, but excluding
   required by applicable law.                                                     contract surgeons or other personal service contracts. Similarly,
                                                                                   member of the Uniformed Services does not apply to reserve
7. For Medicare Purposes: If the patient has indicated that other health           members of the Uniformed Services not on active duty.
   insurance or a state medical assistance agency will pay part of
   his/her medical expenses and he/she wants information about                 (g) Based on 42 United States Code 1395cc(a)(1)(j) all providers
   his/her claim released to them upon request, necessary authorization            participating in Medicare must also participate in TRICARE for
   is on file. The patient’s signature on the provider’s request to bill           inpatient hospital services provided pursuant to admissions to
   Medicare medical and non-medical information, including                         hospitals occurring on or after January 1, 1987; and
   employment status, and whether the person has employer group                (h) If TRICARE benefits are to be paid in a participating status, the
   health insurance which is responsible to pay for the services for               submitter of this claim agrees to submit this claim to the
   which this Medicare claim is made.                                              appropriate TRICARE claims processor. The provider of care
8. For Medicaid purposes: The submitter understands that because                   submitter also agrees to accept the TRICARE determined
   payment and satisfaction of this claim will be from Federal and State           reasonable charge as the total charge for the medical services or
   funds, any false statements, documents, or concealment of a                     supplies listed on the claim form. The provider of care will accept
   material fact are subject to prosecution under applicable Federal or            the TRICARE-determined reasonable charge even if it is less
   State Laws.                                                                     than the billed amount, and also agrees to accept the amount
                                                                                   paid by TRICARE combined with the cost-share amount and
9. For TRICARE Purposes:                                                           deductible amount, if any, paid by or on behalf of the patient as
   (a) The information on the face of this claim is true, accurate and             full payment for the listed medical services or supplies. The
       complete to the best of the submitter’s knowledge and belief, and           provider of care submitter will not attempt to collect from the
       services were medically necessary and appropriate for the health            patient (or his or her parent or guardian) amounts over the
       of the patient;                                                             TRICARE determined reasonable charge. TRICARE will make
                                                                                   any benefits payable directly to the provider of care, if the
                                                                                   provider of care is a participating provider.




SEE ht t p: //www.n u b c .o r g/ FOR MORE INFORMATION ON UB-04 DATA ELEMENT AND PRINTING SPECIFICATIONS




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                                                                                                                                                                                                                                     CARRIER
    HEALTH INSURANCE CLAIM FORM
    APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
             PICA                                                                                                                                                                                                            PICA

    1.    MEDICARE          MEDICAID             TRICARE                CHAMPVA              GROUP                  FECA                OTHER 1a. INSURED’S I.D. NUMBER                                    (For Program in Item 1)
                                                 CHAMPUS                                     HEALTH PLAN            BLK LUNG
          (Medicare #)     (Medicaid #)         (Sponsor’s SSN)        (Member ID#)          (SSN or ID)            (SSN)               (ID)

    2. PATIENT’S NAME (Last Name, First Name, Middle Initial)                       3. PATIENT’S BIRTH DATE                   SEX              4. INSURED’S NAME (Last Name, First Name, Middle Initial)
                                                                                        MM     DD      YY
                                                                                                                    M               F
    5. PATIENT’S ADDRESS (No., Street)                                              6. PATIENT RELATIONSHIP TO INSURED                         7. INSURED’S ADDRESS (No., Street)

                                                                                      Self       Spouse        Child           Other

    CITY                                                                 STATE      8. PATIENT STATUS                                          CITY                                                                      STATE




                                                                                                                                                                                                                                     PATIENT AND INSURED INFORMATION
                                                                                        Single            Married              Other
    ZIP CODE                             TELEPHONE (Include Area Code)                                                                         ZIP CODE                                 TELEPHONE (Include Area Code)
                                                                                                     Full-Time            Part-Time
                                          (         )                                 Employed       Student              Student                                                            (             )
    9. OTHER INSURED’S NAME (Last Name, First Name, Middle Initial)                 10. IS PATIENT’S CONDITION RELATED TO:                     11. INSURED’S POLICY GROUP OR FECA NUMBER


    a. OTHER INSURED’S POLICY OR GROUP NUMBER                                       a. EMPLOYMENT? (Current or Previous)                       a. INSURED’S DATE OF BIRTH                                          SEX
                                                                                                                                                       MM     DD      YY
                                                                                                     YES                 NO                                                                            M                 F
    b. OTHER INSURED’S DATE OF BIRTH                       SEX                      b. AUTO ACCIDENT?                                          b. EMPLOYER’S NAME OR SCHOOL NAME
       MM     DD     YY                                                                                                     PLACE (State)
                                                M                 F                                  YES                 NO
    c. EMPLOYER’S NAME OR SCHOOL NAME                                               c. OTHER ACCIDENT?                                         c. INSURANCE PLAN NAME OR PROGRAM NAME

                                                                                                     YES                 NO

    d. INSURANCE PLAN NAME OR PROGRAM NAME                                          10d. RESERVED FOR LOCAL USE                                d. IS THERE ANOTHER HEALTH BENEFIT PLAN?

                                                                                                                                                        YES           NO              If yes, return to and complete item 9 a-d.
                                  READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM.                                                     13. INSURED’S OR AUTHORIZED PERSON’S SIGNATURE I authorize
    12. PATIENT’S OR AUTHORIZED PERSON’S SIGNATURE I authorize the release of any medical or other information necessary                           payment of medical benefits to the undersigned physician or supplier for
        to process this claim. I also request payment of government benefits either to myself or to the party who accepts assignment               services described below.
        below.

          SIGNED                                                                              DATE                                                    SIGNED
    14. DATE OF CURRENT:              ILLNESS (First symptom) OR            15. IF PATIENT HAS HAD SAME OR SIMILAR ILLNESS. 16. DATES PATIENT UNABLE TO WORK IN CURRENT OCCUPATION
       MM     DD     YY               INJURY (Accident) OR                      GIVE FIRST DATE MM      DD      YY                    MM    DD      YY            MM    DD      YY
                                      PREGNANCY(LMP)                                                                            FROM                          TO
    17. NAME OF REFERRING PROVIDER OR OTHER SOURCE                           17a.                                                              18. HOSPITALIZATION DATES RELATED TO CURRENT SERVICES
                                                                                                                                                         MM     DD      YY           MM    DD      YY
                                                                             17b. NPI                                                              FROM                           TO
    19. RESERVED FOR LOCAL USE                                                                                                                 20. OUTSIDE LAB?                                      $ CHARGES

                                                                                                                                                         YES           NO
    21. DIAGNOSIS OR NATURE OF ILLNESS OR INJURY (Relate Items 1, 2, 3 or 4 to Item 24E by Line)                                               22. MEDICAID RESUBMISSION
                                                                                                                                                   CODE                  ORIGINAL REF. NO.
     1.                                                                       3.
                                                                                                                                               23. PRIOR AUTHORIZATION NUMBER

     2.                                                                       4.
    24. A.                                              B.                                                                          E.                   F.                 G.          H.        I.                    J.




                                                                                                                                                                                                                                     PHYSICIAN OR SUPPLIER INFORMATION
                 DATE(S) OF SERVICE                           C.       D. PROCEDURES, SERVICES, OR SUPPLIES
              From                To                                                                                                                                     DAYS          EPSDT
                                                     PLACE OF              (Explain Unusual Circumstances)                      DIAGNOSIS                                 OR           Family ID.                   RENDERING
     MM       DD     YY     MM   DD            YY    SERVICE EMG        CPT/HCPCS                 MODIFIER                       POINTER            $ CHARGES            UNITS          Plan QUAL.                 PROVIDER ID. #

1                                                                                                                                                                                                NPI


2                                                                                                                                                                                                NPI


3                                                                                                                                                                                                NPI


4                                                                                                                                                                                                NPI


5                                                                                                                                                                                                NPI


6                                                                                                                                                                                                NPI
    25. FEDERAL TAX I.D. NUMBER                 SSN EIN           26. PATIENT’S ACCOUNT NO.               27. ACCEPT ASSIGNMENT?               28. TOTAL CHARGE                  29. AMOUNT PAID                   30. BALANCE DUE
                                                                                                             (For govt. claims, see back)

                                                                                                               YES              NO              $                                 $                                $
    31. SIGNATURE OF PHYSICIAN OR SUPPLIER
        INCLUDING DEGREES OR CREDENTIALS
                                                                  32. SERVICE FACILITY LOCATION INFORMATION                                    33. BILLING PROVIDER INFO & PH #                  (             )
        (I certify that the statements on the reverse
        apply to this bill and are made a part thereof.)




    SIGNED                                    DATE
                                                                  a.
                                                                           NPI                  b.                                             a.
                                                                                                                                                           NPI                   b.

    NUCC Instruction Manual available at: www.nucc.org                                                                                                APPROVED OMB-0938-0999 FORM CMS-1500 (08-05)

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BECAUSE THIS FORM IS USED BY VARIOUS GOVERNMENT AND PRIVATE HEALTH PROGRAMS, SEE SEPARATE INSTRUCTIONS ISSUED BY
APPLICABLE PROGRAMS.

NOTICE: Any person who knowingly files a statement of claim containing any misrepresentation or any false, incomplete or misleading information may
be guilty of a criminal act punishable under law and may be subject to civil penalties.

                                                           REFERS TO GOVERNMENT PROGRAMS ONLY
MEDICARE AND CHAMPUS PAYMENTS: A patient’s signature requests that payment be made and authorizes release of any information necessary to process
the claim and certifies that the information provided in Blocks 1 through 12 is true, accurate and complete. In the case of a Medicare claim, the patient’s signature
authorizes any entity to release to Medicare medical and nonmedical information, including employment status, and whether the person has employer group health
insurance, liability, no-fault, worker’s compensation or other insurance which is responsible to pay for the services for which the Medicare claim is made. See 42
CFR 411.24(a). If item 9 is completed, the patient’s signature authorizes release of the information to the health plan or agency shown. In Medicare assigned or
CHAMPUS participation cases, the physician agrees to accept the charge determination of the Medicare carrier or CHAMPUS fiscal intermediary as the full charge,
and the patient is responsible only for the deductible, coinsurance and noncovered services. Coinsurance and the deductible are based upon the charge
determination of the Medicare carrier or CHAMPUS fiscal intermediary if this is less than the charge submitted. CHAMPUS is not a health insurance program but
makes payment for health benefits provided through certain affiliations with the Uniformed Services. Information on the patient’s sponsor should be provided in those
items captioned in “Insured”; i.e., items 1a, 4, 6, 7, 9, and 11.
                                                           BLACK LUNG AND FECA CLAIMS
The provider agrees to accept the amount paid by the Government as payment in full. See Black Lung and FECA instructions regarding required procedure and
diagnosis coding systems.
                                SIGNATURE OF PHYSICIAN OR SUPPLIER (MEDICARE, CHAMPUS, FECA AND BLACK LUNG)
I certify that the services shown on this form were medically indicated and necessary for the health of the patient and were personally furnished by me or were furnished
incident to my professional service by my employee under my immediate personal supervision, except as otherwise expressly permitted by Medicare or CHAMPUS
regulations.
For services to be considered as “incident” to a physician’s professional service, 1) they must be rendered under the physician’s immediate personal supervision
by his/her employee, 2) they must be an integral, although incidental part of a covered physician’s service, 3) they must be of kinds commonly furnished in physician’s
offices, and 4) the services of nonphysicians must be included on the physician’s bills.
For CHAMPUS claims, I further certify that I (or any employee) who rendered services am not an active duty member of the Uniformed Services or a civilian employee
of the United States Government or a contract employee of the United States Government, either civilian or military (refer to 5 USC 5536). For Black-Lung claims,
I further certify that the services performed were for a Black Lung-related disorder.
No Part B Medicare benefits may be paid unless this form is received as required by existing law and regulations (42 CFR 424.32).
NOTICE: Any one who misrepresents or falsifies essential information to receive payment from Federal funds requested by this form may upon conviction be subject
to fine and imprisonment under applicable Federal laws.
          NOTICE TO PATIENT ABOUT THE COLLECTION AND USE OF MEDICARE, CHAMPUS, FECA, AND BLACK LUNG INFORMATION
                                                                    (PRIVACY ACT STATEMENT)
We are authorized by CMS, CHAMPUS and OWCP to ask you for information needed in the administration of the Medicare, CHAMPUS, FECA, and Black Lung
programs. Authority to collect information is in section 205(a), 1862, 1872 and 1874 of the Social Security Act as amended, 42 CFR 411.24(a) and 424.5(a) (6), and
44 USC 3101;41 CFR 101 et seq and 10 USC 1079 and 1086; 5 USC 8101 et seq; and 30 USC 901 et seq; 38 USC 613; E.O. 9397.
The information we obtain to complete claims under these programs is used to identify you and to determine your eligibility. It is also used to decide if the services
and supplies you received are covered by these programs and to insure that proper payment is made.
The information may also be given to other providers of services, carriers, intermediaries, medical review boards, health plans, and other organizations or Federal
agencies, for the effective administration of Federal provisions that require other third parties payers to pay primary to Federal program, and as otherwise necessary
to administer these programs. For example, it may be necessary to disclose information about the benefits you have used to a hospital or doctor. Additional disclosures
are made through routine uses for information contained in systems of records.
FOR MEDICARE CLAIMS: See the notice modifying system No. 09-70-0501, titled, ‘Carrier Medicare Claims Record,’ published in the Federal Register, Vol. 55
No. 177, page 37549, Wed. Sept. 12, 1990, or as updated and republished.
FOR OWCP CLAIMS: Department of Labor, Privacy Act of 1974, “Republication of Notice of Systems of Records,” Federal Register Vol. 55 No. 40, Wed Feb. 28,
1990, See ESA-5, ESA-6, ESA-12, ESA-13, ESA-30, or as updated and republished.
FOR CHAMPUS CLAIMS: PRINCIPLE PURPOSE(S): To evaluate eligibility for medical care provided by civilian sources and to issue payment upon establishment
of eligibility and determination that the services/supplies received are authorized by law.
ROUTINE USE(S): Information from claims and related documents may be given to the Dept. of Veterans Affairs, the Dept. of Health and Human Services and/or
the Dept. of Transportation consistent with their statutory administrative responsibilities under CHAMPUS/CHAMPVA; to the Dept. of Justice for representation of
the Secretary of Defense in civil actions; to the Internal Revenue Service, private collection agencies, and consumer reporting agencies in connection with recoupment
claims; and to Congressional Offices in response to inquiries made at the request of the person to whom a record pertains. Appropriate disclosures may be made
to other federal, state, local, foreign government agencies, private business entities, and individual providers of care, on matters relating to entitlement, claims
adjudication, fraud, program abuse, utilization review, quality assurance, peer review, program integrity, third-party liability, coordination of benefits, and civil and
criminal litigation related to the operation of CHAMPUS.
DISCLOSURES: Voluntary; however, failure to provide information will result in delay in payment or may result in denial of claim. With the one exception discussed
below, there are no penalties under these programs for refusing to supply information. However, failure to furnish information regarding the medical services rendered
or the amount charged would prevent payment of claims under these programs. Failure to furnish any other information, such as name or claim number, would delay
payment of the claim. Failure to provide medical information under FECA could be deemed an obstruction.
It is mandatory that you tell us if you know that another party is responsible for paying for your treatment. Section 1128B of the Social Security Act and 31 USC 3801-
3812 provide penalties for withholding this information.
You should be aware that P.L. 100-503, the “Computer Matching and Privacy Protection Act of 1988”, permits the government to verify information by way of computer matches.
                                                  MEDICAID PAYMENTS (PROVIDER CERTIFICATION)
I hereby agree to keep such records as are necessary to disclose fully the extent of services provided to individuals under the State’s Title XIX plan and to furnish
information regarding any payments claimed for providing such services as the State Agency or Dept. of Health and Human Services may request.
I further agree to accept, as payment in full, the amount paid by the Medicaid program for those claims submitted for payment under that program, with the exception
of authorized deductible, coinsurance, co-payment or similar cost-sharing charge.
SIGNATURE OF PHYSICIAN (OR SUPPLIER): I certify that the services listed above were medically indicated and necessary to the health of this patient and were
personally furnished by me or my employee under my personal direction.
NOTICE: This is to certify that the foregoing information is true, accurate and complete. I understand that payment and satisfaction of this claim will be from Federal and State
          funds, and that any false claims, statements, or documents, or concealment of a material fact, may be prosecuted under applicable Federal or State laws.


According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number. The valid OMB
control number for this information collection is 0938-0999. The time required to complete this information collection is estimated to average 10 minutes per response, including the
time to review instructions, search existing data resources, gather the data needed, and complete and review the information collection. If you have any comments concerning the
accuracy of the time estimate(s) or suggestions for improving this form, please write to: CMS, Attn: PRA Reports Clearance Officer, 7500 Security Boulevard, Baltimore, Maryland
21244-1850. This address is for comments and/or suggestions only. DO NOT MAIL COMPLETED CLAIM FORMS TO THIS ADDRESS.                                                    419
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                          EXHIBIT 10




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                                               AMENDMENrN6~ 1 .           ..
                                  TO THE HEALTH 5).ERy,(?eS;AGf{EEMENT BETWEEN
                                          PACIFICARE.OFARJZQNA,.JNC.
                                                       AND
                                   BANNER PHYSI~IAN$: H()SP.ITALQRGANiv.TION

   Thj~ Amendment m!,}difie~ thatc.e~ain Her;ltth Servict;!~: Agreement dated J~nuary 1.40b~(herein;;Jfter
   "Agreement") by and between:


   P:ACJfICAREOF ARIZQNA, INC•• anNizonacorpQrationand it:S' Affiliates(!ier~inafter ·P;:f(:ifjCare"). and
   BA,NNg~ i;>};iYS!CIANS Hasp ITAL D.RGANIZATIONan· Arizona Prole$isiona) Go.rporafion(" Provider
   (;r.911P~)




         1. Delete and replaqe Ar'Ur::lfil 1, 18entitleQi;Membe~';

         Z, Add Produ9tA.;ttac!imefWA., SectIPJ13. 1. 1 entitled ii20()9 Paymell~"

         3. Renl'!mePr~lJctAU~tlIl!E,,!Ot.A:,.~tipn 3.1,.2 entifled "Adjustrne~~ for Bli!nefit PI;!ln~"

         4,Md P'rodut;fAtja)ihmentA. S~fi9n3.2.1 ~nt~tled "2Mb Paym9ri~"

         5: Add prodllctA®GhmenfA.S~ttiQn3,2.2 entitled. "A:dJ!l~tmenHo.rE3enefit Plans· 2010"


   NQW TH~~~FO~E, in consideration onh~mu~al covenant and agreements contained herein.
   P~difiGc:lre anq Provider Gr9!JP agree to amenpthe Agreement ~1oIfQW~;

        1. Articlet18 "Mern~J.$" is her~bydeleted and replaced with the (ollowing:

                1.18.     Membem~r~eligibk3 pi'PVidergroqp MembersenrQlled!nanSec!,l,reH9rizon~Hea~plan
                          assigJ;l~(i Wl?,~nner BaY\\IQoO/Banner HeprtiBarmer Gatt;wayJ~anner Desert network.
                          From,J~htlary l. 20091hrQLJgh May31, 2009 I'r)embel'$ willcontinu,e lobein aanner
                          Bayw®d Gateway nefwor~~ndEastV~lIeyN~twoik. EffectiWtJline 1,2009: membl;lfs.
                          from EaSt Vaj\9y<ne!WorkWi,II.~.l;lrq!le~ intojheBanner BayWooc:lGateVi/ay netwOrK unqer
                          then.ew fl~~c:i*,Qame.   of i3annefEas1Valle¥ Nfiltwor~.
         2. Procj.ucl A!jac:hmel1t A;. S¢Ctlon3.1 ~ 1 entitled. "~QO~ P~YJnent$1' is he   re.by ,added:
                3.1.1      2009Ptlyments. P(oviq~t Group will beentitledtoqnadpilidric)1 iQcrease ineapitation
                           PaYrrl~n( P:MPM retroac'!ive to. January 1J 2"009 ifthairiGi'ea:se inR,AF$torebetwe~n July
                                                 in
                           2QOlf an(1 ,JuIYZOQ.91s ~xce~s of 3o/!>'(threeperc.~nt). The amount oflha additlori~1
                           ipcr~.as~Wilrbe~~a.l!g th~amouht ofth~act~alpetcef)tage inpi'easein RAFth~t il;; in
                           excess of 3(1!" (thTeeperc~nl). Fo(eJ(ample. if the perce:nt;:i:ge increase inRAFscore
                           b.~tween July 2Qqa and'Jllly2009is4% (f9urp~r<;~mt),then PrO\iid~r GroupwQuld@
                           an~itled to ;;lnad~lil.¢na.l1% (one percemt) incr¢i;ise lhcaPT¢troactiveto January 1, 2009.
                        ': The cap rat~wiJlbEl chaiige~'prosPedtively onciflhe calculation n<;l$ be~n cQmpleteda:ntJ
                           a!umpsurn paYrnt;lQt will'be made for (il~r~frp portion of th.e <ldditjonal increase. . ,.




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        3, PrpductAtlachm¢ritA, Sectic>n3J.2 entitled "Adju$tmerrtfor Benefit Plans" is hereby delete,
           ~el1amed and replaced With the foll6wing~                                         .

             3.1;2 Adjustments for Benefit Plans- 2009.PacifiCare mayel:eCn(>Jl)~ke(·~H8eTiefjt
                   Changes~} whicn are defiru;ld as improvamehts or rG4:ii,!ctions inSecur& Horizons bellefits
                   and/or in~re~ses c>f df:jl;:reasesin the cost sharing for ~ure Hpiizons Members. from
                     currl;flt cqverage Ye~rto the sllbsequ~nt obverageY~i3r.$ho:uidP<lvlfiC~te make $H
                     Bene;fit Cha~ge~lhacO\l$r~~.year ·t~.at ~I'e thefinaj,cial r~sponsjbmty QfPro~ider
                     Group asqefined bythe,PiiJisJon QfFih~nqi~1 ({e$ponsibiJiW(POFR), theh pacifiCare
                     may r~Ue$t modiflc1;ilionJothis Seciion. CapitationPayrDenfs forSecureHQrizons
                     Members to cover the Ch;;\l)g~in risk 8ssumeQ pyProvider;GrqUp.orpacifiCare; Such
                     requ~tsoallbe.rnade:in writing in,at(fordance with th~ Notic§$Section.of the
                     A.:greem~M;. PacifiCate shallprovitle to Ptovider Gtoupan act[1ariaJassessmMt of the
                     vaiue oHMe:SH Benefit Ch:;mges appHcable to Ui~tiskassumedby Provider Group or
                     P'acifitar~ Within ten (10) busihessc!ays oHM ptevjou~ request. pro\liderGraup.shall
                     h9V~ thijiy (:;SO) calendar days 10 review theactuati!i,~ses$nieiit provicled by PacifiCare,
                     rb~payrne~rmoi:lifJg~Wm ~sp~ctof tKis S~tiOh. ~h~lInot apply tober)~fit~whioh are
                     c~af1ged $s.aresulr of'.o,enefit ad(jilion .pfreqycfion req4iTe<j by CMS r€1gardless of
                     wh~lherQtnor,lhosebenefit 9h~nges <;Ire tti~ financialrespon$lqilitybf Pr6vid~f Gro4P~S
                     defil1edby tne,DOfR

         4, PrQductAttachm~ntA.Sectjon 3.2.1 entitled "2010 PaymentS"'is herebyadded~

                     2010 payments. Provid~,i" G;rpu,pwiUi:>e.entitlec.lto ~nadClition.aliocrease in Capitation
                     P.~NmeritPMPM retri?f;lqtivetoJan4arY 1.,2010 ifthe jncre!lis~'in RAF s.core betWeen July
                     2009 and JuJy2P1Qisiri exc¢ssof3"1.. (three percent}; T,he;;iri;II)!.Jpf9f!he ac!ditioncil
                     ihGrea~ Wi.1I OJ;! (!.iNar tp the;~m~UI-.fof iheacMli perc:eri,ag~ Iri~reC$ei.ri JtAF tha~ .is in
                     exoessbf.~o/.(thl'eeperceht). Fb(~xamplei ifth$peft:;en~ge ihcre<3~$inRAF score
                     betWeen JpIY.ZOOf/·and July 2010. is 4% (fourp~rcei1t).theh'proviqer'GrQ4p,W(jul,d pe
                     enlltle.df()~1'i addhlonal.1.% (ona.percent) hicrease jri,;capretroactivetoJanuary 1·~.2b10.
                     Th,e q;;iktate:wil! b.&changedprospectively oncetli~;~l3ic:uliMionh~s·been c6mpl~tedand
                     ali.iinp~ui'rjpa'Y.rriant wlllba made for theretro portion ofthe additioj1al increas~.

         5, Pr9(Jllct Att"lchment A, §eotlon 3.2;2 entitled" Adjul;ltrneriHo:r Bef\afit Plans -2010" is hereby
            added:

              3.Z'2AdlustiIletits fofBenefilPlans -2010.PacifiCare rilay electto makefSH Benefit
                   Changes"jWhich' ::ire gapped!:!s irrlPtovemehtsOT.reduclio.nSlri Secure HbrJ~(jnsbeMfits
                   and/o(increc:lS¢SOfcteCreases in Ihe cost shaiiriQ}or Sec~reH()tjzohS Members, from
                   current coveragey~a,rtothe supsequ~ntcoveT~ge y~~t. Shoukl PacifiCar~ make SH
                   aenefj~ Changes ina;coyarag6 yaartl1at arelhafiri~mcial re~pon$.ibiiity of Provider
                   Group 'as defilJedQY th~ Oivis.ion of FinanCial. R.espOrlsibilifl (DOER). then PacifiC are
                     .may reqiJestmOdiflcati6i1 to this"$ectidtl,Capitation Pa:ym~nts fbr~cure Horizons
                      Menibersto cover the,cMoflirin risK assumed bY·Provider Grblipbr PacifiCare. Such
                      reqye$istlal!be madeinwriiing' in aCcOrdante,with the Notices $'ectiorrof the
                      Agreemen,tP~«JfiCare,.shi:lIl. provide to Provider .Group an~ctu$iiar a$sessmehtof the
                     value of theSH Benefit ChanQ~.app!icabletothe/:i$kassuiiiedby Pi'oviderGroup or
                     Pa6i~Gar,ewithin ten (10ybtlslnessd,iys ofthepreVious request,Pr6vider Group shall
                     have thirtY'(30) ii9JElndar days to teyjewttJeattuarial~s!;;e$SniehtpfOVided t>ypacifiCare.
                     The paymentmOdiflCatibij aspGcfof this Section shall hotapplytobehefitswhichare .
                     changed as a resl)lt ofbeiiefitadditioo or redu¢tion required by CMS regardless of
                     whether or nbfthoseb'ertefit chaiiges'arethe ftnancialrespoii$ibilityofPrbvider Group as
                     defined by the DOFf{.                                         . . '




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                          EXHIBIT 11




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                                                       RAF and PMPM Build-Up Report

I                      I                          Case
                                                    Case    2:16-cv-08697-FMO-PVC
                                                     (1) - Actual
                                                                  1:11-cv-00258-RJA                     *SEALED*
                                                                  Prospective Jan 2010 MOR Members, RAF & PMPM
                                                     (2) - 2010 EOL Projection as of 3131110
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                                                     (3) - RAF Degradation: March less January MOR RAF plus a degradation factor of 0.4% per month from March to July
                                                       (4) - Projected July 2010 RAF based on Jan 2010 actuals plus EOL plus RAF Degradation




                                                                                                 RAF Drivers                                                     PMPM Drivers


                                                                                                                                                                              PMPM
                                                         Jan 2010         Jan 2010                       RAF Degradation July 2010 Proj.   Jan 2010 PMPM                   Degradation      July2010 Proj.
    DEC State               Provider Group Name         Members (1)     Actual RAF (1)   EOLRAF (2)        (Jan-Jul) (3)     RAF(4)               (1)      EOLPMPM (2)     (Jan-Jul) (3)      PMPM (4)
CALIFORNIA       Petaluma Health Center                             1           3.973           0.127             (0.065)         4.035          $3,154.09     $100.01           ($51.42)       $3,202.68 I
CALIFORNIA       UNK                                               7            2.362           0.150             (0.040)         2.472         $1,868.50      $115.93           ($30.86)       $1.953.57 :
CALIFORNIA       FAMILY PRACTICE MEDICAL GROUP                   652            2.461           0.060             (0.055)         2.466         $1,999.58       $47.14           ($43.28)       $2.003.43
CALIFORNIA       SAN DIEGO PHYS MG/CHULA VISTA                     3            1.897           0.135             (0.032)         1.999         $1,513.10      $103.66           ($24.86)       $1,591.89
ARIZONA          CARE PLUS NETWORK                               261            1.851           0.052             (0.044)         1.859         $1,476.38       $40.49           ($34.31)       $1,482.56
OREGON           GREEN MOUNTAIN                                    8            1.008           0.520             (0.024)         1.503           $840.36      $418.11           ($19.55)       $1,238.92
CALIFORNIA        ACCESS MEDICAL GROUP INC                     1.016            1.167           0.343             (0.019)         1.491         $1,060.89      $285.15           ($15.97)       $1,330.08    1

                                                                                                                                                                                                             i




TEXAS             PRINCETON IPA OF SAN ANTONIO                34,163            1.383           0.128             (0.038)         1.473         $1,265.16      $102.50           ($30.48)       $1,337.18    i




CALIFORNIA       HEALTHCARE PARTNERS MED GRP                  29,695            1.226           0.154             (0.027)         1.354         $1,156.18      $131.81           ($22.85)       $1,265.15
COLORADO         NEW WEST PHYSICIANS/HEALTH ONE                   640           1.339           0.029             (0.037)         1.332         $1,092.93       $22.90           ($28.83)       $1,087.00
TEXAS            UNK                                            1,281           1.198           0.161             (0.032)         1.327         $1,093.07      $129.50           ($25.50)       $1,197.07
CALIFORNIA       VALLEY CARE IPA                                  750           1.259           0.098             (0.030)         1.326         $1,121.90       $86.15           ($26.48)       $1,181. 57   1



CALIFORNIA       PHYSICIANS ASSOCIATES                          4,701           1.228           0.095             (0.029)         1.295         $1,149.15       $81.96           ($24.58)       $1,206.54
COLORADO         SENIOR CARE COLORADO                           1.318           1.222           0.107             (0.036)         1.293           $987.13       $83.42           ($28.35)       $1,042.19,
OKLAHOMA         STEVEN KING                                       20           1.428          (0.116)            (0.021)         1.291         $1,163.31      ($90.93)          ($16.33)       $1,056.05
CALIFORNIA        GOLDEN CARE                                       3           0.933           0.248              0.106          1.287           $864.18      $201.28            $86.38        $1,151.84
NEVADA            LAS VEGAS NETWORK                             1,110           1.184           0.138             (0.037)         1.286         $1,042.78      $123.92           ($33.37)       $1,133.33
ARIZONA           JOHN C LINCOLN NETWORK                           1            0.982           0.324             (0.021)         1.285          $771.92       $239.74           ($15.39)        $996.28
TEXAS            HOUSTON DCN                                      19            1.167           0.048              0.039          1.254         $1,099.34        $42.47           $34.39        $1,176.20
OREGON           THE PORTLAND CLINIC (CMG)                     1,449            1.219           0.051             (0.027)         1.242         $1,005.74        $41.05          ($22.12)       $1,024.67
OREGON           West Linn Pediatric And Women                     4            1.420          (0.158)            (0.020)         1.242         $1,141.25      ($125.02)         ($15.84)       $1,000.39
CALIFORNIA       MERCY PHYSICIANS MEDICAL GROUP                2,964            1.203           0.072             (0.038)         1.236           $992.52        $55.86          ($29.58)       $1,018.80
OREGON           UNK                                              46            1.129           0.125             (0.020)         1.234         $1,005.87       $112.28          ($17.90)       $1,100.24
OREGON           PRIME MED                                        49            1.227           0.023             (0.038)         1.212         $1,098.10        $20.55          ($34.19)       $1,084.46
CALIFORNIA       TALBERT MEDICAL GROUP                         5,709            1.160           0.049             (0.019)         1.189         $1,031.76        $39.63          ($15.74)       $1,055.65
OREGON           NORTHWEST PRIMARY CARE (CMG)                  1,201            1.104           0.109             (0.026)         1.187           $904.54       $87.97           ($21.02)         $971.49
CALIFORNIA       OMNIIPA INC-STOCKTON                              1            0.875           0.329             (0.019)         1.185           $772.80      $275.10           ($16.01)       $1,031.89
COLORADO         NEW WEST PHYSICIANS/LUTHERAN                  4,135            1.137           0.076             (0.030)         1.183           $918.29       $58.79           ($23.42)         $953.66
OREGON           Q STREET INTERNISTS                              22            1.191           0.071             (0.080)         1.182           $969.62       $56.10           ($63.21)         $962.51
CALIFORNIA       GREATER NEWPORT PHYS@HOAG HOSP                8,896            1.118           0.085             (0.025)         1.178           $976.48       $66.96           ($19.88)       $1,023.56
TEXAS            PHYSICIAN PRIMECARE                           7,257            1.073           0.130             (0.027)         1.176         $1,050.59      $106.69           ($21.93)       $1,135.35
CALIFORNIA       AFFINITY WEST COUNty REGION                   1,898            1.142           0.067             (0.036)         1.174         $1,106.26       $63.21           ($33.59)       $1,135.88
CALIFORNIA       AXMINSTER MEDICAL GROUP INC                      986           1.139           0.058             (0.025)         1.172         $1,086.81       $50.77           ($21.96)       $1,115.61
CALIFORNIA       ALTA BATES MEDICAL GROUP                       1,334           1.161           0.055             (0.045)         1.171         $1,108.31       $51.34           ($41.98)       $1,117.67
OREGON           FIVE RIVERS                                      10            0.866           0.233              0.066          1.165           $706.94      $187.26            $52.86          $947.06
CALIFORNIA       SAN JOSE MEDICAL GROUP                        2,329            1.152           0.033             (0.027)         1.158         $1,024.59       $29.56           ($23.99)       $1,030.16
OREGON           HEALTH CARE RESOURCES NW                      1,245            1.051           0.120             (0.018)         1.153           $880.22       $98.77           ($14.53)         $964.46
CALIFORNIA       HEMET COMMUNITY MEDICAL GROUP                 6,912            1.036           0.132             (0.Q25)         1.143           $902.90      $103.51           ($19.36)         $987.05
CALIFORNIA       EPIC                                          9,313            1.089           0.074             (0.020)         1.142           $942.72       $58.08           ($15.96)         $984.83
COLORADO         NEW WEST PHYSICIANS/CENTURA                   2,843            1.086           0.082             (0.029)         1.139           $872.65       $63.10           ($22.21)         $913.54
CALIFORNIA       ENCOMPASS MEDICAL GROUP INC                   1,043            1.112           0.046             (0.026)         1.133           $910.74       $35.66           ($19.98)         $926.41
CALIFORNIA       MONARCH HEALTHCARE                            9,468            1.122           0.035             (0.033)         1.123           $981.05       $27.21           ($26.21)         $982.06
CALIFORNIA       CENTRAL VALLEY MEDICAL GROUP                  3,782            1.102           0.046             (0.029)         1.120         $1,003.07       $39.96           ($24.75)       $1,018.28
TEXAS            CORPUS CHRISTI DIRECT                         1,803            1.105           0.041             (0.033)         1.113         $1,071.86       $36.71           ($29.43)       $1,079.14
CALIFORNIA       APPLECARE                                     1,974            1.029           0.097             (0.014)         1.112         $1,005.68       $85.05           ($12.23)       $1,078.50
CALIFORNIA       INLAND HEALTH CARE GROUP                        295            1.165          (0.008)            (0.047)         1.111         $1,040.76       ($6.54)          ($38.50)         $995.72
CALIFORNIA       PRIMARY CARE ASSOCIATED MG                    3,905            1.032           0.092             (0.019)         1.104           $865.84       $72.37           ($15.29)         $922.92
CALIFORNIA       SANTA CLARA COUNTY IPA                        3,140            1.052           0.080             (0.029)         1.104           $928.09       $70.60           ($25.56)         $973.13
CALIFORNIA       MIDCOAST IPA                                  1,459            1.047           0.076             (0.023)         1.100           $854.13       $60.30           ($18.09)         $896.34
CALIFORNIA       PIONEER PROVIDER NETWORK A MED                 1,126           1.149          (0.023)            (0.031)         1.094         $1,075.22       ($20.12)         ($26.72)       $1,028.37
CALIFORNIA       SUITER EAST BAY MEDICAL FOUNDATION              762            1.057           0.066             (0.030)         1.093         $1,042.11        $63.76          ($28.98)       $1,076.88
CALIFORNIA       RIVERSIDE MEDICAL CLINIC INC                   1,405           1.090           0.032             (0.030)         1.092          $954.12        $25.88           ($23.95)         $956.05
OREGON           CASTILLO                                          18           0.948           0.184             (0.041)         1.091          $691.87       $129.12           ($28.57)         $792.42
CALIFORNIA       CHOICE MEDICAL GROUP                             427           1:037           0.075             (0.040)         1.072          $877.43        $57.14           ($30.45)         $904.12
CALIFORNIA       SAN BERNARDINO MEDICAL GROUP                  1,481            0.896           0.190             (0.021)         1.066          $804.38       $152.17           ($16.68)        $939.87
CALIFORNIA       HEALTHCARE PARTNERS                           1,431            1.032           0.047             (0.015)         1.064          $988.90        $40.49           ($12.71)       $1,016.68
CALIFORNIA       SCRIPPS CLINIC                               14,133            0.974           0.110             (0.022)         1.062          $814.44        $87.08           ($17.40)         $884.12
OREGON           PACIFIC MEDICAL                               1,794            1.058           0.019             (0.017)         1.060          $866.44        $15.55           ($13.54)         $868.45
CALIFORNIA       SEAVIEWIPA                                    3,822            1.025           0.056             (0.023)         1.058          $933.57        $49.89           ($20.45)         $963.01
OREGON           PROVIDENCE MED GRP                            2,684            1.017           0.060             (0.020)         1.057          $835.90        $48.22           ($15.72)         $868.40
CALIFORNIA       BRISTOL PARK MEDICAL GROUP                    1,724            1.017           0.066             (0.026)         1.057          $905.41        $52.28           ($20.63)         $937.06


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                                                                   Case    2:16-cv-08697-FMO-PVC
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                                                                                 Prospective Jan 2010 MOR Members, RAF *SEALED*
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                                                                    (2) - 2010 EOl Projection as of 3/31/10
                                                                                                                                                   ID   #:982
                                                                    (3) - RAF Degradation: March less January MOR RAF plus a degradation factor of 0.4% per month from March to July
                                                                      (4) - Projected July 2010 RAF based on Jan 2010 actuals pius EOL plus RAF Degradation




                                                                                                                RAF Drivers                                                   PMPM Drivers


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                                                                        Jan 2010         Jan 2010                       RAF Degradation July 2010 Proj.   Jan 2010 PMPM                  Degradation      July 2010 Proj.
          DEC State                      Provider,Group ,Name          Members (1)     Actual RAF (1)   EOlRAF (2)        (Jan-Jul) (3)     RAF(4)              (1)     EOlPMPM (2)      (Jan-Jul) (3)      PMPM (4)
CALIFORNIA                      MEMORIAL HEALTHCARE IPNLB                     2.100            0.980           0,103             (0.027)         U56            $904.85       $86.62           ($22.66)          $968.82
CALIFORNIA                      COAST HEALTHCARE                              2,144            1.002           0.071             (0.019)         1.054          $957.16       $61.04           ($16.71)        $1,001.48
CALIFORNIA                      SHARP REES-STEALY MEDICAL GRP                12,856            0.936           0.138             (0.024)         1.050          $795.08      $110.34           ($18.83)          $886.60
TEXAS                           DALLAS COUNTY HOSPITAL DISTRIC                  228            0.981           0.101             (0.034)         1.048          $979.86       $91.22           ($30.51)        $1,040.57
CALIFORNIA                      SUTTER INDEPENDENT PHYSICIANS                 1,992            1.040           0.025             (0.026)         1.039          $864.87       $20.12           ($20.97)          $864.03
TEXAS                           DALLAS DCN                                   47,803            1.008           0.060             (0.030)         1.038          $981.55       $53.25           ($26.58)        $1,008.23
COLORADO                        UNK                                            5,726           0.973           0.090             (0.027)         1.037          $782.94       $70.03           ($20.68)          $832.29
CALIFORNIA                      PHYS MED GRP OF SANTA CRUZ COU                 2,084           0.972           0.091             (0.027)         1.036          $793.89       $74.64           ($22.09)          $846.44
CALIFORNIA                      CENTRE FOR HEALTH CARE                         2,296           0.994           0.052             (0.012)         1.035          $828.03       $40.43            ($9.37)          $859.08
CALIFORNIA                      UNITED FAMILY CARE OF RIALTO                     645           0.992           0.058             (0.015)         1.034          $871.13       $45.69           ($12.18)          $904.64
OREGON                          PORTLAND DIRECT                                1,060           1.024           0.030             (0.022)         1.032          $860.09       $25.28           ($18.32)          $867.05
COLORADO                        PRIMARY PHYSICIAN PARTNERS                    15,265           0.967           0.088             (0.024)         1.031          $788.95       $67.95           ($18,30)          $838.60
NEVADA                          UNK                                                3           0.889           0.153             (0.017)         1.026          $765.38      $134.86           ($14.58)          $885.66
TEXAS                           NORTH TX SPEC PHYSICIANS (PCP)               23.466            0.979           0.073             (0.027)         1,026          $907,05       $61.81           ($22.56)          $946.30
OREGON                          SALEM CLINIC PC (CMG)                         1,649            0.935           0.104             (0.017)         1.022          $778.92       $84.13           ($13.88)          $849.17
CALIFORNIA                      HIGH DESERT PRIMARY CARE MG                    1,541           0.956           0.081             (0.016)         1.021          $843.86       $64.14           ($12.71)          $895.29
CALIFORNIA                      MILLS PENINSULA                                4,459           1.039           0.009             (0.029)         1.019          $857.42        $7.13           ($22.71)          $841,84
OREGON                          SOUTH TABOR FAMILY PHYS (CMG)                   480            0.975           0.059             (0.016)         1.018          $811.39       $48.25           ($13.29)          $846,36
CALIFORNIA                      ALLCARE IPA                                    2,110           1.021           0.029             (0.033)         1.017          $908.76       $24.65           ($27.91)          $905,50
CALIFORNIA                      UCLA MEDICAL GROUPIIPA                         3,525           0.996           0.037             (0.019)         1.014          $957.68       $31.56           ($16.09)          $973.16
TEXAS                           TARRANTDCN                                    14,574           0.986           0.053             (0.029)         1.011          $920.58       $45.12           ($24.27)          $941.44 I
CALIFORNIA                      PRIMECARE OF REDLANDS                         11,972           0.983           0.050             (0.022)         1.011          $871.04       $39.36           ($17.58)          $892.82
OREGON                          OREGON CITY INTERNAL MEDICINE                   138            1.047          (0.011)            (0.025)         1.010          $874.84        ($9.27)         ($20.95)         $844.62
OKLAHOMA                        BROKEN ARROW                                     24            0.905           0.138             (0.037)         1.006          $720.86      $105.38           ($28.29)         $797.95
CALIFORNIA                      MERCY MEDICAL GROUP                           2,390            1.028           0.002             (0.024)         1.006          $844.41         $1.33          ($18.79)         $826.96
CALIFORNIA                      BRIGHT HEALTH PHYSICIANS                      4,815            0.969           0.065             (0.028)         1.006          $939.10       $55.91           ($24.56)         $970.44
OREGON                          PROVIDENCE MEDICAL GROUP                         19            1.148          (0.091)            (0.052)         1.004          $939.90      ($74.47)          ($42.72)         $822.71
CALIFORNIA                      PROSPECT MEDICAL GROUP/NORTH                  4,527            0.934           0.088             (0.019)         1.003          $854.08       $72.63           ($15.61)         $911.09
CALIFORNIA                      SANTA BARBARA SELECT IPA                       1,730           0.909           0.116             (0.023)         1.003           $765.18      $95.15           ($18.65)          $841.68
OKLAHOMA                        Jenks Family PhysiCians                           30           1.094          (0.001)            (0.091)         1.002         $1,186.92      ($0.61)          ($82.68)        $1,103.63
CALIFORNIA                      SUTTER GOULD MEDICAL FOUNDATIO                 8,532           0.984           0.039             (0.022)         1.001           $892.88      $33.58           ($18.78)          $907.67
CALIFORNIA                      HILL PHYSICIANS SAN FRANCISCO                  6,474           0.989           0.040             (0.028)         1.001           $879.99      $34.44           ($24.02)         $890.41
CALIFORNIA                      FACEY MEDICAL FOUNDATION                       5,101           0.959           0.059             (0.019)         1.000           $925.08      $51.05           ($16.41)         $959.72
OREGON                          OAK STREET MEDICAL PC                             35           0.984           0.021             (0.012)         0.993           $804.71      $16.41            ($9.31)         $811.81
ARIZONA                         SUN HEALTH NETWORK                             4,767           0.984           0.033             (0.025)         0.992           $803.87      $26.10           ($19.44)         $810.53
CALIFORNIA                      SLO SELECT IPA SO CNTY                         1,494           0.967           0.043             (0.020)         0.990           $736.59      $31.64           ($14.46)         $753.78
CALIFORNIA                      SANSUM CLINIC                                  1,969           0.953           0.068             (0.032)         0.989          $782.28       $54.65           ($25.61)         $811.32
CALIFORNIA                      SUTTER MEDICAL GROUP                          5,065            0.982           0.034             (0.029)         0.987          $808.60       $26.81           ($22.73)         $812.67
CALIFORNIA                      ST JOSEPH HERITAGE MEDICAL GRO                1,209            0.969           0.036             (0.022)         0.984          $869.04       $28.91           ($17.20)         $880.75
CALIFORNIA                      ST VINCENT MEDICAL GROUP IPA                    898            0.901           0.098             (0.016)         0.983          $862.74       $83.07           ($13.19)         $932.62
OKLAHOMA                        Dubois Medical Clinic                            94            0.962           0.054             (0.033)         0.982          $805.64       $42.13           ($25.84)         $821.92
CALIFORNIA                      GREATER TRI-CITIES IPA MEDICAL                2,492            0.928           0.067             (0.014)         0.980          $799.82       $53.48           ($11.19)         $842.11
OREGON                          TUALITY HEALTH ALLIANCE                         122            0.898           0.091             (0.009)         0.979          $834.35       $79.53            ($8.02)         $905.86
COLORADO                        AVISTA                                          554            0.960           0.042             (0.024)         0.978          $783.35       $32.72           ($18.48)         $797.59
ARIZONA                         THUNDERBIRD NETWORK                           3,960            0.956           0.042             (0.022)         0.977          $796.84       $34.01           ($17.68)         $813.17
CALIFORNIA                      ST JOSEPH HOSPITAL AFFILIATED                 3,257            0.968           0.029             (0.024)         0.973          $868.68       $23.32           ($19.07)         $872.93
ARIZONA                         PHX SECURE HOSPITAL NETWORK                  33,606            0.955           0.038             (0.024)         0.969          $777.33       $30.09           ($19.00)         $788.42
CALIFORNIA                      PALO ALTO MEDICAL FOUNDATION                  3,872            0.987           0.008             (0.027)         0.968          $846.26        $6.48           ($22.96)         $829.78
WASHINGTON                      PHYSICIANS CARE NETWORK (CMG)                 2,173            0.966           0.023             (0.022)         0.967          $793.76       $18.39           ($17.64)         $794.52
WASHINGTON                      PACMED                                        1,649            0.922           0.074             (0.033)         0.963          $761.80       $60.23           ($26.56)         $795.47
OREGON                          MARTIN L JONES                                   35            0.943           0.034             (0.016)         0.961          $774.24       $26.93           ($12.29)         $788.89
WASHINGTON                      CLARK COUNTY DIRECT                           4,345            0.930           0.055             (0.025)         0.960          $758.72       $43.73           ($19.86)         $782.60
COLORADO                        EXEMPLA MEDICAL SECURE                           92            0.884           0.111             (0.037)         0.958          $693.45       $82.38           ($27.69)         $748.14
CALIFORNIA                      SHARP COMMUNITY MEDICAL GROUP                23,987            0.942           0.035             (0.021)         0.956          $799.16       $28.30           ($16.75)         $810.71
CALIFORNIA                      ST JUDE HERITAGE MEDICAL GROUP                 3,442           0.939           0.036             (0.019)         0.955          $839.40       $28.21           ($15.46)         $852.16
(blank)                         UNK                                        1,200,086           0.955           0.036             (0.038)         0.952          $791.78       $27.63           ($29.28)         $790.12
ARIZONA                         BANNER MESNBAYWOOD NETWORK                    13,793           0.935           0.037             (0.021)         0.950          $763.94       $28.87           ($16.87)          $775.94
CALIFORNIA                      CEDARS SINAI MEDICAL GROUP                    1,659            0.903           0.068             (0.022)         0.950          $847.18       $56.72           ($18.01)         $885.89
WASHINGTON                      CASTLE ROCK                                      11            0.788           0.113              0.048          0.949          $563.63       $73.25            $31.29          $668.17
CALIFORNIA                      HERITAGE PROVIDER NETWORK                    23,374            0.924           0.042             (0.018)         0.949          $835.21       $34.21           ($14.34)         $855.08
OREGON                          LAKESIDE CLINIC                                   10           0.852           0.112             (0.015)         0.949          $703.06       $88.64           ($12.08)         $779.61


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                                                    {3} - RAF Degradation: March less January MOR RAF plus a degradation factor of 0.4% per month from March to July
                                                       {4} - Projected July 2010 RAF based on Jan 2010 actuals plus EOl plus RAF Degradation




                                                                                                  RAF Drivers                                                   PM PM Drivers


                                                                                                                                                                             PMPM
                                                         Jan 2010         Jan 2010                        RAF Degradation July 2010 Proj.   Jan 2010 PMPM                 Degradation       July 2010 Proj.
    DEC State             Provider Group Name           Members (i)     Actual RAF {1 l   EOl RAF {2}       {Jan-Jul} {3}     RAF(4}              (i)     EOlPMPM (2)     (Jan-Jul) (3)       PM PM (4)
OREGON           FAMilY HEALTHPARTNERS                             8             1.428          (0.469)            (0,015)         0,943        $1,146,89     ($370,09)          ($12.03)         $764,77
CALIFORNIA       SUTTER WEST MEDICAL GROUP                       135             0,910           0,057             (0.023)         0.943          $831.30       $48.61           ($19.60)         $860.32
OKLAHOMA         OKC DCN                                       14.452            0.938           0,028             (0.023)         0.943          $790.28       $22.34           ($18.05)         $794,57
WASHINGTON       PROVIDENCE HEALTH SYSTEMS                         86           0.979            0.032             (O.069)         0.942          $714.82       $22.38           ($47.79)          $689.41
OKLAHOMA         UNK                                            1.708           0.945            0.030             (0.033)         0.942          $797.40       $24.19           ($26.71)          $794.89
WASHINGTON       THURSTON DIRECT                                  911           0.889            0,073             (0.021)         0.940          $717.19       $59.17           ($17.28)          $759.07
COLORADO         COLO SPGS HEALTH PARTNERS                      3,836            0.955           0,010             (0.025)         0.939          $770.39        $7.33           ($19.33)          $758.38
WASHINGTON       LEWIS DIRECT                                    522             0.907           0.064             (0.032)         0.939          $677.11       $46.27           ($22.95)          $700.43
OREGON           CORVALLIS                                       135             0.942           0.032             (0.037)         0.937          $689.97       $22.39           ($26.15)          $686.22
ARIZONA          METRO TUCSON NETWORK                         24,800             0.910           0.041             (0.017)         0.935          $748.09       $33.84           ($14.01)          $767.92
OKLAHOMA         TULSADCN                                      2,905             0.937           0.026             (0.030)         0.933          $774.65       $21.00           ($24,17)          $771.48
WASHINGTON       HEALTH CARE RESOURCES NW                         117            0.782           0.142              0,007          0,931          $625,11      $110,08             $5.34           $740.53
WASHINGTON       PRIMARY CARE OF PUYALLUP                         164            0,933           0.013             (0,016)         0.929          $769.95       $10.76           ($13.53)          $767.18
CALIFORNIA       WOODLAND CLINIC MED GROUP                        140            0.952           0.008             (0.032)         0.928          $825.04        $6,77           ($26.03)          $805.78
OKLAHOMA         Putnam North Family Medical                       43            0,933           0.036             (0.043)         0.927          $779.26       $28.19           ($33.21)          $774.24
OREGON           THE CORVALLIS CLINIC (CMG)                     1,657            0.925           0,027             (0.026)         0.926          $700.82       $19.40           ($19.27)          $700.94
CALIFORNIA       Sonoma DCN PCPs                                 185             0.924           0.035             (0.040)         0.919          $774.41       $28.16           ($32.44)          $770.13
WASHINGTON       SEATTLE DIRECT                                 1.858            0,896           0.055             (0.033)         0.919          $736.27       $44.62           ($26.29)          $754.61
WASHINGTON       SWEDISH                                        2,064            0.887           0.061             (0.030)         0.918          $735.38       $49,60           ($24.43)          $760,55
WASHINGTON       PIERCE COUNTY DIRECT                           4,366            0.882           0.057             (0.026)         0.914          $719,57       $45.63           ($20.55)          $744.65
WASHINGTON       KIRKPATRICK FAMILY CARE PS                       186            0.881           0.058             (0.025)         0.914          $623.53       $37.61           ($16.38)          $644.76
CALIFORNIA       CHINO MEDICAL GROUP INC                          423            0.901           0.026             (0.014)         0.913          $780.42       $19.75           ($10.56)          $789.61
WASHINGTON       WHITEHORSE FAMILY MEDICINE                       142            0.932           0.040             (0.060)         0.911          $747.01       $30,15           ($45,75)          $731.41
WASHINGTON       PORTLAND DIRECT                                  264            0.934           0,018             (0.041)         0.911          $739.33       $13.60           ($30.70)          $722.23
CALIFORNIA       PREMIER PHYSICIANS NETWORK                       704            0.897           0.031             (0.022)         0.906          $906.34       $27,74           ($19.62)          $914.47
CALIFORNIA       GOOD SAM MED PRAC ASSOC                          647            0.882           0,046             (0.022)         0.905          $855.70       $38.94           ($19.06)          $875.57
OREGON           SAMARITAN HEALTH SERVICES -PCP                  877             0,872           0.050             (0.018)         0.904          $663.31       $36.14           ($12,91)          $686.53
OREGON           MONTEREY HEALTH                                    4            1.025          (0.107)            (0.015)         0.903           $828.80     ($84.19)          ($11,52)          $733.09
CALIFORNIA       OMNICARE MEDICAL GROUP                           149            0.938          (0.017)            (0.021)         0.900           $873.60     ($14.01)          ($17.45)          $842.14
CALIFORNIA       BAY AREA COM MED GRP                             450            0.854           0.072             (0.033)         0.893           $792.35      $58.06           ($26.61)          $823.81
CALIFORNIA       SANTE COMMUNITY PHYS-FRESNO                    3,750            0.910           0.012             (0.029)         0.892           $756.35       $9.14           ($23.00)          $742.49
CALIFORNIA       EMPIRE PHYS MG                                 2,199            0.880           0.036             (0.024)         0.892           $774.88      $28.06           ($18.77)          $784.17
CALIFORNIA       MARIN IPA SONOMA                                 215            0.861           0.068             (0.038)         0.891           $727.75      $55.06           ($31.22)          $751.59
OREGON           LANE DIRECT                                    2,824            0.866           0.039             (0,016)         0.889           $717.36      $31,54           ($12.82)          $736.08
ARIZONA          ABRAZO NETWORK                                    2             1.403           0.000             (0.514)         0.889         $1,107,97       $0.00          ($446.39)          $661.58
CALIFORNIA       CENTINELA VALLEY IPA MG INC                     343             0.818           0.079             (0.011)         0.886          $827,15       $69.34            ($9.47)          $887.03
CALIFORNIA       JOHN MUIR HEALTH NETWORK                         724            0.851           0.041             (0.008)         0.884          $842.11       $39.17            ($7.39)          $873.89
WASHINGTON       SNOHOMISH DIRECT                               5,231            0.863           0.049             (0,030)         0.882          $704.51       $38.00           ($23,05)          $719.45
OREGON           VENETA MEDICAL CLINIC                             5             1,142          (0,221)            (0,040)         0.882          $930,61     ($174.64)          ($31.60)          $724.37
TEXAS            Deuteronomy-2                                   987             0.870           0.035             (0.024)         0.880          $819,01       $29.54           ($20.62)          $827.93
CALIFORNIA       ST JUDE AFFILIATED PHYSICANS                     685            0.840           0.047             (0.009)         0.878          $815.00       $39.18            ($7.58)          $846.60
WASHINGTON       UNK                                            2,162            0.888           0.024             (0.037)         0.875          $730.86       $19,19           ($29.46)          $720.59
COLORADO         DENVER PROPRIETARY SECURE                     12,866            0.860           0.033             (0.020)         0.874          $701,30       $25,50           ($15.19)          $711.61
CALIFORNIA       TORRANCE HOSPITAL IPA                            875            0.870           0.026             (0.024)         0.873          $818.47       $21.70           ($19.44)          $820.73
WASHINGTON       MULTI CARE                                     2,765            0.867           0.030             (0.027)         0.871          $696,96       $23.52           ($20.71)          $699.78
CALIFORNIA       Independence IPA                                 321            0.870           0.040             (0,040)         0.871          $738,11       $30.23           ($30,05)          $738,29
ARIZONA          PINAL HEALTH CARE NETWORK                      2,196            0.869           0.021             (0.021)         0.869          $712,98       $16,23           ($16.34)          $712.88
CALIFORNIA       OJAI VALLEY MEDICAL GROUP                        515            0.857           0.029             (0.017)         0.869          $765.13       $24.88           ($15.03)          $774.98
COLORADO         LOVELAND PROPRIETARY                           2,071            0.874           0.016             (0.026)         0,863          $710.79       $12.32           ($20.19)          $702.93
TEXAS            Jefferson Phys Grp                             1,928            0.872           0.022             (0.033)         0.861          $852.71       $19.48           ($28.99)          $843,20
CALIFORNIA       Brookwood Internal Medical                        46            0.951          (0.058)            (0.034)         0.859          $770.19      ($45.50)          ($27,11)          $697.58
CALIFORNIA       SONOMA COUNTY PRIMARY CARE IPA                    75            0.757           0.126             (0.025)         0.857          $615.35       $98,72           ($19.78)          $694.29
CALIFORNIA       ADOC-FOUNTAIN VALLEY DIVISION                    748            0.839           0.040             (0.023)         0.856          $801.43       $33.48           ($19.50)          $815.40
COLORADO         COLORADO SPRINGS DIRECT                        6,039            0.849           0.031             (0.025)         0.855          $682.98       $23,00           ($18.43)          $687.55
COLORADO         FREMONT COUNTY SECURE                           308             0.764           0,114             (0.025)         0.853          $569.16       $77.34           ($17.15)          $629.35
WASHINGTON       EASTSIDE DIRECT                                1,870            0.850           0.031             (0.030)         0.851          $692.19       $24.51           ($23.92)          $692.79
ARIZONA          COMPLETE ACCESS NETWORK                        5,258            0.823           0.045             (0.021)         0.847          $673.32       $35.93           ($16.83)          $692.42
COLORADO         PUEBLO PROPRIETARY CENTURA                     1,889            0.848           0.018             (0.025)         0.841          $616.08       $11,86           ($16.61)          $611.33
OKLAHOMA         NORMAN PHO PCPS                                  346            0.802           0.040             (0.005)         0.838          $649.95       $29,74            ($3.32)          $676.37
WASHINGTON       PEACEHEALTH MEDICAL GROUP                       703             0.798           0.053             (0.027)         0.823          $577.66       $34.82           ($18.15)          $594.33
CALIFORNIA       LA VIDA MULTISPECIALTY                          576             0,828           0.000             (0.013)         0.816          $839.53        $0.40           ($12.02)          $827.91


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                                                                  Prospective Jan 2010 MOR Members, RAF *SEALED*
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                                                     (3) - RAF Degradation: March less January MOR RAF plus a degradation factor of 0.4% per month from March to July
                                                       (4) - Projected July 2010 RAF based on Jan 2010 actuals plus EOL plus RAF Degradation




                                                                                                 RAF Drivers                                                    PMPM Drivers


                                                                                                                                                                             PMPM
                                                          Jan 2010        Jan 2010                       RAF Degradation July 2010 Proj.   Jan 2010· PMPM                 Degradation       July 2010Proj.
    DEC State              Provider Group Name           Members (1)    Actual RAF (1)   EOLRAF (2)        (Jan..Jul) (3)    RAF(4)               (1)     EOLPMPM (2)     (Jan..Jul) (3)      PMPM (4)
CALIFORNIA       RIVERSIDE PHYS NTWK RSDE COMM                  1.348           0.797           0.036             (0.018)         0.815          $737.29        $29.07        . ($14.69)          $751.67
WASHINGTON       VALLEY DIRECT                                   817            0.779           0.043             (0.008)         0.815          $642.14        $33.53            ($6.04)         $669.63
WASHINGTON       HIGHLINE MSO (CMG)                              551            0.775           0.037              0.001          0.813          $644.02        $28.59             $0.81          $673.43
OKLAHOMA         CANADIAN VALLEY                                  631           0.791           0.033             (0.013)         0.811          $707.10        $26.73          ($10.34)          $723.49
CALIFORNIA       PACIFIC INDEPENDENT PHY ASSOC                  1.054           0.814           0.018             (0.030)         0.802          $822.81        $15.78          ($26.22)          $812.37
CALIFORNIA       SIERRA NEVADA MEDICAL ASSOC                    1.019           0.791           0.018             (0.021)         0.788          $632.11        $14.17          ($16.29)          $629.99
CALIFORNIA        MARIN IPA - SONOMA                               39           0.712           0.093             (0.020)         0.785          $581.67        $73.45          ($15.45)          $639.67
TEXAS             SAN ANTONIO DCN                                  16           0.647           0.078              0.060          0.785          $636.29        $56.55           $43.18           $736.02
OKLAHOMA          THE PHYSICIANS GROUP                          1,107           0.775           0.028             (0.018)         0.784          $656.42        $21.43·         ($14.25)          $663.60
CALIFORNIA        PORTERVILLE                                      81           0.797           0.015             (0.029)         0.783          $645.08        $11.30          ($21.49)          $634.88
ARIZONA           RURAL AREA NETWORK                            1.025           0.753           0.041             (0.011)         0.783          $549.77        $32.23           ($8.40)          $573.59
CALIFORNIA        SIERRA MEDICAL CLINIC, INC                        8           0.678           0.155             (0.054)         0.779          $654.75       $126.70          ($44.17)          $737.27
CALIFORNIA        ALLIED PHYSICIANS OF CALIF                      765           0.794          (0.003)            (0.012)         0.779          $814.24        ($2.28)         ($10.85)          $801.11
WASHINGTON        Meadowbrook Urgent Care                          17           0.650           0.137             (0.028)         0.759          $530.33       $103.52          ($20.90)          $612.96
COLORADO          BOULDER COUNTY SECURE                         1.632           0.755           0.010             (0.016)         0.750          $611.75         $7.60          ($11.76)          $607.59
CALIFORNIA        EL ROSE MG                                       22           0.619           0.107              0.012          0.737          $511.38        $83.60            $9.34           $604.31
CALIFORNIA        BROWN & TOLAND MED GRP                        1,245           0.698           0.054             (0.019)         0.734          $599.99        $41.70          ($14.30)          $627.39
CALIFORNIA        IMPERIAL CNTY PHYS MEDICAL GRP                  115           0.668           0.062             (0.012)         0.718          $500.34        $42.69           ($8.51)          $534.52
COLORADO          SECURE ADVANTAGE CO                             417           0.726           0.035             (0.045)         0.716          $580.33        $25.89          ($33.13)          $573.09
CALIFORNIA        Visalia Medical Clinic                          97            0.767           0.009             (0.079)         0.697          $621.20         $6.41          ($59.19)          $568.43
OREGON            FAN NO CREEK                                    36            0.736          (0.035)            (0.008)         0.693          $599.86       ($28.07)          ($6.72)          $565.07
CALIFORNIA        PRUDENT MEDICAL GROUP                           17            0.657           0.077             (0.042)         0.692          $634.69        $63.44          ($34.82)          $663.31
OKLAHOMA          FAMILY MEDICINE SPECIALISTS                     33            0.714          (0.020)            (0.014)         0.679          $576.67       ($14.75)         ($10.51)          $551.42
CALIFORNIA
CALIFORNIA
                  UNIVERSAL CARE MEDICAL GROUP
                  PREMIER CARE IPA
                                                                   4
                                                                  10
                                                                                0.553
                                                                                0.704
                                                                                                0.076
                                                                                                0.021
                                                                                                                   0.048
                                                                                                                  (0.053)
                                                                                                                                  0.676
                                                                                                                                  0.672
                                                                                                                                                 $539.53
                                                                                                                                                 $603.50
                                                                                                                                                                $59.37
                                                                                                                                                                $18.34
                                                                                                                                                                                 $37.99
                                                                                                                                                                                ($45.25)
                                                                                                                                                                                                  .""'."
                                                                                                                                                                                                  $576.59
CALIFORNIA       AMVI                                             12            0.571           0.028              0.010          0.608          $536.37        $22.00            $7.73           $566.09
WASHINGTON       PROVIDENCE MED GRP                                9            0.585           0.045             (0.032)         0.598          $468.33        $33.61          ($23.74)          $478.20
CALIFORNIA       KOREAN AMERICAN MEDICAL GROUP                    91            0.535           0.057             (0.014)         0.578          $534.99        $45.03          ($11.18)          $568.84
OREGON           HEALTHMAX                                         4            0.371           0.195             (0.009)         0.557           $299.42      $158.17            ($7.30)         $450.29
WASHINGTON       PACIFIC MEDICAL                                   1            2.416          (0.985)            (0.879)         0.552         $1,784.97     ($707.88)        ($631.85)          $445.24
NEVADA           SECURE ADVANTAGE NV                               0            0.000           0.000              0.526          0.526            $0.00         $0.00          $459.61           $459.61
ARIZONA          KINO NETWORK                                      1            0.461           0.006              0.011          0.478          $378.27         $4.31             $8.67          $391.25
WASHINGTON       TUALITY HEALTH ALLIANCE                           1            0.461           0.006             (0.007)         0.459          $379.54         $4.22            ($5.34)         $378.42
OKLAHOMA         Jerry A Nelms Do Inc                             10            0.395           0.009             (0.006)         0.397          $332.10         $6.88            ($5.05)         $333.93
WASHINGTON       PORTLAND AVENUE FAMILY CLINIC                     4            0.398           0.000             (0.006)         0.391          $317.83         $0.00            ($5.13)         $312.70




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                                                      RAF by Component Report

                                                   Case   2:16-cv-08697-FMO-PVC
                                                               1:11-cv-00258-RJA
                                                    (1) - Actual
                                                                                                      *SEALED*
                                                                 Prospective Jan 2010 MOR Members, RAF PMPM
                                                    (2) - 2010 EOl Projection as of 3/31/10
                                                                                                          &        Document      Document 8 Filed      8-1 11/22/16         Page 180
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                                                    (3) - RAF Degradation: March less January MOR RAF plus a degradation factor ofID
                                                                                                                                   0.4% #:985
                                                                                                                                        per month from March to July
                                                      (4) - Projected July 2010 RAF based on Jan 2010 actuals plus EOl plus RAF Degradation




                                                              January 2010 RAF Components                             July 2010 RAF Components                   Avg RAF Improvement (Jan to Jul)             Avg % RAF Improvement (Jan to Jul)



                                                       Jan Total               Age/Sex      Special      July Total                                Special                                       Special                                      Special
   DEC State               Provider Group Name          RAF(1)      HCC(1)       (1)       Status (1)     RAF(4)        HCC(4)      Age/Sex(4)    Status (4)   RAF        HCC        Agel Sex    Status     RAF        HCC       Agel Sex     Status'
CALIFORNIA      Petaluma Health Center                     3.973.      3.669      0.304                       4.035         3.735         0.299                 0.062      0.066       (0.005)    0.000       1.6%        1.8%        -1.6%         0.0%
CALIFORNIA      UNK                                        2.362       Ui55       0.732         0.075         20472         1.678         0.720       0.074     0.110      0.123       (0.012)    (0.001)     4.7%        7.9%        -1.6%         -1.6%
CALIFORNIA      FAMilY PRACTICE MEDICAL GROUP              20461       1.997      00438         0.026         20466         2.009         00431       0.025     0.005      0.013       (0.007)    (0.001)     0.2%        0.6%        -1.5%         -304%
CALIFORNIA       SAN DIEGO PHYS MGICHULA VISTA             1.897       1.155      0.559         0.183         1.999         1.269         0.551       0.180     0.102      0.114       (0.009)    (0.003)     504%        9.9%        -1.6%         -1.6%
ARIZONA          CARE PLUS NETWORK                         1.851       1.058      0.720         0.073         1.859         1.067         0.720       0.071     0.008      0.010        0.000     (0.002)     004%        0.9%         0.0%         -2.6%
OREGON           GREEN MOUNTAIN                            1.008       0.501      00463         0.044         1.503         1.005         00455       0.044     00495      0.503       (0.007)    (0.001)    49.1%      10004%        -1.6%         -1.6%
CALIFORNIA      ACCESS MEDICAL GROUP INC                   1.167       0.666      00479         0.021         10491         0.995         OA75        0.021     0.324      0.329       (0.003)    (0.000)    27.7%       49.3%        -0.6%         -0.5%
TEXAS           PRINCETON IPA OF SAN ANTONIO               1.383       0.906      00429         0.049         1A73          1.002         OA24        0.047     0.090      0.096       (0.005)    (0.001)     6.5%       10.6%        -1.2%         -2.2%
CALIFORNIA       HEALTHCARE PARTNERS MED GRP               1.226       0.734      OA67          0.026         1.354         0.868         OA61        0.025     0.127      0.134       (0.006)    (0.000)    10A%        18.3%        -1A%          -1.9%
COLORADO         NEW WEST PHYSICIANS/HEALTH ONE            1.339       0.869      OA56          0.014         1.332         0.868         OA51        0.013    (0.008)     (0.002)     (0.005)    (0.001)    -0.6%       -0.2%        -1.1%         -6.2%
TEXAS            UNK                                       1.198       0.729      OA20          0.048         1.327         0.863         OA18        0.046     0.129      0.134       (0.003)    (0.002)    10.8%       18.3%        -0.7%         -3.9%
CALIFORNIA       VALLEY CARE IPA                           1.259       0.747      OA84          0.028         1.326         0.825         OA74        0.027     0.068      0.078       (0.010)    (0.001)     5A%        10.5%        -2.0%         -1.9%
CALIFORNIA       PHYSICIANS ASSOCIATES                     1.228       0.757      OA48          0.022         1.295         0.830         OA42        0.022     0.067      0.073       (0.006)    (0.000)      504%       9.6%        -1.3%         -0.9%
COLORADO         SENIOR CARE COLORADO                      1.222       0.704      0.501         0.017         1.293         0.784         OA91        0.017     0.071      0.080       (0.010)    0.000        5.8%      1104%        -1.9%         0.1%
OKLAHOMA         STEVEN KING                               10428       0.916      00487         0.025         1.291         0.787         OA79        0.025    (0.137)     (0.129)     (0.008)    (0.000)     -9.6%     -14.1%        -1.6%         -1.6%
CALIFORNIA       GOLDEN CARE                               0.933       0.212      0.666         0.055         1.287         0.533         0.718       0.037     0.354      0.322        0.051     (0.018)    38.0%      152.0%         7.7%        -3304%
NEVADA           LAS VEGAS NETWORK                         1.184       0.760      00415         0.010         1.286         0.865         00411       0.009     0.101      0.105       (0.004)    (0.000)     8.5%       13.8%        -0.9%         -1.1%
ARIZONA          JOHN C LINCOLN NETWORK                    0.982       0.272      0.554         0.156         1.285         0.586         0.545       0.153     0.303      0.314       (0.009)    (0.002)    30.8%      115.5%        -1.6%         -1.6%
TEXAS            HOUSTON DCN                               1.167       0.739      0.372         0.057         1.254         0.829         0.369       0.056     0.087      0.090       (0.003)    (0.001)     7.5%       12.2%        -0.7%         -0.9%
OREGON           THE PORTLAND CLINIC (CMG)                 1.219       0.687      0.514         0.018         1.242         0.718         0.507       0.018     0.023       0.031      (0.007)     0.000       1.9%       404%        -104%          0.3%
OREGON           West Linn Pediatric And Women             10420       0.877      0.502         0.042         1.242         0.707         00494       0.041    (0.178)     (0.170)     (0.008)    (0.001)    -12.6%     -1904%        -1.6%         -1.6%
CALIFORNIA       MERCY PHYSICIANS MEDICAL GROUP            1.203       0.710      00467         0.026         1.236         0.753         00459       0.025     0.034       0.043      (0.008)    (0.001)      2.8%       6.1%        -1.8%         -304%
OREGON           UNK                                       1.129       0.585      0.524         0.020         1.234         0.698         0.516       0.020     0.105       0.114      (0.008)    (0.000)      9.3%      19.5%        -1.6%         -1.6%
OREGON           PRIME MED                                 1.227       0.746      00439         0.042         1.212         0.742         00429       0.041    (0.015)     (0.004)     (0.010)    (0.002)     -1.2%      -0.5%        -2.2%         -3.6%
CALIFORNIA      TALBERT MEDICAL GROUP                      1.160       0.647      00484         0.029         1.189         0.683         00478       0.028     0.030      0.036       (0.006)    (0.001)     2.6%        5.6%        -1.3%         -1.8%
OREGON           NORTHWEST PRIMARY CARE (CMG)              1.104       0.576      0.507         0.021         1.187         0.666         0.500       0.021     0.083      0.090       (0.007)    0.000       7.5%       15.6%        -104%         0.8%
CALIFORNIA       OMNIIPA INC-STOCKTON                      0.875       00492      0.383                       1.185         0.808         0.377                 0.310      0.316       (0.006)    0.000      3504%       64.2%        -1.6%         0.0%
COLORADO         NEW WEST PHYSICIANS/lUTHERAN              1.137       0.689      00436         0.012         1.183         0.741         OA31        0.011     0.046      0.052       (0.006)    (0.000)     4.0%        7.5%        -1.3%         -2.7%
OREGON           Q STREET INTERNISTS                       1.191       0.714      00432         0.046         1.182         0.728         OA13        0.041    (0.009)     0.014       (0.018)    (0.004)     -0.8%       2.0%        -4.3%         -9.8%
CALIFORNIA       GREATER NEWPORT PHYS@HOAG HOSP            1.118       0.656      00448         0.015         1.178         0.722         OA41        0.014     0.060      0.066       (0.007)    (0.000)     5.3%       10.1%        -1.5%         -1.9%
TEXAS            PHYSICIAN PRIMECARE                       1.073       0.591      00423         0.059         1.176         0.701         00417       0.057     0.103      0.110       (0.006)    (0.002)     9.6%       18.6%        -104%         -2.6%
CALIFORNIA      AFFINITY WEST COUNTY REGION                1.142       0.628      OA89          0.025         1.174         0.670         00479       0.025     0.031      0.042       (0.010)    (0.000)     2.8%        6.7%        -2.1%         -1.0%
CALIFORNIA      AXMINSTER MEDICAL GROUP INC                1.139       0.618      00477         0.044         1.172         0.657         00472       0.043     0.033      0.039       (0.005)    (0.001)     2.9%        6.3%        -1.0%         -2.5%
CALIFORNIA      ALTA BATES MEDICAL GROUP                   1.161       0.655      00478         0.028         1.171         0.676         00469       0.026     0.010      0.020       (0.009)    (0.001)     0.9%        3.1%        -1.8%         -5.2%
OREGON           FIVE RIVERS                               0.866       OA13       OA06          0.047         1.165         0.702         OA06        0.056     0.299      0.290        0.000      0.009     34.5%       70.2%        0.0%         18.9%
CALIFORNIA       SAN JOSE MEDICAL GROUP                    1.152       0.615      0.514         0.022         1.158         0.631         0.505       0.021     0.006      0.016       (0.009)    (0.001)     0.5%        2.6%       -1.7%         -404%
OREGON          HEALTH CARE RESOURCES NW                   1.051       0.556      OA70          0.025         1.153         0.665         OA64        0.025     0.102      0.109       (0.007)    (0.000)     9.7%       19.6%       -104%          -0.6%
CALIFORNIA      HEMET COMMUNITY MEDICAL GROUP              1.036       0.560      0.449         0.027         1.143         0.675         00441       0.027     0.107      0.116       (0.008)    (0.000)    10.3%       20.7%       -1.9%          -1.6%
CALIFORNIA      EPIC                                       1.089       0.603      00461         0.025         1.142         0.663         00455       0.025     0.054      0.060       (0.006)    (0.000)     4.9%       10.0%       -104%          -1.6%
COLORADO        NEW WEST PHYSICIANS/CENTURA                1.086       0.633      00436         0.017         1.139         0.692         OA30        0.017     0.053      0.059       (0.006)    (0.000)     4.9%        9.3%        -1.3%         -2.0%
CALIFORNIA      ENCOMPASS MEDICAL GROUP INC                1.112       0.640      00451         0.021         1.133         0.670         00443       0.020     0.020      0.029       (0.008)    (0.001)     1.8%        4.6%        -1.8%         -4.7%
CALIFORNIA      MONARCH HEALTHCARE                         1.122       0.629      00477         0.016         1.123         0.639         00468       0.016     0.001      0.010       (0.008)    (0.000)     0.1%        1.6%       -1.8%          -2.0%
CALIFORNIA      CENTRAL VALLEY MEDICAL GROUP               1.102       0.630      00444         0.028         1.120         0.654         00438       0.027     0.018      0.025       (0.007)    (0.001)     1.6%        4.0%       -1.5%          -2.2%
TEXAS           CORPUS CHRISTI DIRECT                      1.105       0.615      00401         0.088         1.113         0.632         0.396       0.085     0.008      0.017       (0.006)    (0.004)     0.7%        2.8%       -104%          -4.1%
CALIFORNIA      APPLECARE                                  1.029       0.533      00451         0.045         1.112         0.623         00445       0.044     0.083      0.090       (0.006)    (0.001)     8.1%       16.9%       -1.3%          -104%
CALIFORNIA       INLAND HEALTH CARE GROUP                  1.165       0.679      00438         0.048         1.111         0.631         OA32        0.048    (0.055)     (0.048)     (0.006)    (0.001)     -4.7%      -7.1%        -1.3%         -1.2%
CALIFORNIA      PRIMARY CARE ASSOCIATED MG                 1.032       0.535      00483         0.014         1.104         0.614         OA77        0.013     0.073      0.079       (0.006)    (0.000)     7.0%       14.7%       -1.2%          -2.1%
CALIFORNIA       SANTA CLARA COUNTY IPA                    1.052       0.535      OA98          0.019         1.104         0.595         00489       0.019     0.051      0.060       (0.008)    (0.000)     4.9%       11.2%       -1.7%          -2.3%
CALIFORNIA       MIDCOAST IPA                              1.047       0.547      OA76          0.024         1.100         0.611         00466       0.023     0.053      0.064       (0.010)    (0.001)     5.1%       11.7%        -2.0%         -4.7%
CALIFORNIA      PIONEER PROVIDER NETWORK A MED             1.149       0.656      00466         0.027         1.094         0.610         00459       0.026    (0.054)     (0.046)     (0.008)    (0.000)     -4.7%      -7.1%        -1.6%         -104%
CALIFORNIA      SUTTER EAST BAY MEDICAL FOUNDATION         1.057       0.548      00485         0.024         1.093         0.594         00475       0.024     0.036      0.045       (0.009)    0.000        304%       8.3%       -1.9%           0.3%
CALIFORNIA       RIVERSIDE MEDICAL CLINIC INC              1.090       0.651      00412         0.026         1.092         0.657         OA09        0.026     0.002      0.006       (0.003)    (0.001)     0.2%        1.0%        -0.8%         -2.1%
OREGON           CASTILLO                                  0.948       0.513      00417         0.018         1.091         0.660         00415       0.017     0.143      0.146       (0.002)    (0.001)    15.1%       28.5%        -004%         -6.8%
CALIFORNIA       CHOICE MEDICAL GROUP                      1.037       0.587      OA20          0.030         1.072         0.630         0.413       0.028     0.035      0.043       (O.006)    (0.001)     3.4%        7.2%        -1.5%         -4.7%
CALIFORNIA      SAN BERNARDINO MEDICAL GROUP               0.896       00416      00448         0.033         1.066         0.592         OA42        0.032     0.169      0.176       (0.006)    (0.001)    18.9%       42.2%       -1.3%          -1.7%
CALIFORNIA      HEALTHCARE PARTNERS                        1.032       0.529      OA77          0.025         1.064         0.567         OA72        0.025     0.032      0.038       (0.005)    (0.000)     3.1%        7.2%       -1.1%         -1.6%
CALIFORNIA      SCRIPPS CLINIC                             0.974       OA86       OA72          0.015         1.062         0.582         OA65        0.015     0.088      0.096       (0.007)    (0.000)     9.0%       19.7%       -1.6%         -2.4%
OREGON          PACIFIC MEDICAL                            1.058       0.518      0.518         0.022         1.060         0.528         0.510       0.022     0.002      0.011       (0.008)    (0.001)     0.2%        2.1%       -1.5%         -204%
CALIFORNIA      SEAVIEWIPA                                 1.025       0.515      OA84          0.027         1.058         0.556         OA76        0.026     0.033      0.041       (0.007)    (0.001)     3.2%        7.9%       -1.5%         -3.0%
OREGON          PROVIDENCE MED GRP                         1.017       00489      0.504         0.025         1.057         0.538         0.495       0.024     0.040      0.050       (0.009)    (0.000)     4.0%       10.2%       -1.8%         -1.6%
CALIFORNIA      BRISTOL PARK MEDICAL GROUP                 1.017       0.562      OA38          0.017         1.057         0.609         OA31        0.016     0.040      0.048       (0.007)    (0.000)     3.9%        8.5%       -1.7%         -2.6%


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                                                       RAF by Component Report

I                      I                          Case     2:16-cv-08697-FMO-PVC
                                                     (1) - Actual
                                                    Case          Prospective Jan 2010 MOR Members, RAF & PMPM
                                                                1:11-cv-00258-RJA
                                                     (2) - 2010 EOl Projection as of 3/31/10
                                                                                                       *SEALED*     Document      Document 8 Filed      8-1 11/22/16         Page 181
                                                                                                                                                                   Filed 10/27/11 Pageof79
                                                                                                                                                                                         218   Page
                                                                                                                                                                                           of 116
                                                     (3) - RAF Degradation: March less January MOR RAF plus a degradation factor ofID
                                                                                                                                    0.4% #:986
                                                                                                                                         per month from March to July
                                                       (4) - Projected July 2010 RAF based on Jan 2010 actuals plus EOl plus RAF Degradation




                                                                January 2010 RAF Components                            July 2010 RAF Components                        Avg RAF Improvement (Jan to Jul)             Avg % RAF Improvement (Jan to Jul)



                                                         Jan Total              Age/Sex      Special      July Total                                    Special                                        Special                                      Special
    DEC State              Provider Group Name            RAF (1)    HCC (1)      (1)       Status. (1)    RAF(4)         HCC (4)     Age/Sex (4)      Status (4)   RAF         HCC        Age/Sex     Status     RAF        HCC       Age/ Sex     Status
CALIFORNIA       MEMORIAL HEALTHCARE IPNLB                   0.9BO      0.51B      0.440         0.022         1.056         0.602          0.432          0.022     0.076       0.OB4       (O.OOB)    (0.001)     7.B%       16.3%        -1.7%        -3.2%
CALIFORNIA       COAST HEALTHCARE                            1.002      0.52B      0.446         0.02B         1.054         0.5B7          0.439          0.028     0.052       0.059       (0.007)    (0.000)     5.1%       11.2%        -1.6%        -1.6%
CALIFORNIA       SHARP REES-STEALY MEDICAL GRP               0.936      0.438      0.478         0.020         1.050          0.561         0.470          0.020     0.115       0.123       (0.008)    (0.000)    12.2%       28.0%        -1.6%        -2.3%
TEXAS            DALLAS COUNTY HOSPITAL DISTRIC              0.981      0.483      0.404         0.093         1.048          0.554         0.409          0.085     0.067       0.071        0.005     (0.009)     6.8%       14.6%         1.3%        -9.4%
CALIFORNIA       SUTTER INDEPENDENT PHYSICIANS               1.040      0.544      0.467         0.029         1.039          0.552         0.459          0.028    (0.001)      0.008       (0.008)    (0.000)    -0.1%        1.4%        -1.7%        -1.6%
TEXAS            DALLAS DCN                                  1.008      0.553      0.420         0.034         1.038          0.591         0.414          0.033     0.030       0.037       (0.006)    (0.001)     3.0%        6.7%        -1.4%        -3.4%
COLORADO         UNK                                         0.973      0.504      0.457         0.012         1.037          0.576         0.449          0.012     0.064       0.072       (0.008)    (0.001)     6.5%       14.3%        -1.7%        -4.5%
CALIFORNIA       PHYS MED GRP OF SANTA CRUZ COU              0.972      0.462      0.491         0.018         1.036          0.537         0.481          0.018     0.064       0.075       (0.010)    (0.000)     6.6%       16.2%        -2.1%        -1.6%
CALIFORNIA       CENTRE FOR HEALTH CARE                      0.994      0.514      0.469         0.012         1.035          0.560         0.463          0.012     0.040       0.045       (0.005)    (0.000)     4.0%        8.8%        -1.1%        -0.8%
CALIFORNIA       UNITED FAMILY CARE OF RIAL TO               0.992      0.502      0.443         0.047         1.034          0.551         0.437          0.046     0.042       0.049       (0.006)    (0.001)     4.3%        9.7%        -1.3%        -1.5%
OREGON           PORTLAND DIRECT                             1.024      0.528      0.472         0.023         1.032          0.546         0.464          0.023     0.008       0.018       (0.009)    (0.000)     0.8%        3.3%        -1.8%        -2.1%
COLORADO         PRIMARY PHYSICIAN PARTNERS                  0.967      0.503      0.442         0.022         1.031          0.574         0.436          0.021     0.064       0.071       (0.006)    (0.001)     6.6%       14.1%        -1.4%        -3.0%
NEVADA           UNK                                         0.889      0.306      0.504         0.080         1.026          0.452         0.496          0.079     0.137       0.146       (0.008)    (0.001)    15.4%       47.8%        -1.6%        -1.6%
TEXAS            NORTH TX SPEC PHYSICIANS (PCP)              0.979      0.522      0.431         0.027         1.026          0.575         0.424          0.026     0.047       0.054       (0.006)    (0.001)     4.8%       10.3%        -1.4%        -3.1%
OREGON           SALEM CLINIC PC (CMG)                       0.935      0.434      0.471         0.030         1.022          0.529         0.464          0.029     0.087       0.095       (0.008)    (0.001)     9.3%       21.9%        -1.6%        -2.0%
CALIFORNIA       HIGH DESERT PRIMARY CARE MG                 0.956      0.505      0.418         0.033         1.021          0.577         0.412          0.032     0.065        0.071      (0.005)    (0.001)     6.8%       14.1%        -1.3%        -2.6%
CALIFORNIA       MILLS PENINSULA                             1.039      0.522      0.504         0.013         1.019          0.512         0.494          0.013    (0.020)      (0.009)     (0.010)    (0.000)    -1.9%       -1.8%        -2.0%        -2.0%
OREGON           SOUTH TABOR FAMILY PHYS (CMG)               0.975      0.476      0.481         0.D18         1.018          0.525         0.475          0.017     0.043       0.049       (0.006)    (0.000)     4.4%       10.3%        -1.2%        -2.2%
CALIFORNIA       ALlCARE IPA                                 1.021      0.565      0.429         0.027         1.017          0.568         0.423          0.026    (0.004)      0.003       (0.006)    (0.001)    -0.4%        0.5%        -1.4%        -3.1%
CALIFORNIA       UCLA MEDICAL GROUPIIPA                      0.996      0.487      0.487         0.022         1.014          0.512         0.480          0.021     0.018        0.026      (0.007)    (0.001)     1.8%        5.3%        -1.4%        -2.6%
TEXAS            TARRANTDCN                                  0.986      0.533      0.421         0.033         1.011          0.564         0.415          0.032     0.025        0.031      (0.006)    (0.001)     2.5%        5.8%        -1.3%        -2.8%
CALIFORNIA       PRIMECARE OF REDLANDS                       0.983      0.510      0.445         0.028         1.011          0.544         0.439          0.028     0.027        0.034      (0.006)    (0.000)     2.8%        6.7%        -1.4%        -1.5%
OREGON           OREGON CITY INTERNAL MEDICINE               1.047      0.491      0.536         0.020         1.010          0.469         0.522          0.019    (0.037)      (0.022)     (0.014)    (0.000)    -3.5%       -4.4%        -2.7%        -2.3%
OKLAHOMA         BROKEN ARROW                                0.905      0.386      0.477         0.043         1.006          0.517         0.451          0.039     0.101        0.131      (0.026)    (0.004)    11.1%       34.1%        -5.6%        -9.3%
CALIFORNIA       MERCY MEDICAL GROUP                         1.028      0.521      0.481         0.027         1.006          0.508         0.472          0.026    (0.022)      (0.013)     (O.OOB)    (0.001)     -2.1%      -2.5%        -1.8%        -3.0%
CALIFORNIA       BRIGHT HEALTH PHYSICIANS                    0.969      0.484      0.467         0.019         1.006          0.529         0.459          0.018     0.036       0.044       (0.008)    (0.000)      3.7%       9.2%        -1.7%        -1.7%
OREGON           PROVIDENCE MEDICAL GROUP                    1.148      0.613      0.526         0.008         1.004          0.484         0.513          O.OOB    (0.144)      (0.130)     (0.013)    (0.001)    -12.5%     -21.2%        -2.5%        -6.5%
CALIFORNIA       PROSPECT MEDICAL GROUP/NORTH                0.934      0.455      0.454         0.025         1.003          0.531         0.448          0.024     0.069        0.076      (0.006)    (0.001)     7.4%       16.7%        -1.3%        -2.3%
CALIFORNIA       SANTA BARBARA SELECT IPA                    0.909      0.377      0.514         0.018         1.003          0.479         0.505          0.018     0.093        0.103      (0.009)    (0.001)    10.3%       27.3%        -1.7%        -2.8%
OKLAHOMA         Jenks Family Physicians                     1.094      0.646      0.424         0.024         1.002          0.558         0.421          0.024    (0.091)      (0.088)     (0.003)    (0.000)    -8.4%      -13.7%        -0.7%        -0.1%
CALIFORNIA       SUTTER GOULD MEDICAL FOUNDATIO              0.984      0.494      0.460         0.030         1.001          0.519         0.452          0.030     0.017        0.026      (0.008)    (0.001)     1.8%        5.2%        -1.7%        -1.9%
CALIFORNIA       HILL PHYSICIANS SAN FRANCISCO               0.989      0.498      0.468         0.024         1.001          0.518         0.460          0.024     0.012        0.020      (0.008)    (0.000)     1.2%        4.1%        -1.7%        -1.0%
CALIFORNIA       FACEY MEDICAL FOUNDATION                    0.959      0.466      0.470         0.023         1.000          0.514         0.463          0.023     0.040        0.048      (0.008)    (0.000)     4.2%       10.3%        -1.6%        -1.2%
OREGON           OAK STREET MEDICAL PC                       0.984      0.524      0.397         0.063         0.993          0.542         0.390          0.061     0.009        0.018      (0.007)    (0.003)     0.9%        3.5%        -1.7%        -4.3%
ARIZONA          SUN HEALTH NETWORK                          0.984      0.519      0.440          0.025        0.992          0.535         0.433          0.024     0.008        0.016      (0.007)    (0.001)     0.9%        3.0%        -1.5%        -3.4%
CALIFORNIA       SLO SELECT IPA SO CNTY                      0.967      0.443      0.506          0.018        0.990          0.477         0.496          0.017     0.023       0.033       (0.009)    (0.000)     2.4%        7.5%        -1.9%        -2.3%
CALIFORNIA       SANSUM CLINIC                               0.953      0.457      0.4B2          0.014        0.989          0.504         0.472          0.013     0.036       0.047       (0.010)    (0.000)     3.8%       10.3%        -2.1%        -3.4%
CALIFORNIA       SUTTER MEDICAL GROUP                        0.982      0.487      0.473          0.022        0.987          0.501         0.465          0.021     0.005       0.013       (0.008)    (0.000)     0.5%        2.7%        -1.6%        -1.6%
CALIFORNIA       ST JOSEPH HERITAGE MEDICAL GRO              0.969      0.500      0.450          0.019        0.984          0.522         0.442          0.019     0.015       0.022       (0.007)    (0.000)     1.5%        4.4%        -1.6%        -1.0%
CALIFORNIA       ST VINCENT MEDICAL GROUP IPA                0.901      0.395      0.476          0.029        0.983          0.484         0.471          0.028     0.082       0.090       (0.005)    (0.001)     9.2%       22.8%        -1.0%        -1.9%
OKLAHOMA         Dubois Medical Clinic                       0.962      0.485      0.423          0.054        0.982          0.516         0.415          0.052     0.021       0.030       (0.008)    (0.002)     2.2%        6.3%        -1.8%        -3.3%
CALIFORNIA       GREATER TRI-CITIES IPA MEDICAL              0.928      0.421      0.486          0.021        0.980          0.480         0.480          0.021     0.053       0.058       (0.005)    (0.000)     5.7%       13.8%        -1.0%        -2.0%
OREGON           TUALITY HEALTH ALLIANCE                     0.898      0.397      0.468          0.033        0.979          0.487         0.460          0.032     0.081       0.090       (0.008)    (0.001)     9.1%       22.7%        -1.7%        -2.4%
COLORADO         AVISTA                                      0.960      0.508      0.429          0.023        0.978          0.535         0.421          0.022     0.018        0.027      (0.007)    (0.001)     1.9%        5.2%        -1.7%        -3.8%
ARIZONA          THUNDERBIRD NETWORK                         0.956      0.507      0.421          0.029        0.977          0.534         0.415          0.028     0.020        0.027      (0.006)    (0.001)     2.1%        5.4%        -1.3%        -5.1%
CALIFORNIA       ST JOSEPH HOSPITAL AFFILIATED               0.968      0.492      0.456          0.021        0.973          0.505         0.448          0.020     0.005        0.013      (0.008)    (0.000)     0.6%        2.7%        -1.7%        -1.8%
ARIZONA          PHX SECURE HOSPITAL NETWORK                 0.955      0.491      0.434          0.031        0.969          0.512         0.427          0.030      0.014       0.022      (0.007)    (0.001)     1.5%        4.4%        -1.6%        -2.9%
CALIFORNIA       PALO ALTO MEDICAL FOUNDATION                0.987      0.4B5       0.487         0.014        0.968          0.476         0.479          0.013     (0.019)     (0.010)     (0.009)    (0.000)     -2.0%      -2.0%        -1.8%        -3.0%
WASHINGTON       PHYSICIANS CARE NETWORK (CMG)               0.966      0.477       0.473         0.016        0.967          0.487         0.465          0.016      0.001       0.010      (0.008)    (0.000)      0.1%       2.0%        -1.8%        -1.7%
WASHINGTON       PACMED                                      0.922      0.423       0.473         0.026        0.963          0.474         0.464          0.026      0.041       0.051      (0.009)    (0.000)      4.5%      12.0%        -1.9%        -1.9%
OREGON           MARTIN L JONES                              0.943      0.476       0.462         0.004        0.961          0.502         0.454          0.004      0.019       0.026      (0.007)    (0.000)      2.0%       5.4%        -1.6%        -1.6%
WASHINGTON       CLARK COUNTY DIRECT                         0.930      0.448       0.458         0.025        0.960          0.487         0.449          0.024      0.030       0.039      (0.009)    (0.001)      3.2%       8.8%        -1.9%        -2.6%
COLORADO         EXEMPLA MEDICAL SECURE                      0.884      0.419       0.426         0.039        0.958          0.495         0.419          0.044      0.074       0.076      (0.007)     0.005       8.4%      18.1%        -1.6%        12.1%
CALIFORNIA       SHARP COMMUNITY MEDICAL GROUP               0.942      0.457       0.463         0.022        0.956          0.479            0.456       0.021     0.014        0.022      (0.007)    (0.001)     1.5%        4.9%        -1.6%        -2.5%
CALIFORNIA       ST JUDE HERITAGE MEDICAL GROUP              0.939      0.477      0.449          0.014        0.955          0.500         0.441          0.014     0.016        0.024      (0.008)    (0.000)     1.7%        5.0%        -1.7%        -2.0%
(blank)          UNK                                         0.955      0.484      0.432          0.03B        0.952          0.490         0.425          0.037    (0.002)      0.006       (0.007)    (0.001)    -0.2%        1.2%        -1.6%        -3.5%
ARIZONA          BANNER MESNBAYWOOD NETWORK                  0.935      0.465      0.440          0.030        0.950          0.488         0.432          0.029     0.015       0.024       (0.007)    (0.001)     1.6%        5.1%        -1.7%        -3.3%
CALIFORNIA       CEDARS SINAI MEDICAL GROUP                  0.903      0.376      0.491          0.036        0.950          0.431         0.485          0.035     0.047       0.055       (0.007)    (0.001)     5.2%       14.5%        -1.3%        -4.1%
WASHINGTON       CASTLE ROCK                                 0.788      0.402      0.386                       0.949          0.580         0.370                    0.161       0.177       (0.016)     0.000     20.4%       44.0%        -4.2%         0.0%
CALIFORNIA       HERITAGE PROVIDER NETWORK                   0.924      0.447      0.449          0.028        0.949          0.478         0.443          0.028     0.025       0.031       (0.006)    (0.001)     2.7%        6.9%        -1.3%        -2.0%
OREGON           LAKESIDE CLINIC                             0.852      0.400      0.405          0.047        0.949          0.505         0.398          0.046     0.097       0.104       (0.006)    (0.001)    11.4%       26.1%        -1.6%        -1.6%,


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                                                       RAF by Component Report
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                                                   Case   2:16-cv-08697-FMO-PVC
                                                               1:11-cv-00258-RJA
                                                    (1) - Actual
                                                                                                      *SEALED*
                                                                 Prospective Jan 2010 MOR Members, RAF & PMPM
                                                    (2) - 2010 EOl Projection as of 3/31/10
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                                                    (3) - RAF Degradation: March less January MOR RAF pIuS a degradation factor ofID
                                                                                                                                   0.4% #:987
                                                                                                                                        per month from March to July
                                                       (4) - Projected July 2010 RAF based on Jan 2010 actuals plus EOl plus RAF Degradation




                                                               January 2010 RAF Components                             July 2010 RAF Components                   Avg RAF Improvement (Jan to Jul)             Avg % RAF Improvement (Jan to Jul)



                                                        Jan Total               Age/Sex      Special      July Total                                Special                                       Special                                      Special
   DEC State              Provider Group Name            RAF(1)      HCC (1)      (1)       Status (1)     RAF(4)        HCC(4)      Age/Sex (4)   Status (4)   RAF        HCC        Age/Sex     Status     RAF        HCC       Age/ Sex     Status
OREGON          FAMILY HEALTHPARTNERS                       1.428       0.936      0.444         0.047        0.943          0.459         0.437       0.047    (0.484)     (0.476)     (0.007)    (0.001)    -33.9%     -50.9%        -1.6%         -1.6%
CALIFORNIA      SUTTER WEST MEDICAL GROUP                   0.910       0.439      0.444         0.027        0.943          0.485         0.432       0.026     0.034      0.046       (0.011)    (0.001)     3.7%       10.5%        -2.5%         -4.4%
OKLAHOMA        OKC DCN                                     0.938       0.484      0.420         0.034        0.943          0.497         0.414       0.033     0.005       0.013      (0.006)    (0.001)     0.6%        2.6%        -1.5%         -2.7%
WASHINGTON      PROVIDENCE HEALTH SYSTEMS                   0.979       0.528      0.418         0.032        0.942          0.504         0.403       0.035    (0.037)     (0.025)     (0.015)     0.003     -3.7%       -4.7%        -3.6%          9.1%
OKLAHOMA        UNK                                         0.945       0.490      0.417         0.038        0.942          0.493         0.413       0.036    (0.003)      0.004      (0.004)    (0.003)    -0.3%        0.7%        -1.0%         -6.8%
WASHINGTON      THURSTON DIRECT                             0.889       0.432      0.438         0.020        0.940          0.490         0.431       0.019     0.052       0.059      (0.007)    (0.000)     5.8%       13.6%        -1.6%         -2.1%
COLORADO        COLO SPGS HEALTH PARTNERS                   0.955       0.486      0.450         0.019        0.939          0.479         0.442       0.019    (0.016)     (0.007)     (0.009)    (0.000)    -1.7%       -1.5%        -1.9%         -0.6%
WASHINGTON      LEWIS DIRECT                                0.907       0.412      0.457         0.038        0.939          0.457         0.447       0.035     0.032       0.045      (0.010)    (0.002)     3.5%       10.8%        -2.2%         -6.4%
OREGON          CORVALLIS                                   0.942       0.467      0.449         0.027        0.937          0.472         0.440       0.025    (0.005)      0.005      (0.009)    (0.002)    -0.6%        1.1%        -2.0%         -6.4%
ARIZONA         METRO TUCSON NETWORK                        0.910       0.438      0.442         0.030        0.935          0.469         0.436       0.030     0.024       0.032      (0.007)    (0.001)     2.7%        7.2%        -1.5%         -2.6%
OKLAHOMA        TULSADCN                                    0.937       0.472      0.436         0.029        0.933          0.476         0.429       0.028    (0.004)      0.004      (0.007)    (0.001)    -0.4%        0.8%        -1.6%         -2.2%
WASHINGTON      HEALTH CARE RESOURCES NW                    0.782       0.327      0.427         0.028        0.931          0.488         0.418       0.025     0.149       0.161      (0.009)    (0.002)    19.1%       49.1%        -2.2%         -7.9%
WASHINGTON      PRIMARY CARE OF PUYALLUP                    0.933       0.453      0.450         0.029        0.929          0.459         0.441       0.029    (0.003)      0.006      (0.009)    (0.000)    -0.4%        1.3%        -2.0%         -0.8%
CALIFORNIA      WOODLAND CLINIC MED GROUP                   0.952       0.481      0.455         0.015        0.928          0.463         0.448       0.017    (0.024)     (0.018)     (0.007)     0.001     -2.5%       -3.8%        -1.5%          7.9%
OKLAHOMA        Putnam North Family Medical                 0.933       0.510      0.406         0.017        0.927          0.522         0.389       0.D15    (0.006)     0.012       (0.017)    (0.002)     -0.7%       2.4%        -4.2%        -10.0%
OREGON          THE CORVALLIS CLINIC (CMG)                  0.925       0.421      0.483         0.022        0.926          0.431         0.474       0.021     0.000      0.010       (0.009)    (0.001)      0.0%       2.4%        -1.8%         -4.1%
CALIFORNIA      Sonoma DCN PCPs                             0.924       0.457      0.455         0.012        0.919          0.461         0.446       0.012    (0.005)     0.003       (0.009)    0.000       -0.6%       0.7%        -1.9%          0.1%
WASHINGTON      SEATTLE DIRECT                              0.896       0.402      0.474         0.020        0.919          0.436         0.464       0.019     0.023      0.034       (0.011)    (0.001)     2.5%        8.6%        -2.3%         -4.9%
WASHINGTON      SWEDISH                                     0.887       0.383      0.486         0.018        0.918          0.426         0.474       0.018     0.031      0.044       (0.012)    (0.001)     3.5%       11.4%        -2.5%         -3.7%
WASHINGTON      PIERCE COUNTY DIRECT                        0.882       0.407      0.450         0.025        0.914          0.450         0.439       0.024     0.032       0.043      (0.011)    (0.001)      3.6%      10.5%        -2.3%         -2.8%
WASHINGTON      KIRKPATRICK FAMILY CARE PS                  0.881       0.426      0.412         0.043        0.914          0.463         0.412       0.039     0.033       0.037      (0.000)    (0.005)      3.7%       8.8%         0.0%        -10.9%
CALIFORNIA      CHINO MEDICAL GROUP INC                     0.901       0.405      0.465         0.031        0.913          0.424         0.460       0.029     0.012       0.019      (0.005)    (0.002)      1.3%       4.7%        -1.2%         -5.4%
WASHINGTON      WHITEHORSE FAMILY MEDICINE                  0.932       0.452      0.450         0.030        0.911          0.440         0.443       0.028    (0.020)     (0.012)     (0.007)    (0.002)     -2.2%      -2.6%        -1.5%         -7.6%
WASHINGTON      PORTLAND DIRECT                             0.934       0.447      0.458         0.028        0.911          0.438         0.446       0.027    (0.023)     (0.009)     (0.012)    (0.001)     -2.4%      -2.1%        -2.6%         -5.2%
CALIFORNIA      PREMIER PHYSICIANS NETWORK                  0.897       0.419      0.439         0.040        0.906          0.436         0.431       0.039     0.009       0.017      (0.007)    (0.001)      1.0%       4.0%        -1.6%         -1.6%
CALIFORNIA      GOOD SAM MED PRAC ASSOC                     0.882       0.397      0.450         0.036        0.905          0.428         0.443       0.034     0.023       0.032      (0.007)    (0.001)      2.6%       8.0%        -1.6%         -4.0%
OREGON          SAMARITAN HEALTH SERVICES -PCP              0.872       0.422      0.421         0.029        0.904          0.460         0.418       0.027     0.032       0.038      (0.004)    (0.002)      3.7%       9.0%        -0.9%         -7.3%
OREGON          MONTEREY HEALTH                             1.025       0.493      0.484         0.047        0.903          0.381         0.476       0.047    (0.121)     (0.113)     (0.008)    (0.001)    -11.8%     -22.9%        -1.6%         -1.6%
CALIFORNIA      OMNICARE MEDICAL GROUP                      0.938       0.449      0.419         0.070        0.900          0.415         0.417       0.069    (0.038)     (0.034)     (0.003)    (0.001)     -4.1%      -7.6%        -0.7%         -1.8%
CALIFORNIA      BAY AREA COM MED GRP                        0.854       0.393      0.441         0.021        0.893          0.438         0.435       0.020     0.039       0.045      (0.006)    (0.001)      4.5%      11.6%        -1.3%         -4.2%
CALIFORNIA      SANTE COMMUNITY PHYS-FRESNO                 0.910       0.417      0.468         0.025        0.892          0.409         0.458       0.024    (0.018)     (0.007)     (0.010)    (0.000)     -1.9%      -1.7%        -2.2%         -1.6%
CALIFORNIA      EMPIRE PHYS MG                              0.880       0.398      0.462         0.020        0.892          0.419         0.454       0.019     0.012       0.021      (0.008)    (0.001)      1.4%       5.2%        -1.7%         -4.0%
CALIFORNIA      MARIN IPA SONOMA                            0.861       0.385      0.462         0.014        0.891          0.422         0.454       0.014     0.029       0.037      (0.008)     0.000       3.4%       9.6%        -1.7%          1.9%
OREGON          LANE DIRECT                                 0.866       0.393      0.447         0.027        0.889          0.424         0.439       0.026     0.023       0.031      (0.007)    (0.001)      2.7%       8.0%        -1.6%         -2.4%
ARIZONA         ABRAZO NETWORK                              1.403       1.020      0.382                      0.889          0.511         0.377                (0.514)     (0.509)     (0.005)     0.000     -36.6%     -49.9%        -1.4%          0.0%
CALIFORNIA      CENTINELA VALLEY IPA MG INC                 0.818       0.339      0.436         0.043        0.886          0.413         0.433       0.040     0.068       0.074      (0.003)    (0.003)     8.3%       21.8%        -0.7%         -6.2%
CALIFORNIA      JOHN MUIR HEALTH NETWORK                    0.851       0.388      0.447         0.016        0.884          0.426         0.442       0.016     0.033       0.038      (0.005)     0.000       3.9%       9.9%        -1.2%          0.7%
WASHINGTON      SNOHOMISH DIRECT                            0.863       0.401      0.441         0.021        0.882          0.429         0.433       0.020     0.019       0.028      (0.008)    (0.001)      2.2%       7.0%        -1.9%         -2.7%
OREGON          VENETA MEDICAL CLINIC                       1.142       0.682      0.460                      0.882          0.441         0.440                (0.260)     (0.240)     (0.020)     0.000     -22.8%     -35.3%        -4.3%          0.0%
TEXAS           Deuteronomy-2                               0.870       0.434      0.412         0.023        0.880          0.452         0.406       0.023     0.011      0.017       (0.006)    (0.001)      1.2%       4.0%        -1.5%         -2.2%
CALIFORNIA      ST JUDE AFFILIATED PHYSICANS                0.840       0.380      0.445         0.014        0.878          0.425         0.439       0.014     0.038      0.044       (0.006)    (0.000)      4.5%      11.6%        -1.4%         -2.1%
WASHINGTON      UNK                                         0.888       0.394      0.472         0.023        0.875          0.396         0.458       0.022    (0.013)     0.002       (0.014)    (0.001)     -1.5%       0.5%        -2.9%         -4.4%
COLORADO        DENVER PROPRIETARY SECURE                   0.860       0.411      0.432         0.018        0.874          0.430         0.426       0.017     0.013      0.019       (0.005)    (0.000)      1.6%       4.6%        -1.2%         -2.6%
CALIFORNIA      TORRANCE HOSPITAL IPA                       0.870       0.432      0.420         0.018        0.873          0.440         0.416       0.017     0.003      0.008       (0.004)    (0.001)      0.3%       1.7%        -1.0%         -3.6%
WASHINGTON      MULTICARE                                   0.867       0.405      0.442         0.021        0.871          0.418         0.433       0.021     0.004       0.013      (0.009)    (0.000)      0.4%       3.2%        -2.0%         -1.4%
CALIFORNIA      Independence IPA                            0.870       0.402      0.430         0.038        0.871          0.410         0.423       0,038     0.000       0.007      (0.007)    (0.000)     0.0%        1.8%        -1.6%         -0.9%
ARIZONA         PINAL HEALTH CARE NETWORK                   0.869       0.419      0.414         0.035        0.869          0.427         0.408       0.033    (0.000)      0.009      (0.007)    (0.002)     0.0%        2.1%        -1.6%         -5.4%
CALIFORNIA      OJAI VALLEY MEDICAL GROUP                   0.857       0.351      0.485         0.022        0.869          0.371         0.476       0.022     0.011       0.020      (0.008)    (0.000)     1.3%        5.7%        -1.7%         -1.5%
COLORADO        LOVELAND PROPRIETARY                        0.874       0.411      0.443         0.020        0.863          0.411         0.433       0.019    (0.010)     (0.000)     (0.009)    (0.000)    -1.2%       -0.1%        -2.1%         -1.6%
TEXAS           Jefferson Phys Grp                          0.872       0.434      0.410         0.029        0.861          0.428         0.406       0.027    (0.011)     (0.005)     (0.004)    (0.002)    -1.2%       -1.2%        -0.9%         -6.1%
CALIFORNIA      Brookwood Internal Medical                  0.951       0.464      0.487                      0.859          0.383         0.476                (0.092)     (0.081)     (0.012)     0.000     -9.7%      -17.4%        -2.4%          0.0%
CALIFORNIA      SONOMA COUNTY PRIMARY CARE IPA              0.757       0.296      0.451         0.010        0.8157         0.399         0.448       0.011     0.101       0.103      (0.003)     0.001     13.3%       34.8%        -0.7%          5.4%
CALIFORNIA      ADOC-FOUNTAIN VALLEY DIVISION               0.839       0.384      0.427         0.029        0.856          0.405         0.422       0.029     0.017       0.021      (0.004)    (0.000)     2.0%        5.5%        -1.0%         -0.4%
COLORADO        COLORADO SPRINGS DIRECT                     0.849       0.401      0.428         0.020        0.855          0.413         0.422       0.019     0.006      0.012       (0.005)    (0.001)     0.7%        3.0%        -1.3%         -3.5%
COLORADO        FREMONT COUNTY SECURE                       0.764       0.330      0.412         0.022        0.853          0.422         0.410       0.020     0.089      0.092       (0.002)    (0.001)    11.6%       28.0%        -0.5%         -6.3%
WASHINGTON      EASTSIDE DIRECT                             0.850       0.371      0.466         0.013        0.851          0.383         0.455       0.012     0.001       0.013      (0.011)    (0.001)      0.1%       3.4%        -2.3%        -8.1%
ARIZONA         COMPLETE ACCESS NETWORK                     0.823       0.376      0.428         0.018        0.847          0.408         0.421       0.017     0.024       0.032      (0.006)    (0.001)      2.9%       8.5%        -1.5%        -5.9%,
COLORADO        PUEBLO PROPRIETARY CENTURA                  0.848       0.381      0.435         0.032        0.841          0.380         0.429       0.031    (0.007)     (0.001)     (0.006)    (0.001)     -0.8%      -0.2%        -1.3%        -2.'%
OKLAHOMA        NORMAN PHO PCPS                             0.802       0.341      0.437         0.024        0.838          0.379         0.436       0.022     0.036      0.038       (0.000)    (0.002)     4.5%       11.3%        -0.1%        -9.2%
WASHINGTON      PEACEHEALTH MEDICAL GROUP                   0.798       0.354      0.413         0.032        0.823          0.386         0.408       0.030     0.025       0.032      (0.005)    (0.002)      3.2%       9.1%        -1.3%        -5.7%
CALIFORNIA      LA VIDA MULTISPECIALTY                      0.828       0.349      0.453         0.026        0.816          0.345         0.446       0.025    (0.013)     (0.005)     (0.008)    (0.001)     -1.5%      -1.3%        -1.7%        -2.6%


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                                                        RAF by Component Report
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                                                                   1:11-cv-00258-RJA
                                                                     Prospective Jan 2010 MOR Members, RAF*SEALED*
                                                                                                                      Document      Document  8 Filed      8-1 11/22/16        Page 183
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h.l"iQ'!i                IX$                            (1) - Actual
                                                        (2) - 2010 EOL Projection as of 3/31/10
                                                                                                           & PMPM
                                                                                                                                     ID    #:988
                                                        (3) - RAF Degradation: March less January MOR RAF plus a degradation factor of 0.4% per month from March to July
                                                           (4) - Projected July 2010 RAF based on Jan 2010 actuals plus EOL plus RAF Degradation




                                                                   January 2010 RAF Components                             July 2010 RAF Components                   Avg RAF Improvement (Jan to Jul)             Avg % RAF Improvement (Jan to Jul)



                                                            Jan Total               AgelSex      Special      July Total                                Special                                       Special                                      Special
    DEC State                Provider Group· Name            RAF(1)      HCC(1)       (1)       Status (1)     RAF(4)        HCC(4)      AgelSex (4)   Status (4)   RAF        HCC        Agel Sex    Status     RAF        HCC       Agel Sex     Status
CALIFORNIA          RIVERSIDE PHYS NTWK RSDE COMM               0.797       0.350      0.415         0.032        0,815          0.375         0.409       0.031     0.018      0.025       (0.006)    (0.001)     2.2%        7.2%       -1.5%          -3.2%
WASHINGTON          VALLEY DIRECT                               0.779       0.325      0.437         0.018        0.815          0.365         0.432       0.018     0.035      0.040       (0.005)    (0.000)     4.5%       12.3%       -1.1%          -0.2%
WASHINGTON          HIGHLINE MSO (CMG)                          0.775       0.298      0.460         0.017         0.813         0.344         0.454       0.Q15     0.038      0.046       (0.006)    (0.002)     4.9%       15.3%       -1.3%          -9.0%
OKLAHOMA            CANADIAN VALLEY                             0.791       0.346      0.419         0.026        0.811          0.375         0.411       0.024     0.020       0.029      (0.007)    (0.002)     2.5%        8.3%       -1.7%          -5.9%
CALIFORNIA          PACIFIC INDEPENDENT PHY ASSOC               0.814       0.345      0.440         0.029        0.802          0.340         0.434       0.028    (0.012)     (0.005)     (0.006)    (0.001)    -1.5%       -1.4%       -1.5%          -2.8%
CALIFORNIA          SIERRA NEVADA MEDICAL ASSOC                 0.791       0.346      0.431         0.014        0.788          0.349         0.426       0.013    (0.003)      0.003      (0.005)    (0.001)    -0.3%        0.7%       -1.1%          -4.3%
CALIFORNIA          MARIN IPA - SONOMA                          0.712       0.267      0.436         0.009         0.785         0.327         0.448       0.011     0.074       0.060       0.012      0.002     10.3%       22.3%        2.7%          23.8%
TEXAS               SAN ANTONIO DCN                             0.647       0.189      0.416         0.042         0.785         0.357         0.385       0.043     0.138       0.168      (0.031)     0.001     21.4%       89.2%       -7.4%            1.2%
OKLAHOMA            THE PHYSIC.lANS GROUP                       0.775       0.345      0.402         0.027         0.784         0.360         0.399       0.026     0.009       0.014      (0.004)    (0.002)     1.2%        4.1%       -0.9%           -5.5%
CALIFORNIA          PORTERVILLE                                 0.797       0.331      0.415         0.051         0.783         0.334         0.406       0.043    (0.014)      0.003      (0.009)    (0.008)    -1.7%        0.9%       -2.2%         -15.0%
ARIZONA             RURAL AREA NETWORK                          0.753       0.335      0.403         0.014         0.783         0.368         0.401       0.014     0.030       0.032      (0.002)    (0.000)     4.0%        9.7%       -0.5%           -1.4%
CALIFORNIA          SIERRA MEDICAL CLINIC, INC                  0.678       0.119      0.515         0.044         0.779         0.257         0.484       0.039     0.101       0.138      (0.031)    (0.006)    14.9%      116.0%       -6.1%         -12.5%
CALIFORNIA          ALLIED PHYSICIANS OF CALIF                  0.794       0.308      0.459         0.027         0.779         0.299         0.453       0.028    (0.015)     (0.009)     (0.006)     0.000     -1.9%       -2.9%       -1.4%            1.6%
WASHINGTON          Meadowbrook Urgent Care                     0.650       0.156      0.456         0.038         0.759         0.270         0.457       0.033     0.109      0.114        0.001     (0.006)    16.8%       73.2%        0.3%         -15.1%
 COLORADO           BOULDER COUNTY SECURE                       0.755       0.325      0.416         0.014         0.750         0.326         0.410       0.014    (0.006)     0.000       (0.006)    (0.000)     -0.7%       0.1%       -1.4%          -0.5%
CALIFORNIA          ELROSE MG                                   0.619       0.221      0.398                       0.737         0.338         0.399                 0.119      0.118        0.001      0.000     19.2%       53.5%        0.2%           0.0%
CALIFORNIA          BROWN & TOLAND MED GRP                      0.698       0.251      0.430         0.017         0.734         0.292         0.423       0.018     0.036       0.041      (0.006)     0.001      5.1%       16.3%       -1.5%           5.8%
CALIFORNIA          IMPERIAL CNTY PHYS MEDICAL GRP              0.668       0.232      0.411         0.025         0.718         0.286         0.409       0.023     0.050       0.054      (0.002)    (0.002)     7.5%       23.5%       -0.5%          -9.1%
COLORADO            SECURE ADVANTAGE CO                         0.726       0.290      0.414         0.022         0.716         0.289         0.409       0.018    (0.010)     (0.001)     (0.005)    (0.004)    -1.4%       -0.4%       -1.2%         -17.5%
CALIFORNIA          Visalia Medical Clinic                      0.767       0.298      0.450         0.019         0.697         0.252         0.429       0.016    (0.071)     (0.046)     (0.021)    (0.003)    -9.2%      -15.5%       -4.7%         -17.2%
OREGON              FANNOCREEK                                  0.736       0.258      0.466         0.012         0.693         0.225         0.457       0.011    (0.044)     (0.033)     (0.009)    (0.001)    -5.9%      -13.0%       -2.0%          -9.2%
CALIFORNIA          PRUDENT MEDICAL GROUP                       0.657       0.206      0.440         0.011         0.692         0.257         0.426       0.009     0.035       0.051      (0.014)    (0.002)     5.3%       24.8%       -3.2%         -20.3%
OKLAHOMA            FAMILY MEDICINE SPECIALISTS                 0.714       0.254      0.402         0.058         0.679         0.236         0.389       0.054    (0.035)     (0.018)     (0.012)    (0.005)    -4.9%       -7.1%       -3.0%          -7.9%
CALIFORNIA          UNIVERSAL CARE MEDICAL GROUP                0.553                  0.511         0.042        0.676          0.142         0.469       0.065     0.124       0.142      (0.041)     0.024     22.4%        0.0%       -8.1%          57.5%
CALIFORNIA          PREMIER CARE IPA                            0.704       0.285      0.402         0.017        0.672          0.259         0.401       0.013    (0.032)     (0.026)     (0.002)    (0.004)     -4.5%      -9.1%       -0.4%         -24.3%
CALIFORNIA          AMVI                                        0.571       0.049      0.480         0.042        0.608          0.076         0.492       0.041     0.038       0.027       0.012     (0.001)      6.6%      54.8%        2.5%          -1.6%
WASHINGTON          PROVIDENCE MED GRP                          0.585       0.172      0.395         0.018        0.598          0.184         0.389       0.025     0.013       0.012      (0.006)    0.007        2.3%       7.2%       -1.5%         36.3%
CALIFORNIA          KOREAN AMERICAN MEDICAL GROUP               0.535       0.104      0.426         0.006        0.578          0.152         0.418       0.008     0.043       0.048      (0.008)    0.002        8.0%      46.7%       -1.9%         40.3%
OREGON              HEALTHMAX                                   0.371       0.080      0.291                      0.557          0.271         0.286                 0.186       0.191      (0.005)    0.000       50.2%     237.7%       -1.6%          0.0%
WASHINGTON          PACIFIC MEDICAL                             2.416       2.112      0.304                      0.552          0.070         0.483                (1.864)     (2.042)      0.178     0.000      -77.1%     -96.7%      58.6%           0.0%
NEVADA              SECURE ADVANTAGE NV                         0.000                                             0.526          0.148         0.377                 0.526       0.148       0.377     0.000        0.0%       0.0%        0.0%          0.0%
ARIZONA             KINO NETWORK                                0.461                  0.461                      0.478          0.006         0.473                 0.017       0.006       0.011     0.000        3.7%       0.0%        2.5%          0.0%
WASHINGTON          TUALITY HEALTH ALLIANCE                     0.461                  0.461                      0.459          0.006         0.454                (0.002)      0.006      (0.007)    0.000       -0.3%       0.0%       -1.6%          0.0%
OKLAHOMA            Jerry A Nelms Do Inc                        0.395       0.019      0.357         0.019         0.397         0.028         0.351       0.019     0.002      0.008       (0.006)    (0.000)      0.6%      43.0%       -1.6%          -1.6%
WASHINGTON          PORTLAND AVENUE FAMILY CLINIC               0.398                  0.398                       0.391                       0.392                (0.006)     0.000       (0.006)    0.000       -1.6%       0.0%       -1.6%           0.0%




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                          EXHIBIT 12




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 PacmCare®
                                                                                    GENERAL SERVICES AGREEMENT

 Agreement No.:

 Effective Date:               October 26, 2005


 Expiration Date:              July 31,2010


 Name:                         WellMed Medical Management, Inc.

 Address:                     8637 Fredericksburg Road., Suite 360; San Antonio, TX 78240

 Telephone:                   210.617.4016


This General Services Agreement ("Agreement") is entered into as of the Effective Date by and between PacifiCare
Health Systems, Inc. on behalf of itself and its Associated Companies ("PacifiC are"}, and the above-named WellMed
Medical Management, Inc. ('!tMM!"), a Texas corporation, and consists of this signature page and the following
documents, which are attached hereto and made a part hereof by this reference:

         Schedule A, Special Conditions
         Schedule B, General Terms & Conditions
         Schedule C, Price, Payment & Delivery Terms
         Schedule 0, Service Specifications
         Schedule E, Business Associate Addendum

The rights of PacifiCare set forth in this Agreement shall inure to all its Associated Companies. The parties have caused
this Agreement to be executed and warrant that their respective Signatories are authorized to execute this Agreement as of
the effective date.


WellMed Medical Management, Inc.                             PacifiCare Healt
                                                             ("PacifiCare")
~:Mr)~IM~                                                    By:
                                                             Name:
Name:                                                        Title:
Title:

Address for Notices:                                         Address for Notices:
WellMed Medical Management, Inc.                             PacifiCare Health Systems
8637 Fredericksburg Road, Suite 360                          Network Management
San Antonio, TX 78240                                        Attn: Vice President
Attn: President                                              5001 LBJ Freeway #600
                                                             Dallas, TX 75244

                                                             CC:
                                                             PacifiCare Health Systems
                                                             Attn: Network Management
                                                             6200 Northwest Freeway
                                                             San Antonio, TX 78249




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                                                    SCHEDULEC
                                          PRICE, PAYMENT & DELIVERY TERMS

 C-1       PRICING and DELIVERABLES:
 A.       Both parties agree to the following pricing for the Services to be rendered by WMMI. PacifiCare is paid for its
          Medicare Membership by the Centers for Medicare and Medicaid Services ("eMS") based on reported diagnoses
          as submitted in the encounter data by Practitioners. PacifiCare may increase its Medicare revenue by (i) reviewing
          targeted member diagnosis charts that it suspects have miscoded or unreported diagnosis information; and (ii)
          reporting the missing or updated information to CMS. To this end, WMMI will evaluate the accuracy of Practitioner
          diagnostic coding for PacifiCare's Medicare Membership, to ensure maximization of risk adjusted payments by
          CMS.


    Description                                                  Fees
    Chart volume                                                 All Medical Records made available to WMMI in
                                                                 accordance with this Agreement
   Markets                                                       Dallas Direct Network


   Calculation of Fees For Services:                             Included in Section
                                                                 SC3

   File copy charges                                             Pass-through to PacifiCare if levied ~ Practitioner
   Standard Project Reports                                      Included in Fees




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     Payment Schedule                                             PacifiCare agrees to reimburse WMMI for Practitioner
                                                                  compensation within thirty (30) days of receiving a
                                                                  monthly invoice with attached copies of signed DataRap
                                                                  Certification Forms. WMMI agrees to use PacifiCare's
                                                                 name on the explanation of payment or on an enclosed
                                                                 letter sent with the check. WMMI will compensate
                                                                 Practitioners in the amount of $20.00 for each returned
                                                                 signed HCCRAF form. PacifiCare will reimburse WMMI
                                                                 for such expense by monthly invoice.

                                                                 PacifiCare agrees to reimburse WMMI for the increased
                                                                 HCCRAF on or before July 30 or the month the
                                                                 payment and calculation are received from CMS.

                                                                 Beginning with the July 2008 Payment:
                                                                 The intent is to pay a contingency for maintaining an
                                                                 increased HCCRAF score.
                                                                 If the Year 2 July Direct HCC RAF is better than the
                                                                  original September Benchmark and the score is either
                                                                  maintained or increased in Year 3 an additional
                                                                  payment of 50% of the Year 2 fee schedule payment
                                                                 will be made to WMMI. This payment will be in addition
                                                                 to the Year 3 payment on the reset schedule. If that
                                                                 score is maintained or increased again in Year 4 an
                                                                 additional payment of 25% of the Year 2 fee schedule
                                                                 payment will be made to WMMI. This payment will be
                                                                 in addition to any payment owed for maintaining the
                                                                 Year 3 HCCRAF score or any monies due for Year 4
                                                                 reset schedule.

                                                                 100% beginning Year Two, 50% Year Three, 25% Year
                                                                 Four (Based on Year Two payment)


                                                                 Future Years:
                                                                 If the Year 3 July Direct HCC RAF is better than the
                                                                  original September benchmark and the Year 3 score is
                                                                  either maintained or increased in Year 4 an additional
                                                                 payment of 50% of the Year 3 fee schedule payment
                                                                 will be made to WMMI and an additional payment of
                                                                 25% of the year two fee schedule will be made to
                                                                 WMMI. This payment will be in addition to the Year 4
                                                                 payment on the reset schedule.

                                                                 Each year beginning contract Year 3 the HCC RAF
                                                                 score and benchmark reset. An additional payment is
                                                                 made for any increased HCC RAF scores.


B.      WMMI warrants and represents that the prices set forth herein for Services are available to other purchasers in the
        geographic area occupied by PacifiCare and its Associated Companies, reflect the economies of doing business
        with PacifiCare at the volumes projected, or are necessary to meet the pricing levels of WMMl's competitors who
        may wish to sell to PacifiCare. WMMI shall defend, indemnify and hold PacifiCare harmless from all losses, costs
        or damages arising from any claim that WMMl's prices are discriminatory. The rates stated above shall include the
        following:

                 1.      Recruiting, training, and supervising reviewers and other personnel
                 2.      Scheduling all Practitioners
                 3.      Technological requirements including software and hardware
                 4.      Practitioner copying charges (To be reimbursed by PacifiCare)
                 5.      Travel Expenses including mileage
                 6.      Meetings as reasonably requested by PacifiCare
                 7.      Reasonable reporting as mutually agreed upon by the Parties in writing
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                   8.      Any other Data"apTM Services mutually agreed upon by the Parties in writing

 C-2      INVOICES:
 A.       Invoices submitted by WMMI shall be sent to the following address:

                  PacifiCare Health Systems
                  Nick Chiechi Mail Stop LC03-366
                  3100 Lake Center Drive
                  Santa Ana, CA 92704

                   Copy to:
                   PacifiCare Health Systems
                   Jeannine Ruffner
                   6200 Northwest Parkway
                   San Antonio, TX 78249
 B.      Unless otherwise stated, all charges shall be invoiced as follows within 30 days after Services are rendered.
 C.      All invoices must contain the following data elements, to the extent applicable:
                  • WMMI Name and Address
                  • Agreement number
                  • PacifiCare's accounting charge number by product and state
                  • Price per line item and extended totals
                  • Attached copies of signed DataRap TM Certification Forms.
                  • Anything else the Parties mutually agree to include

C-3      PAYMENT TERMS:
A.      All payments to WMMI will be made by PacifiCare on the due date. Notwithstanding the above, both parties
        recognize that CMS may from time to time extend its reporting deadlines. The deadlines in this agreement may be
                                            th
        moved to coincide to pay by the 30 of the month from which the payment is received. In the event any payment is
        not made as and when due, Payment terms are Net 30 following receipt by PacifiCare of a correct invoice. Past
        due amounts, amounts outstanding for more than sixty days, shall be subject to an interest charge from the date the
        initial installment was due and the interest rate shall be the I lesser of one percent (1%) per month or the highest
        rate permitted by law. WMMI may suspend performance hereunder or terminate this Agreement in the event
        PacifiCare fails to make payment within 90 days of invoice but the obligation of PacifiCare to continue to pay WMMI
        under this Section C-3 shall continue nevertheless. Incorrect or incomplete invoices shall be retumed to supplier for
        correction or completion. Payment shall be withheld on all incorrect or incomplete invoices until corrected.

B.       For a period of one (1) year after the termination of this Agreement, PacifiCare will continue to reimburse WMMI
         the $20.00 fee that WMMI paid the Practitioner for returning DataRapTM Certification forms. In addition, PacifiCare
         will also pay WMMI an additional $20.00 for each returned confirmed DataRapTM Certification form.




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                                                 Schedule SC-3A


  On or before July 31, 2006 PacifiCare will make a payment to WMMI in accordance to the following schedule for
  2006 July Direct HCCRAF: This fee schedule is based on the 2005 September Benchmark being .49. If that
  benchmark is finalized to be a different number in January of 2006, then this fee schedule will be adjusted in
  accordance to the same methodology used to calculate this schedule. No Payment will be made if the 2006 July
  Direct HCCRAF score drops below the 2005 September Benchmark.




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 On or before July 31, 2007, PacifiCare will make a payment to WMMI in accordance to the following schedule for 2007
 July Direct HCCRAF: This fee schedule is based on the 2005 September Benchmark being .49. If the 2005 September
 Benchmark is determined to be a different number in January of 2006, then this fee schedule will be adjusted in
 accordance to the same methodology used to calculate this schedule. No adjustment will be made to adjust the 2005
 Benchmark on the payment fee schedule. No Payment will be made if the 2007 July Direct HCCRAF score drops below
 the 2005 September Benchmark. PacifiCare has the right to terminate this contract if the 2007 July Direct HCCRAF does
 not increase by at least .05 as compared to the 2005 September Benchmark. If the 2007 July Direct HCCRAF is not at a
 score of .54; then PacifiCare has the right to immediately terminate this contract.

           I            WMMI DataRap
 2007 July Direct           fee
    HCCRAF

     0.5 0.5099
                                    206,516
    0.51       0.5199
                                    413,032
    0.52 0.5299
                                    619,548
    0.53       0.5399
                                  1,239,096
    0.54 0.5499
                                  1,548,870
    0.55       0.5599
                                  1,858,644
    0.56       0.5699
                                  2,168,418
    0.57       0.5799
                                  2,478,192
    0.58       0.5899
                                  2,787,966
    0.59       0.5999
                                  3,097,740
     0.6       0.6099
                                  3,407,514
   0.61        0.6199
                                  3,717,288
   0.62        0.6299
                                  4,027,062
   0.63    0.6399
                                  4,336,836
   0.64    0.6499
                                  4,646,610
   0.65    0.6599
                                  6,608,511
   0.66    0.6699
                                  7,021,543
   0.67    0.6799
                                  7,434,575
   0.68    0.6899
                                  7,847,607
   0.69    0.6999
                                  8,260,639
    0.7    0.7099
                                  8,673,671
   0.71    0.7199
                                  9,086,703
   0.72    0.7299
                                  9,499,735
   0.73    0.7399
                                  9,912,767
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      0.74 0.7499
                                   10,325,799
     0.75 0.7599
                                   10,738,831
     0.76 0.7699
                                   11,151,863
     0.77 0.7799
                                  13,877,874
     0.78 0.7899
                                  14373,512
     0.79 0.7999
                                  14,869,151
      0.8 0.8099
                                  15,364,789
     0.81   0.8199
                                  15,860,428
     0.82 0.8299
                                  16,356,066
    0.83 0.8399
                                  16,851,704
    0.84 0.8499
                                  17,347,343

    0.85 0.8599                   17,842,981
    0.86 0.8699
                                  18,338,619
    0.87 0.8799
                                  18,834,258
    0.88 0.8899
                                  19,329,896
    0.89 0.8999
                                  19825534
     0.9 0.9099
                                  20,321173
    0.91    0.9199
                              23,418913
    0.92 0.9299
                              23,976,506
    0.93 0.9399
                              24,534,099
    0.94 0.9499
                              25,091,692
    0.95 0.9599
                              25,649,285
    0.96 0.9699
                              26,206.878
   0.97 0.9799
                              26.764,472


On or before July 31. 2008. PacifiCare will make a payment to WMMI in accordance to the following schedule for 2008
July Direct HCCRAF. This fee schedule is reset to conform to a new calculation based on the 2007 April Benchmark. If
the 2007 April Benchmark is determined to be a different number in July of 2007, then this fee schedule will be adjusted in
accordance to the same methodology used to calculate this schedule. No Payment will be made if the 2008 July Direct
HCCRAF is below the September benchmark. PacifiCare has the{ight to terminate this contract if the 2008 July Direct
HCCRAF does not increase by at least .10 as compared the origina 2005 September Benchmark. If the 2008 July Direct
HCCRAF is not at a score of .59 (assuming the 2005 September Benchmark is .49); then PacifiCare has the right to
immediately terminate this contract. The payment will be made in accordance with the first column below.




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  DataRaos Proposal Analysis ~ Annuity .clyment
                     I
  Assumptions   I
  Revised Membership                            * In 2008 the fee schedule resets to the new April
  Assumptions                           43,20 4 benchmark number. The new number may not be less than
                                                the September benchmark.
  Demo 2005 Projected PMPM
                                       708.690
 Demo 2006 Projected PMPM
                                      709.170
 Risk 2005 Projected PMPM
                                      749.750
 Risk 2006 Projected PM PM
                                      828.537
 Total 2005 Projected PMPM                                      729.22

 Total 2006 Projected PM PM                                    798.695
 Current HCC
 RAF                 I
 Demo Component 2006 Projected Revenue
                                                 .58*


 Risk Component 2006 Projected Revenue

                                                 Payable July 2008       Payable July 2009 Payable July
                                                                                           2010
                                                    WMMI DataRap          WMMI DataRap WMMI DataRap
                                                       fee                   Fee ( If          Fee (If
                                                                          Threshold is       Threshold is
                                                                              met)              met)


             0.59            0.5999                            429,553
                                                                                214,777          10G_388
               0.6           0.6099                            859,106
                                                                                429,553          214777
             0.61            0.6199                        1,288,660
                                                                                644,330          322165
             0.62            0.6299                        1,718,213
                                                                               859,106           429,553
             0.63            0.6399                        2,147,766
                                                                              1,073,883          536,942
             0.64           0.6499                         2,577,319
                                                                              1,288660           644,330
             0.65           0.6599                         3,006,873
                                                                              1,503,436          751,718
             0.66           0.6699                         3,436,426
                                                                              1,718,213          859,106
             0.67           0.6799                         3,865,979
                                                                              1,932,990          966,495
             0.68           0.6899                         4,295,532
                                                                              2,147,766        1,073,883
             0.69           0.6999                         4,725,086
                                                                              2,362,543        1,181,271
              0.7           0.7099                         5,154,639
                                                                              2,577,319        1,288,660
             0.71           0.7199                         6,701,031
                                                                              3,350,515        1,675,258
             0.72           0.7299                         7,216,495
                                                                             3,608,247         1,804,124
            0.73            0.7399                         7,731,958
                                                                             3,865,979         1,932,990
            0.74            0.7499                         8,247,422
                                                                             4,123,711         2,061,856
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              0.75            0.7599                         8,762,886
                                                                               4,381,443           2,190,722
              0.76            0.7699                         9,278,350
                                                                               4,639,175           2,319,588
              0.77            0.7799                         9,793,814
                                                                               4,896,907           2,448,454
              0.78            0.7899                        10,309,278
                                                                               5,154,639           2,577,319
              0.79            0.7999                        10,824,742
                                                                               5,412,371           2,706,185
               0.8           0.8099                         11,340,206
                                                                               5,670,103           2,835,051
              0.81           0.8199                         11,855,670
                                                                               5,927,835           2,963,917
              0.82           0.8299                         12,371,134
                                                                               6,185,567           3,092,783
              0.83           0.8399                         12,886,597
                                                                               6,443,299           3,221,649
              0.84           0.8499                         13,402,061
                                                                               6,701,031           3,350,515
              0.85           0.8599                        15,657,216
                                                                               7,828,608           3,914,304
             0.86            0.8699                        16,237,113
                                                                               8,118,556           4,059,278
             0.87            0.8799                        16,817,010
                                                                               8,408,505           4,204,252
             0.88            0.8899                        17,396,906
                                                                               8,698,453           4,349,227
             0.89            0.8999                        17,976,803
                                                                               8,988,402           4,494,201
              0.9            0.9099                        18,556,700
                                                                              9,278,350            4,639,175
             0.91           0.9199                         19,136,597
                                                                              9,568,299            4,784,149
             0.92           0.9299                         19,716,494
                                                                              9,858,247            4,929,124
             0.93           0.9399                         20,296,391
                                                                             10,148,195            5,074,098
             0.94           0.9499                         20,876,288
                                                                             10,438,144            5,219,072
             0.95           0.9599                         21,456,185
                                                                             10,728,092            5,364,046
             0.96           0.9699                         22,036,082
                                                                             11,018041            5,509,020
             0.97           0.9799                         22,615,978
                                                                             11,307,989           5,653,995


The intent of this payment fee schedule is to compensate for maintained and increased HCCRAF scores on a year over
year basis. If the 2007 July Direct HCCRAF for the April Member list was increased over the 2007 September benchmark
and the 2008 July Direct HCCRAF score iF! this year is greater than or equal to the April 2007 benchmark, than an
additional payment of 50% of the prior years payment will be paid in addition to a new payment for the reset fee schedule.
For Example: If the HCCRAF achieved in July 07 is .54 and that score is maintained in July 08 and additional payment of
50% of the 2007 payment will be made to the provider. The Payment would be made in accordance to the second column
in the schedule file below. For this example an additional payment of $774,435 would be paid in July 2008. If that
HCCRAF score is maintained or increased for the April Member list in July 2009 and additional payment of $387,217 in
July of 2008. These payments will be made in addition to the payments made by PacifiCare to WMMI for Increases in the
July HCCRAF score.




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                                 Payable duly Payable July 2008                     . --=--
                                                                      Payable July 2009
                                 2007
                                 WMMI DataRap WMMI DataRap              WMMI DataRap
    July'Direct HCCRAF                fee             fee                     Fee

             0.5     0.5099
                                        206,516             103,258                  51,629
           0.51      0.5199
                                        413,032             206,516                 103,258
           0.52      0.5299
                                       619,548              309,774                 154,887
           0.53      0.5399
                                      1,239,096             619,548                 309,774
           0.54     0.5499
                                      1,548,870             774,435                 387,217
           0.55     0.5599
                                      1,858,644             929,322                 464,661
           0.56     0.5699
                                      2168,418          1,084,209                   542,104
           0.57     0.5799
                                     2,478,192         1,239,096                    619,548
           0.58     0.5899
                                     2,787,966         1,393,983                    696,991
           0.59     0.5999
                                     3,097,740         1,548,870                    774,435
            0.6     0.6099
                                     3,407,514         1,703,757                    851,878
          0.61      0.6199
                                     3,717,288         1,858,644                    929,322
          0.62      0.6299
                                     4,027,062         2,013,531                1006,765
          0.63      0.6399
                                     4,336,836         2,168,418                1,084,209
          0.64      0.6499
                                     4,646,610         2,323,305                1,161,652
          0.65     0.6599
                                     6,608,511         3,304,256                1,652,128
          0.66     0.6699
                                     7,021,543         3510,772                 1,755,386
          0.67     0.6799
                                     7,434,575         3,717,288                1,858,644
          0.68     0.6899
                                     7,847,607         3,923,804                1,961,902
          0.69     0.6999
                                     8,260,639         4,130,320                2,065,160
           0.7     0.7099
                                     8,673,671         4,336,836                2,168,418
          0.71     0.7199
                                     9,086,703         4,543,352                2,271,676
          0.72     0.7299
                                     9,499,735         4,749,868                2,374,934
          0.73     0.7399
                                     9,912,767         4,956,384                2,478,192
          0.74     0.7499
                                    10,325,799         5,162,900                2,581,450
          0.75     0.7599
                                    10,738,831         5,369,416                2,684,708
          0.76     0.7699
                                   11,151,863          5,575,932                2,787,966
          0.77     0.7799
                                   13,877,874         6,938,937                 3,469,469

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            0.78      0.7899                                      -
                                   14,373512      7,186,756    3,593,378
            0.79      0.7999
                                   14,869,151     7,434,575    3,717,288
             0.8      0.8099
                                   15,364,789     7,682,395    3,841,197
            0.81      0.8199
                                   15,860,428     7,930,214   3,965107
            0.82      0.8299
                                   16,356,066    8,178,033    4,089,016
            0.83     0.8399
                                   16,851,704    8,425,852    4,212,926
            0.84     0.8499
                                  17,347,343     8,673,671    4,336,836
           0.85      0.8599
                                  17,842,981     8,921,491    4,460,745
           0.86      0.8699
                                  18,338,619     9,169,310    4584,655
           0.87      0.8799
                                  18,834,258     9,417,129    4708,564
           0.88      0.8899
                                  19,329,896     9,664948     4832,474
           0.89      0.8999
                                  19,825,534     9,912,767    4,956,384
            0.9      0.9099
                                  20,321,173    10,160,586    5,080,293
           0.91      0.9199
                                  23,418,913    11,709,456    5,854,728
           0.92      0.9299
                                  23,976,506    11,988,253    5,994,126
           0.93      0.9399
                                  24,534,099    12,267,049    6,133,525
           0.94     0.9499
                                  25,091,692    12,545,846    6,272,923
           0.95     0.9599
                                  25,649,285    12,824,643    6,412,321
           0.96     0.9699
                                  26,206,878    13,103,439    6,551,720
           0.97     0.9799
                                  26,764,472    13,382,236    6,691,118




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     The formulas for the above calculations are listed below:
  J Uly
     I 2006 Paymen t Fee ScheduIe:
          Row            ColumnA          Column B               Column C         Column E           Column F

                     DataRaps
  1                  Proposal
                     Analysis-
                     Annuity
                     Payment
 2
 3                   Assumptions
 4                   Revised                        43204
                     Membership
                     Assumptions
 5                   Demo 2005                     70B.69
                     Projected
                     PMPM
 6                   Demo 2006                     709.17
                     Projected
                     PMPM
 7                   Risk 2005                     749.75
                    Projected
                    PMPM
 8                  Risk 2006                      796.67
                    Projected
                    PMPM
9                   Total 2005                     =(C5+C7)/2
                    Projected
                    PMPM
10                  Total 2006                     =(C8*0.75)+(C6*0.25)
                    Projected
                    PMPM
11                  Current HCC                   0.49
                    RAF
12                  Demo Component 2006           =C6*C4*12*0.25
                    Projected Revenue
13                  Risk Component 2006 Projected =CB*C4*12*0.75
                    Revenue
15                  Total 2006                    =C10*C4*12
                    Projected
                    Revenue
16                                                Incremental           Payable July 2006
17                                                                      WMMI DataRap WMMI DataRap

18                 July Direct                                              fee              %
                   HCCRAF
19
20                 0.5              =A20+0.0099        =«(A20)-              =C20*F20        0.05
                                                       C$11 )*C$B*O. 75)*C$4
                                                       *12
21                 =+A20+0.01       =A21 +0.0099       =«(A21)-              =C21*F21        0.05
                                                       C$11 )*C$B*0.75)*C$4
                                                       *12
22                 -+A21+0.01       -A22+0.0099        =«(A22)-              =C22*F22        0.05
                                                       C$11 )*C$8*0.75)*C$4
                                                       *12
23                 =+A22+0.01       =A23+0.0099        -«(A23)-              =C23*F23        0.075
                                                       C$11 )*C$8*0.75}*C$4
                                                       *12


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                                         ID #:1002
  24                =+A23+0.01     =A24+v.0099        =«(A24)-               =C24*F24     0.075
                                                      C$11)*C$8*0.75)*C$4
                                                      *12
  25               -+A24+0.01      =A25+0.0099        =«(A25)-               =C25*F25    0.075
                                                      C$11 )*C$8*0. 75)*C$4
                                                      *12
  26               =+A25+0.01      =A26+0.0099        =«{A26)-               =C26*F26    0.075
                                                     C$11)*C$8*0.75)*C$4
                                                     *12
 27                -+A26+0.01      =A27 +0.0099      =«(A27)-               =C27*F27     0.075
                                                     C$11 )*C$8*0.75)*C$4
                                                     *12
 28                -+A27+0.01      =A28+0.0099       ={«A28)-               =C28*F28     0.075
                                                     C$11 )*C$8*0.75)*C$4
                                                     *12
 29                -+A28+0.01      =A29+0.0099       =«(A29)-               =C29*F29     0.075
                                                     C$11 )*C$8*0.75)*C$4
                                                    *12
 30               =+A29+0.01       =A30+0.0099      =«(A30)-                =C30*F30     0.075
                                                    C$11 )*C$8*0.75)*C$4
                                                    *12
 31               =+A30+0.01      =A31+0.0099       =«(A31)-                =C31*F31     0.075
                                                    C$11)*C$8*0.75)*C$4
                                                    *12
 32               =+A31 +0.01     =A32+0.0099       =«(A32)-                =C32*F32    0.075
                                                    C$11 )*C$8*O.75)*C$4
                                                    *12
33                =+A32+0.01      =A33+0.0099       =«(A33)-               =C33*F33     0.075
                                                    C$11 )*C$8*0.75)*C$4
                                                   *12
34                =+A33+0.01      =A34+0.0099      =«(A34)-                =C34*F34     0.075
                                                   C$11 )*C$8*0.75)*C$4
                                                   *12
35                =+A34+0.01      =A35+0.0099      =«(A35)-                =C35*F35     0.1
                                                   C$11)*C$8*0.75)*C$4
                                                   *12
36                =+A35+0.01      =A36+0.0099      =«(A36)-                =C36*F36     0.1
                                                   C$11)*C$8*0.75)*C$4
                                                   *12
37                =+A36+0.01      =A37+0.0099      =«(A37)-                =C37*F37     0.1
                                                   C$11 )*C$8*0.75)*C$4
                                                   *12
38               =+A37+0.01       =A38+0.0099      =«(A38)-                =C38*F38     0.1
                                                   C$11)*C$8*0.75)*C$4
                                                  *12
39               =+A38+0.01       =A39+0.0099     =«(A39)-                 =C39*F39     0.1
                                                  C$11)*C$8*0.75)*C$4
                                                  *12
40               =+A39+0.01       -A40+0.0099     =«(A40)-                =C40*F40      0.1
                                                  C$11 )*C$8*0.75)*C$4
                                                  *12
41               =+A40+0.01       =A41 +0.0099    =«(A41)-                =C41*F41      0.1
                                                  C$11)*C$8*0.75)*C$4
                                                  *12
42               -+A41 +0.01      =A42+0.0099     =«(A42)-                -C42*F42      0.1
                                                  C$11 )*C$8*O.75)*C$4
                                                  *12
43               =+A42+0.01       =A43+0.0099     =«(A43)-                =C43*F43      0.1
                                                  C$11)*C$8*0.75)*C$4
                                                  *12
44               =+A43+0.01       =A44+0.0099     =«(A44)-                =C44*F44      0.1
                                                  C$11 )*C$8*0.75)*C$4
                                                  *12
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                                         .<
  45                =+A44+0.01      =A45+u.0099         =«(A45)-               =C45*F4b    0.1
                                                        C$11 )*C$8*0. 75)*C$4
                                                        *12
  46                -+A45+0.01      --'A46+0.0099       =«(A46)-               =C46*F46    0.1
                                                        C$11 )*C$8*0.75)*C$4
                                                        *12
  47                =+A46+0.01      =A47+0.0099        =«(A47)-                =C47*F47    0.12
                                                       C$11 )*C$8*0.75)*C$4
                                                       *12
 48                 =+A47+0.01      =A48+0.0099        =(((A48)-              =C48*F48     0.12
                                                       C$11 )*C$8*0.75)*C$4
                                                       *12
 49                =+A48+0.01       =A49+0.0099        =«(A49)-               =C49*F49     0.12
                                                       C$11 )*C$8*0. 75)*C$4
                                                       *12
 50                =+A49+0.01       =A50+0.0099        =«(A50)-               =C50*F50     0.12
                                                      C$11 )*C$8*0.75)*C$4
                                                      *12
 51                =+A50+0.01       =A51 +0.0099      =«(A51)-                =C51*F51    0.12
                                                      C$11 )*C$8*0.75)*C$4
                                                      *12
 52                =+A51 +0.01     =A52+0.0099        =«(A52)-                =C52*F52    0.12
                                                      C$11 )*C$8*0.75)*C$4
                                                      *12
 53                =+A52+0.01      =A53+0.0099        =«(A53)-                =C53*F53    0.12
                                                      C$11 }*C$8*0.75)*C$4
                                                      *12
 54                =+A53+0.01      =A54+0.0099        -«(A54)-               -C54*F54     0.12
                                                     C$11 )*C$8*0.75)*C$4
                                                     *12
55                =+A54+0.01       =A55+0.0099       =«(A55)-                =C55*F55     0.12
                                                     C$11 )*C$8*0.75)*C$4
                                                     *12
56                =+A55+0.01       =A56+0.0099       =«(A56)-                =C56*F56     0.12
                                                     C$11 )*C$8*0.75)*C$4
                                                     *12
57                =+A56+0.01       =A57+0.0099       =«(A57)-                =C57*F57     0.12
                                                     C$11 )*C$8*0.75)*C$4
                                                     *12
58                =+A57+0.01       =A58+0.0099       =«(A58)-                =C58*F58     0.12
                                                     C$11 )*C$8*0. 75)*C$4
                                                    *12
59                =+A58+0.01       -A59+0.0099      =«(A59)-                 =C59*F59     0.12
                                                    C$11 )*C$8*0. 75)*C$4
                                                    *12
60                =+A59+0.01       =A60+0.0099      =«(A60)-                =C60*F60      0.12
                                                    C$11 )*C$8*0.75)*C$4
                                                    *12
61                =+A60+0.01       =A61 +0.0099     =«(A61)-                =C61*F61      0.135
                                                    C$11 )*C$8*0. 75)*C$4
                                                    *12
62                =+A61 +0.01      =A62+0.0099      =«(A62)-                =C62*F62      0.135
                                                    C$11 )*C$8*0.75)*C$4
                                                    *12
63                =+A62+0.01       =A63+0.0099      =«(A63)-                =C63*F63      0.135
                                                    C$11 )*C$8*0.75)*C$4
                                                    *12
64                =+A63+0.01       =A64+0.0099      =«(A64)-                =C64*F64      0.135
                                                    C$11)*C$8*0.75)*C$4
                                                    *12
65               =+A64+0.01        =A65+0.0099      =«(A65)-                =C65*F65      0.135
                                                    C$11 )*C$8*0.75)*C$4
                                                    *12
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                                         ID #:1004
  66               =+A65+0.01      =A66"'v.0099     =«(A66)-              =C66*F66          0.135
                                                    C$11 )*C$8*0.75)*C$4
                                                    *12
 67                =+A66+0.01      =A67+0.0099      =«(A67)-              =C67*F67         0.135
                                                    C$11 )"C$8*0. 75)"C$4
                                                    *12


 For th e J UlY
             I 2007 Paymen tFee Schedue:
                                      I
  Row           ColumnA Column B                  Column C      Colum     Column F Column H          Column J
                                                                 nE
 1            DataRaps Proposal Analysis
              - Annuity Payment
 2            Assumptio
              ns
 3            Revised                    43204
              Mem
             Assumpt
 4           Demo 2005 Projected         708.69
             PMPM
 5           Demo 2006 Projected         709.17
             PM PM
 6           Risk 2005 Projected PMPM 749.75                            Same schedule as Year one
 7           Risk 2006 Projected PMPM 796.67
 8           Total 2005 Projected PMPM =(C5+C7)/2
 9           Total 2006 Projected PMPM =(C8*0.75)+(C6"0.25)
 10          Current                     0.49
             HCC RAF
 11          Demo Comp06 Projected       =C6*C4*12*0.25
             Rev
 12          Risk Comp 06 Projected      =C8*C4*12*0.75
             Rev
13           Total 2006 Projected        =C10*C4*12                                  If threshold If threshold
             Revenue                                                                 is maintained is
                                                                                                   maintained

14                                                                   Payable July                   Payable
                                                                     2007                           July 2009
15                                                             WMMI WMMI          WMMI              WMMI
                                                               DataR DataRap      DataRap           DataRap
                                                               ap
16           July Direct                                       %     fee          fee               fee
             HCCRAF

19           0.5           =A19+0.0099   =«($A19-             0.05      =+E19*C19    =+F19*0.5      =+F19*O.25
                                         $C$11 }*$C$8)"$C$4*1
                                         2)
20           =+A19+0.0 =A20+0.0099       =«($A20-             0.05      =+E20*C20    =+F20*0.5      =+F20*O.25
             1                           $C$11 }*$C$8)*$C$4*1
                                         2)
21           =+A20+0.0 =A21+0.0099       =«($A21-             0.05      =+E21*C21    =+F21*0.5      -+F21*0.25
             1                           $C$11 )*$C$8)*$C$4*1
                                         2) .
22           =+A21+0.0 =A22+0.0099       =«($A22-             0.075     =+E22*C22    =+F22*0.5      =+F22*0.25
             1                           $C$11 )*$C$8)*$C$4*1
                                         2)
23           =+A22+0.0 =A23+0.0099       =«($A23-             0.075     =+E23*C23    =+F23"O.5      =+F23*O.25
             1                           $C$11 )"$C$8)*$C$4"1
                                         2)
24           =+A23+0.0 =A24+0.0099       =«($A24-             0.075     =+E24*C24    -+F24*O.5      =+F24*O.25
             1                           $C$11)*$C$8)*$C$4*1
                                         21
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                                         ID #:1005
  25           =+A24+0.   o =A25+0.0099  =«($A25-               0.075 =+E25*C25 =+F25*0.5    =+F25*0.25
               1                         $C$11 )*$C$8)*$C$4*1
                                         2)
  26            =+A25+0.0 =A26+0.0099    -«($A26-              0.075 =+E26*C26 =+F26*0.5     =+F26*0.25
                1                        $C$11 )*$C$8)*$C$4*1
                                        2)
  27           =+A26+0.0 =A27+0.0099    -«($A27-               0.075 =+E27*C27 =+F27*0.5     =+F27*0.25
               1                        $C$11 )*$C$8)*$C$4*1
                                        2)
  28           =+A27+0.0 =A28+0.0099    -«($A28-               0.075 =+E28*C28 =+F28*0.5     =+F28*0.25
               1                        $C$11 )*$C$8)*$C$4*1
                                        2)
 29            -+A28+0.0 =A29+0.0099    =«($A29-               0.075 =+E29*C29 =+F29*0.5    =+F29*0.25
               1                        $C$11 )*$C$8)*$C$4*1
                                        2)
 30            =+A29+0.0 =A30+0.0099    =«($A30-               0.075 =+E30*C30 =+F30*0.5    =+F30*0.25
               1                        $C$11)*$C$8)*$C$4*1
                                        2)
 31           =+A30+0.0 =A31 +0.0099    =«($A31-              0.075 =+E31*C31 =+F31*0.5     =+F31 *0.25
               1                        $C$11 )*$C$8)*$C$4*1
                                       2J
 32           =+A31 +0.0 =A32+0.0099   =«($A32-               0.075 =+E32*C32 =+F32*0.5     =+F32*0.25
              1                        $C$11 )*$C$8)*$C$4*1
                                       2)
 33           =+A32+0.0 =A33+0.0099    -{«$A33-               0.075 =+E33*C33 =+F33*0.5     =+F33*0.25
              1                        $C$11 )*$C$8)*$C$4*1
                                       2)
 34           =+A33+0.0 =A34+0.0099    =«($A34-               0.1     =+E34*C34 =+F34*0.5   =+F34*0.25
              1                        $C$11 )*$C$8)*$C$4*1
                                       2J
 35           =+A34+0.0 =A35+0.0099    =«($A35-               0.1     =+E35*C35 =+F35*0.5   =+F35*0.25
              1                        $C$11 )*$C$8)*$C$4*1
                                       2)
36           =+A35+0.0 =A36+0.0099     =«($A36-              0.1      -+E36*C36 =+F36*0.5   =+F36*0.25
              1                        $C$11 )*$C$8)*$C$4*1
                                       2)
37           =+A36+0.0 =A37+0.0099     =«($A37-              0.1      =+E37*C37 =+F37*0.5   =+F37*O.25
             1                         $C$11 )*$C$8)*$C$4*1
                                      21
38           =+A37+0.0 =A38+0.0099    ={«$A38-               0.1     =+E38*C38 =+F38*0.5    =+F38*0.25
             1                        $C$11 )*$C$8)*$C$4*1
                                      2)
39           =+A38+0.0 =A39+0.0099    =«($A39-               0.1     =+E39*C39 =+F39*0.5    =+F39*0.25
             1                        $C$11 )*$C$8)*$C$4*1
                                      2)
40           =+A39+0.0 =A40+0.0099    =«($A40-               0.1     -+E40*C40 =+F40*0.5    =+F40*0.25
             1                        $C$11)*$C$8)*$C$4*1
                                      2)
41           =+A40+0.0 =A41 +0.0099   =«($A41-               0.1     =+E41*C41 =+F41 *0.5   =+F41 *0.25
             1                        $C$11 )*$C$8)*$C$4*1
                                      2)
42           =+A41 +0.0 =A42+0.0099   =«($A42-               0.1     =+E42*C42 =+F42*0.5    =+F42*0.25
             1                        $C$11 )*$C$8)*$C$4*1
                                      2)
43           =+A42+0.0 =A43+0.0099    -«($A43-               0.1     =+E43*C43 -+F43*0.5    -+F43*0.25
             1                        $C$11 }*$C$8)*$C$4*1
                                      2)
44           =+A43+0.0 =A44+0.0099    =«($A44-               0.1     =+E44*C44 =+F44*0.5    =+F44*0.25
             1                        $C$11 }*$C$8)*$C$4*1
                                      2)
45           =+A44+0.0 =A45+0.0099    -«($A45-              0.1      =+E45*C45 =+F45*0.5    =+F45*0.25
             1                        $C$11 )*$C$8)*$C$4*1
                                      2)
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  46         =+A45+0.0 =A46+0.0099      =«($A46-               0.12    =+E46*C46    =+F46*0.5    =+F46*O.25
             1                          $C$11 )*$C$8)*$C$4 *1
                                        2)
   47          =+A46+0.0 =A47+0.0099    =«($A47-               0.12    =+E47*C47    =+F47*0.5    =+F47*O.25
               1                        $C$11 )*$C$8)*$C$4*1
                                        2)
   48         =+A47+0.0 =A48+0.0099     =«($A48-               0.12    =+E48*C48    =+F48*0.5    =+F48*O.25
              1                         $C$11 )*$C$8)*$C$4*1
                                        ~
   49         =+A48+0.0 =A49+0.0099     =«($A49-              0.12    =+E49*C49    =+F49*0.5    =+F49*O.25
              1                         $C$11 )*$C$8)*$C$4*1
                                        2)
   50         -+A49+0.0 =A50+0.0099     =«($A50-              0.12    =+E50*C50    =+F50*0.5    =+F50*O.25
              1                         $C$11)*$C$8)*$C$4*1
                                        2)
  51          =+A50+0.0 =A51 +0.0099    =«($A51-              0.12    =+E51*C51    =+F51 *0.5   =+F51*O.25
              1                        $C$11}*$C$8)*$C$4*1
                                       2)
  52         =+A51 +0.0 =A52+0.0099    =«($A52-               0.12    =+E52*C52    =+F52*0.5    =+F52*O.25
              1                        $C$11 )*$C$8)*$C$4*1
                                       2J
  53         =+A52+0.0 =A53+0.0099     =«($A53-               0.12    =+E53*C53    =+F53*0.5    =+F53*O.25
             1                         $C$11 )*$C$8)*$C$4*1
                                       2J
  54         =+A53+0.0 =A54+0.0099     =«($A54-               0.12    =+E54*C54    =+F54*0.5    =+F54*O.25
             1                         $C$11 )*$C$8)*$C$4*1
                                       2)
  55         -+A54+0.0 =A55+0.0099     =«($A55-               0.12    =+E55*C55    =+F55*0.5    =+F55*O.25
             1                         $C$11)*$C$8)*$C$4*1
                                       2)
 56          =+A55+0.0 =A56+0.0099     =«($A56-              0.12     =+E56*C56    =+F56*0.5    =+F56*O.25
             1                         $C$11)*$C$8)*$C$4*1
                                      21
 57         =+A56+0.0 =A57+0.0099      =«($A57-              0.12     =+E57*C57    =+F57*0.5    =+F57*0.25
            1                          $C$11 )*$C$8)*$C$4*1
                                      2)
 58         =+A57+0.0     =A58+0.0099 =«($A58-               0.12     -+E58*C58    =+F58*0.5    -+F58*0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      21
 59         =+A58+0.0 =A59+0.0099     =«($A59-               0.12     =+E59*C59    =+F59*0.5    -+F59*0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      2)
 60         =+A59+0.0 =A60+0.0099     =«($A60-               0.135    =+E60*C60    =+F60*0.5    =+F60*0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      2)
 61         =+A60+0.0 =A61 +0.0099    =«($A61-               0.135    =+E61*C61    =+F61*0.5    -+F61 *0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      2)
62          =+A61 +0.0 =A62+0.0099    =«($A62-              0.135     =+E62*C62    =+F62*0.5    =+F62*O.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      21
63          =+A62+0.0 =A63+0.0099     =«($A63-              0.135     =+E63*C63    =+F63*0.5    -+F63*O.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      2)
64          =+A63+0.0 =A64+0.0099     -«($A64-              0.135     =+E64*C64    =+F64*0.5    -+F64*0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      2)
65          =+A64+0.0 =A65+0.0099     =«($A65-              0.135     =+E65*C65    =+F65*0.5    -+F65*0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      21
66          =+A65+0.0 =A66+0.0099     =«($A66-              0.135     =+E66*C66    =+F66*O.5    =+F66*0.25
            1                         $C$11 )*$C$8)*$C$4*1
                                      2)
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 For the July 2008 and Future Years Payment Fee Schedule:

            DataRaps Pro Josai Analysis - Annuity Payment
     Row      ColumnA Column 8                   ColumnC          Column E           Col Column G     Column I
                                                                                     um
                                                                                     nF

 1          Assummions
 4          Revised Membership      =' 2006 Payment Fee           * In 2008 the fee schedule resets to the new April
            Assumptions             Schedule'IC4                  benchmark number. The new number may not
                                                                  be less than the September benchmark.
 S         Demo 200S Projected      708.69
           PM PM
 6         Demo 2006 Projected      709.17
           PMPM
 7         Risk 2005 Projected      749.75
           PMPM
 8         Risk 2006 Projected      =796.67*1.04
           PMPM
9          Total200S Projected      =(C5+C7)/2
           PM PM
10         Total 2006 Projected     =(C8*0.7S)+(C6*0.25)
           PMPM
11         Current HCC RAF          0.58                         *
12         Demo Component 2006      =C6*C4*12*0.25
           Projected Revenue
13         Risk Component 2006     =C8*C4*12*0.75                                      If        If threshold is
           Projected Revenue                                                           threshold maintained
                                                                                       is
                                                                                       maintaine
                                                                                       d
14         Total 2006 Projected    =C10*C4*12
           Revenue
15
16                                                               Payable July 2008     Payable July Payable July
                                                                                       2009         2010
17                                 PCTX Incremental              WMMI DataRap          WMMI          WMMI
                                                                                       DataRap       DataRap
18                                 Revenue 2007 and 08@ 100% fee                       fee          fee
19
20         0.59          =A20+0.0 =«($A20-                       =+D20"C20             =+E20"0.5    =+E20*0.25
                         099      $C$11 )*$C$8)*$C$4*12)
21         =+A20+0.01    =A21+0.0 =«($A21-             .         =+D21*C21             =+E21*0.5    =+E21 *0.25
                         099      $C$11 )*$C$8)*$C$4*12)
22         =+A21+0.01    =A22+0.0 =«($A22-                       =+D22*C22             =+E22*0.5    =+E22*O.25
                         099      $C$11 )*$C$8 )"$C$4*12)
23         =+A22+0.01    =A23+0.0 =«($A23-                       =+D23*C23             =+E23*0.5    =+E23*O.25
                         099      $C$11)*$C$8)*$C$4*12)
24         =+A23+0.01    =A24+0.0 =«($A24-                       =+D24*C24             =+E24*0.5    =+E24*O.25
                         099      $C$11 )*$C$8)*$C$4*12)
25         =+A24+0.01    =A2S+0.0 =«($A2S-                       =+D25*C25             =+E25*0.5    =+E25*O.25
                         099      $C$11 )*$C$8)*$C$4*12)
26         =+A25+0.01    =A26+0.0 =«($A26-                       =+D26*C26            =+E26*0.5     =+E26*O.25
                         099      $C$11 )*$C$8)*$C$4*12)
27         =+A26+0.01    =A27+0.0 =«($A27-                       =+D27*C27            =+E27*0.S     =+E27*O.25
                         099      $C$11 )*$C$8)*$C$4*12)
28         =+A27+0.01    =A28+0.0 =«($A28-                       =+D28*C28            =+E28*0.5     -+E28*O.25
                         099      $C$11 )*$C$8)*$C$4*12)
29         =+A28+0.01    =A29+0.0 =«($A29-                       -+D29*C29            =+E29*0.5     =+E29*O.25
                         099      $C$11 )*$C$8)*$C$4*12)
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  30         =+A29+0.01      =A30+0.0 =«l<jlA30-                  =+D30*C30    =+E30*0.5     =+E30*0.25
                             099        $C$11 )*$C$8)*$C$4*12)
  31        =+A30+0.01       =A31 +0.0 =«($A31-                   -+D31*C31    -+E31 *0.5    =+E31 *0.25
                            099         $C$11 }*$C$8)*$C$4*12)
  32        =+A31 +0.01     =A32+0.0 =«($A32-                     =+D32*C32    =+E32*0.5     =+E32*0.25
                            099        $C$11)*$C$8)*$C$4*12}
  33        =+A32+0.01      =A33+0.0 =«($A33-                     =+D33*C33    =+E33*0.5     =+E33*0.25
                            099        $C$11 }*$C$8}*$C$4*12)
 34         =+A33+0.01      =A34+0.0 =«($A34-                     -+D34*C34    =+E34*0.5     =+E34*0.25
                            099        $C$11 )*$C$8}*$C$4*12)
 35         =+A34+0.01      =A35+0.0 =«($A35-                     -+D35*C35    =+E35*0.5     =+E35*0.25
                            099        $C$11 )*$C$8)*$C$4*12)
 36         =+A35+0.01      =A36+0.0 =«($A36-                     =+D36*C36    =+E36*0.5    =+E36*0.25
                            099        $C$11 }*$C$8}*$C$4*12)
 37         =+A36+0.01      =A37+0.0 =«($A37-                    =+D37*C37     =+E37*0.5    =+E37*0.25
                           099         $C$11 )*$C$8)*$C$4*12)
 38         -+A37+0.01     =A38+0.0 =«($A38-                     =+D38*C38    =+E38*0.5     =+E38*0.25
                           099        $C$11 }*$C$8}*$C$4*12)
 39        =+A38+0.01      =A39+0.0 =«($A39-                     =+D39*C39    =+E39*0.5     =+E39*0.25
                           099        $C$11 )*$C$8)*$C$4*12)
 40        =+A39+0.01      =A40+0.0 =«($A40-                     -+D40*C40    =+E40*0.5     =+E40*0.25
                           099        $C$11 }*$C$8}*$C$4*12)
 41        =+A40+0.01      =A41+0.0 =«($M1-                      =+D41*C41    =+E41 *0.5    =+E41 *0.25
                           099        $C$11l*$C$8)~$C$4*121
 42        =+A41 +0.01     =A42+0.0 =«($A42-                     =+D42*C42    =+E42*0.5     =+E42*0.25
                           099        $C$111*$C$8)*$C$4*12)
43         =+A42+0.01      =A43+0.0 =«($A43-                     =+D43*C43    =+E43*0.5     =+E43*0.25
                           099        $C$11)*$C$8)*$C$4*12)
44         =+A43+0.01      =M4+0.0 =«($M4-                       =+D44*C44    =+E44*0.5     =+E44*0.25
                           099       $C$11 )*$C$8)*$C$4*121
45         =+A44+0.01      =M5+0.0 =«($A45-                      =+D45*C45    =+E45*0.5     =+E45*0.25
                           099       $C$11)*$C$8)*$C$4*12)
46         =+A45+0.01      =A46+0.0 =«($A46-                     =+D46*C46    =+E46*0.5     =+E46*0.25
                           099       $C$11 )*$C$8)*$C$4*121
47         =+A46+0.01      =A47+0.0 =«($A47-                     =+D47*C47    =+E47*0.5     =+E47*0.25
                           099      $C$11)*$C$8)*$C$4*121
48         =+A47+0.01     =M8+0.0 =«($A48-                       =+D48*C48    =+E48*0.5     =+E48*0.25
                           099      $C$11)*$C$8j*$C$4*12)
49         =+A48+0.01     =M9+0.0 =«($A49-                       =+D49*C49    =+E49*0.5     =+E49*0.25
                          099       $C$11)*$C$8)*$C$4*12)
50        =+A49+0.01      =A50+0.0 =«($A50-                      =+D50*C50    =+E50*0.5     =+E50*0.25
                          099       $C$11 )*$C$8)*$C$4*12)
51        =+A50+0.01      =A51 +0.0 =«($A51-                     =+D51*C51    =+E51 *0.5    -+E51 *0.25
                          099       $C$11 )*$C$8)*$C$4*12)
52        =+A51 +0.01     =A52+0.0 =«($A52-                      =+D52*C52    =+E52*O.5     =+E52*O.25
                          099       $C$11 )*$C$8}*$C$4*12}
53        =+A52+0.01      =A53+0.0 =«($A53-                      =+D53*C53    =+E53*O.5     =+E53*0.25
                          099       $C$11 )*$C$8)*$C$4*12)
54        =+A53+0.01      =A54+0.0 =«($A54-                      -+D54*C54    -+E54*0.5     =+E54*0.25
                          099       $C$11 )*$C$8)*$C$4*12)
55        =+A54+0.01      =A55+0.0 ={«$A55-                      =+D55*C55    =+E55*O.5     =+E55*0.25
                          099       $C$11 }*$C$8)*$C$4*12)
56        =+A55+0.01      =A56+0.0 =«($A56-                      =+D56*C56    -+E56*0.5     -+E56*0.25
                          099       $C$11 )*$C$8)*$C$4*12)
57        =+A56+0.01      =A57+0.0 =({($A57-                     =+D57*C57    -+E57*O.5     =+E57*0.25
                          099       $C$11 )*$C$8)*$C$4*12}
58        =+A57+0.01      =A58+0.0 =({($A58-                     =+D58*C58    =+E58*O.5     =+E58*O.25
                          099       $C$11 )*$C$8)*$C$4*12)




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 Some Examples of payment Calculations are as follows:


 Example 1                                           July 2006       July 2007          July 2008        July 2009
                                                     Payment         Payment            Payment          Payment
 September Benchmark:                    .49
 2007 July HCCRAF Minimum: .54
 2008 July HCCRAF Minimum: . 59

 July HCCRAF 2006 Score for
 September Member List:                  .52         $464,661
 July HCCRAF 2007 Score for
 April Member List:                      .52                         $619,548       $309,774       $154,887
                                                                     PacifiCare has PacifiCare has
                                                                     right to term  right to term
                                                                     contract       contract


July HCCRAF 2008 Score for
April Member List:                       .52

The July 2009 Payment is considered the payment tail for purposes of this example. If this contract were to term before
the WMMI has the opportunity to maintain or increase the HCCRAF for that period, then PacifiCare will make a payment
of twenty-five (25%) of any outstanding tail within thirty (30) days of the termination.("Payment Tail") In this example the
Payment Tail would be 25% of the $154, 877. The amount would be reimbursed within forty-five (45) days ofthe
termination would be $38,722.


Example 2
September Benchmark:      .49
2007 July HCCRAF Minimum: .54
2008 July HCCRAF Minimum:. 59
                                         L     July 2006    July 2007       July 2008         July 2009        July 2010
                                               Payment      Payment         Payment           Payment          Payment
July HCCRAF 2006 Score for
September Member List:             .56         $1,626,313
July HCCRAF 2007 Score for
April Member List:                 .58                      $2,787,966      $1,393,983        $696,991
                                                            Right to term
                                                            Contract
July HCCRAF 2008 Score for·
April Member List:                 .6                                       $859,106          $429,553         $214,777

Total                                       $1,626,313 $2,787,966            $2,253,089      Tail            Tail
The July 2009 and July 2010 Payment IS conSIdered the payment tall for purposes of thIS example. If thIS contract were to
term before the WMMI has the opportunity to maintain or increase the HCCRAF for that period, then PacifiCare will make
a payment of twenty-five (25%) of any outstanding tail within thirty (30) days of the termination.("Payment Tail") In this
example the Payment Tail would be 25% of the $ 1,341,321. The amount would be reimbursed within forty-five (45) days
of the termination would be $335,330.

Example 3
September Benchmark:       .49
2007 July HCCRAF Minimum: .54
2008 July HCCRAF Minimum: . 59
                                         I     July 2006    July 2007       July 2008         July 2009        July 2010
                                               Payment      Payment         Payment           Payment          Payment
July HCCRAF 2006 Score for
September Member List:            .60          $2,555,635
July HCCRAF 2007 Score for
April Member List:                .59                       $3,097,740      $1,548,870        $774,435
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   July HCCRAF 2008 Score for
   April Member List:                     .62                                     $1,288,660      $644,330     $322,165

  Total                                       $2,555,635 $3,097,740            $2,837,530      Tail            Tail
  The July 2009 and July 2010 Payment is considered the payment tail for purposes of this example. If this contract were to
  term before the WMMI has the opportunity to maintain or increase the HCCRAF for that period, then PacifiCare will make
  a payment of twenty-five (25%) of any outstanding tail within thirty (30) days of the termination.("Payment Tail") In this
  example the Payment Tail would be 25% of the $ 1,740,930. The amount would be reimbursed within forty-five (45) days
  of the termination would be $435,332.

  Example 4
  September Benchmark:       .49
  2007 July HCCRAF Minimum: .54
  2008 July HCCRAF Minimum: . 59
                                                l   July 2006    July 2007       July 2008       July 2009    July 2010
                                                    Payment      Payment         Payment         Payment      Payment
  July HCCRAF 2006 Score for
  September Member List:                  .55       $1,393,983
  July HCCRAF 2007 Score for
  April Member List:                      .52                    $619,584        $309,774        $154,887
                                                                                 Right to term
                                                                                 Contract
  July HCCRAF 2008 Score for
  April Member List:                     .57                                     $1,610,825      $805,412     $402,706

 Total                                       $1,393,983 $619,584              $1,920,599      Tail            Tail
 The July 2009 and July 2010 Payment IS considered the payment tall for purposes of this example. If this contract were to
 term before the WMMI has the opportunity to maintain or increase the HCCRAF for that period, then PacifiCare will make
 a payment of twenty-five (25%) of any outstanding tail within thirty (30) days of the termination.("Payment Tail") In this
 example the Payment Tail would be 25% of the $ 1,363,005. The amount would be reimbursed within forty-five (45) days
 of the termination would be $340,751.

 Example 5
 September Benchmark:       .49
 2007 July HCCRAF Minimum: .54
 2008 July HCCRAF Minimum: . 59
                                                I   July 2006    July 2007       July 2008       July 2009    July 2010
                                                    Payment      Payment         Payment         Payment      Payment
 July HCCRAF 2006 Score for
 September Member List:                  .45        No Payment
 July HCCRAF 2007 Score for
 April Member List:                      .52                     $619,584        $309,774        $154,887
                                                                 Right to term
                                                                 Contract
 July HCCRAF 2008 Score for
 April Member List:                      .59                                     $3,006,873      $1,503,436   $751,718

 Total                                       $1,393,983 $619,584              $1,920,599      Tall            Tall
 The July 2009 and July 2010 Payment is considered the payment tail for purposes of this example. If this contract were to
 term before the WMMI has the opportunity to maintain or increase the HCCRAF for that period, then PacifiCare will make
 a payment of twenty-five (25%) of any outstanding tail within thirty (30) days of the termination.("Payment Tail") In this
 example the Payment Tail would be 25% of the $ 2,410,042. The amount would be reimbursed within forty-five (45) days
 of the termination would be $602,510.




 Example6
I September Benchmark:             .49
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  2007 July HCCRAF Minimum: .54
  2008 July HCCRAF Minimum: . 59
                                            I     July 2006    July 2007       July 2008       July 2009   July 2010
                                                  Payment      Payment         Payment         Payment     Payment
 July HCCRAF 2006 Score for
 September Member List:               .38         No Payment
 July HCCRAF 2007 Score for
 April Member List:                   .62                      $4,027,062

 July HCCRAF 2008 Score for
 April Member List:                   .58                                      Right to term
                                                                               Contract

 The Payment Fee Schedules for these examples are below:
 2006 Payment Fee Schedule:

 DataRaps Proposal Analysis - Annuity
 Payment

 Assumptions    I
                     -'
 Revised Membership Assumptions
                                                   43,204
 Demo 2005 Projected PMPM
                                                  708.690
 Demo 2006 Projected PM PM
                                                  709.170
Risk 2005 Projected PM PM
                                                  749.750
Risk 2006 Projected PMPM
                                                  796.670
Total 2005 Projected PMPM
                                                  729.220
Total 2006 Projected PMPM
                                                  774.795
Current HCC
RAF                                                 0.490
Demo Component 2006 Projected
Revenue                                      91,916,942
Risk Component 2006 Projected
Revenue                                     309,773,976


                                            Incremental Payable Julv 2006
                                                          WMMI        WMMI
                                                         DataRap DataRap
         July Direct HCCRAF                                fee          %

               0.5                0.5099                                   5.00%
                                                3,097,740     154,887
              0.51                0.5199                                   5.00%
                                                6,195,480     309,774
              0.52                0.5299                                   5.00%
                                                9,293,219     464,661
              0.53                0.5399                                   7.50%
                                             12,390,959       929,322
              0.54                0.5499                                   7.50%
                                            15,488,699 1,161,652
              0.55                0.5599                                   7.50%
                                            18,586,439 1,393,983
              0.56                0.5699                                   7.50%
                                            21,684,178 1,626,313

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                0.57                0.5799 .                            7.50%
                                               24,781,918 1,858,644
                0.58               0.5899                               7.50%
                                               27,879,658 2,090,974
                0.59               0.5999                               7.50%
                                               30,977,398 2,323,305
                 0.6               0.6099                               7.50%
                                               34,075,137 2,555,635
               0.61                0.6199                               7.50%
                                               37,172,877 2,787,966
               0.62                0.6299                               7.50%
                                               40,270,617 3,020,296
               0.63                0.6399                               7.50%
                                               43,368,357 3,252,627
               0.64                0.6499                              7.50%
                                               46,466,096 3,484,957
               0.65                0.6599                             10.00%
                                               49,563,836 4,956,384
               0.66                0.6699                             10.00%
                                              52661,576 5,266,158
               0.67                0.6799                             10.00%
                                              55,759,316 5,575,932
               0.68               0.6899                              10.00%
                                              58,857,055 5,885,706
               0.69               0.6999                              10.00%
                                              61,954,795 6,195,480
                0.7               0.7099                              10.00%
                                             65,052,535 6,505,253
              0.71                0.7199                              10.00%
                                             68,150,275 6,815,027
              0.72                0.7299                              10.00%
                                             71,248,015 7,124,801
              0.73                0.7399                              10.00%
                                             74,345,754 7,434,575
              0.74                0.7499                              10.00%
                                             77,443,494 7,744,349
              0.75                0.7599                              10.00%
                                             80,541,234 8,054,123
              0.76                0.7699                              10.00%
                                             83,638,974 8,363,897
              0.77                0.7799                              12.00%
                                             86,736,713 10,408,406
              0.78                0.7899                              12.00%
                                             .89,834,453 10,780,134
              0.79                0.7999                              12.00%
                                             92,932,193 11,151,863
               0.8                0.8099                              12.00%
                                             96,029,933 11,523,592
              0.81                0.8199                              12.00%
                                             99,127,672 11,895,321
              0.82                0.8299                              12.00%
                                            102,225,412 12,267,049
              0.83                0.8399                              12.00%
                                            105,323,152 12,638,778
              0.84                0.8499                              12.00%
                                            108,420,892 13,010,507
              0.85                0.8599                              12.00%
                                            111,518,631 13,382,236
              0.86                0.8699                              12.00%
                                            114,616,371 13,753,965
              0.87                0.8799                              12.00%
                                            117,714,111 14~_125,693

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                0.88               0.8899                                  12.00%
                                             120,811,851 14,497422
                0.89               0.8999                                  12.00%
                                             123,909,590 14,869,151
                 0.9               0.9099                                  12.00%
                                             127,007,330 15,240880
                0.91               0.9199                                  13.50%
                                             130,105,070 17,564,184
                0.92               0.9299                                  13.50%
                                             133,202,810 17,982,379
                0.93               0.93~9                                  13.50%
                                             136,3()0 549 18,400,574
                0.94               0.9499                                  13.50%
                                             139,398,289 18,818,769
                0.95               0.9599                                  13.50%
                                             142,496,029 19,236,964
                0.96               0.9699                                  13.50%
                                             145,593,769 19,655,159
                0.97               0.9799                                  13.50%
                                             148691,509 20,073,354
The 2007 Fee Schedule

DataRaps Proposal Analysis - Annuity Payment

Assumption
s
Revised Mem Assumpt
                                             43,204
Demo 2005 Projected PMPM
                                            708.690
Demo 2006 Projected PMPM
                                            709.170
Risk 2005 Projected PM PM                           Same schedule as Year
                                            749.750 one
Risk 2006 Projected PM PM
                                            796.670
Total 2005 Projected PMPM
                                            729.220
Total 2006 Projected PMPM
                                            774.795
Current
HCC RAF                                       0.490
Demo Comp06 Projected Rev
                                      91,916,942
Risk Comp 06 Projected Rev
                                     309,773,976
                                                                   If         If threshold is
                                                                   threshold maintained
                                                                   is
                                                                   maintained

                                                      Payable July 2007         I
                                                                                Payable July
                                                                                2009
                                      WMMI              WMMI           WMMI         WMMI DataRap
                                     DataRap           DataRap        DataRap
      July Direct HCCRAF                %                fee            fee             fee

          0.5             0.5099             5.00%
                                                         206,516      103,258                 51629
        0.51              0.5199             5.00%
                                                         413,032      206,516             103,258

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                                                                                                      457
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           0.52             0.5299     5.00%                               "-
                                                   619,548   309,774      154,887
           0.53             0.5399     7.50%
                                                 1,239,096   619,548      309,774
           0.54             0.5499     7.50%
                                                 1,548,870   774,435      387,217
           0.55             0.5599     7.50%
                                                 1,858,644   929,322      464,661
          0.56              0.5699     7.50%
                                                 2,168,418 1,084209       542,104
          0.57             0.5799      7.50%
                                                 2,478,192 1,239,096     619,548
          0.58             0.5899      7.50%
                                                 2,787,966 1,393,983     696,991
          0.59             0.5999     7.50%
                                                 3,097,740 1,548,870     774,435
           0.6             0.6099     7.50%
                                                 3,407,514 1,703,757     851,878
          0.61             0.6199     7.50%
                                                 3,717,288 1,858,644     929,322
          0.62             0.6299     7.50%
                                                 4,027,062 2,013,531   1,006,765
          0.63             0.6399     7.50%
                                                4336,836 2,168,418     1,084,209
          0.64             0.6499     7.50%
                                                4,646,610 2,323,305    1,161,652
         0.65              0.6599    10.00%
                                                6,608,511 3,304,256    1,652,128
         0.66              0.6699    10.00%
                                                7,021,543 3,510,772    1,755,386
         0.67              0.6799    10.00%
                                                7,434,575 3,717,288    1,858,644
         0.68             0.6899     10.00%
                                                7,847L607 3,923,804    1,961,902
         0.69             0.6999     10.00%
                                                8,260,639 4,130,320    2,065,160
          0.7             0.7099     10.00%
                                                8,673,671 4,336,836    2,168,418
         0.71             0.7199     10.00%
                                                9,086,703 4,543,352    2,271,676
         0.72             0.7299     10.00%
                                                9,499,735 4,749,868    2,374,934
         0.73             0.7399     10.00%
                                                9,912,767 4,956,384    2,478,192
         0.74             0.7499     10.00%
                                               10,325799 5,162,900     2,581,450
         0.75             0.7599     10.00%
                                               10,738,831 5,369,416    2,684,708
         0.76             0.7699     10.00%
                                               11,151,863 5,575,932    2,787966
         0.77             0.7799     12.00%
                                               13,877,874 6,938,937    3,469,469
         0.78             0.7899     12.00%
                                               14,373,512 7,186,756    3,593,378
         0.79             0.7999     12.00%
                                               14,869,151 7,434,575    3,717,288
          0.8             0.8099     12.00%
                                               15,364,789 7,682,395    3,841,197
         0.81             0.8199     12.00%
                                               15,860,428 7,930,214    3,965,107
         0.82             0.8299     12.00%
                                               16,356,066 8,178,033    4,089,016

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                                                                                       458
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                                                                                   Page
                                        ID #:1015
            0.83            0.8399        12.00%
                                                                                       -
                                                    16,851,704 8,425,852            4,212,926
            0.84            0.8499        12.00%
                                                    17,347,343 8,673,671            4,336,836
            0.85            0.8599        12.00%
                                                    17,842,981 8,921,491            4,460,745
            0.86            0.8699        12.00%
                                                    18,338,619 9,169,310           4,584,655
            0.87            0.8799        12.00%
                                                   18,834,258 9,417,129            4,708,564
            0.88            0.8899       12.00%
                                                   19,329,896 9,664,948            4,832,474
           0.89            0.8999        12.00%
                                                   19,825,534 9,912,767            4,956,384
            0.9            0.9099        12.00%
                                                   20,321,173 10,160,58            5,080,293
                                                                      6
           0.91            0.9199        13.50%
                                                   23,418,913 11,709,45            5,854,728
                                                                      6
           0.92            0.9299        13.50%
                                                   23,976,506 11,988,25            5.994,126
                                                                      3
           0.93            0.9399        13.50%
                                                   24,534,099 12,267,04            6,133,525
                                                                      9
           0.94            0.9499        13.50%
                                                   25,091,692 12,545,84            6,272,923
                                                                      6
           0.95            0.9599        13.50%
                                                   25,649,285 12,824,64            6,412,321
                                                                      3
           0.96            0.9699        13.50%
                                                   26,206,878 13,103,43            6,551,720
                                                                       9
           0.97            0.9799       13.50%
                                                   26,764,472 13.382,23            6,691,118
                                                                      6

2008 Fee ScheduIe ExamPleI 2
DataRaps Proposal Analysis - Annuity
Payment
       I
Assumptions
Revised                       * In 2008 the fee schedule resets to the new April
Membership             43,204 benchmark number. The new number may not
Assumptions                   be less than the September benchmark.
Demo 2005
Projected             708.690
PM PM
Demo 2006
Projected             709.170
PMPM
Risk 2005
Projected             749.750
PMPM
Risk 2006
Projected             828.537
PMPM
Total 2005
Projected             729.220
PMPM

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                                                                                                459
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                                         ID #:1016
  Total 2006
  Projected             798.695
  PM PM
  Current HCC                      *
  RAF                      0.580
 Demo
 Component           91,916,942
 2006
 Projected
 Revenue
 Risk                                              If threshold If threshold is
 Component         322,164,935                     is maintained maintained
 2006
 Projected
 Revenue
 Total 2006
 Projected         414,081,877
 Revenue

                                  Payable July     Payable July Payable July 2010
                                  2008             2009
                     PCTX         WMMI DataRap        WMMI           WMMI DataRap
                  Incremental                        Data Rap
                 Revenue 2007            fee           fee               fee
                   and 08@
                     100%

   0.59    0.6
                     4,295,532           429,553      214,777              107,388
    0.6 0.61
                     8591,065            859,106      429,553              214,777
   0.61 0.62
                   12,886,597          1,288,660      644,330              322,165
   0.62 0.63
                   17,182,130          1,718,213      859,106              429,553
   0.63 0.64
                   21,477,662          2,147,766    1,073,883              536,942
   0.64 0.65
                   25,773,195          2,577,319    1,288,660              644,330
  0.65 0.66
                   30,068,727          3,006,873    1,503,436              751,718
  0.66 0.67
                   34,364,260          3,436,426    1,718,213              859,106
  0.67 0.68
                   38,659,792          3,865,979    1,932,990              966,495
  0.68 0.69
                   42,955,325          4,295,532    2,147,766            1,073,883
  0.69    0.7
                   47,250,857          4,725,086    2,362,543            1,181,271
    0.7 0.71
                   51,546,390          5,154,639    2,577,319            1,288,660
  0.71 0.72
                   55,841,922          6,701,031    3,350,515            1,675,258
  0.72 0.73
                   60,137,455          7,216,495    3,608,247            1,804,124
  0.73 0.74
                   64,432,987          7,731,958    3,865,979            1,932,990
  0.74 0.75
                   68,728,520          8,247,422   4,123,711             2,061,856
  0.75 0.76
                   73,024,052          8,762,886   4,381,443             2,190722
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                                                                                       460
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                                                                                    Page
                                         ID #:1017
    0.76 0.77
                        77,319,5.84     9,278,350       4,639,175        2,319588
    0.77 0.78
                        81,615,117      9,793,814       4,896,907        2,448,454
    0.78 0.79
                        85,910,649     10,309,278       5,154,639        2,577,319
    0.79    0.8
                        90,206,182     10824,742        5,412,371        2,706,185
     0.8 0.81
                        94,501,714     11340,206        5,670,103        2,835,051
    0.81 0.82
                        98,797,247     11,855670        5,927,835        2;963;lf17
    0.82 0.83
                      103,092,779      12,371134        6,185,567        3,092,783
   0.83 0.84
                      107,388,312     12,886,597       6,443,299        3,221,649
   0.84 0.85
                      111,683,844     13,402,061       6,701,031        3,350,515
   0.85 0.86
                      115,979,377     15657,216        7,828,608        3,914,304
   0.86 0.87
                      120,274,909     16,237,113       8,118,556        4,059,278
   0.87 0.88
                      124,570,442     16,817,010       8,408,505        4,204,252
   0.88 0.89
                      128,865,974     17,396,906       8,698,453        4,349,227
   0.89    0.9
                      133,161,507     17,976,803       8,988,402        4,494,201
    0.9 0.91
                      137,457,039     18,556,700       9,278,350        4,639,175
   0.91 0.92
                      141,752,571     19,136,597       9,568,299        4,784,149
   0.92 0.93
                      146,048,104     19,716,494       9,858,247        4,929,124
   0.93 0.94
                      150,343,636     20,296,391      10,148,195        5,074,098
   0.94 0.95
                      154,639,169     20,876,288      10,438,144        5,219,072
  0.95 0.96
                      158,934,701     21,456,185      10,728,092        5,364,046
  0.96 0.97
                      163,230,234     22,036,082      11,018,041        5,509,020
  0.97 0.98
                      167,525,766     22,615,978      11,307,989        5,653,995

2008 Fee Schedule Example 3
DataRaDs Proposal Analysis - Annuity Payment
                  I
Assumptions I
Initial Membership Assumptions
                                             10,000
Revised Membership Assumptions
Demo 2005 Projected PMPM
                                            708.690
Demo 2006 Projected PM PM
                                            709.170
Risk 2005 Projected PMPM
                                            749.750
Risk 2006 Projected PM PM
                                            828.537
Total 2005 Projected PMPM
                                            729.220
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                                                                                       461
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              0.67          0.6799
                                         3,436,426       1,718,213      859,106
              0.68          0.6899
                                         3,865,979       1,932,990      966,495
              0.69          0.6999
                                         4,295,532       2,147,766    1,073,883
               0.7          0.7099
                                         4,725,086       2,362,543    1,181,271
             0.71           0.7199
                                         6,185,567       3,092,783    1,546,392
             0.72           0.7299    . . _-   -----
                                        6,701,031        3,350,515    1,675,258
             0.73           0.7399
                                        7,216,495        3,608,247    1,804124
             0.74           0.7499
                                        7,731,958        3,865,979    1,932,990
             0.75           0.7599
                                        8247,422         4,123,711   2,061,856
             0.76          0.7699
                                        f!.762,886       4,381,443   2,190,722
             0.77          0.7799
                                       9,278,350         4,639,175   2,319,588
             0.78          0.7899
                                       9,793,814        4,896,907    2,448,454
             0.79          0.7999
                                     10,309,278         5,154,639    2,577,319
              0.8          0.8099
                                     10,824,742         5,412,371    2,706,185
            0.81           0.8199
                                     11,340206          5,670,103    2,835,051
            0.82           0.8299
                                     11,855,670         5,927,835    2,963,917
            0.83           0.8399
                                     12,371,134         6,185,567    3,092,783
            0.84           0.8499
                                     12,886597          6,443,299    3,221,649
            0.85           0.8599
                                     15,077,319         7,538,659    3,769,330
            0.86           0.8699
                                     15,657,216         7,828,608    3,914,304
            0.87           0.8799
                                     16,237,113         8,118,556    4,059,278
            0.88           0.8899
                                     16,817,010         8,408,505    4,204,252
            0.89          0.8999
                                     17,396,906         8,698,453    4,349,227
             0.9          0.9099
                                     17,976,803         8,988,402    4,494,201
            0.91          0.9199
                                     18,556,700         9,278,350    4,639,175
            0.92          0.9299
                                     19,136,597         9,568,299    4,784,149
            0.93          0.9399
                                     19,716,494         9,858,247    4,929,124
            0.94          0.9499
                                     20,296,391        10,148,195    5,074,098
            0.95          0.9599
                                     20,876,288        10,438,144    5,219,072
            0.96          0.9699
                                     21,456,185        10,728,092    5,364,046
            0.97          0.9799
                                     22,036,082        11,018,041    5,509,020

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                                                                                      462
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  2008 F ee S chediE
                 ue xample I 4
  DataRaps Proposal Analysis - Annuity Payment
                      I
 Assumptions        I
 Initial Membership
 Assumptions                                10000
 Revised Membership                                  * In 2008 the fee schedule resets to the new
 Assumptions                                43,204 April benchmark number. The new number
                                                 ... rnaynQtJ)~less than the Se'lptember
                                                     benchmark.
 Demo 2005 Projected PMPM
                                           708.690
 Demo 2006 Projected PMPM
                                           709.170
 Risk 2005 Projected PM PM
                                           749.750
 Risk 2006 Projected PMPM
                                           828.537
 Total 2005 Projected PMPM
                                           729.220
 Total 2006 Projected PMPM

                      I
                                           798.695
 Current HCC RAF                                     *
                                             0.520
Demo Component 2006 Projected Revenue
Risk Component 2006 Proiected Revenue
Total 2006 Projected
Revenue                         414,081,877

                                                Payable July Payable                 Payable July
                                                2008         July'200B               2009
                                   WMMI DataRap    WMMI           WMMI               WMMI DataRap
                                                  DataRap        DataR~
                                        %           fee           fee                    fee

               0.44       0.4499            5.00%
                                                     {1,718,213'        (859,106 1       J429,553J
               0.45       0.4599           5.00%
                                                     l1,50:t436)        (l51,7181        1375,859'
               0.46       0.4699           5.00%
                                                     (1,288,660)        -'-644,330       J322,165)
               0.47       0.4799           7.50%
                                                     .(1,61 0,825'      {805,412'        (402,70EU
               0.48       0.4899           7.50%
                                                     (1,288,660'        (644,330)        (322,165)
               0.49       0.4999           7.50%
                                                         (966,495'      (483,247)        (241,624'
                0.5       0.5099           7.50%
                                                         (644,330)      (322,165         (161,082\
              0.51        0.5199           7.50%
                                                         (322,165)      (161,082          (80,541\
              0.52        0.5299           7.50%
                                                                    -            -                  -
              0.53        0.5399           7.50%
                                                          322,165        161,082           80,541
              0.54        0.5499           7.50%
                                                          644,330        322,165          161,082
              0.55        0.5599           7.50%
                                                          966,495        483,247          241,624


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                                                                                                        463
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                0.56     0.5699       7.50%
                                                                                                         I
                                                  1,288,660                 644,330      322,165
                0.57     0.5799       7.50%
                                                  1,610,825                 805,412     402,706
               . 0.58    0.5899       7.50%
                                                  1,932,990                966,495      483,247
                0.59     0.5999      10.00%
                                                 3,006,873                1,503,436     751,718
                 0.6     0.6099      10.00%
                                                 3,436,426                1,718,213     859,106
                0.61     0.6J99 .   10.0()%    -. __ ... _--- ._ ...-.
                                                 3,865,979                1,932,990
                0.62     0.6299     10.00%
                                                4,295,532                2,147,766     1,073,883
                0.63     0.6399     10.00%
                                                4,725,086                2,362,543    1,181,271
                0.64     0.6499     10.00%
                                                5,154,639                2,577,319    1,288,660
               0.65      0.6599     10.00%
                                                5,584,192                2,792,096    1,396,048
               0.66      0.6699     10.00%
                                               6,013,745                 3,006,873    1,503,436
               0.67     0.6799      10.00%
                                               6,443,299                 3,221,649    1,610,825
               0.68     0.6899      10.00%
                                               6,872,852                 3,436,426    1,718,213
               0.69     0.6999      10.00%
                                               7,302,405                 3,651,203    1825,601
                0.7     0.7099      10.00%
                                               7,731,958                 3,865,979    1,932,990
               0.71     0.7199      12.00%
                                               9,793,814                 4,896,907    2,448,454
               0.72     0.7299      12.00%
                                              10,309,278                 5,154,639    2,577,319
               0.73     0.7399      12.00%
                                              10,824,742                 5,412,371    2,706,185
               0.74     0.7499      12.00%
                                              11,340,206                 5,670,103    2,835,051
               0.75     0.7599      12.00%
                                              11,855,670                 5,927,835    2,963,917
               0.76     0.7699      12.00%
                                              12,371,134                 6,185,567    3,092,783
               0.77     0.7799      12.00%
                                              12,886,597                 6,443,299    3,221,649
               0.78     0.7899      12.00%
                                              13,402,061                 6,701,031    3,350515
               0.79     0.7999      12.00%
                                              13,917,525                 6,958,763    3,479,381
                0.8     0.8099      12.00%
                                              14,432,989                 7,216,495    3,608,247
               0.81     0.8199      12.00%
                                              14,948,453                 7,474,226    3,737113
               0.82     0.8299      12.00%
                                              15,463,917                 7,731,958    3,865979
               0.83     0.8399      12.00%
                                              15,979,381                 7,989,690    3,994.845
              0.84      0.8499      12.00%
                                              16,494,845                 8,247,422    4,123711
              0.85      0.8599      13.50%
                                              19,136,597                 9,568,299    4,784,149
              0.86      0.8699      13.50%
                                              19,716,494                 9,858,247.   4,929,124

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                                                                                                   464
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                  0.87         0.8799               13.50%
                                                                20,296,391 10,148,195                     5,074,098
                  0.88         0.8899               13.50%
                                                                20,876,288 10,438,144                    5,219,072
                  0.89         0.8999               13.50%
                                                                21,456,185 10,728,092                    5,364,046
                      0.9      0.9099               13.50%
                                                                22,036,082 11,018,041                    5,509,020
                  0.91         0.9199               13.50%
                                                                22,615,978 11,307,989                    5,653,995
                  0.92 .       0.9299               1.3..6_0%      ...   _--_ ..   -    -----           " - - " - - - ' - ' 0 __


                                                                23,195,875 11,597,938                   5,798,969
                  0.93         0.9399               13.50%
                                                                23,775,772 11,887,886                   5,943,943
                 0.94         0.9499                13.50%
                                                                24,355,669 12,177,835                   6,088,917
                 0.95         0.9599               13.50%
                                                                24,935,566 12,467,783                   6,233,891
                 0.96         0.9699               13.50%
                                                                25,515,463 12,757,731                   6,378,866
                 0.97         0.9799               13.50%
                                                                26,095,360 13,047,680                   6,523,840

2008 Example
           I 5
DataRaps Proposal Analysis - Annuity Payment
         1
Assumptions
Initial Membershi!tAssumptions
Revised Membership Assumptions
Demo 2005 Projected PMPM
Demo 2006 Projected PMPM
Risk 2005 Projected PMPM
Risk 2006 Projected PM PM
Total 2005 Projected PMPM
Total 2006 Projected PMPM
Current HCC                * In 2008 the fee schedule resets to the new April
RAF                  0.520 benchmark number. The new number may not be less than
                           the September benchmark.
Demo Component 2006 Projected
Revenue
Risk Component 2006 Projected
Revenue
Total 2006 Projected Revenue

                                    PayableJul 2008                Payable July 2009
                       WMMI           WMMI         WMMI                   WMMI DataRap
                      Data Rap       DataRap     DataRa~
                         %             fee        fee                                  fee

  0.44       0.4499         5.00%                                                               (429,553)
                                    (1,718,213)    (859,106)
  0.45       0.4599         5.00%                                                               (375,859)
                                    (1,503,436)    (751,718\
  0.46       0.4699         5.00%                                                               (322,165)
                                    ~1,288,660\    (644,330)
  0.47       0.4799         7.50%                                                               (402,706)
                                    1(1,610,825\   (805,412)
  0.48       0.4899         7.50%                                                               (322,165)
                                    1(1,288660)    (644,330)
  0.49       0.4999         7.50%                                                               (241,624)
                                      (966,495)    (483,247)


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              0.5     0.5099      7.50%                                          (161,U82)1
                                           J6 44,33Ql J3 22,16~
          0.51        0.5199      7.50%                       ,                   (80,541)
                                           J322,1651 J1 61,0821
          0.52        0.5299      7.50%                                                     ~




                                                      ~               ~




          o. 53      0.5399      7.50%                                             80,541
                                             322,165         161,082
          0.54       0.5499      7.50%                                                 =
                                                                                  161,082
                                             644,330         322,165
        I-D   .55    0.5599_ _7.50%                                               241.624
                                             966,495         483,247
          0.56       0.5699      7.50%                                            322,165
                                           1,288,660         644,330
    I     0 .57      0.5799      7.50%                                            402,706
                                           1,610,825        805,412
    I     0.58       0.5899      7.50%                                            483,247
                                           1,932990         966,495
         0.59        0.5999     10.00%                                            751,718
                                           3,006,873 1,503,436
    I
           0.6       0.6099     10.00%                                           859,106
                                           3,436,426 1,718,213
         0.61        0.6199     10.00%                                           966,495
                                           3,865,979 1,932,990
         0.62        0.6299    10.00%                                           1,073,883
                                          4,295,532 2,147,766
         0.63       0.6399     10.00%                                           1,181,271
                                          4,725,086 2,362,543
         0.64       0.6499     10.00%                                          1,288,660
                                          5,154,639 2,577,319
         0.65       0.6599     10.00%                                           ,
                                                                               1396,Ma
                                          5,584,192 2,792,096
         0.66       0.6699     10.00%                                          1,503,436
                                          6,013,745 3,006,873
I        0.67       0.6799     10.00%                                          1,610,825
                                          6,443,299 3,221,649
I        0.68       0.6899     10.00%                                          1,718,213
                                          6,872,852 3,436,426
         0.69       0.6999     10.00%                                          1,825,601
                                          7,302,405 3,651,203
I         0.7       0.7099     10.00%                                          1,932,990
                                          7,731,958 3,865,979
I        0.71       0.7199     12.00%                                          2,448,454
                                          9,793,814 4,896,907
         0.72       0.7299     12.00%                                          2,577,3 19
                                         10,309,278 5,154,639
         o.73       0.7399     12.00%                                          2,706,1 85
                                         10,824,742 5,412,371
        0.74        0.7499     12.00%                                          2,835,051
                                         11,340,206 5,670,1 03
        0.75        0.7599     12.00%                                          2,963, 917
                                         11,855, 670 5,927,835
        0.76        0.7699     12.00%                                          3,092,783
                                         12,371 134 6,185, 567
        0.77        0.7 799    12.00%                                          3,221 ,649
                                         12,886,597 6,443, 299
        0.78        0.7899     12.00%                                          3,350 ,515
                                         13,402,061       6,701,031
        0.79        0.7999     12. 00%                                         3,479,381
                                         13,917,525 6,958 ,763
          0.8       o. 8099    12 .00%                                         3,608,247
                                         14,432,989 7,216 ,495
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                                                                                                466
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                                                                                    Page
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                                         -
     0.81    0.8199    12.00%                                                                  3,737,1131
                                  14,948,453       7,47~226
     0.82    0.8299    12.00%                                                                         =
                                                                                               3,865,979
                                  15,463,917 7,731958
                                                                                                       c:::
     0.83    0.8399   12.00%                                                                  3,994,845
                                 15,979,381        7,989,690
     0.84   0.8499    12.00%                                                                  4,123,711
                                16,494,845 8,247,422
     0.85   0.8599    13.50%                                                                  4,784,149
                                19,136,597 9,568,299                                                  ,....,.
r::-'0;86 ---0;8699   1,3.50%                - . - -_._--- .. - -   ..    _...   -- .'--._.   _4,929,t24
                                19,716,494 9,858,247
    0.87    0.8799    13.50%                                                                  5,074,098
                                20,296,391 10,148,195
    0.88    0.8899    13.50%                                                                  5,219,072
                                20,876,288 10,438,144
r   0.89    0.8999    13.50%                                                                  5,364,046
                                21,456,185 10,728,092
      0.9   0.9099    13.50%                                                                  5,509,020
                                22,036,082 11,018,041
    0.91    0.9199    13.50%                                                                  5,653,995
                                22,615,978 11,307989
    0.92    0.9299    13.50%                                                                        -==
                                                                                              5,798,969
                                23,195,875 11,597,938
    0.93    0.9399    13.50%                                                                  5,943,943
                                23,775,772 11,887,886
    0.94    0.9499    13.50%                                                                  6,088,917
                                24,355,669 12,177,835
    0.95    0.9599    13.50%                                                                  6,233,891
                                24,935,566 12,467,783
    0.96    0.9699    13.50%                                                                  6,378,866
                                25,515,463 12,757,731
    O. 97   0.9799    13.50%                                                                  6,523,8 40
                                26,095,360 13,047,680




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